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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                              )
             In re:                           )                        Chapter 7
                                              )
          INTEGRAMED HOLDING CORP.,1          )                        Case No. 20-11169 (LSS)
                                              )
                    Debtor.                   )
                                              )
                                              )
                                              )
          In re:                              )                        Chapter 7
                                              )
          INTEGRAMED AMERICA, INC.,           )                        Case No. 20-11170 (LSS)
                                              )
                    Debtor.                   )
                                              )
                                              )
          In re:                              )                        Chapter 7
                                              )
          TRELLIS HEALTH LLC,                 )                        Case No. 20-11171 (LSS)
                                              )
                    Debtor.                   )
                                              )
                                              )
                                              )
          In re:                              )                        Chapter 7
                                              )
          INTEGRAMED FERTILITY HOLDING CORP., )                        Case No. 20-11172 (LSS)
                                              )
                    Debtor.                   )
                                              )
                                              )
         In re:                               )                        Chapter 7
                                              )
         REPRODUCTIVE PARTNERS, INC.,         )                        Case No. 20-11173 (LSS)
                                              )
                    Debtor.                   )
                                              )

     1
       The Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
     identification number, are as follows: IntegraMed Holding Corp. (4778), IntegraMed America, Inc. (0326), Trellis Health
     LLC (8710), IntegraMed Fertility Holding Corp. (7962), Reproductive Partners, Inc. (7978), IntegraMed Management of
     Bridgeport, LLC (0302), IntegraMed Florida Holdings, LLC (6524), IntegraMed Management of Mobile, LLC (2766),
     IntegraMed Management, LLC (9197), and IntegraMed Medical Missouri, LLC (0494). The Debtors’ corporate headquarters
     is located at 2 Manhattanville Road, Purchase, NY 10577.
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                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED MANAGEMENT OF                        )   Case No. 20-11175 (LSS)
        BRIDGEPORT, LLC,                                )
                                                        )
                     Debtor.                            )

                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED FLORIDA HOLDINGS, LLC,               )   Case No. 20-11176 (LSS)
                                                        )
                     Debtor.                            )
                                                        )
                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED MANAGEMENT OF MOBILE,                )   Case No. 20-11179 (LSS)
        LLC,                                            )
                                                        )
                     Debtor.                            )

                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED MANAGEMENT, LLC,                     )   Case No. 20-11181 (LSS)
                                                        )
                     Debtor.                            )
                                                        )
                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED MEDICAL MISSOURI, LLC,               )   Case No. 20-11184 (LSS)
                                                        )
                     Debtor.                            )
                                                        )

                 THE CHAPTER 7 CASES SCHEDULES AND SOFAS GLOBAL NOTES

             These Global Notes filed by the above-captioned debtors and debtors in possession
     (collectively, the “Debtors”) in connection with the Debtors’ Schedules of Assets and Liabilities
     (the “Schedules”) and Statements of Financial Affairs (the “SOFAs”) comprise an integral part of
     the Schedules and SOFAs and should be referred to and considered in connection with any review
     of them.


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     1.      The Debtors prepared these unaudited Schedules and SOFAs pursuant to section 521 of title 11 of
             the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
             Procedure (the “Bankruptcy Rules”). Except where otherwise noted the information provided
             herein is presented as of the beginning of business on April 30, 2020.

     2.      Prior to the Petition Date, on May 11, 2020, IntegraMed America, Inc. sold certain of its
             information technology assets to an entity affiliated with Amulet Capital Partners, L.P. for a
             purchase price of $7 million and the assumption of certain liabilities. Such assets have been
             excluded from the Schedules and SOFAs

     3.      While the Debtors have made every reasonable effort to ensure that the Schedules and SOFAs are
             accurate and complete, based upon information that was available to them at the time of
             preparation, inadvertent errors or omissions may exist and the subsequent receipt of information
             and/or further review and analysis of the Debtors’ books and records may result in changes to
             financial data and other information contained in the Schedules and SOFAs. Moreover, because
             the Schedules and SOFAs contain unaudited information, which is subject to further review and
             potential adjustment, there can be no assurance that the Schedules and SOFAs are complete or
             accurate.

     4.      In reviewing and signing the Schedules and SOFAs, F. Richard Dietz, Jr., the duly authorized and
             designated representative of the Debtors (the “Designated Representative”), has necessarily relied
             upon the prior efforts, statements and representations of other employees, personnel and
             professionals of the Debtors. The Designated Representative has not (and could not have)
             personally verified the accuracy of each such statement and representation that collectively provide
             the information presented in the Schedules and SOFAs, including but not limited to, statements and
             representations concerning amounts owed to creditors and their addresses.

     5.      The Debtors reserve their rights to amend the Schedules and SOFAs as may be necessary or
             appropriate in the Debtors’ sole and absolute discretion, including, but not limited to, the right to
             assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
             reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
             designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will apply
             to all such amendments. Furthermore, nothing contained in the Schedules or SOFAs shall
             constitute a waiver of the Debtors’ rights with respect to the chapter 7 cases and specifically with
             respect to any issues involving substantive consolidation, equitable subordination and/or causes of
             action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant non-
             bankruptcy laws to recover assets or avoid transfers, or an admission relating to the same.

     6.      Any failure to designate a claim listed on the Schedules as “disputed,” “contingent” or
             “unliquidated” does not constitute an admission by the Debtors that such amount is not “disputed,”
             “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive
             of contingent and additional unliquidated amounts. Further, the claims of individual creditors are
             listed as the amounts entered on the Debtors’ books and records and may not reflect credits or
             allowances due from such creditors to the Debtors or setoffs applied by such creditors against
             amounts due by such creditors to the Debtors with respect to other transactions between them. The
             Debtors reserve all of their rights with respect to any such credits and allowances.


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     7.      Some of the Debtors’ scheduled assets and liabilities are unknown and/or unliquidated. In such
             cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” “none
             calculated” or to similar effect. Accordingly, for this and other reasons the Schedules may not fully
             reflect the aggregate amount of the Debtors’ assets and liabilities.

     8.      At times, the preparation of the Schedules and the SOFAs required the Debtors to make
             assumptions that may affect the reported amounts of assets and liabilities, the disclosures of
             contingent assets and liabilities, and/or other items. Actual results could differ from those estimates.
             Pursuant to Bankruptcy Rule 1009, the Debtors may amend their Schedules and SOFAs as they
             deem necessary and appropriate to reflect material changes. In addition, the Debtors, for the
             benefit of their estates, reserve the right to dispute or to assert offsets or defenses to any claim listed
             on the Schedules or SOFAs.

     9.      Given the differences between the information requested in the Schedules and the financial
             information utilized under generally accepted accounting principles in the United States (“GAAP”),
             the aggregate asset values and claim amounts set forth in the Schedules may not necessarily reflect
             the amounts that would be set forth in a balance sheet prepared in accordance with GAAP.

     10. Except as otherwise noted, each asset and liability of each Debtor is shown on the basis of net book
         value of the asset or liability in accordance with such Debtor’s accounting books and records.
         Therefore, unless otherwise noted, the Schedules and SOFAs are not based upon any estimate of
         the current market values of the Debtors’ assets and liabilities, which may not correspond to book
         values. It would be cost prohibitive and unduly burdensome to obtain current market valuations of
         the Debtors’ property interests. Except as otherwise noted, the Debtors’ assets are presented, in
         detail, as they appear on the Debtors’ accounting sub-ledgers. As such, the detail may include error
         corrections and value adjustments (shown as negative values or multiple line items for an
         individual asset). The Debtors believe that certain of their assets, including intangible assets, may
         have been significantly impaired by, among other things, the events leading to, and the
         commencement of, the Debtors’ chapter 7 cases. The Debtors did not formally evaluate the
         appropriateness of the carrying values ascribed to their assets prior to commencement of the
         chapter 7 cases.

     11. Owned property and equipment are recorded at cost and are shown net of depreciation.
         Depreciation is recorded using the straight-line method over the estimated useful lives of the assets,
         which range from three to seven years for furniture, fixtures, equipment, and software.

     12. Certain litigation actions (collectively, the “Litigation Actions”) reflected as claims against a
         particular Debtor may relate to any of the other Debtors. The Debtors made reasonable efforts to
         accurately record the Litigation Actions in the Schedules and SOFAs of the Debtor that is the party
         to the Litigation Action. The inclusion of any Litigation Action in the Schedules and SOFAs does
         not constitute an admission by the Debtors of liability, the validity of any Litigation Action or the
         amount of any potential claim that may result from any claims with respect to any Litigation
         Action, or the amount and treatment of any potential claim resulting from any Litigation Action
         currently pending or that may arise in the future.

     13. With respect to Schedule A/B, questions 6-7, the retainer amounts paid by the Debtors to their
         bankruptcy counsel, Young Conaway Stargatt & Taylor, LLP, on an earned upon receipt basis do

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             not constitute an interest of the Debtors in property and are thus not listed in response to Schedule
             B, questions 6-7. These payments are listed in response to SOFA question 11.

     14. With respect to Schedule A/B, Question 3, bank account balances are reported as of May 19, 2020.

     15. With respect to Schedule A/B, question 10, the Debtors listed the accounts receivable on a
         consolidated basis in the Schedule of Integramed America, Inc.

     16. Schedule D does not include beneficiaries of letters of credit. Although the claims of certain parties
         may be secured by a letter of credit, the Debtors’ obligations under the letters of credit run to the
         issuers thereof, and not to the beneficiaries thereof.

     17. Certain claims listed on Schedule D arose or were incurred on various dates; a determination of the
         date upon which each claim arose or was incurred would be unduly burdensome and cost
         prohibitive. Accordingly, not all such dates are included for each claim. All claims listed on
         Schedule D, however, appear to have arisen or been incurred before the Petition Date.

     18. The descriptions provided in Schedule D are intended only to be a summary. Reference to the
         applicable loan agreements and related documents is necessary for a complete description of the
         collateral and the nature, extent and priority of any liens. Nothing in these Global Notes or the
         Schedules and Statements shall be deemed a modification or interpretation of the terms of such
         agreements.

     19. Except as specifically stated herein, real property lessors, utility companies and other parties which
         may hold security deposits have not been listed on Schedule D. The Debtors have not included
         parties that may believe their Claims are secured through setoff rights or inchoate statutory lien
         rights.

     20. With respect to Schedule D, the Debtors listed Bank of Montreal as the agent to the secured debt
         listed at D.1 and D.2. However, prior to the Petition Date, Amulet Capital Partners or an affiliate
         thereof purchased the debt listed at D.1. The Debtors do not know with certainty whether, as of the
         Petition Date, Bank of Montreal has been replaced as agent for purposes of the senior secured debt
         listed at D.1.

     21. With respect to Schedule E/F, part 2, all creditors and amounts listed are derived from the Debtors’
         accounts payable as of May 20, 2020. The Debtors are unable to state with certainty the dates that
         such debts were incurred, and accordingly, the Debtors have not listed the dates that such debts
         were incurred.

     22. With respect to Schedule E/F, part 2, the addresses for certain creditors were not available in the
         Debtors’ books and records. Such addresses have, accordingly, been omitted.

     23. With respect to Schedule E/F, the Debtors have omitted the entry of any patients who received care
         at non-debtor owned clinical facilities in accordance with the policies and protections afforded by
         the Health Insurance Portability and Accountability Act (“HIPAA”). Such patients may be
         creditors of the Debtors, and appropriate records will be made available to the Chapter 7 Trustee
         and the Court upon request.

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     24. The Debtors have included information for all of their employees, each of whom was paid through
         and including May 23, 2020, on account of earned wages, salaries and paid time off. Any amounts
         owed to such employees are unknown, and have been listed as such on the Schedules. Appropriate
         correspondence regarding the commencement of these chapter 7 cases was sent to employees
         immediately upon the filing of these proceedings. .

     25. With respect to Schedule G, part 2, the addresses for certain executory contract or unexpired lease
         counterparties were not available in the Debtors’ books and records. Such addresses have been
         omitted.

     26. With respect to Schedule H, each of the Debtors are co-obligors with respect to scheduled claims
         listed at D.1 and D.2. Accordingly, each of the Debtors have been listed on Schedule H with
         respect to such claims.

     27. The businesses of the Debtors are complex and, while every effort has been made to ensure the
         accuracy of Schedule G, inadvertent errors or omissions may have occurred. The Debtors hereby
         reserve all of their rights to (i) dispute the validity, status or enforceability of any contracts,
         agreements or leases set forth in Schedule G and (ii) amend or supplement such Schedule as
         necessary. Furthermore, the Debtors reserve all of their rights, claims and causes of action with
         respect to the contracts and agreements listed on the Schedules, including the right to dispute or
         challenge the characterization or the structure of any transaction, document or instrument. The
         presence of a contract or agreement on Schedule G does not constitute an admission that such
         contract or agreement is an executory contract or an unexpired lease.

     28. The contracts, agreements and leases listed on Schedule G may have expired or may have been
         modified, amended or supplemented from time to time by various amendments, restatements,
         waivers, estoppel certificates, letter and other documents, instruments and agreements that may not
         be listed therein. Certain of the real property leases listed on Schedule G may contain renewal
         options, guarantees of payments, options to purchase, rights of first refusal, rights to lease
         additional space and other miscellaneous rights. Such rights, powers, duties and obligations are not
         set forth on Schedule G. Additionally, the Debtors may be parties to various other agreements
         concerning real property, such as easements, rights of way, subordination, non-disturbance,
         supplemental agreements, amendments/letter agreements, title documents, consents, site plans,
         maps and other miscellaneous agreements. Such agreements, if any, are not set forth in Schedule
         G. Certain of the agreements listed on Schedule G may be in the nature of conditional sales
         agreements or secured financings.

     29. For purposes of Schedule H, the Debtors have not listed their past insurers or current insurers as co-
         debtors because the Debtors are unaware of any actual present liability on the part of these parties.
         The Debtors reserve their rights to assert that any of the various foregoing parties (or any other
         party not listed on Schedule H whom the Debtors later discover to be liable in whole or part for any
         obligation of the Debtors) is a co-debtor with the Debtors, and neither these Global Notes nor the
         Schedules and SOFAs shall be deemed a waiver of any rights of the Debtors to assert that any
         entity not listed in response to Schedule H is a co-debtor with respect to one or more of the
         Debtors’ obligations.



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     30. Prior to the commencement of these cases, on May 8, 2020, May 16, 2020, and May 19, 2020, the
         Debtors issued three special payrolls to all employees for their earned wages, salaries, and paid
         time off. All other payrolls were made in the ordinary course of business on a biweekly basis. Due
         to the voluminous nature of such employee payments, the Debtors have excluded payments to rank
         and file employees in SOFA question 3. For the avoidance of doubt, the Debtors have included all
         applicable payments to insiders in SOFA question 4.

     31. With respect to SOFA questions 26(b) through 26(d), the Debtors have excluded rank and file
         accountants and bookkeepers in response to this question, instead listing those officers who
         supervised them, as well as the Debtors’ external accounting and audit firms.

     32. The Debtors and their past or present officers, employees, attorneys, professionals and agents
         (including, but not limited to, the Designated Representative), do not guarantee or warrant the
         accuracy, completeness, or currentness of the data that is provided herein and shall not be liable for
         any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
         whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
         communicating or delivering the information contained herein. The Debtors and their past or
         present officers, employees, attorneys, professionals and agents (including, but not limited to, the
         Designated Representative) expressly do not undertake any obligation to update, modify, revise or
         re-categorize the information provided herein or to notify any third party should the information be
         updated, modified, revised or re-categorized. In no event shall the Debtors or their past or present
         officers, employees, attorneys, professionals and/or agents (including, but not limited to, the
         Designated Representative) be liable to any third party for any direct, indirect, incidental,
         consequential or special damages (including, but not limited to, damages arising from the
         disallowance of any potential claim against the Debtors or damages to business reputation, lost
         business or lost profits), whether foreseeable or not and however caused arising from or related to
         any information provided herein or omitted herein.




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 Fill in this information to identify the case:

 Debtor name         IntegraMed America, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11170 (LSS)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                         $71,704,183.00
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                        $281,812,481.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                        $309,529,390.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2020 to Filing Date                                                           Equity Income                                      $266,844.00


       For prior year:
       From 1/01/2019 to 12/31/2019                                                            Equity Income                                    $1,198,743.00


       For year before that:
       From 1/01/2018 to 12/31/2018                                                            Equity Income                                    $1,295,176.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy


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 Debtor       IntegraMed America, Inc.                                                                  Case number (if known) 20-11170 (LSS)




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Rider 3.1                                                                                       $0.00          Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Rider 4.1                                                                                       $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address




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 Debtor       IntegraMed America, Inc.                                                                  Case number (if known) 20-11170 (LSS)



               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    George T. Koulianos M.D. &                        Civil action              Circuit Court of Mobile                    Pending
               George B. Inge, MD                                                          County, AL                                 On appeal
               individually and on behalf of
                                                                                                                                      Concluded
               IntegraMed Fertility
               Physicians Capital Interest,
               LLC v. IntegraMed Fertility
               Physicians Capital Interests,
               LLC; IntegraMed America,
               Inc.; IntegraMed Fertility
               Holding, LLC
               02-CV-2020-900108.00

       7.2.    Marc Archambeau v. Fertility                      Human Rights              Illinois Department of                     Pending
               Centers of Illinois &                             Act,                      Human Rights                               On appeal
               IntegraMed America, Inc.                          discrimination
                                                                                                                                      Concluded
               ALS: No., 18-0413

       7.3.    Shanelle Rivera v. IntegraMed                     Discrimination                                                       Pending
               America, Inc.                                                                                                          On appeal
                                                                                                                                      Concluded

       7.4.    Andre Vigneault on October                        Discrimination                                                       Pending
               16, 2018 in the Ontario                                                     Ontario, Canada
                                                                                                                                      On appeal
               Superior Court of Justice ,
                                                                                                                                      Concluded
               Andre Vigneault and
               IntegraMed America, Inc., Dr.
               Gwen Goodrow , Dr. Shannon
               Corbett and Dr. Shannon
               Moore


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                          Value

       9.1.    Kevin J. Lederer Life                             Charity Sponsorship
               Foundation
               767 Park Avenue West
               Suite 190
               Highland Park, IL 60035                                                                                   8/13/2018                      $5,000.00

               Recipients relationship to debtor




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 Debtor        IntegraMed America, Inc.                                                                     Case number (if known) 20-11170 (LSS)



                Recipient's name and address                     Description of the gifts or contributions                  Dates given                         Value

       9.2.     National Pediatric Cancer                        Charity Sponsorship
                Foundation
                5550 West Executive Drive
                Suite 200
                Tampa, FL 33609                                                                                             3/5/2019                      $2,500.00

                Recipients relationship to debtor




 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.1.     Young Conaway Stargatt &
                 Taylor, LLP
                 1000 North King Street
                 Wilmington, DE 19801                                                                                                                 $208,350.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                    Dates transfers           Total amount or
                                                                                                                          were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.



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       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                  Patient Information
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    401(K) Plan                                                                                EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
       IRON MOUNTAIN                                                 Unknown                                                                      No
       448 Broadway                                                                                                                               Yes
       Ulster Park, NY 12487

       IRON MOUNTAIN                                                 Unknown                                                                      No
       100 Harbor Drive                                                                                                                           Yes
       Jersey City, NJ 07305



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

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           No.
           Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Stefanie Starna
                    Deloitte & Touche LLP
                    30 Rockefeller Plaza
                    New York, NY 10112
       26a.2.       Michael Hadjiloucas
                    EisnerAmper LLP
                    111 Wood Avenue South
                    Iselin, NJ 08830

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Stefanie Starna
                    Deloitte & Touche LLP
                    30 Rockefeller Plaza
                    New York, NY 10112


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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.2.       Michael Hadjiloucas
                    EisnerAmper LLP
                    111 Wood Avenue South
                    Iselin, NJ 08830

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Stefanie Starna
                    Deloitte & Touche LLP
                    30 Rockefeller Plaza
                    New York, NY 10112
       26c.2.       Michael Hadjiloucas
                    111 Wood Avenue South
                    Iselin, NJ 08830

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Samuel Robinson                                280 Park Avenue                                     Director
                                                      3F West
                                                      New York, NY 10017
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jeff Johnson                                   280 Park Avenue, 3F West                            Director
                                                      New York, NY 10017

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Hans Thunem                                    280 Park Avenue                                     Director
                                                      3F West
                                                      New York, NY 10017
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard C. Pfenniger                           280 Park Avenue                                     Director
                                                      3F West
                                                      New York, NY 10017



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29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Christopher Throckmorton                       61 Winfield Ave.                                    Former CEO                       Position ended
                                                      Harrison, NY 10528                                                                   9/2019

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Paul Desmarais III                             759 Square Victoria, Suite 520                      Director                         Position ended
                                                      Montreal, QC H2Y 2J7                                                                 8/2019

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Mark Attarian                                  15 Johnson Road                                     Officer
                                                      Andover, MA 01810


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    IntegraMed Holding Corp.                                                                                   EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 22, 2020

 /s/ F. Richard Dietz, Jr.                                              F. Richard Dietz, Jr.
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Interim Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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     Rider 3
Creditor                         Reason for Payment                Date          Total paid
                                 Office Supplies & Non-Marketing
1 TOUCH OFFICE TECHNOLOGY        Printing                            2/21/2020                      69.60
1 TOUCH OFFICE TECHNOLOGY        Equip. Repairs & Maint.              3/1/2020                      48.16
1 TOUCH OFFICE TECHNOLOGY        Equip. Repairs & Maint.              3/1/2020                     168.63
1 TOUCH OFFICE TECHNOLOGY        Equip. Repairs & Maint.              3/1/2020                     244.72
1 TOUCH OFFICE TECHNOLOGY        Equip. Repairs & Maint.              3/1/2020                     316.16
1 TOUCH OFFICE TECHNOLOGY        Equip. Repairs & Maint.              3/1/2020                     482.46
1 TOUCH OFFICE TECHNOLOGY        Equip. Repairs & Maint.              3/9/2020                     108.42
1 TOUCH OFFICE TECHNOLOGY        Equip. Repairs & Maint.              3/9/2020                     603.51
                                 Office Supplies & Non-Marketing
1 TOUCH OFFICE TECHNOLOGY        Printing                            3/17/2020                     106.76
2021 K LEASEHOLD L.L.C.          Real Estate Tax                     2/20/2020                       4.49
2021 K LEASEHOLD L.L.C.          Rent Expense                        2/20/2020                      68.33
2021 K LEASEHOLD L.L.C.          Rent Expense                        2/20/2020                  10,752.21
2021 K LEASEHOLD L.L.C.          Rent Expense                        2/20/2020                  11,106.75
2021 K LEASEHOLD L.L.C.          Rent Expense                        2/20/2020                  18,052.98
2021 K LEASEHOLD L.L.C.          Real Estate Tax                     3/20/2020                       4.49
2021 K LEASEHOLD L.L.C.          Rent Expense                        3/20/2020                      68.33
2021 K LEASEHOLD L.L.C.          Rent Expense                        3/20/2020                  10,752.21
2021 K LEASEHOLD L.L.C.          Rent Expense                        3/20/2020                  11,106.75
2021 K LEASEHOLD L.L.C.          Rent Expense                        3/20/2020                  18,052.98
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                   2/20/2020                      40.00
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                   2/20/2020                      40.00
241- PRAXAIR DISTRIBUTION INC    Gases                               2/20/2020                      55.16
241- PRAXAIR DISTRIBUTION INC    Gases                               2/20/2020                     770.44
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                   2/21/2020                      40.00
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                   2/21/2020                      40.00
241- PRAXAIR DISTRIBUTION INC    Gases                               2/21/2020                     182.15
241- PRAXAIR DISTRIBUTION INC    Gases                               2/21/2020                     226.04
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                   2/22/2020                      40.00
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                   2/22/2020                      40.00
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Creditor                         Reason for Payment           Date         Total paid
241- PRAXAIR DISTRIBUTION INC    Gases                          2/22/2020                     55.16
241- PRAXAIR DISTRIBUTION INC    Gases                          2/22/2020                    104.15
241- PRAXAIR DISTRIBUTION INC    Gases                          2/22/2020                    436.78
241- PRAXAIR DISTRIBUTION INC    Gases                          2/22/2020                    930.79
241- PRAXAIR DISTRIBUTION INC    Gases                          2/22/2020                  1,639.03
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              2/25/2020                     40.00
241- PRAXAIR DISTRIBUTION INC    Gases                          2/25/2020                    510.51
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              2/26/2020                     40.00
241- PRAXAIR DISTRIBUTION INC    Gases                          2/26/2020                    128.14
241- PRAXAIR DISTRIBUTION INC    Gases                          2/26/2020                    159.28
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              2/28/2020                     40.00
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              2/28/2020                     40.00
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              2/28/2020                     40.00
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              2/28/2020                     41.00
241- PRAXAIR DISTRIBUTION INC    Gases                          2/28/2020                     55.16
241- PRAXAIR DISTRIBUTION INC    Gases                          2/28/2020                    314.60
241- PRAXAIR DISTRIBUTION INC    Gases                          2/28/2020                    616.23
241- PRAXAIR DISTRIBUTION INC    Gases                          2/28/2020                  1,706.33
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                3/4/2020                    40.00
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                3/4/2020                    40.00
241- PRAXAIR DISTRIBUTION INC    Gases                            3/4/2020                   369.79
241- PRAXAIR DISTRIBUTION INC    Gases                            3/4/2020                   779.75
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                3/5/2020                    40.00
241- PRAXAIR DISTRIBUTION INC    Gases                            3/5/2020                    55.16
241- PRAXAIR DISTRIBUTION INC    Postage & Freight                3/7/2020                    40.00
241- PRAXAIR DISTRIBUTION INC    Gases                            3/7/2020                   335.55
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              3/10/2020                     40.00
241- PRAXAIR DISTRIBUTION INC    Gases                          3/10/2020                    415.52
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              3/12/2020                     40.00
241- PRAXAIR DISTRIBUTION INC    Postage & Freight              3/12/2020                     40.00
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Creditor                             Reason for Payment               Date        Total paid
241- PRAXAIR DISTRIBUTION INC        Gases                              3/12/2020                   416.71
241- PRAXAIR DISTRIBUTION INC        Gases                              3/12/2020                   655.43
241- PRAXAIR DISTRIBUTION INC        Postage & Freight                  3/18/2020                    40.00
241- PRAXAIR DISTRIBUTION INC        Gases                              3/18/2020                   608.73
241- PRAXAIR DISTRIBUTION INC        Postage & Freight                  3/19/2020                    40.00
241- PRAXAIR DISTRIBUTION INC        Gases                              3/19/2020                    55.16
400 VILLAGE PLAZA LLC                Rent Operating Expense             2/20/2020                 2,260.08
400 VILLAGE PLAZA LLC                Rent Expense                       2/20/2020                 3,627.15
400 VILLAGE PLAZA LLC                Rent Expense                      5/15/2020                  3,627.15
645 SIERRA ROSE BUILDING ASSOC       Rent Expense                       2/21/2020                 2,547.39
645 SIERRA ROSE BUILDING ASSOC       Rent Expense                       3/21/2020                 2,547.39
9600 BLACKWELL II LLC                Rent Expense                       2/25/2020                59,000.00
9601 BLACKWELL ICJV LLC              Real Estate Tax                    2/26/2020                    61.00
9601 BLACKWELL ICJV LLC              Real Estate Tax                    2/26/2020                    61.00
9601 BLACKWELL ICJV LLC              Rent Operating Expense             2/26/2020                 1,945.00
9601 BLACKWELL ICJV LLC              Rent Operating Expense             2/26/2020                 1,945.00
9601 BLACKWELL ICJV LLC              Rent Expense                       2/26/2020                73,620.57
9601 BLACKWELL ICJV LLC              Rent Expense                       2/26/2020                93,698.91
9601 BLACKWELL ICJV LLC              Utilities                           3/4/2020                 3,420.00
9601 BLACKWELL ICJV LLC              Real Estate Tax                    3/16/2020                    61.00
9601 BLACKWELL ICJV LLC              Real Estate Tax                    3/16/2020                    61.00
9601 BLACKWELL ICJV LLC              Rent Operating Expense             3/16/2020                 1,945.00
9601 BLACKWELL ICJV LLC              Rent Operating Expense             3/16/2020                 1,945.00
9601 BLACKWELL ICJV LLC              Rent Expense                       3/16/2020                73,620.57
9601 BLACKWELL ICJV LLC              Rent Expense                       3/16/2020                93,698.91
9W HALO OPCO LP DBA ANGELICA         Laundry Services                   2/22/2020                   196.58
9W HALO OPCO LP DBA ANGELICA         Laundry Services                   2/29/2020                   291.18

A COURTEOUS COMMUNICATIONS CORP      Telephone - Answer Svc             2/26/2020                   389.17
A TREEHOUSE EXOTIC PLANTS & TREES
INC.                                 Other Outside Services             2/28/2020                   168.50
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Creditor                               Reason for Payment                  Date          Total paid
A.A.A. BUILDING & OFFICE MAINTENANCE
INC                                    Janitorial Service                    2/21/2020                     855.96
AAAHC                                  Other Outside Services                2/27/2020                      45.00
AaIZA FRAYER AND WILLIAM FRAYER        Attain/Shared Risk Deposits           2/24/2020                  33,600.00
A-B COMMUNICATIONS                     Telephone Expense                     2/20/2020                     151.60
ABM PARKING SERVICES                   Parking Expense                       2/27/2020                      40.00
ABM PARKING SERVICES                   Parking Expense                       2/28/2020                      40.00
ABM PARKING SERVICES                   Parking Expense                       3/15/2020                   6,275.00
ABS COMMUNICATIONS INC                 Telephone - Answer Svc                 3/1/2020                   2,637.95
ACC BUSINESS                           Internet                              2/27/2020                     528.08
ACC BUSINESS                           Advertising                           2/27/2020                   1,051.41
ACC BUSINESS                           Internet                              3/23/2020                     958.64
ACCESS                                 Medical Records                       2/29/2020                       5.00
ACCESS                                 Storage Services                      2/29/2020                     537.30
ACCO ENGINEERED SYSTEMS                Equip. Repairs & Maint.                3/2/2020                   1,560.00
ACCOUNTING FOR YOU,LLC                 Other Outside Services                 3/1/2020                     300.00
ACCURATE SURGICAL & SCIENTIFIC
INSTRUMEN                              Clinical/OR Supplies & Disposable      3/4/2020                     456.68
ACOG                                   Dues/Subscriptions                    3/12/2020                     885.00
ACORN UNIFORMS                         Laundry Services                      2/25/2020                     182.40
ACORN UNIFORMS                         Laundry Services                       3/4/2020                      56.53
                                       Attain/Shared Risk Med Cost
ACRM                                   Reserve                               2/21/2020                   1,936.00
ACRM                                   Professional Fees - Procedural        2/21/2020                   3,602.40
ACRM                                   Professional Fees - Procedural        2/27/2020                   3,520.00
ACRM                                   Professional Fees - Procedural        2/27/2020                  11,911.12
ACRM                                   Professional Fees - Procedural        2/27/2020                  11,911.12
ACRM                                   Professional Fees - Procedural        3/27/2020                   3,520.00
ACRM                                   Professional Fees - Procedural        3/27/2020                   3,520.00
ACRM                                   Professional Fees - Procedural        3/27/2020                   3,520.00
ACRM                                   Professional Fees - Procedural        3/27/2020                  11,911.12
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Creditor                             Reason for Payment               Date        Total paid
ADP INC.                             Due To Program                     2/20/2020                    94.80
ADP INC.                             Due To Program                     3/13/2020                   187.35
ADP INC.                             Other Outside Services             3/20/2020                    50.00
ADP INC.                             Other Outside Services             3/20/2020                 1,020.02
ADP Payroll                          Other Outside Services            5/12/2020           1,006,567.66
ADP Payroll                          Other Outside Services            5/19/2020             546,691.46
ADP Payroll                          Other Outside Services            5/20/2020             365,974.45
ADT SECURITY SERVICES                Other Outside Services              3/3/2020                    62.60
ADT SECURITY SERVICES                Other Outside Services             3/13/2020                    55.85
ADT SECURITY SERVICES                Other Outside Services             3/13/2020                    58.28
ADVAGENIX                            Outside Lab Tests                  2/29/2020                10,655.00

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         2/21/2020                 6,092.00

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         2/21/2020                 6,092.00

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         2/21/2020                 7,401.55

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         2/27/2020                 2,054.60

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         2/27/2020                 3,792.70

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         2/27/2020                 4,685.10

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         2/27/2020                 5,148.10
                                 Attain/Shared Risk Med Cost
ADVANCED REPRODUCTIVE TECHNOLOGY Reserve                                 3/6/2020                 3,030.30

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         3/13/2020                   92.95

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         3/13/2020                 2,568.25

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural         3/13/2020                 3,104.85
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ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/13/2020                   4,685.10
                                 Attain/Shared Risk Med Cost
ADVANCED REPRODUCTIVE TECHNOLOGY Reserve                               3/13/2020                   6,677.45

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/13/2020                   9,224.00
                                 Attain/Shared Risk Med Cost
ADVANCED REPRODUCTIVE TECHNOLOGY Reserve                               3/19/2020                   1,597.05

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/19/2020                   4,685.10

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/19/2020                   7,097.60

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/20/2020                   2,365.60

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/20/2020                   2,568.25

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/20/2020                   2,568.25

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/20/2020                   4,685.10

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/20/2020                   4,685.10

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/20/2020                  13,366.50

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/27/2020                   2,040.20

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/27/2020                   2,365.60

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/27/2020                   2,900.30

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        3/27/2020                   3,792.70

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural        4/10/2020                   3,569.60
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ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural           4/10/2020                   4,169.75

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural           4/10/2020                   4,685.10

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural           4/10/2020                   4,949.75

ADVANCED REPRODUCTIVE TECHNOLOGY Professional Fees - Procedural           4/10/2020                   8,561.20

ADVANCED REPRODUCTIVE TECHNOLOGY     Professional Fees - Procedural       4/10/2020                  13,366.50
AEROTEK                              Other Outside Services               2/20/2020                   2,216.80
AEROTEK                              Other Outside Services               2/27/2020                   1,995.12
AFFINITY SYSTEMS, LLC                Other Outside Services                3/3/2020                      35.00
AFFINITY SYSTEMS, LLC                Other Outside Services                3/3/2020                      35.00
AFLAC                                Other Benefits                       2/29/2020                      34.92
AFLAC                                Other Benefits                       2/29/2020                      65.16
AFLAC                                Other Benefits                       2/29/2020                     129.00
AFLAC                                Other Benefits                       2/29/2020                     163.44
AFLAC                                Other Benefits                       2/29/2020                   1,077.60
AFLAC                                Other Benefits                       2/29/2020                   1,514.54
AFLAC                                Other Benefits                       2/29/2020                   1,601.54
AFLAC                                Other Benefits                       2/29/2020                   1,612.64
AFLAC                                Other Benefits                       2/29/2020                   2,243.82
AFLAC                                Other Benefits                       2/29/2020                   2,277.48
AFLAC                                Other Benefits                       3/25/2020                      34.92
AFLAC                                Other Benefits                       3/25/2020                      65.16
AFLAC                                Other Benefits                       3/25/2020                     129.00
AFLAC                                Other Benefits                       3/25/2020                     163.44
AFLAC                                Other Benefits                       3/25/2020                   1,077.60
AFLAC                                Other Benefits                       3/25/2020                   1,372.42
AFLAC                                Other Benefits                       3/25/2020                   1,445.64
AFLAC                                Other Benefits                       3/25/2020                   1,620.20
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AFLAC                        Other Benefits                        3/25/2020                 2,347.06
AFLAC                        Other Benefits                        3/25/2020                 2,438.90

AGTECH                       Clinical/OR Supplies & Disposable     2/20/2020                   156.20
AIA CORPORATION              Marketing Support Materials            3/1/2020                 1,128.73
AIR SOURCE INDUSTRIES INC    Postage & Freight                     2/25/2020                    25.00
AIR SOURCE INDUSTRIES INC    Gases                                 2/25/2020                    63.50
AIR SOURCE INDUSTRIES INC    Gases                                 2/29/2020                   143.20
AIR SOURCE INDUSTRIES INC    Postage & Freight                      3/3/2020                    25.00
AIR SOURCE INDUSTRIES INC    Gases                                  3/3/2020                    63.50
Airgas                       Utility                              5/20/2020                  2,499.94
AIRGAS EAST                  Gases                                 2/20/2020                    28.17
AIRGAS EAST                  Gases                                 2/20/2020                    45.65
AIRGAS EAST                  Gases                                 2/20/2020                   103.59
AIRGAS EAST                  Gases                                 2/20/2020                   103.60
AIRGAS EAST                  Gases                                 2/20/2020                   105.18
AIRGAS EAST                  Gases                                 2/21/2020                    79.29
AIRGAS EAST                  Gases                                 2/21/2020                   146.37
AIRGAS EAST                  Gases                                 2/21/2020                   364.50
AIRGAS EAST                  Gases                                 2/24/2020                    46.89
AIRGAS EAST                  Gases                                 2/24/2020                    54.97
AIRGAS EAST                  Gases                                 2/24/2020                   157.76
AIRGAS EAST                  Gases                                 2/25/2020                    37.84
AIRGAS EAST                  Gases                                 2/25/2020                   103.60
AIRGAS EAST                  Gases                                 2/25/2020                   105.18
AIRGAS EAST                  Gases                                 2/25/2020                   177.37
AIRGAS EAST                  Gases                                 2/26/2020                   145.10
AIRGAS EAST                  Gases                                 2/27/2020                    28.17
AIRGAS EAST                  Gases                                 2/27/2020                   103.59
AIRGAS EAST                  Gases                                 2/27/2020                   105.18
AIRGAS EAST                  Gases                                 2/28/2020                   127.19
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Creditor                  Reason for Payment           Date         Total paid
AIRGAS EAST               Gases                          2/28/2020                    155.00
AIRGAS EAST               Gases                          2/29/2020                     19.15
AIRGAS EAST               Gases                          2/29/2020                     32.30
AIRGAS EAST               Gases                          2/29/2020                     60.65
AIRGAS EAST               Gases                          2/29/2020                     91.03
AIRGAS EAST               Gases                          2/29/2020                    140.90
AIRGAS EAST               Gases                          2/29/2020                    176.87
AIRGAS EAST               Gases                          2/29/2020                    189.32
AIRGAS EAST               Gases                          2/29/2020                    200.40
AIRGAS EAST               Gases                          2/29/2020                    201.67
AIRGAS EAST               Gases                          2/29/2020                    295.04
AIRGAS EAST               Gases                            3/2/2020                    63.54
AIRGAS EAST               Gases                            3/3/2020                   103.60
AIRGAS EAST               Gases                            3/3/2020                   145.10
AIRGAS EAST               Gases                            3/5/2020                   105.18
AIRGAS EAST               Gases                            3/5/2020                   145.10
AIRGAS EAST               Gases                          3/10/2020                     37.84
AIRGAS EAST               Gases                          3/10/2020                    103.60
AIRGAS EAST               Gases                         5/14/2020                     124.59
AIRGAS EAST               Utlity                        5/19/2020                     105.18
AIRGAS EAST               Utlity                        5/20/2020                   1,495.07
AIRGAS PURITAN MEDICAL    Gases                          2/21/2020                    127.00
AIRGAS PURITAN MEDICAL    Gases                          2/24/2020                     35.68
AIRGAS PURITAN MEDICAL    Gases                          2/26/2020                     91.20
AIRGAS PURITAN MEDICAL    Gases                          2/29/2020                    176.80
AIRGAS PURITAN MEDICAL    Gases                           3/2/2020                    127.00
AIRGAS PURITAN MEDICAL    Gases                           3/2/2020                    503.81
AIRGAS PURITAN MEDICAL    Gases                           3/4/2020                     91.20
AIRGAS USA, LLC           Gases                          2/20/2020                      6.28
AIRGAS USA, LLC           Gases                          2/20/2020                     35.15
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Creditor           Reason for Payment           Date         Total paid
AIRGAS USA, LLC    Gases                          2/20/2020                    105.45
AIRGAS USA, LLC    Gases                          2/20/2020                    353.01
AIRGAS USA, LLC    Postage & Freight              2/21/2020                     20.71
AIRGAS USA, LLC    Gases                          2/21/2020                     58.51
AIRGAS USA, LLC    Gases                          2/24/2020                    607.85
AIRGAS USA, LLC    Gases                          2/25/2020                    290.41
AIRGAS USA, LLC    Postage & Freight              2/26/2020                     20.71
AIRGAS USA, LLC    Gases                          2/26/2020                     57.76
AIRGAS USA, LLC    Gases                          2/26/2020                    112.97
AIRGAS USA, LLC    Gases                          2/26/2020                    607.85
AIRGAS USA, LLC    Gases                          2/27/2020                     35.15
AIRGAS USA, LLC    Gases                          2/27/2020                    191.33
AIRGAS USA, LLC    Gases                          2/27/2020                    465.71
AIRGAS USA, LLC    Gases                          2/29/2020                      2.77
AIRGAS USA, LLC    Gases                          2/29/2020                     10.57
AIRGAS USA, LLC    Gases                          2/29/2020                     20.10
AIRGAS USA, LLC    Gases                          2/29/2020                     29.98
AIRGAS USA, LLC    Gases                          2/29/2020                     52.54
AIRGAS USA, LLC    Gases                          2/29/2020                     54.20
AIRGAS USA, LLC    Gases                          2/29/2020                     85.98
AIRGAS USA, LLC    Gases                          2/29/2020                     85.98
AIRGAS USA, LLC    Gases                          2/29/2020                    113.56
AIRGAS USA, LLC    Gases                          2/29/2020                    190.10
AIRGAS USA, LLC    Gases                          2/29/2020                    217.80
AIRGAS USA, LLC    Gases                          2/29/2020                    389.34
AIRGAS USA, LLC    Gases                          2/29/2020                    389.34
AIRGAS USA, LLC    Gases                          2/29/2020                    405.23
AIRGAS USA, LLC    Gases                          2/29/2020                    723.56
AIRGAS USA, LLC    Gases                            3/1/2020                   170.73
AIRGAS USA, LLC    Gases                            3/1/2020                   304.24
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Creditor                    Reason for Payment                  Date         Total paid
AIRGAS USA, LLC             Gases                                   3/1/2020                 1,599.93
AIRGAS USA, LLC             Gases                                   3/1/2020                 6,648.81
AIRGAS USA, LLC             Gases                                   3/2/2020                   123.84
AIRGAS USA, LLC             Gases                                   3/3/2020                   276.77
AIRGAS USA, LLC             Gases                                   3/3/2020                   607.85
AIRGAS USA, LLC             Gases                                   3/4/2020                   290.27
AIRGAS USA, LLC             Gases                                   3/5/2020                    35.15
AIRGAS USA, LLC             Gases                                   3/5/2020                   607.85
AIRGAS USA, LLC             Gases                                   3/6/2020                   276.77
AIRGAS USA, LLC             Gases                                   3/9/2020                   170.73
AIRGAS USA, LLC             Gases                                   3/9/2020                   183.97
AIRGAS USA, LLC             Gases                                   3/9/2020                   276.77
AIRGAS USA, LLC             Gases                                 3/10/2020                    607.85
AIRGAS USA, LLC             Gases                                 3/11/2020                     35.15
AIRGAS USA, LLC             Gases                                 3/11/2020                    176.61
AIRGAS USA, LLC             Gases                                 3/11/2020                    251.14
AIRGAS USA, LLC             Gases                                 3/16/2020                    205.10
AIRGAS USA, LLC             Gases                                 3/17/2020                    189.38
AIRGAS USA, LLC             Gases                                 3/17/2020                    576.68
AIRGAS USA, LLC             Gases                                 3/18/2020                     35.15
AIRGAS USA, LLC             Gases                                 3/20/2020                    105.36
AIRGAS USA, LLC             Gases                                 3/23/2020                    105.36
AIRGAS, INC                 Gases                                 2/20/2020                     33.47
AIRGAS, INC                 Gases                                 2/26/2020                     77.27

AIR-TITE                    Clinical/OR Supplies & Disposable     2/20/2020                     91.43
AKW MEDICAL INC             Equip. Repairs & Maint.               2/24/2020                    185.00
ALABAMA DEPT. OF REVENUE    Other Taxes                           3/12/2020                    100.00
ALBANO'S PLUMBING           Facility Repairs & Maint.             2/27/2020                    525.00
ALDER ELECTRIC              Facility Repairs & Maint.             2/20/2020                  1,685.00
Aldo, David                 Director, Financial Services           5/5/2020                 56,894.00
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Creditor                            Reason for Payment               Date         Total paid
ALESHA FILIPELLO                    Other Expense                      2/26/2020                    223.20
ALEXANDER THOMPSON ARNOLD PLLC      Other Outside Services             2/29/2020                    275.00
ALEXANDRA LEE                       Donor Pass Thru(Co Mgt Fees)         3/9/2020                 6,000.00
ALEXANDRA YOUR                      Donor Pass Thru(Co Mgt Fees)       3/24/2020                  7,000.00

                                    Employee Meetings/Educational
ALEXANDRIA LINDSEY                  Materials                          3/17/2020                     37.36
ALEXANDRIA LINDSEY                  Other Benefits                     3/20/2020                    189.61
ALFORD LEASING COMPANY              Equipment Rental                    3/3/2020                    269.00
Alhambra & Sierra Springs           Other Outside Services              3/2/2020                    112.47
ALISON AND MICHAEL SHAW             Attain/Shared Risk Deposits        3/10/2020                 11,825.00
ALL PHYSICIAN'S EXCHANGE            WAN Telecom                        2/28/2020                    225.10
ALLEGRA DESIGN MARKETING & PRINT    Printing                           2/26/2020                    324.82
ALLEN CONSULTING, INC               Consulting Fees                    2/20/2020                 13,390.00
ALLEN CONSULTING, INC               Consulting Fees                    3/20/2020                 13,390.00
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                    135.92
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                    183.04
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                    364.32
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                    472.24
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                    718.00
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                    730.00
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                    751.68
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                    916.64
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                  1,057.28
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                  1,342.08
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                  3,182.96
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                  3,501.92
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         2/20/2020                  4,230.40
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance          3/2/2020                 13,264.00
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance          3/2/2020                 25,000.00
ALLIANT INSURANCE SERVICES, INC     Prepaid Business Insurance         3/18/2020                  1,156.00
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Creditor                               Reason for Payment                   Date         Total paid
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/18/2020                  2,179.00
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/19/2020                    191.00
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                    135.92
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                    183.04
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                    364.32
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                    472.24
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                    718.00
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                    730.00
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                    751.68
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                    916.64
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                  1,057.28
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                  1,342.08
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                  3,182.96
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                  3,501.92
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance             3/20/2020                  4,230.40
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance               4/1/2020                   120.00
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance               4/1/2020                   618.40
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance               4/1/2020                 2,101.00
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance               4/1/2020                13,264.00
ALLIANT INSURANCE SERVICES, INC        Prepaid Business Insurance            5/12/2020                   14.00
Alliant/Crystal Insurance              Insurance                              5/8/2020            1,625,985.00
Alliant/Crystal Insurance              Insurance                             5/15/2020            1,625,985.00
ALLISON KAY RODGERS, MD                Auto Allowance                         3/14/2020                  1,000.00
ALLSCRIPTS                             Dues/Subscriptions                     2/27/2020                     71.35
ALLSCRIPTS                             Other Outside Services                 3/10/2020                    541.12
ALLSCRIPTS                             Postage & Freight                      3/15/2020                     73.06
ALLSTREAM                              Telephone Expense                      3/18/2020                    669.36
ALLWAYS SHRED INC                      Other Outside Services                  3/6/2020                    216.00
ALPHA CLINICAL CONSULTING OF GEORGIA
LLC                                  Professional Fee- Anesthes.                3/5/2020                 8,800.00
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Creditor                               Reason for Payment                    Date          Total paid
ALPHA CLINICAL CONSULTING OF GEORGIA
LLC                                    Professional Fee- Anesthes.             3/18/2020                    3,200.00
ALPHANUMERIC SYSTEMS INC.              Computer Repairs                         3/3/2020                    2,699.00
ALPHANUMERIC SYSTEMS INC.              WAN Telecom                              3/3/2020                    4,298.00
ALPHANUMERIC SYSTEMS INC.              WAN Telecom                              3/5/2020                      333.01
ALPHANUMERIC SYSTEMS INC.              WAN Telecom                             3/19/2020                    4,298.00
ALPHANUMERIC SYSTEMS INC.              WAN Telecom                             3/31/2020                       36.23
ALSCO                                  Laundry Services                        2/20/2020                        5.48
ALSCO                                  Laundry Services                        2/27/2020                       44.60
ALSCO BLACKFOOT                        Laundry Services                        3/20/2020                       33.25
ALTON SELF STORAGE                     Storage Services                        3/15/2020                      204.00
Alvarez & Marsal                       Professional Services                  5/12/2020                   22,302.54
Alvarez & Marsal                       Professional Services                  5/12/2020                    5,250.00
Alvarez & Marsal                       Professional Services                  5/15/2020                   11,137.37
Alvarez & Marsal                       Professional Services                  5/15/2020                    1,875.00
Alvarez & Marsal Canada ULC            Professional Services                  2/26/2020                    2,250.00
Alvarez & Marsal Canada ULC            Professional Services                  2/26/2020                   12,351.53
Alvarez & Marsal Canada ULC            Professional Services                  2/26/2020                   12,351.53
Alvarez & Marsal Canada ULC            Professional Services                  2/26/2020                    2,250.00
Alvarez & Marsal Canada ULC            Professional Services                   3/9/2020                    6,757.77
Alvarez & Marsal Canada ULC            Professional Services                   3/9/2020                   12,601.22
Alvarez & Marsal Canada ULC            Professional Services                   3/9/2020                   12,601.22
Alvarez & Marsal Canada ULC            Professional Services                   3/9/2020                    6,757.77
Alvarez & Marsal Canada ULC            Professional Services                  3/30/2020                    6,754.43
Alvarez & Marsal Canada ULC            Professional Services                  3/30/2020                   10,307.91
Alvarez & Marsal Canada ULC            Professional Services                  3/30/2020                   10,307.91
Alvarez & Marsal Canada ULC            Professional Services                  3/30/2020                    6,754.43
Alvarez & Marsal Canada ULC            Professional Services                  4/21/2020                    4,875.00
Alvarez & Marsal Canada ULC            Professional Services                  4/21/2020                    9,472.47
Alvarez & Marsal Canada ULC            Professional Services                  4/21/2020                    9,472.47
Alvarez & Marsal Canada ULC            Professional Services                  4/21/2020                    4,875.00
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Creditor                        Reason for Payment                Date          Total paid
Alvarez & Marsal Canada ULC     Professional Services              4/29/2020                    5,255.23
Alvarez & Marsal Canada ULC     Professional Services              4/29/2020                   14,368.95
Alvarez & Marsal Canada ULC     Professional Services              4/29/2020                   14,368.95
Alvarez & Marsal Canada ULC     Professional Services              4/29/2020                    5,255.23
Alvarez & Marsal Canada ULC     Professional Services               5/7/2020                   12,146.28
Alvarez & Marsal Canada ULC     Professional Services               5/7/2020                      750.00
AMAZON CAPITAL SERVICES         MIS Supplies - Hardware             2/24/2020                      62.95
AMAZON CAPITAL SERVICES         MIS Supplies - Hardware             2/24/2020                     524.34
AMAZON CAPITAL SERVICES         MIS Supplies - Hardware             2/25/2020                      35.23
AMAZON CAPITAL SERVICES         MIS Supplies - Hardware             2/26/2020                      26.70
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES         Printing                            2/28/2020                      60.31
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES         Printing                            2/28/2020                     217.24
AMAZON CAPITAL SERVICES         MIS Supplies - Hardware              3/3/2020                      29.63
AMAZON CAPITAL SERVICES         MIS Supplies - Hardware              3/4/2020                      17.99
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES         Printing                             3/5/2020                      12.56
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES         Printing                             3/5/2020                      42.38
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES         Printing                             3/5/2020                      63.55
AMAZON CAPITAL SERVICES         MIS Supplies - Hardware             3/10/2020                      27.80
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES, INC    Printing                            2/25/2020                      23.70
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES, INC    Printing                            2/25/2020                      24.11
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES, INC    Printing                            2/25/2020                      42.00
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES, INC    Printing                            2/29/2020                     135.15
                                Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES, INC    Printing                             3/1/2020                     140.71
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Creditor                              Reason for Payment                Date          Total paid
                                      Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES, INC          Printing                             3/5/2020                      11.15
                                      Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES, INC          Printing                            3/14/2020                      64.92
                                      Office Supplies & Non-Marketing
AMAZON CAPITAL SERVICES, INC          Printing                            3/14/2020                     270.55
AMAZON CAPITAL SERVICES, INC          MIS Supplies - Hardware             3/14/2020                   4,341.68
AMBER GIBBAR AND TRAVVISS GIBBAR      Attain/Shared Risk Deposits         3/19/2020                  28,100.00
AMBIUS INC ( 36)                      Other Outside Services               3/1/2020                      75.98
AMBIUS INC ( 36)                      Other Outside Services               3/1/2020                     137.25
AMBIUS INC ( 36)                      Other Outside Services               3/1/2020                     137.49
AMBIUS INC ( 36)                      Other Outside Services               3/1/2020                     148.23
AMBIUS INC ( 36)                      Other Outside Services               3/1/2020                     289.15
AMBIUS INC ( 36)                      Other Outside Services               3/1/2020                     701.27
American Archiving & Shredding LLC    Storage Services                     3/1/2020                      81.04

AMERICAN ASSOCIATION OF BIOANALYSTS Other Outside Services                 3/6/2020                     919.00

AMERICAN ASSOCIATION OF BIOANALYSTS   Other Outside Services              3/26/2020                     919.00
AMERICAN EXPEDITING                   Courier Fees                        2/29/2020                     152.60
AMERICAN EXPEDITING                   Courier Fees                        2/29/2020                     305.20
AMERICAN EXPEDITING                   Courier Fees                        2/29/2020                     389.00
AMERICAN EXPEDITING                   Courier Fees                        2/29/2020                     500.00
                                      Office Supplies & Non-Marketing
AMERICAN EXPRESS                      Printing                            2/21/2020                      16.32
AMERICAN EXPRESS                      Utilities                           2/21/2020                      30.00
                                      Office Supplies & Non-Marketing
AMERICAN EXPRESS                      Printing                            2/21/2020                      48.42
                                      Office Supplies & Non-Marketing
AMERICAN EXPRESS                      Printing                            2/21/2020                      90.16
AMERICAN EXPRESS                      Automobile Expense                  2/21/2020                     129.29
AMERICAN EXPRESS                      T&E - Lodging                       2/21/2020                     152.04
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Creditor            Reason for Payment                Date        Total paid
AMERICAN EXPRESS    MIS Supplies-Software               2/21/2020                   167.18
AMERICAN EXPRESS    Other Benefits                      2/21/2020                   236.99
AMERICAN EXPRESS    Dues/Subscriptions                  2/21/2020                   250.00
AMERICAN EXPRESS    Cellular Phone/Page                 2/21/2020                   329.11
AMERICAN EXPRESS    Other Marketing Costs               2/21/2020                   359.00
AMERICAN EXPRESS    Bank Fees                           2/21/2020                   409.04
AMERICAN EXPRESS    T&E - Airfare                       2/21/2020                   516.80
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                            2/21/2020                   523.54
AMERICAN EXPRESS    Other Outside Services              2/21/2020                   550.00

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                           2/21/2020                   580.87
AMERICAN EXPRESS    MD Referral                         2/21/2020                   756.28
AMERICAN EXPRESS    T&E - Lodging                       2/21/2020                   904.14
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                            2/21/2020                 2,801.37

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                           2/21/2020                 3,715.82
AMERICAN EXPRESS    Professional Development            2/21/2020                 4,043.74
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                            2/28/2020                     8.90
AMERICAN EXPRESS    MIS Supplies - Hardware             2/28/2020                    10.57
AMERICAN EXPRESS    Parking Expense                     2/28/2020                    11.00

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                           2/28/2020                    11.84
AMERICAN EXPRESS    Telephone Expense                   2/28/2020                    12.73
AMERICAN EXPRESS    T&E - Meals                         2/28/2020                    14.09
AMERICAN EXPRESS    Other Expense                       2/28/2020                    14.59
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Creditor            Reason for Payment                  Date          Total paid

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                             2/28/2020                     16.20
AMERICAN EXPRESS    Other Outside Services                2/28/2020                     19.95

AMERICAN EXPRESS    T&E - Other Travel/Entertainment      2/28/2020                     20.00
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              2/28/2020                     22.70
AMERICAN EXPRESS    Professional Development              2/28/2020                     27.61
AMERICAN EXPRESS    Other Expense                         2/28/2020                     28.66

AMERICAN EXPRESS    T&E - Other Travel/Entertainment      2/28/2020                     40.00

AMERICAN EXPRESS    T&E - Other Travel/Entertainment      2/28/2020                     40.00
AMERICAN EXPRESS    Professional Development              2/28/2020                     45.60
AMERICAN EXPRESS    Other Expense                         2/28/2020                     46.43
AMERICAN EXPRESS    Other Expense                         2/28/2020                     55.95

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                             2/28/2020                     61.33
AMERICAN EXPRESS    Other Expense                         2/28/2020                     62.22
AMERICAN EXPRESS    MIS Supplies - Hardware               2/28/2020                     64.79
AMERICAN EXPRESS    Recruitment                           2/28/2020                     67.86

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                             2/28/2020                     68.00

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     2/28/2020                     68.26

AMERICAN EXPRESS    T&E - Other Travel/Entertainment      2/28/2020                     70.00

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                             2/28/2020                     75.95
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Creditor            Reason for Payment                 Date          Total paid

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                            2/28/2020                      88.46
AMERICAN EXPRESS    Parking Expense                      2/28/2020                      89.00

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                            2/28/2020                      90.50
AMERICAN EXPRESS    T&E - Meals                          2/28/2020                     115.79
AMERICAN EXPRESS    MIS Supplies-Software                2/28/2020                     119.88
AMERICAN EXPRESS    MIS Supplies - Hardware              2/28/2020                     129.35

AMERICAN EXPRESS    T&E - Other Travel/Entertainment     2/28/2020                     140.00
AMERICAN EXPRESS    Employee Recognition                 2/28/2020                     141.36

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                            2/28/2020                     161.41

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                            2/28/2020                     168.29
AMERICAN EXPRESS    Dues/Subscriptions                   2/28/2020                     170.00

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                            2/28/2020                     195.87
AMERICAN EXPRESS    Parking Expense                      2/28/2020                     212.50

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                            2/28/2020                     231.75
AMERICAN EXPRESS    Dues/Subscriptions                   2/28/2020                     238.97
AMERICAN EXPRESS    Dues/Subscriptions                   2/28/2020                     275.00
AMERICAN EXPRESS    Automobile Expense                   2/28/2020                     286.52
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             2/28/2020                     291.15
AMERICAN EXPRESS    Other Marketing Costs                2/28/2020                     321.55
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Creditor            Reason for Payment                  Date        Total paid
AMERICAN EXPRESS    Dues/Subscriptions                    2/28/2020                   335.00
AMERICAN EXPRESS    Dues/Subscriptions                    2/28/2020                   335.00

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                             2/28/2020                   392.54
AMERICAN EXPRESS    Employee Recognition                  2/28/2020                   411.13
AMERICAN EXPRESS    Other Expense                         2/28/2020                   415.18

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     2/28/2020                   420.00

AMERICAN EXPRESS    T&E - Other Travel/Entertainment      2/28/2020                   432.08
AMERICAN EXPRESS    MIS Supplies - Hardware               2/28/2020                   476.00
AMERICAN EXPRESS    MIS Supplies - Hardware               2/28/2020                   478.10
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              2/28/2020                   497.42
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              2/28/2020                   569.46
AMERICAN EXPRESS    MIS Supplies - Hardware               2/28/2020                   584.32
AMERICAN EXPRESS    Other Expense                         2/28/2020                   641.54
AMERICAN EXPRESS    Dues/Subscriptions                    2/28/2020                   746.75
AMERICAN EXPRESS    Telephone Expense                     2/28/2020                   852.46
AMERICAN EXPRESS    Dues/Subscriptions                    2/28/2020                 1,060.00
AMERICAN EXPRESS    Other Expense                         2/28/2020                 1,188.00
AMERICAN EXPRESS    T&E - Airfare                         2/28/2020                 1,189.76
AMERICAN EXPRESS    MIS Supplies - Hardware               2/28/2020                 1,991.26
AMERICAN EXPRESS    Automobile Expense                    2/28/2020                 2,100.70
AMERICAN EXPRESS    MIS Supplies - Hardware               2/28/2020                 2,578.69
AMERICAN EXPRESS    T&E - Meals                           2/28/2020                 3,626.54

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                             2/28/2020                 3,956.78
AMERICAN EXPRESS    Telephone Expense                     2/28/2020                 5,207.33
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Creditor            Reason for Payment                 Date         Total paid
AMERICAN EXPRESS    MD Referral                          2/28/2020                   6,484.73
AMERICAN EXPRESS    Consulting Fees                      2/28/2020                   8,046.00
AMERICAN EXPRESS    Internet                             2/28/2020                  21,566.22
AMERICAN EXPRESS    Accrued Other                        2/29/2020                 334,927.99
AMERICAN EXPRESS    MIS Supplies - Cloud Services          3/9/2020                      9.99
AMERICAN EXPRESS    Internet                               3/9/2020                     11.99
AMERICAN EXPRESS    Postage & Freight                      3/9/2020                     26.35

AMERICAN EXPRESS    T&E - Other Travel/Entertainment       3/9/2020                    47.42

AMERICAN EXPRESS    T&E - Other Travel/Entertainment       3/9/2020                    47.94

AMERICAN EXPRESS    T&E - Other Travel/Entertainment       3/9/2020                    48.84
AMERICAN EXPRESS    Cellular Phone/Page                    3/9/2020                    60.39
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                               3/9/2020                    84.48
AMERICAN EXPRESS    Other Marketing Costs                  3/9/2020                    96.60
AMERICAN EXPRESS    Dues/Subscriptions                     3/9/2020                    99.00

AMERICAN EXPRESS    T&E - Other Travel/Entertainment       3/9/2020                   108.48
AMERICAN EXPRESS    License & Fees                         3/9/2020                   138.75
AMERICAN EXPRESS    License & Fees                         3/9/2020                   138.75
AMERICAN EXPRESS    License & Fees                         3/9/2020                   138.75
AMERICAN EXPRESS    License & Fees                         3/9/2020                   150.00
AMERICAN EXPRESS    Cellular Phone/Page                    3/9/2020                   155.04
AMERICAN EXPRESS    Lab Supplies                           3/9/2020                   159.92
AMERICAN EXPRESS    Postage & Freight                      3/9/2020                   189.17
AMERICAN EXPRESS    Cellular Phone/Page                    3/9/2020                   190.71
AMERICAN EXPRESS    Cellular Phone/Page                    3/9/2020                   208.78

AMERICAN EXPRESS    T&E - Other Travel/Entertainment       3/9/2020                   219.03
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Creditor            Reason for Payment                Date          Total paid
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             3/9/2020                     219.23
AMERICAN EXPRESS    Other Expense                        3/9/2020                     225.00

AMERICAN EXPRESS    Professional Fee-Social Worker       3/9/2020                     240.00
AMERICAN EXPRESS    Storage Services                     3/9/2020                     292.56
AMERICAN EXPRESS    Storage Services                     3/9/2020                     298.92
AMERICAN EXPRESS    Dues/Subscriptions                   3/9/2020                     335.00
AMERICAN EXPRESS    Cellular Phone/Page                  3/9/2020                     341.10
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             3/9/2020                     474.31
AMERICAN EXPRESS    Equip. Repairs & Maint.              3/9/2020                     500.00
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             3/9/2020                     509.97
AMERICAN EXPRESS    Recruitment                          3/9/2020                     528.99
AMERICAN EXPRESS    License & Fees                       3/9/2020                     749.00
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             3/9/2020                     763.49
AMERICAN EXPRESS    MD Referral                          3/9/2020                     780.05
AMERICAN EXPRESS    T&E - Lodging                        3/9/2020                     891.40
AMERICAN EXPRESS    Other Expense                        3/9/2020                     915.94
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             3/9/2020                   1,545.93
AMERICAN EXPRESS    Radio                                3/9/2020                   4,620.00
AMERICAN EXPRESS    License & Fees                      3/11/2020                       4.20
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                            3/11/2020                       4.77
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                            3/11/2020                      14.95
AMERICAN EXPRESS    License & Fees                      3/11/2020                      16.99
AMERICAN EXPRESS    License & Fees                      3/11/2020                      16.99
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                            3/11/2020                      18.41
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Creditor            Reason for Payment                  Date        Total paid
AMERICAN EXPRESS    Other Outside Services                3/11/2020                    19.95
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              3/11/2020                    21.60
AMERICAN EXPRESS    License & Fees                        3/11/2020                    33.98
AMERICAN EXPRESS    Internet                              3/11/2020                    36.00

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                    42.09
AMERICAN EXPRESS    T&E - Meals                           3/11/2020                    43.83
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              3/11/2020                    54.64

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                    56.57

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                    59.23
AMERICAN EXPRESS    Automobile Expense                    3/11/2020                    60.21
AMERICAN EXPRESS    T&E - Meals                           3/11/2020                    78.31
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              3/11/2020                    81.18

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                    92.12

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                    92.12

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                   102.64
AMERICAN EXPRESS    Other Outside Services                3/11/2020                   120.20
AMERICAN EXPRESS    Laundry Services                      3/11/2020                   175.00
AMERICAN EXPRESS    Contributions                         3/11/2020                   175.00
AMERICAN EXPRESS    License & Fees                        3/11/2020                   210.00
AMERICAN EXPRESS    Internet                              3/11/2020                   210.31
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              3/11/2020                   212.40
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              3/11/2020                   215.35
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Creditor            Reason for Payment                  Date        Total paid
AMERICAN EXPRESS    Telephone Expense                     3/11/2020                   219.56
AMERICAN EXPRESS    Laundry Services                      3/11/2020                   227.00
AMERICAN EXPRESS    Other Marketing Costs                 3/11/2020                   250.00

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                   286.86
AMERICAN EXPRESS    Other Outside Services                3/11/2020                   290.46
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              3/11/2020                   329.57
AMERICAN EXPRESS    MD Referral                           3/11/2020                   332.41
AMERICAN EXPRESS    MIS Supplies-Software                 3/11/2020                   335.00
AMERICAN EXPRESS    MD Referral                           3/11/2020                   342.17
AMERICAN EXPRESS    Open House/Community Events           3/11/2020                   410.67
AMERICAN EXPRESS    Postage & Freight                     3/11/2020                   486.25
AMERICAN EXPRESS    Internet                              3/11/2020                   519.14

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                   571.52

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/11/2020                   573.49
AMERICAN EXPRESS    Other Outside Services                3/11/2020                   619.31
AMERICAN EXPRESS    Dues/Subscriptions                    3/11/2020                   625.00
AMERICAN EXPRESS    Other Outside Services                3/11/2020                   764.36

AMERICAN EXPRESS    T&E - Other Travel/Entertainment      3/11/2020                   783.91
AMERICAN EXPRESS    Other Outside Services                3/11/2020                   799.00
AMERICAN EXPRESS    Program Educational Events            3/11/2020                   835.16
AMERICAN EXPRESS    Other Outside Services                3/11/2020                   899.00
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              3/11/2020                   924.34
AMERICAN EXPRESS    Postage & Freight                     3/11/2020                 1,180.05
AMERICAN EXPRESS    Advertising                           3/11/2020                 1,500.00
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Creditor            Reason for Payment                  Date          Total paid

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                             3/11/2020                   2,021.76
AMERICAN EXPRESS    Donor Egg Exp                         3/11/2020                   2,474.10
AMERICAN EXPRESS    Regulatory Fees                       3/11/2020                   2,894.00
AMERICAN EXPRESS    Advertising                           3/11/2020                   5,633.05
AMERICAN EXPRESS    Program Educational Events            3/11/2020                   6,000.00
AMERICAN EXPRESS    Postage & Freight                     3/20/2020                       9.99
AMERICAN EXPRESS    T&E - Airfare                         3/20/2020                      39.00
AMERICAN EXPRESS    Automobile Expense                    3/20/2020                      49.29
AMERICAN EXPRESS    Printing                              3/20/2020                      61.04
AMERICAN EXPRESS    Storage Services                      3/20/2020                      72.00
AMERICAN EXPRESS    Utilities                             3/20/2020                     263.51
AMERICAN EXPRESS    T&E - Meals                           3/20/2020                     282.86
AMERICAN EXPRESS    Cellular Phone/Page                   3/20/2020                     298.43
AMERICAN EXPRESS    License & Fees                        3/20/2020                     389.00
AMERICAN EXPRESS    Dues/Subscriptions                    3/20/2020                     686.96
AMERICAN EXPRESS    Internet                              3/20/2020                     798.67
AMERICAN EXPRESS    WAN Telecom                           3/20/2020                   1,665.93
AMERICAN EXPRESS    Printing                              3/20/2020                   3,330.15

AMERICAN EXPRESS    Clinical/OR Supplies & Disposable     3/20/2020                   4,699.98
AMERICAN EXPRESS    Outside Lab Tests                     3/20/2020                   8,699.00
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                              3/20/2020                   8,706.31
AMERICAN EXPRESS    Postage & Freight                     3/23/2020                       9.99
AMERICAN EXPRESS    T&E - Meals                           3/23/2020                      13.62
AMERICAN EXPRESS    Drug Expense                          3/23/2020                      60.50
AMERICAN EXPRESS    Equip. Repairs & Maint.               3/23/2020                      65.00
AMERICAN EXPRESS    Storage Services                      3/23/2020                      72.00
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Creditor            Reason for Payment                 Date          Total paid

AMERICAN EXPRESS    T&E - Other Travel/Entertainment     3/23/2020                     121.31
AMERICAN EXPRESS    T&E - Meals                          3/23/2020                     158.87
AMERICAN EXPRESS    Automobile Expense                   3/23/2020                     171.80
AMERICAN EXPRESS    Cellular Phone/Page                  3/23/2020                     238.81
AMERICAN EXPRESS    Utilities                            3/23/2020                     376.89
AMERICAN EXPRESS    Dues/Subscriptions                   3/23/2020                     800.95
AMERICAN EXPRESS    Internet                             3/23/2020                     921.92
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             3/23/2020                   8,003.60
AMERICAN EXPRESS    Other Benefits                       3/24/2020                      55.06
AMERICAN EXPRESS    Automobile Expense                   3/24/2020                      86.77
AMERICAN EXPRESS    Recruitment                          3/24/2020                      90.00
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             3/24/2020                      94.74
AMERICAN EXPRESS    T&E - Lodging                        3/24/2020                     123.17
AMERICAN EXPRESS    Postage & Freight                    3/24/2020                     127.63
AMERICAN EXPRESS    Bank Fees                            3/24/2020                     221.66
AMERICAN EXPRESS    Dues/Subscriptions                   3/24/2020                     250.00
                    Office Supplies & Non-Marketing
AMERICAN EXPRESS    Printing                             3/24/2020                     272.44

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                            3/24/2020                     278.96
AMERICAN EXPRESS    Cellular Phone/Page                  3/24/2020                     328.59
AMERICAN EXPRESS    Other Marketing Costs                3/24/2020                     359.00
AMERICAN EXPRESS    T&E - Meals                          3/24/2020                     379.16
AMERICAN EXPRESS    Other Benefits                       3/24/2020                     524.17
AMERICAN EXPRESS    MD Referral                          3/24/2020                     648.92

                    Employee Meetings/Educational
AMERICAN EXPRESS    Materials                            3/24/2020                   1,003.68
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Creditor                             Reason for Payment                Date          Total paid
                                     Office Supplies & Non-Marketing
AMERICAN EXPRESS                     Printing                            3/24/2020                    1,833.70
AMERICAN EXPRESS                     Other Outside Services              3/24/2020                    2,978.79
AMERICAN EXPRESS                     Drug Expense                        3/24/2020                    7,732.49
AMERICAN EXPRESS                     Other Outside Services              3/29/2020                       14.80
AMERICAN EXPRESS                     Bank Fees                           3/29/2020                       90.00

                                     Employee Meetings/Educational
AMERICAN EXPRESS                     Materials                           3/29/2020                      96.59

                                     Employee Meetings/Educational
AMERICAN EXPRESS                     Materials                           3/29/2020                     203.09
AMERICAN EXPRESS                     Postage & Freight                   3/29/2020                     330.00

                                     Employee Meetings/Educational
AMERICAN EXPRESS                     Materials                           3/29/2020                      522.41
AMERICAN EXPRESS                     Accrued Other                       3/29/2020                  220,942.89
                                     Office Supplies & Non-Marketing
AMERICAN EXPRESS                     Printing                            4/10/2020                     520.67

                                     Employee Meetings/Educational
AMERICAN EXPRESS                     Materials                           4/10/2020                    2,146.19
AMERICAN EXPRESS                     Web Development and Mgmt            4/10/2020                    2,923.00
AMERICAN EXPRESS                     Donor Egg Exp                       4/10/2020                    5,251.34
AMERICAN EXPRESS                                                        5/10/2020                    1,229.86
AMERICAN EXPRESS                                                        5/10/2020                    1,992.61
AMERICAN MEDICAL ASSOCIATION         Dues/Subscriptions                  2/20/2020                     210.00
AMERICAN POND & FOUNTAIN WORKS       Other Outside Services              2/22/2020                     260.00
AMERICAN SECURITY                    Postage & Freight                   2/25/2020                      16.92
AMERICAN SECURITY                    Other Outside Services              2/25/2020                     181.00
AMERICAN SOCIETY FOR REPRODUCTIVE
MEDICINE                             Dues/Subscriptions                  2/21/2020                     440.00
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Creditor                             Reason for Payment                Date          Total paid
AMERICAN SOCIETY FOR REPRODUCTIVE
MEDICINE                             Dues/Subscriptions                  3/20/2020                     425.00
AMERICAN UNITED LIFE INSURANCE
COMPANY                              Medical Insurance                   2/27/2020                   1,063.71
AMERICAN UNITED LIFE INSURANCE
COMPANY                              Medical Insurance                   3/23/2020                   1,063.71
AMERIPARK LLC                        Parking Expense                      3/2/2020                   1,720.00
AMI JOY MIRADOR-BARROZO              Automobile Expense                  2/29/2020                     125.00
AMPLE STORAGE                        Storage Services                     3/2/2020                     130.00
ANDREA BRYMAN                        Donor Egg Exp                       2/23/2020                     400.00
ANDREW LUTES                         Other Benefits                      2/24/2020                     153.15
ANDREW YOUNG                         Janitorial Service                  2/24/2020                   1,500.00
ANDREW YOUNG                         Janitorial Service                   3/2/2020                   1,500.00
ANDREW YOUNG                         Janitorial Service                   3/9/2020                   1,500.00
ANDREW YOUNG                         Janitorial Service                  3/16/2020                   1,500.00
ANDREW YOUNG                         Janitorial Service                  3/23/2020                   1,500.00
ANDREW YOUNG                         Janitorial Service                  3/30/2020                   1,500.00
ANDREW YOUNG                         Janitorial Service                   4/6/2020                   1,500.00
ANDREW YOUNG                         Janitorial Service                  4/13/2020                   1,500.00
ANDREW YOUNG                                                            5/11/2020                    1,500.00
ANDY HUANG M.D.                      T&E - Meals                         2/25/2020                     229.42
                                     Office Supplies & Non-Marketing
ANDY HUANG M.D.                      Printing                            3/18/2020                     229.93
                                     Office Supplies & Non-Marketing
ANDY HUANG M.D.                      Printing                            3/18/2020                     229.94
ANDY HUANG M.D.                      T&E - Meals                         3/31/2020                     111.20
ANELENE KELLEY                       Automobile Expense                  2/21/2020                      27.00
ANELENE KELLEY                       T&E - Meals                         2/21/2020                      28.95
ANELENE KELLEY                       T&E - Lodging                       2/21/2020                     340.60
ANELENE KELLEY                       T&E - Airfare                       2/21/2020                     589.92
Anexeon, LLC                         Web Development and Mgmt            2/20/2020                     848.75
Anexeon, LLC                         Telephone Expense                    3/1/2020                     100.00
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Creditor                Reason for Payment            Date         Total paid
Anexeon, LLC            Web Development and Mgmt          3/1/2020                   100.00
Anexeon, LLC            Web Development and Mgmt          3/1/2020                   211.70
Anexeon, LLC            Internet                          3/1/2020                   263.14
Anexeon, LLC            Internet                          3/1/2020                   272.92
Anexeon, LLC            Telephone Expense                 3/1/2020                   412.86
Anexeon, LLC            Internet                          3/1/2020                   471.34
Anexeon, LLC            Web Development and Mgmt          3/1/2020                   514.29
Anexeon, LLC            Web Development and Mgmt          3/1/2020                   669.20
Anexeon, LLC            Telephone Expense                 3/1/2020                   806.79
Anexeon, LLC            Internet                          3/1/2020                   895.00
Anexeon, LLC            Telephone Expense                 3/1/2020                   916.95
Anexeon, LLC            Internet                          3/1/2020                 1,007.80
Anexeon, LLC            Telephone Expense                 3/1/2020                 1,071.51
Anexeon, LLC            Web Development and Mgmt          3/1/2020                 1,188.38
Anexeon, LLC            Web Development and Mgmt          3/1/2020                 1,593.40
Anexeon, LLC            Web Development and Mgmt          3/1/2020                 1,976.43
Anexeon, LLC            Web Development and Mgmt          3/1/2020                 3,174.44
Anexeon, LLC            Web Development and Mgmt          3/1/2020                 3,252.78
ANGELICA CORPORATION    Laundry Services                2/22/2020                     26.31
ANGELICA CORPORATION    Laundry Services                2/22/2020                    105.47
ANGELICA CORPORATION    Laundry Services                2/22/2020                    138.07
ANGELICA CORPORATION    Laundry Services                2/22/2020                    177.60
ANGELICA CORPORATION    Laundry Services                2/22/2020                    223.04
ANGELICA CORPORATION    Laundry Services                2/22/2020                    352.09
ANGELICA CORPORATION    Laundry Services                2/22/2020                    689.49
ANGELICA CORPORATION    Laundry Services                2/29/2020                     20.21
ANGELICA CORPORATION    Laundry Services                2/29/2020                     50.86
ANGELICA CORPORATION    Laundry Services                2/29/2020                    100.46
ANGELICA CORPORATION    Laundry Services                2/29/2020                    101.73
ANGELICA CORPORATION    Laundry Services                2/29/2020                    202.11
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Creditor                        Reason for Payment                Date         Total paid
ANGELICA CORPORATION            Laundry Services                    2/29/2020                    367.29
ANGELICA CORPORATION            Laundry Services                    2/29/2020                    538.03
ANGELICA CORPORATION            Laundry Services                      3/7/2020                    20.21
ANGELICA CORPORATION            Laundry Services                      3/7/2020                   101.73
ANGELICA CORPORATION            Laundry Services                      3/7/2020                   228.46
ANGELICA CORPORATION            Laundry Services                      3/7/2020                   255.99
ANGELICA CORPORATION            Laundry Services                      3/7/2020                   307.27
ANGELICA CORPORATION            Laundry Services                      3/7/2020                   360.27
ANGELICA CORPORATION            Laundry Services                      3/7/2020                   765.10
ANGELICA CORPORATION            Laundry Services                    3/14/2020                     20.21
ANGELICA CORPORATION            Laundry Services                    3/14/2020                    101.73
ANGELICA CORPORATION            Laundry Services                    3/14/2020                    110.21
ANGELICA CORPORATION            Laundry Services                    3/14/2020                    183.41
ANGELICA CORPORATION            Laundry Services                    3/14/2020                    367.29
ANGELICA HARRIS                 Donor Egg Compensation/Insur        3/11/2020                  5,500.00
Angelica Textile Services       Laundry Services                    2/22/2020                    187.32
Angelica Textile Services       Laundry Services                    2/29/2020                    181.41
Angelica Textile Services       Laundry Services                      3/7/2020                     9.77
Angelica Textile Services       Laundry Services                      3/7/2020                   198.21
ANITA ELDER                     Marketing Support Materials         2/24/2020                     50.00
ANITA ELDER                     Marketing Support Materials         3/11/2020                    100.00
                                Office Supplies & Non-Marketing
ANITA EMMRICH                   Printing                            3/25/2020                     47.61
ANNA HEDRIX AND JASON HEDRIX    Attain/Shared Risk Deposits         3/11/2020                 21,300.00
ANNA LANZA                      Tuition Reimbursement                3/5/2020                  1,000.00

ANNA LAROCCO-COCKBURN, MPH      Professional Fee-Social Worker        3/4/2020                 6,910.00

ANNA LAROCCO-COCKBURN, MPH      Professional Fee-Social Worker      3/24/2020                  3,635.00
ANNE MARIE LLOYD                Malpractice Insurance               3/26/2020                    904.00
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Creditor                               Reason for Payment                  Date          Total paid

ANSWER CALIFORNIA (THE CALL CENTER)    Telephone - Answer Svc                 3/1/2020                     460.36

ANTHONY LEE ASSOCIATES INC             Clinical/OR Supplies & Disposable     2/28/2020                     210.00
ANTHURIUM LLC                          Consulting Fees                       2/29/2020                   2,538.00
ANTHURIUM LLC                          Consulting Fees                       3/31/2020                   2,835.00
APC II                                 Rent Expense                          2/24/2020                   1,576.50

APPLE AIR CONDITIONING AND HTG, INC    Facility Repairs & Maint.              3/4/2020                     582.00
APPSPRINGS                             Other Outside Services                2/28/2020                      34.17
APPSPRINGS                             Other Outside Services                 3/4/2020                      42.87
                                       Office Supplies & Non-Marketing
APRIL FISHER                           Printing                              3/20/2020                      28.91
AQUA PENNSYLVANIA, INC                 Utilities                             2/20/2020                     278.58
AQUARIUM CONCEPTS, INC.                Other Outside Services                2/28/2020                     486.80
AQUARIUM CONCEPTS, INC.                Other Outside Services                3/27/2020                     429.01
                                       Office Supplies & Non-Marketing
ARACELI TRINIDAD                       Printing                               4/9/2020                      97.98

AROUND THE CLOCK ANSWERING SERVICE     Telephone Expense                      4/1/2020                     467.95
ART RISK FINANCIAL & INSURANCE
SOLUTIONS                              Donor Egg Exp                         2/21/2020                     236.18
ART RISK FINANCIAL & INSURANCE
SOLUTIONS                              Donor Egg Exp                         2/26/2020                     246.23
ART RISK FINANCIAL & INSURANCE
SOLUTIONS                              Donor Egg Exp                         2/28/2020                     236.18
ART RISK FINANCIAL & INSURANCE
SOLUTIONS                              Donor Egg Exp                          3/5/2020                     236.18
ART RISK FINANCIAL & INSURANCE
SOLUTIONS                              Donor Egg Exp                          3/9/2020                     236.18
ART RISK FINANCIAL & INSURANCE
SOLUTIONS                              Donor Egg Exp                         3/16/2020                     246.23
ARTHUR L. DAVIS PUBLISHING AGENCY,
INC                                    Marketing Support Materials            4/1/2020                     991.97
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Creditor                          Reason for Payment                  Date         Total paid
ASHLEY AND JAMES TRAVIS           Attain/Shared Risk Deposits             4/2/2020                11,900.00
ASHLEY CHILDRESS                  Attain/Shared Risk Deposits             4/6/2020                19,999.98
ASHLEY ROTTLUFF                   Donor Pass Thru(Co Mgt Fees)          3/12/2020                  7,000.00
ASHLEY STAPLES AND SAM STAPLES    Attain/Shared Risk Deposits           3/11/2020                 15,000.00
ASIMA AHMAD, M.D.                 Auto Allowance                        3/14/2020                    125.00
Aspen Ridge 165 LLC               Rent Expense                          3/15/2020                  3,520.00
ASRM_CV                           Dues/Subscriptions                    2/20/2020                    505.00

ASSOCIATED BAG COMPANY            Clinical/OR Supplies & Disposable     3/10/2020                    192.16
AT & T                            Telephone Expense                     2/23/2020                    157.33
AT & T                            Internet                              2/27/2020                     42.80
AT & T                            Telephone Expense                     2/28/2020                    178.70
AT & T                            WAN Telecom                            3/4/2020                    241.33
AT & T                            Internet                               3/5/2020                     58.85
AT & T                            Telephone Expense                     3/19/2020                    157.36
AT & T                            Telephone Expense                     3/23/2020                    157.36
AT & T                            Internet                              3/27/2020                     42.80
AT & T                            Telephone Expense                     3/28/2020                    201.81
AT & T- 5014                      Telephone Expense                     2/28/2020                     58.30
AT & T- 5014                      WAN Telecom                            3/8/2020                    107.00
AT & T- 5014                      WAN Telecom                           3/14/2020                    128.40
AT& T- 5025                       Telephone Expense                     2/22/2020                  1,974.69
AT& T- 5025                       Telephone Expense                     2/28/2020                  1,876.35
AT& T- 5025                       Telephone Expense                      3/1/2020                      9.22
AT& T- 5025                       Telephone Expense                      3/1/2020                  2,110.52
AT& T- 5025                       Telephone Expense                      3/4/2020                    969.72
AT& T- 5025                       Telephone Expense                     3/13/2020                  1,044.20
AT& T- 5025                       Telephone Expense                      4/1/2020                      9.28
AT& T- 5025                       Telephone Expense                      4/1/2020                  3,715.85
AT&T- 5019                        WAN Telecom                            3/1/2020                  2,902.53
AT&T- 5019                        WAN Telecom                           3/10/2020                  2,936.96
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Creditor                          Reason for Payment                  Date         Total paid
AT&T- 5019                        WAN Telecom                           3/11/2020                  1,269.24
AT&T- 5019                        Internet                              3/16/2020                     42.35
AT&T- 5019                        Telephone Expense                     3/19/2020                  2,979.64
AT&T MOBILITY                     Cellular Phone/Page                   2/29/2020                     68.34
AT&T MOBILITY                     Telephone Expense                       3/9/2020                   219.87
AT&T MOBILITY                     Telephone Expense                     3/16/2020                    271.87
AT&T MOBILITY                     Telephone Expense                     3/16/2020                  1,358.03
AUDI FINANCIAL SERVICES           Automobile Expense                    2/27/2020                    423.92
AUDI FINANCIAL SERVICES           Automobile Expense                      3/9/2020                   892.40
AUDI FINANCIAL SERVICES           Automobile Expense                      3/9/2020                   933.03
AUDI FINANCIAL SERVICES           Automobile Expense                      3/9/2020                 1,000.00
AUDI FINANCIAL SERVICES           Automobile Expense                      3/9/2020                 1,188.75
AUDI FINANCIAL SERVICES           Automobile Expense                    3/16/2020                    799.96
AUDI FINANCIAL SERVICES           Automobile Expense                    3/16/2020                  1,098.31
AUDI FINANCIAL SERVICES           Automobile Expense                    3/16/2020                  1,221.95
AUDIT & ADJUSTMENT COMPANY INC    Other Outside Services                2/29/2020                  1,970.89
AUDIT & ADJUSTMENT COMPANY INC    Other Outside Services                3/10/2020                    311.00

AUSTIN PHARMACY INC               Clinical/OR Supplies & Disposable     2/29/2020                  1,492.68
AUTOTASK CORPORATION              License & Fees                         3/2/2020                  1,500.00
AVELLA OF ST LOUIS, INC           Drug Expense                          2/25/2020                    564.95
AVELLA OF ST LOUIS, INC           Drug Expense                          2/26/2020                  1,080.00
AVELLA OF ST LOUIS, INC           Drug Expense                          3/16/2020                  1,079.95
AXIOM GLOBAL, INC.                Consulting Fees                       2/29/2020                 16,080.00
AYANNA WALDEN, MD                 Consulting Fees                        3/1/2020                  1,000.00
AYANNA WALDEN, MD                 Consulting Fees                        4/1/2020                  1,000.00
                                  Office Supplies & Non-Marketing
AZALEA COFFEE SERVICE INC         Printing                              2/21/2020                    259.60
                                  Office Supplies & Non-Marketing
AZALEA COFFEE SERVICE INC         Printing                              2/27/2020                    259.60
Aziz, Sima S.                     Director Marketing                     5/5/2020                 10,666.00
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Creditor                              Reason for Payment                   Date        Total paid
AZTEC LEASING INC                     Equipment Rental                       2/29/2020                   143.68
AZTEC LEASING INC                     Equipment Rental                       2/29/2020                   143.68
AZTEC LEASING INC                     Equipment Rental                       2/29/2020                   179.46
AZTEC LEASING INC                     Equipment Rental                       2/29/2020                   235.51
AZTEC LEASING INC                     Equipment Rental                       2/29/2020                   237.14
AZTEC LEASING INC                     Equipment Rental                       2/29/2020                   333.61
AZTEC LEASING INC                     Rent/Lease - Medical Equip             2/29/2020                   340.19
AZTEC LEASING INC                     Equipment Rental                       2/29/2020                   342.54

B 3 ENTERTAINMENT PRODUCTIONS, INC. Other Outside Services                   2/21/2020                   450.00
BabyBloom                             Healthcare Services                    4/6/2020                  8,000.00
BabyBloom                             Healthcare Services                    4/6/2020                  8,000.00
BAILEY'S COFFEE SERVICE, INC          Other Expense                           3/5/2020                    82.93
BALLSTON METRO CENTER LLC             Real Estate Tax                        2/25/2020                   241.81
BALLSTON METRO CENTER LLC             Rent Expense                           2/25/2020                23,781.99
BALLSTON METRO CENTER LLC             Utilities                              3/13/2020                   675.00
BANK OF AMERICA                       Automobile Expense                      3/2/2020                 1,051.19
BANK OF AMERICA                       MIS Supplies - Cloud Services           3/7/2020                     7.00
BANK OF AMERICA                       MIS Supplies - Cloud Services           3/7/2020                    14.99

BANK OF AMERICA                       T&E - Other Travel/Entertainment        3/7/2020                    19.15
BANK OF AMERICA                       MIS Supplies - Cloud Services           3/7/2020                    25.00
BANK OF AMERICA                       Advertising                             3/7/2020                    25.00
BANK OF AMERICA                       Advertising                             3/7/2020                    35.00
                                      Office Supplies & Non-Marketing
BANK OF AMERICA                       Printing                                3/7/2020                    37.12

BANK OF AMERICA                       T&E - Other Travel/Entertainment        3/7/2020                    48.79
BANK OF AMERICA                       MD Referral                             3/7/2020                   109.53
BANK OF AMERICA                       Internet                                3/7/2020                   147.13
BANK OF AMERICA                       MD Referral                             3/7/2020                   284.28
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Creditor                         Reason for Payment                  Date         Total paid
BANK OF AMERICA                  Advertising                             3/7/2020                    379.99
BANK OF AMERICA                  Cellular Phone/Page                     3/7/2020                    559.22
BANK OF AMERICA                  Radio                                   3/7/2020                    680.00
BANK OF AMERICA                  Advertising                             3/7/2020                    881.35
BANK OF AMERICA                  Advertising                             3/7/2020                  1,199.47
BANK OF AMERICA                  Equip. Repairs & Maint.                 3/7/2020                  1,678.91
BANK OF AMERICA                  Print Ads                             3/16/2020                      98.00
BANK OF AMERICA                  Other Outside Services                3/16/2020                     162.41
BANK OF AMERICA                  Facility Repairs & Maint.             3/16/2020                     189.00
BANK OF AMERICA                  Telephone Expense                     3/16/2020                     194.32
BANK OF AMERICA                  Recruitment                           3/16/2020                     215.19
BANK OF AMERICA                  Dues/Subscriptions                    3/16/2020                     275.00
BANK OF AMERICA                  Printing                              3/16/2020                     332.36
BANK OF AMERICA                  Transcription Services                3/16/2020                     443.00
BANK OF AMERICA                  Internet                              3/16/2020                     737.55
BANK OF AMERICA                  Other Benefits                        3/16/2020                     750.00
BANK OF AMERICA                  T&E - Lodging                         3/16/2020                     763.63
BANK OF AMERICA                  T&E - Meals                           3/16/2020                   1,095.26
                                 Office Supplies & Non-Marketing
BANK OF AMERICA                  Printing                              3/16/2020                   1,408.85
BANK OF AMERICA                  MIS Supplies - Hardware               3/16/2020                   1,429.69
BANK OF AMERICA                  MD Referral                           3/16/2020                   2,345.94
Bank of America (Insperity)      Administrative Services               5/7/2020                 537,000.00

BANK OF AMERICA BUSINESS CARD    Clinical/OR Supplies & Disposable     3/18/2020                     392.11
BANK OF AMERICA BUSINESS CARD    Outside Lab Tests                     3/18/2020                  14,850.00
BANK OF AMERICA BUSINESS CARD    Drug Expense                          3/18/2020                  24,818.75
Bank of Montreal                                                       5/8/2020                  50,000.00
BARBARA GORDON                   Automobile Expense                    2/20/2020                    109.25
BARKER PROPERTY MAINTENANCE      Facility Repairs & Maint.             2/25/2020                    117.98
BARKER PROPERTY MAINTENANCE      Facility Repairs & Maint.             2/25/2020                    176.96
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Creditor                       Reason for Payment                  Date         Total paid
BARKER PROPERTY MAINTENANCE    Facility Repairs & Maint.             2/25/2020                     206.46
BARKER PROPERTY MAINTENANCE    Facility Repairs & Maint.             2/25/2020                     612.69
BARKER PROPERTY MAINTENANCE    Facility Repairs & Maint.               3/5/2020                    840.52
BARKER PROPERTY MAINTENANCE    Facility Repairs & Maint.               3/5/2020                  1,160.94
BARKER PROPERTY MAINTENANCE    Facility Repairs & Maint.             3/11/2020                     268.13
BARKER PROPERTY MAINTENANCE    Facility Repairs & Maint.             3/11/2020                     801.57
BARKER PROPERTY MAINTENANCE    Facility Repairs & Maint.             3/12/2020                     147.47
BARNES & THORNBURG , LLP       Legal Fees                            2/29/2020                  15,979.00
BARRY MIRKIN                   Rent Expense                          2/25/2020                   2,932.70
BARRY MIRKIN                   Rent Expense                          2/25/2020                  16,905.80

BARRY WITTEN, M.D.             Medical Insurance - Physicians        3/24/2020                   2,198.10
BAS                                                                 5/20/2020                  80,000.00
BASIC CORPORATE                Medical Insurance                       3/9/2020                   411.60
BASIC CORPORATE                                                     5/13/2020                     416.50
BB & B, INC                    Equip. Repairs & Maint.                 3/4/2020                   190.00

BCBS OF SC                     Medical Insurance - Physicians        2/25/2020                   5,952.54
BCBS OF SC                     Medical Insurance                     2/25/2020                   9,053.38
BCBS OF SC                     Medical Insurance                     2/25/2020                  24,015.74

BCBS OF SC                     Medical Insurance - Physicians        3/24/2020                   5,952.54
BCBS OF SC                     Medical Insurance                     3/24/2020                  33,069.12
BECO MANAGEMENT                Rent Operating Expense                2/20/2020                     300.00
BECO MANAGEMENT                Rent Expense                          2/20/2020                  10,236.61
BECO MANAGEMENT                Rent Expense                          3/20/2020                     300.00

BEEKLEY CORP                   Clinical/OR Supplies & Disposable     3/12/2020                     453.56
BEETA MOHAJERI                 Other Revenue                         2/26/2020                     496.79
BENCHMARK SYSTEMS INC          MIS Supplies - Hardware               2/20/2020                   1,279.99
BENCHMARK SYSTEMS INC          MIS Supplies - Hardware               2/27/2020                      15.28
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Creditor                           Reason for Payment                  Date         Total paid
BENCHMARK SYSTEMS INC              MIS Supplies - Hardware               2/27/2020                    100.25
BENEFITPLAN MANAGER                Other Outside Services                  3/1/2020                 2,304.00

BERKELEY MEDEVICES INC             Clinical/OR Supplies & Disposable       3/6/2020                   193.90

BERKELEY MEDEVICES INC             Clinical/OR Supplies & Disposable       3/9/2020                    94.01

BERKELEY MEDEVICES INC             Clinical/OR Supplies & Disposable     3/11/2020                     42.31
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    139.42
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    319.17
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    375.60
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    387.08
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    388.10
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    435.70
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    523.79
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    529.70
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    598.18
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    627.62
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    651.08
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    800.25
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                            Other Benefits                        3/16/2020                    877.91
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Creditor                              Reason for Payment           Date          Total paid
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                               Other Benefits                 3/16/2020                     877.91
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                               Other Benefits                 3/16/2020                     921.74
BERKSHIRE LIFE INSURANCE CO. OF
AMERICA                               Other Benefits                 3/16/2020                   1,110.14
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     168.56
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     212.36
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     232.76
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     378.92
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     384.80
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     447.16
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     528.72
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     655.20
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     688.40
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     712.08
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                     799.04
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                   1,158.84
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                   1,248.36
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                  4/9/2020                   1,475.32
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Creditor                              Reason for Payment                  Date          Total paid
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   1,514.00
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   1,566.80
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   1,597.84
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   1,613.52
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   1,724.00
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   1,905.52
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   1,964.04
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   2,059.68
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   2,504.56
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   2,601.36
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   2,601.36
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   2,736.72
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   2,785.96
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA                               Other Benefits                         4/9/2020                   2,884.56
BERTON N. RING, P.C.                  Legal Fees                            2/26/2020                   1,976.25

BESSE MEDICAL                         Clinical/OR Supplies & Disposable      3/3/2020                     241.90

BESSE MEDICAL                         Clinical/OR Supplies & Disposable     3/16/2020                     362.85

BESSE MEDICAL                         Clinical/OR Supplies & Disposable     3/19/2020                     312.66
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Creditor                           Reason for Payment                  Date          Total paid

BESSE MEDICAL                      Clinical/OR Supplies & Disposable     3/19/2020                     521.10
Best Life & Health Insurance Co    Medical Insurance                      3/1/2020                     701.80
                                   Office Supplies & Non-Marketing
BEST OFFICE COFFEE SERVICE INC     Printing                               3/2/2020                      37.84
                                   Office Supplies & Non-Marketing
BEST OFFICE COFFEE SERVICE INC     Printing                               3/2/2020                     151.74
                                   Office Supplies & Non-Marketing
BEST OFFICE COFFEE SERVICE INC     Printing                               3/2/2020                     156.37
                                   Office Supplies & Non-Marketing
BEST OFFICE COFFEE SERVICE INC     Printing                               3/2/2020                     267.57
                                   Office Supplies & Non-Marketing
BEST OFFICE COFFEE SERVICE INC     Printing                               3/2/2020                     329.64
                                   Office Supplies & Non-Marketing
BEST OFFICE COFFEE SERVICE INC     Printing                              3/16/2020                     421.36
                                   Office Supplies & Non-Marketing
BEST OFFICE COFFEE SERVICE INC     Printing                              3/20/2020                      68.94
                                   Office Supplies & Non-Marketing
BETHANY BONNE                      Printing                               4/5/2020                      29.81
BIANCA JARDIN PHD LLC              Consulting Fees                       2/20/2020                     330.00
BIANCA JARDIN PHD LLC              Consulting Fees                        3/3/2020                     330.00
BIANCA JARDIN PHD LLC              Consulting Fees                        3/5/2020                     330.00
BIANCA JARDIN PHD LLC              Consulting Fees                       3/18/2020                     330.00
BIO- MED ENGINEERING, INC          Equip. Repairs & Maint.                3/1/2020                     834.14
BIO- MED ENGINEERING, INC          Equip. Repairs & Maint.               3/27/2020                     357.06

BIO RAD LABORATORIES               Clinical/OR Supplies & Disposable     2/28/2020                     716.25

BIO RAD LABORATORIES               Clinical/OR Supplies & Disposable     2/28/2020                   3,891.83
BIO RAD LABORATORIES               Media                                  3/4/2020                   5,091.59

BIO RAD LABORATORIES               Clinical/OR Supplies & Disposable      3/6/2020                     309.58

BIO RAD LABORATORIES               Clinical/OR Supplies & Disposable      3/6/2020                     311.03
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Creditor                               Reason for Payment                   Date        Total paid
BIO RAD LABORATORIES                   Postage & Freight                      3/11/2020                    47.68

BIO RAD LABORATORIES                   Endocrine Testing Kits & Reagents      3/11/2020                  4,752.39
BIO RAD LABORATORIES                   Media                                  3/17/2020                    637.91
BIO RAD LABORATORIES                   Media                                  3/20/2020                    725.15
BIO-TEK SERVICES                       Equip. Repairs & Maint.                 3/2/2020                    500.00
BISHOP ANESTHESIA SERVICES             Professional Fee- Anesthes.             3/1/2020                  3,200.00
BISHOP ANESTHESIA SERVICES             Professional Fee- Anesthes.            3/30/2020                  4,800.00
BLACK SHEEP SIGNS LLC                  Facility Repairs & Maint.              2/20/2020                    241.31
BLANKENSHIP ANESTHESIA LLC             Professional Fee- Anesthes.            2/29/2020                  8,000.00
BLANKENSHIP ANESTHESIA LLC             Professional Fee- Anesthes.            3/30/2020                    960.00
BLANKENSHIP ANESTHESIA LLC             Professional Fee- Anesthes.            3/30/2020                 10,600.00

BLOCK IMAGING PARTS AND SERVICE INC    Equip. Repairs & Maint.                2/28/2020                   580.00

BLOCK IMAGING PARTS AND SERVICE INC    Equip. Repairs & Maint.                2/28/2020                   580.00

BLOCK IMAGING PARTS AND SERVICE INC    Equip. Repairs & Maint.                 3/1/2020                  3,650.00

BLOCK IMAGING PARTS AND SERVICE INC    Equip. Repairs & Maint.                 3/6/2020                   570.00

BLOCK IMAGING PARTS AND SERVICE INC    Rent/Lease - Medical Equip              3/9/2020                   580.00

BLOCK IMAGING PARTS AND SERVICE INC    Rent/Lease - Medical Equip              3/9/2020                  1,529.00

BLUE RIDGE X-RAY COMPANY               Clinical/OR Supplies & Disposable       3/5/2020                   451.21
                                       Office Supplies & Non-Marketing
BLUE SKIES PRODUCT DISTRIBUTING        Printing                               2/24/2020                    31.80
                                       Office Supplies & Non-Marketing
BLUE SKIES PRODUCT DISTRIBUTING        Printing                               3/23/2020                     10.60
BLUECROSS BLUESHIELD OF ILLINOIS       Medical Insurance                      3/17/2020                216,677.16
BLUECROSS BLUESHIELD OF ILLINOIS       Medical Insurance                       4/1/2020                230,000.00
BLUECROSS BLUESHIELD OF ILLINOIS                                             5/14/2020                451,195.80
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Creditor                             Reason for Payment                  Date          Total paid

BMB ENTERPRISES INC                  Clinical/OR Supplies & Disposable     2/25/2020                   1,628.40
BME Service                          Equip. Repairs & Maint.                3/1/2020                      80.00
BMW FINANCIAL SERVICES               Automobile Expense                     3/9/2020                     794.00
BMW FINANCIAL SERVICES               Automobile Expense                    3/16/2020                     815.09
BMW FINANCIAL SERVICES               Automobile Expense                    3/16/2020                   1,810.87
BOLAND                               Equip. Repairs & Maint.                3/1/2020                     230.00
BONNEVILLE                           Advertising                           2/23/2020                   1,600.00
BONNEVILLE                           Advertising                           3/29/2020                   2,800.00
BONNEVILLE                           Advertising                           3/29/2020                   2,800.00
BORDERLAN,INC                        MIS Supplies - Cloud Services          3/1/2020                     450.00
BORDERLAN,INC                        MIS Supplies - Cloud Services          3/1/2020                     625.00
BOWEN LAW PROFESSIONAL GROUP         Legal Fees                             3/1/2020                     135.00
BOWEN LAW PROFESSIONAL GROUP         Other Outside Services                 3/1/2020                     135.00
BOWEN LAW PROFESSIONAL GROUP         Legal Fees                            3/31/2020                     747.50
Bowes, Christine                     Dir. Of Prac. Development              5/5/2020                   6,952.00
BRAMSTEDT INSTRUMENT, INC            Equip. Repairs & Maint.               2/24/2020                     760.52
BRAMSTEDT INSTRUMENT, INC            Equip. Repairs & Maint.                3/9/2020                     103.49
Bret Anderson                        Equip. Repairs & Maint.               3/10/2020                     873.30

Bret Anderson                        Clinical/OR Supplies & Disposable     3/10/2020                     974.29
BRI 1866 1515 MARKET LP              Real Estate Tax                       3/17/2020                      95.08
BRI 1866 1515 MARKET LP              Rent Operating Expense                3/17/2020                     367.43
BRI 1866 1515 MARKET LP              Utilities                             3/17/2020                     454.91
BRI 1866 1515 MARKET LP              Rent Operating Expense                3/17/2020                     857.22
BRI 1866 1515 MARKET LP              Rent Expense                          3/17/2020                  10,515.57
BRIAN KAPLAN, MD                     Auto Allowance                        3/14/2020                   1,000.00
BRIGHT HOUSE NETWORKS                Telephone Expense                     2/25/2020                     796.63
BRIGHT HOUSE NETWORKS                Telephone Expense                     2/27/2020                      79.98

BRIGHTHOUSE LIFE INSURANCE COMPANY Business Insurance                      2/21/2020                   6,779.00
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Creditor                               Reason for Payment               Date         Total paid
Brigitta Kay Smith                     Donor Pass Thru(Co Mgt Fees)       2/26/2020                     500.00
Brigitta Kay Smith                     Donor Pass Thru(Co Mgt Fees)       2/26/2020                   7,000.00
BRITTANY JOHANNSEN                     Donor Pass Thru(Co Mgt Fees)       3/10/2020                   5,000.00
BRITTANY SOLIS                         Donor Pass Thru(Co Mgt Fees)       3/12/2020                   7,000.00
BRITTNEY FURIAK                        Donor Pass Thru(Co Mgt Fees)         3/9/2020                    300.00
BRITTNEY FURIAK                        Donor Pass Thru(Co Mgt Fees)         3/9/2020                    750.00
BRITTNEY FURIAK                        Donor Pass Thru(Co Mgt Fees)         3/9/2020                    850.00
BRITTNEY FURIAK                        Donor Pass Thru(Co Mgt Fees)         3/9/2020                    850.00
BRITTNEY FURIAK                        Donor Pass Thru(Co Mgt Fees)         3/9/2020                  5,000.00
BROWN & BROWN OF TEXAS, INC.           Pass Thru Costs                    2/28/2020                     306.65
Brown Goldstein Levy LLP               Professional Services             3/25/2020                  15,000.00
Brown Goldstein Levy LLP                                                 3/25/2020                  15,000.00
BUSINESS PROMOTION                     Advertising                        2/28/2020                   1,000.00
BUSINESS PROMOTION                     Advertising                        3/11/2020                   1,300.00
BUSINESS PROMOTION                     Advertising                        3/30/2020                   1,000.00
BUSINESS PROMOTION                     Advertising                        4/10/2020                   1,300.00

BUSINNESS CARD SERVICES- MASTERCARD Dues/Subscriptions                    3/17/2020                     14.90

BUSINNESS CARD SERVICES- MASTERCARD Other Outside Services                3/17/2020                     35.00

BUSINNESS CARD SERVICES- MASTERCARD Automobile Expense                    3/17/2020                     80.00
                                    Office Supplies & Non-Marketing
BUSINNESS CARD SERVICES- MASTERCARD Printing                              3/17/2020                    107.24

BUSINNESS CARD SERVICES- MASTERCARD T&E - Meals                           3/17/2020                    146.30

BUSINNESS CARD SERVICES- MASTERCARD Automobile Expense                    3/17/2020                    214.04

BUSINNESS CARD SERVICES- MASTERCARD T&E - Meals                           3/17/2020                    283.59

BUSINNESS CARD SERVICES- MASTERCARD Clinical/OR Supplies & Disposable     3/17/2020                    582.34
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Creditor                              Reason for Payment                  Date          Total paid

BUSINNESS CARD SERVICES- MASTERCARD Drug Expense                            3/17/2020                     720.56

BUSINNESS CARD SERVICES- MASTERCARD   Clinical/OR Supplies & Disposable     3/17/2020                    1,404.65
C&S RESEARCH CORP                     Dues/Subscriptions                    2/21/2020                      481.00
C.P. TECHNOLOGY GROUP LLC             Consulting Fees                        3/1/2020                      984.00
C.P. TECHNOLOGY GROUP LLC             Consulting Fees                        3/4/2020                      250.00
CABLEONE/SPARKLIGHT                   WAN Telecom                           3/18/2020                      278.65
CABLEVISION LIGHTPATH INC             WAN Telecom                            3/1/2020                      943.15
CAFO Inc                              Financial Services                   4/24/2020                   25,590.94
CAFO Inc                                                                   4/24/2020                   25,590.94
CAITLIN MILLER                        Donor Pass Thru(Co Mgt Fees)           4/7/2020                    5,000.00
CAITLIN THERESA EVERARD               Donor Pass Thru(Co Mgt Fees)          3/24/2020                    7,000.00
Calli Brown                           Donor Egg Compensation/Insur           3/4/2020                    4,500.00
CALLSOURCE                            WAN Telecom                           2/28/2020                    2,626.48
CALVERT PLUMBING & HEATING CO INC     Equip. Repairs & Maint.               2/26/2020                    1,196.25
CANDLER HOSPITAL                      Outside Lab Tests                      3/1/2020                    3,177.50
CANNONBALL COURIER SERVICE INC        Courier Fees                          2/29/2020                      760.00
CANON                                 Equip. Repairs & Maint.               3/13/2020                      134.27
CANON                                 Equipment Rental                      3/13/2020                      320.68
CANON                                 Equip. Repairs & Maint.               3/13/2020                      327.24
CANON                                 Equipment Rental                      3/13/2020                      359.95
CANON FINANCIAL SERVICES, INC         Equipment Rental                       3/1/2020                      907.65
CANTERA MO LLC                        Rent Operating Expense                2/25/2020                      361.00
CANTERA MO LLC                        Real Estate Tax                       2/25/2020                      863.00
CANTERA MO LLC                        Rent Operating Expense                2/25/2020                    1,321.00
CANTERA MO LLC                        Rent Expense                          2/25/2020                    3,072.00
CANTERA MO LLC                        Rent Operating Expense                3/25/2020                      361.00
CANTERA MO LLC                        Real Estate Tax                       3/25/2020                      863.00
CANTERA MO LLC                        Rent Operating Expense                3/25/2020                    1,321.00
CANTERA MO LLC                        Rent Expense                          3/25/2020                    3,072.00
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Creditor                            Reason for Payment                Date         Total paid
CANTEY TECHNOLOGY CONSULTING LLC    Other Outside Services              2/26/2020                    750.00
CANTEY TECHNOLOGY CONSULTING LLC    Other Outside Services                3/4/2020                   150.00
CAPEX MD LLC                        Other Expense                       2/29/2020                    576.00
CAPEX MD LLC                        Other Expense                       3/31/2020                    475.61
CAPITAL ONE BANK                    Other Outside Services                3/5/2020                    14.54
CAPITAL ONE BANK                    Transcription Services                3/5/2020                    99.00
CAPITAL ONE BANK                    T&E - Lodging                         3/5/2020                   145.98
CAPITAL ONE BANK                    T&E - Meals                           3/5/2020                   388.66
CAPITAL ONE BANK                    Use Tax Expense                       3/5/2020                   720.27
CAPITAL ONE BANK                    T&E - Meals                         3/13/2020                     45.37
CAPITAL ONE BANK                    T&E - Lodging                       3/13/2020                    114.00
CAPITAL ONE BANK                    Telephone Expense                   3/13/2020                    178.15
CAPITAL ONE BANK                    Storage Services                    3/13/2020                    836.00
CAPITAL ONE BANK                    Donor Egg Compensation/Insur        3/13/2020                  1,200.00
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                      0.50
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                      1.00
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                      2.75
CAPITAL ONE BANK (USA), NA          Automobile Expense                  2/21/2020                      6.80
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                      7.50
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                      7.50
CAPITAL ONE BANK (USA), NA          Postage & Freight                   2/21/2020                      7.75
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                      8.25
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                      9.00
CAPITAL ONE BANK (USA), NA          MIS Supplies-Software               2/21/2020                      9.99
CAPITAL ONE BANK (USA), NA          MIS Supplies-Software               2/21/2020                      9.99
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                     10.00
CAPITAL ONE BANK (USA), NA          Postage & Freight                   2/21/2020                     10.40
CAPITAL ONE BANK (USA), NA          Postage & Freight                   2/21/2020                     10.40
                                    Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA          Printing                            2/21/2020                    10.76
CAPITAL ONE BANK (USA), NA          Parking Expense                     2/21/2020                    11.00
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Creditor                      Reason for Payment              Date        Total paid
CAPITAL ONE BANK (USA), NA    Parking Expense                   2/21/2020                   11.25
CAPITAL ONE BANK (USA), NA    MIS Supplies-Software             2/21/2020                   11.99
CAPITAL ONE BANK (USA), NA    Postage & Freight                 2/21/2020                   15.15
CAPITAL ONE BANK (USA), NA    Automobile Expense                2/21/2020                   15.60
CAPITAL ONE BANK (USA), NA    Automobile Expense                2/21/2020                   19.76

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                         2/21/2020                   20.37

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                         2/21/2020                   20.37

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                         2/21/2020                   20.37

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                         2/21/2020                   20.37
CAPITAL ONE BANK (USA), NA    T&E - Meals                       2/21/2020                   22.84
CAPITAL ONE BANK (USA), NA    Postage & Freight                 2/21/2020                   23.04
CAPITAL ONE BANK (USA), NA    Dues/Subscriptions                2/21/2020                   25.00
CAPITAL ONE BANK (USA), NA    Dues/Subscriptions                2/21/2020                   25.00

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                         2/21/2020                   27.08
CAPITAL ONE BANK (USA), NA    Postage & Freight                 2/21/2020                   29.85
CAPITAL ONE BANK (USA), NA    MD Referral                       2/21/2020                   32.23
CAPITAL ONE BANK (USA), NA    Automobile Expense                2/21/2020                   35.20
CAPITAL ONE BANK (USA), NA    Telephone Expense                 2/21/2020                   35.30

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                         2/21/2020                   40.36
CAPITAL ONE BANK (USA), NA    T&E - Meals                       2/21/2020                   41.95
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Creditor                      Reason for Payment                Date          Total paid
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     43.37
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     44.59
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     44.59
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     44.59
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     52.96
CAPITAL ONE BANK (USA), NA    Telephone Expense                   2/21/2020                     61.00
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     64.00
CAPITAL ONE BANK (USA), NA    Recruitment                         2/21/2020                     64.52
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     72.09
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     76.00
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     76.25
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     76.51
CAPITAL ONE BANK (USA), NA    T&E - Meals                         2/21/2020                     79.22
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     79.32
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     79.65
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     79.93
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     80.68
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     80.89
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     81.99
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     83.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     83.96
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     85.62
CAPITAL ONE BANK (USA), NA    T&E - Meals                         2/21/2020                     86.40
CAPITAL ONE BANK (USA), NA    Telephone Expense                   2/21/2020                     91.39
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     92.13
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Creditor                      Reason for Payment                  Date        Total paid
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                    93.85
CAPITAL ONE BANK (USA), NA    Telephone Expense                     2/21/2020                    98.00
CAPITAL ONE BANK (USA), NA    Telephone Expense                     2/21/2020                    98.00
CAPITAL ONE BANK (USA), NA    Telephone Expense                     2/21/2020                    98.00
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                    98.95

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     2/21/2020                   109.17
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   118.51
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   120.35
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   128.76
CAPITAL ONE BANK (USA), NA    Recruitment                           2/21/2020                   132.31
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   137.98
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   142.47
CAPITAL ONE BANK (USA), NA    T&E - Meals                           2/21/2020                   144.11
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   145.82
CAPITAL ONE BANK (USA), NA    MIS Supplies-Software                 2/21/2020                   149.00
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   150.00
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   161.00
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   165.43
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   167.96
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   172.38
CAPITAL ONE BANK (USA), NA    T&E - Meals                           2/21/2020                   180.77
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   187.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   188.89
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   198.00
CAPITAL ONE BANK (USA), NA    T&E - Meals                           2/21/2020                   200.00
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   201.64
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Creditor                      Reason for Payment                  Date          Total paid
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     213.50
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     219.51
CAPITAL ONE BANK (USA), NA    Dues/Subscriptions                    2/21/2020                     225.00
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                     229.02

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     2/21/2020                     229.16
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     231.64
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     236.80
CAPITAL ONE BANK (USA), NA    T&E - Meals                           2/21/2020                     244.32
CAPITAL ONE BANK (USA), NA    Recruitment                           2/21/2020                     250.00
CAPITAL ONE BANK (USA), NA    T&E - Meals                           2/21/2020                     267.00
CAPITAL ONE BANK (USA), NA    Dues/Subscriptions                    2/21/2020                     275.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     281.10
CAPITAL ONE BANK (USA), NA    T&E - Meals                           2/21/2020                     316.84
CAPITAL ONE BANK (USA), NA    T&E - Meals                           2/21/2020                     320.23
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     328.61
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     328.75
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     328.75
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                     328.75
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                     341.20

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             2/21/2020                     363.44
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Creditor                      Reason for Payment                Date          Total paid

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                           2/21/2020                     369.04
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     371.58
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     375.43
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     384.48

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                           2/21/2020                     406.88

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                           2/21/2020                     406.88

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                           2/21/2020                     406.88

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                           2/21/2020                     406.88
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     442.42
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     445.13
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     457.03
CAPITAL ONE BANK (USA), NA    T&E - Meals                         2/21/2020                     464.17

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                           2/21/2020                     470.31
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     473.40
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                     483.79
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                     490.52

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                           2/21/2020                     496.61
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Creditor                      Reason for Payment                  Date        Total paid
CAPITAL ONE BANK (USA), NA    Internet                              2/21/2020                   500.00

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             2/21/2020                   548.88
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   549.48
CAPITAL ONE BANK (USA), NA    T&E - Meals                           2/21/2020                   557.48

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             2/21/2020                   622.50
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   647.42
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   672.85

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             2/21/2020                   677.30
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   720.91
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   728.76
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   749.02
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   815.70
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   858.99
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   878.75
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   951.56
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              2/21/2020                   961.21
CAPITAL ONE BANK (USA), NA    MD Referral                           2/21/2020                   979.88

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     2/21/2020                 1,034.07
CAPITAL ONE BANK (USA), NA    Internet                              2/21/2020                 1,060.00
CAPITAL ONE BANK (USA), NA    Internet                              2/21/2020                 1,060.00
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Creditor                      Reason for Payment                Date        Total paid
CAPITAL ONE BANK (USA), NA    Internet                            2/21/2020                 1,060.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                 1,087.88
CAPITAL ONE BANK (USA), NA    MD Referral                         2/21/2020                 1,096.35
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                 1,466.93
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                 2,066.60
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                 2,251.87
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                 2,255.54
CAPITAL ONE BANK (USA), NA    Drug Expense                        2/21/2020                 2,684.14
CAPITAL ONE BANK (USA), NA    Marketing Support Materials         2/21/2020                 3,179.21
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                 3,357.01
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            2/21/2020                 5,520.44
CAPITAL ONE BANK (USA), NA    Parking Expense                     3/21/2020                     0.50
CAPITAL ONE BANK (USA), NA    Parking Expense                     3/21/2020                     1.00
CAPITAL ONE BANK (USA), NA    Parking Expense                     3/21/2020                     2.00
CAPITAL ONE BANK (USA), NA    Parking Expense                     3/21/2020                     2.00
CAPITAL ONE BANK (USA), NA    Automobile Expense                  3/21/2020                     4.40
CAPITAL ONE BANK (USA), NA    Postage & Freight                   3/21/2020                     7.75
CAPITAL ONE BANK (USA), NA    Parking Expense                     3/21/2020                     9.00
CAPITAL ONE BANK (USA), NA    MIS Supplies-Software               3/21/2020                     9.99
CAPITAL ONE BANK (USA), NA    MIS Supplies-Software               3/21/2020                     9.99
CAPITAL ONE BANK (USA), NA    Postage & Freight                   3/21/2020                    10.40
CAPITAL ONE BANK (USA), NA    Postage & Freight                   3/21/2020                    10.40
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            3/21/2020                   10.76
CAPITAL ONE BANK (USA), NA    Parking Expense                     3/21/2020                   11.25
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Creditor                      Reason for Payment                Date        Total paid
CAPITAL ONE BANK (USA), NA    MIS Supplies-Software               3/21/2020                   11.99

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                           3/21/2020                   13.38
CAPITAL ONE BANK (USA), NA    T&E - Meals                         3/21/2020                   15.50
CAPITAL ONE BANK (USA), NA    MD Referral                         3/21/2020                   18.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            3/21/2020                   19.56
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            3/21/2020                   21.74
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            3/21/2020                   21.99
CAPITAL ONE BANK (USA), NA    MD Referral                         3/21/2020                   22.00
CAPITAL ONE BANK (USA), NA    MD Referral                         3/21/2020                   22.00
CAPITAL ONE BANK (USA), NA    MIS Supplies-Software               3/21/2020                   23.88
CAPITAL ONE BANK (USA), NA    MIS Supplies-Software               3/21/2020                   23.88
CAPITAL ONE BANK (USA), NA    MD Referral                         3/21/2020                   28.00
CAPITAL ONE BANK (USA), NA    T&E - Meals                         3/21/2020                   32.61
CAPITAL ONE BANK (USA), NA    MD Referral                         3/21/2020                   34.00
CAPITAL ONE BANK (USA), NA    Telephone Expense                   3/21/2020                   35.30
CAPITAL ONE BANK (USA), NA    MD Referral                         3/21/2020                   36.33
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            3/21/2020                   40.23
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            3/21/2020                   40.23
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            3/21/2020                   44.00
CAPITAL ONE BANK (USA), NA    T&E - Meals                         3/21/2020                   44.32
CAPITAL ONE BANK (USA), NA    T&E - Meals                         3/21/2020                   50.09
CAPITAL ONE BANK (USA), NA    MD Referral                         3/21/2020                   56.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                            3/21/2020                   57.98
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Creditor                      Reason for Payment                  Date        Total paid
CAPITAL ONE BANK (USA), NA    Dues/Subscriptions                    3/21/2020                   59.00

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   59.00

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   59.00

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   59.00

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   59.00
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   60.02
CAPITAL ONE BANK (USA), NA    Telephone Expense                     3/21/2020                   61.00

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   65.29

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   65.29

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   65.29
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   65.31
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   66.02

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   72.19

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   72.19
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   77.62
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   78.24
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   82.35
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                   87.49
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   90.51
CAPITAL ONE BANK (USA), NA    Telephone Expense                     3/21/2020                   91.39
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                   98.18
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Creditor                      Reason for Payment                  Date          Total paid
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                      99.00
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     100.00
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                     105.04
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     107.54
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     113.39
CAPITAL ONE BANK (USA), NA    Recruitment                           3/21/2020                     119.82
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     122.38

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                     124.27
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     130.49
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                     133.94
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                     141.07
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     144.00
CAPITAL ONE BANK (USA), NA    MIS Supplies-Software                 3/21/2020                     149.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     150.84
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     155.14
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     161.57
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     165.00
CAPITAL ONE BANK (USA), NA    Internet                              3/21/2020                     169.64
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     173.95
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                     181.05

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                     193.27
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     194.42
CAPITAL ONE BANK (USA), NA    Recruitment                           3/21/2020                     200.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     204.71
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Creditor                      Reason for Payment                  Date        Total paid
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   233.00

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                   233.85
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   249.89
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   250.00
CAPITAL ONE BANK (USA), NA    Recruitment                           3/21/2020                   250.00
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   252.26
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   257.25
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   269.01
CAPITAL ONE BANK (USA), NA    Recruitment                           3/21/2020                   280.88
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                   283.43
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   290.00
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                   290.26
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   304.46
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   304.46
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   304.97
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                   314.00
CAPITAL ONE BANK (USA), NA    Telephone Expense                     3/21/2020                   315.00

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             3/21/2020                   317.65
CAPITAL ONE BANK (USA), NA    Marketing Support Materials           3/21/2020                   369.56
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   390.44
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   390.44
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Creditor                      Reason for Payment                  Date          Total paid
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     390.44
CAPITAL ONE BANK (USA), NA    T&E - Airfare                         3/21/2020                     397.40

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                     397.85
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     398.53
CAPITAL ONE BANK (USA), NA    T&E - Airfare                         3/21/2020                     412.20
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     413.52
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     433.74
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                     434.18
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     459.60

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             3/21/2020                     462.83
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     467.68
CAPITAL ONE BANK (USA), NA    Telephone Expense                     3/21/2020                     472.50
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                     488.95

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             3/21/2020                     496.00
CAPITAL ONE BANK (USA), NA    Internet                              3/21/2020                     500.00
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                     501.95
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     502.66
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     503.85
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     505.95
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     505.95
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     506.38
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     537.10
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Creditor                      Reason for Payment                  Date          Total paid

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             3/21/2020                     585.23
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     652.42
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                     652.42

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                     658.20
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     664.48
CAPITAL ONE BANK (USA), NA    Internet                              3/21/2020                     666.48
CAPITAL ONE BANK (USA), NA    Internet                              3/21/2020                     666.67
CAPITAL ONE BANK (USA), NA    Internet                              3/21/2020                     666.67
CAPITAL ONE BANK (USA), NA    T&E - Meals                           3/21/2020                     726.26

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             3/21/2020                     807.20
CAPITAL ONE BANK (USA), NA    T&E - Airfare                         3/21/2020                     824.80
CAPITAL ONE BANK (USA), NA    Telephone Expense                     3/21/2020                     850.04

CAPITAL ONE BANK (USA), NA    Clinical/OR Supplies & Disposable     3/21/2020                     854.10
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     866.80

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             3/21/2020                     868.00

                              Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA    Materials                             3/21/2020                     930.00
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     947.56
CAPITAL ONE BANK (USA), NA    MD Referral                           3/21/2020                     951.65
CAPITAL ONE BANK (USA), NA    Telephone Expense                     3/21/2020                     962.50
                              Office Supplies & Non-Marketing
CAPITAL ONE BANK (USA), NA    Printing                              3/21/2020                   1,011.90
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Creditor                            Reason for Payment                Date          Total paid

                                    Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA          Materials                           3/21/2020                   1,240.00
CAPITAL ONE BANK (USA), NA          MD Referral                         3/21/2020                   1,839.55

                                    Employee Meetings/Educational
CAPITAL ONE BANK (USA), NA          Materials                           3/21/2020                   2,666.00
CAPITAL ONE BANK (USA), NA          Marketing Support Materials         3/21/2020                   2,668.30
CAPSTAR RADIO OPERATING C/O
IHEARTMEDIA RALEIGH                 Accrued Marketing                   2/29/2020                   1,150.00
CAPSTAR RADIO OPERATING C/O
IHEARTMEDIA RALEIGH                 Accrued Marketing                   2/29/2020                   2,690.00
CARILION CLINIC                     Accrued Other                       3/17/2020                  63,350.00
CAROLINA OFFICE SYSTEMS, INC        Other Outside Services               3/2/2020                      16.35
CAROLINA TRACTOR & EQUIPMENT
COMPANY                             Equip. Repairs & Maint.             3/26/2020                   1,095.11
CAROLINA WASTE & RECYCLING INC.     Medical Waste Disposal               3/1/2020                     138.00
CAROLINE MCKENZIE                   Pass Thru Costs                     2/24/2020                   5,805.08
CARON McMICHAEL AND DAVID
McMICHAEL                           Attain/Shared Risk Deposits          4/6/2020                  17,250.00
CARRIE EICHBERG,PSY D               Other Outside Services              3/18/2020                   1,875.00
CARRIE EICHBERG,PSY D               Donor Egg Exp                       3/18/2020                   4,800.00

                                    Employee Meetings/Educational
CARRIE WAMBACH, MD                  Materials                           2/26/2020                     845.00

                                    Employee Meetings/Educational
CARRIE WAMBACH, MD                  Materials                           2/26/2020                     845.00

                                    Employee Meetings/Educational
CARRIE WAMBACH, MD                  Materials                           2/26/2020                     845.00
                                    Office Supplies & Non-Marketing
CARRIE WAMBACH, MD                  Printing                            2/26/2020                   1,354.69
CASCADE HEALTHCARE SERVICES, LLC    Other Outside Services              2/29/2020                     380.00
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Creditor                             Reason for Payment                  Date        Total paid
CASSANDRA MCKNIGHT                   Other Outside Services                2/23/2020                   450.00
                                     Office Supplies & Non-Marketing
CASSANDRA MCKNIGHT                   Printing                              2/23/2020                   472.37
CASSANDRA PINKHAM                    Donor Egg Compensation/Insur          3/11/2020                 5,500.00
CATON'S RIDGE OFFICE PARK LLC        Rent Expense                          2/20/2020                 8,563.75
CBRE INC                             Rent Expense                          2/25/2020                22,500.00
CBRE INC                             Utilities                             2/29/2020                 1,192.61
CBRE INC                             Rent Expense                          3/25/2020                22,500.00
CCAP AUTO LEASE LTD.                 Automobile Expense                    3/15/2020                   708.55
CCAP AUTO LEASE LTD.                 Automobile Expense                    4/15/2020                   708.55
CCB KITAZATO LLC                     Postage & Freight                     2/24/2020                    10.73

CCB KITAZATO LLC                     Clinical/OR Supplies & Disposable     2/24/2020                 4,556.52

CCB KITAZATO LLC                     Clinical/OR Supplies & Disposable     2/24/2020                 4,580.21

CCB KITAZATO LLC                     Clinical/OR Supplies & Disposable      3/2/2020                 2,056.70

CCB KITAZATO LLC                     Clinical/OR Supplies & Disposable      3/3/2020                 1,207.80
CCB KITAZATO LLC                     Postage & Freight                     3/16/2020                    17.34

CCB KITAZATO LLC                     Clinical/OR Supplies & Disposable     3/16/2020                10,442.32
CCB KITAZATO LLC                     Media                                 3/18/2020                   142.19

CCB KITAZATO LLC                     Clinical/OR Supplies & Disposable     3/23/2020                 1,817.60
CCF INC                              Equipment Rental                       3/1/2020                    35.00
CCF INC                              Equipment Rental                       3/1/2020                    35.00
CCF INC                              Equipment Rental                       3/1/2020                 1,093.58
CDPH-RHB                             Dues/Subscriptions                     3/9/2020                   104.00
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        2/21/2020                 3,055.75
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        2/21/2020                 4,462.50
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Creditor                             Reason for Payment                 Date          Total paid
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       2/21/2020                   5,491.20
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       2/21/2020                   7,558.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       2/21/2020                   7,944.95
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        3/6/2020                   3,400.00
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        3/6/2020                   3,400.00
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        3/6/2020                   3,612.50
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        3/6/2020                   6,141.20
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        3/6/2020                   7,558.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        3/6/2020                   7,558.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/13/2020                   1,543.75
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/13/2020                   2,677.50
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/19/2020                   4,353.70
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/19/2020                   6,141.20
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/19/2020                   7,558.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/20/2020                   1,657.50
CENTER FOR REPRODUCTIVE MEDICINE-    Attain/Shared Risk Med Cost
ORLANDO                              Reserve                              3/20/2020                   2,762.50
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/20/2020                   3,612.50
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Creditor                             Reason for Payment                 Date          Total paid
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/20/2020                   5,958.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/20/2020                   5,958.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/20/2020                   7,558.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/20/2020                   9,778.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       3/27/2020                   1,760.00
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural        4/3/2020                   5,958.40
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       4/10/2020                   1,760.00
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       4/10/2020                  16,200.00
CENTER FOR REPRODUCTIVE MEDICINE-
ORLANDO                              Professional Fees - Procedural       4/10/2020                  18,825.00
CENTRAL PARKING SYSTEM               Parking Expense                       3/1/2020                   1,800.00
CENTRAL PARKING SYSTEM               Automobile Expense                   3/14/2020                     552.86
CENTRAL PARKING SYSTEM               Parking Expense                      3/14/2020                   1,071.07
CENTRAL PARKING SYSTEM               Parking Expense                      3/14/2020                   6,750.00
CENTRAL PARKING SYSTEM               Parking Expense                       4/1/2020                   1,860.00
CENTURY LINK                         Telephone Expense                    2/25/2020                      74.69
CENTURY LINK                         Telephone Expense                    2/28/2020                     531.41
CENTURY LINK                         Telephone Expense                     3/7/2020                     200.04
CENTURY LINK                         WAN Telecom                          3/10/2020                     447.75
CENTURY LINK                         Telephone Expense                    3/25/2020                      74.69
CENTURY LINK                         Telephone Expense                    3/28/2020                     531.41
CENTURYLINK                          WAN Telecom                          2/22/2020                      49.90
CENTURYLINK                          WAN Telecom                          2/22/2020                      50.30
CENTURYLINK                          WAN Telecom                          2/22/2020                     201.24
CENTURYLINK                          WAN Telecom                          2/26/2020                      99.79
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Creditor                              Reason for Payment                 Date         Total paid
CENTURYLINK                           WAN Telecom                          2/28/2020                      36.96
CENTURYLINK                           WAN Telecom                            3/7/2020                    194.14
CENTURYLINK                           WAN Telecom                            3/7/2020                  7,514.79
CENTURYLINK                           WAN Telecom                          3/19/2020                     194.52
CENTURYLINK                           WAN Telecom                          3/26/2020                      95.96
CHANG KUO REALTY LLC                  Utilities                              3/1/2020                    739.53
CHANG KUO REALTY LLC                  Rent Expense                         3/15/2020                   5,908.92
CHANG KUO REALTY LLC                  Rent Expense                         3/15/2020                  10,636.07
CHANG KUO REALTY LLC                  Utilities                              4/1/2020                    790.00
CHAPMAN AND CUTLER LLP                Professional Fees - Procedural       5/7/2020                  88,657.31
CHAPMAN AND CUTLER LLP                Professional Services               5/11/2020                  26,145.50
CHARLES DUNN RE SVC INC TRUST ACCT    Facility Repairs & Maint.            3/15/2020                     810.00
CHARLES DUNN RE SVC INC TRUST ACCT    Rent Expense                         3/15/2020                   6,200.09
CHARLES DUNN RE SVC INC TRUST ACCT    Rent Expense                         3/15/2020                  25,365.30
CHARTER COMMUNICATIONS                Internet                              3/1/2020                     312.28
CHARTER COMMUNICATIONS                Telephone Expense                     3/1/2020                     441.90
CHARTER COMMUNICATIONS                Accrued Other                        3/14/2020                     313.31
CHARTER COMMUNICATIONS                Telephone Expense                    3/16/2020                     899.00
CHARTER COMMUNICATIONS                Internet                              4/6/2020                     314.60
CHARTER COMMUNICATIONS                Telephone Expense                    4/10/2020                     441.90
Chase Auto Finance                    Automobile Expense                    3/2/2020                   1,166.87
CHASE PRODUCTIONS LLC                 Accrued Other                        3/23/2020                   1,728.75
CHELSEA SHOPE                         Donor Pass Thru(Co Mgt Fees)          4/3/2020                   6,000.00

                                      Employee Meetings/Educational
CHELSEE YOUNG                         Materials                            2/25/2020                     22.70

                                      Employee Meetings/Educational
CHELSEE YOUNG                         Materials                              3/2/2020                    24.71
CHELSEE YOUNG                         Automobile Expense                     3/4/2020                   157.18
CHELSEE YOUNG                         T&E - Lodging                          3/4/2020                   300.28
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Creditor                             Reason for Payment                Date         Total paid
CHELSEE YOUNG                        T&E - Meals                           3/6/2020                   150.00
CHEM DRY BY THE BAY                  Janitorial Service                  3/23/2020                    350.00
CHICAGO KINGSBURY LLC                Rent Expense                        2/25/2020                    162.56
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                    278.82
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                    682.95
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                    682.96
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                  1,162.42
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                  1,162.43
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                  1,606.20
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                  1,606.21
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                  2,292.71
CHICAGO KINGSBURY LLC                Rent Operating Expense              2/25/2020                  2,292.71
CHICAGO KINGSBURY LLC                Real Estate Tax                     2/25/2020                  5,426.31
CHICAGO KINGSBURY LLC                Real Estate Tax                     2/25/2020                  5,426.31
CHICAGO KINGSBURY LLC                Rent Expense                        2/25/2020                 36,105.73
CHICAGO KINGSBURY LLC                Rent Expense                        2/25/2020                 37,579.44
CHRISTINA ALVAREZ                    Automobile Expense                  3/12/2020                     11.60

CHRISTINA BERDEBES AMD MARCOS ROEL   Attain/Shared Risk Deposits          4/9/2020                 15,650.00
CHRISTOPHER SHELDON SIPE, M.D.       Auto Allowance                      3/14/2020                  1,000.00
CIGNA                                Medical Insurance                    3/9/2020                      5.63
CIGNA                                Medical Insurance                    3/9/2020                      5.63
CIGNA                                Medical Insurance                    3/9/2020                      5.63
CIGNA                                Medical Insurance                    3/9/2020                      5.63
CIGNA                                Medical Insurance                    3/9/2020                     11.10
CIGNA                                Medical Insurance                    3/9/2020                     11.26
CIGNA                                Medical Insurance                    3/9/2020                     17.90
CIGNA                                Medical Insurance                    3/9/2020                     34.15
CIGNA                                Medical Insurance                    3/9/2020                     36.81
CIGNA                                Medical Insurance                    3/9/2020                     36.81
CIGNA                                Medical Insurance                    3/9/2020                     36.81
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Creditor    Reason for Payment                    Date         Total paid
CIGNA       Medical Insurance                         3/9/2020                   36.81
CIGNA       Accrued Benefit Liabilities               3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   42.44
CIGNA       Medical Insurance                         3/9/2020                   48.05
CIGNA       Medical Insurance                         3/9/2020                   48.07
CIGNA       Medical Insurance                         3/9/2020                   48.17
CIGNA       Medical Insurance                         3/9/2020                   53.04
CIGNA       Accrued Benefit Liabilities               3/9/2020                   58.67
CIGNA       Medical Insurance                         3/9/2020                   58.67
CIGNA       Medical Insurance                         3/9/2020                   58.67
CIGNA       Medical Insurance                         3/9/2020                   58.67
CIGNA       Medical Insurance                         3/9/2020                   58.67
CIGNA       Medical Insurance                         3/9/2020                   58.67
CIGNA       Medical Insurance                         3/9/2020                   58.67
CIGNA       Medical Insurance                         3/9/2020                   64.30
CIGNA       Medical Insurance                         3/9/2020                   72.20
CIGNA       Medical Insurance                         3/9/2020                   72.20
CIGNA       Medical Insurance                         3/9/2020                   79.25
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Creditor    Reason for Payment                    Date         Total paid
CIGNA       Medical Insurance                         3/9/2020                    82.20
CIGNA       Medical Insurance                         3/9/2020                    83.44
CIGNA       Medical Insurance                         3/9/2020                    84.88
CIGNA       Medical Insurance                         3/9/2020                    84.88
CIGNA       Medical Insurance                         3/9/2020                    84.88
CIGNA       Medical Insurance                         3/9/2020                    84.88
CIGNA       Medical Insurance                         3/9/2020                    84.88
CIGNA       Medical Insurance                         3/9/2020                    84.88
CIGNA       Medical Insurance                         3/9/2020                    84.98
CIGNA       Medical Insurance                         3/9/2020                    93.67
CIGNA       Accrued Benefit Liabilities               3/9/2020                    99.80
CIGNA       Accrued Benefit Liabilities               3/9/2020                   101.11
CIGNA       Accrued Benefit Liabilities               3/9/2020                   101.11
CIGNA       Medical Insurance                         3/9/2020                   101.11
CIGNA       Medical Insurance                         3/9/2020                   101.11
CIGNA       Medical Insurance                         3/9/2020                   101.11
CIGNA       Medical Insurance                         3/9/2020                   102.66
CIGNA       Medical Insurance                         3/9/2020                   114.64
CIGNA       Medical Insurance                         3/9/2020                   117.34
CIGNA       Medical Insurance                         3/9/2020                   117.34
CIGNA       Medical Insurance                         3/9/2020                   117.34
CIGNA       Medical Insurance                         3/9/2020                   121.69
CIGNA       Accrued Benefit Liabilities               3/9/2020                   125.88
CIGNA       Medical Insurance                         3/9/2020                   125.88
CIGNA       Medical Insurance                         3/9/2020                   125.90
CIGNA       Medical Insurance                         3/9/2020                   127.42
CIGNA       Medical Insurance                         3/9/2020                   127.42
CIGNA       Medical Insurance                         3/9/2020                   131.87
CIGNA       Medical Insurance                         3/9/2020                   131.87
CIGNA       Medical Insurance                         3/9/2020                   131.87
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Creditor    Reason for Payment                    Date         Total paid
CIGNA       Medical Insurance                         3/9/2020                   131.87
CIGNA       Medical Insurance                         3/9/2020                   131.87
CIGNA       Medical Insurance                         3/9/2020                   131.87
CIGNA       Medical Insurance                         3/9/2020                   132.29
CIGNA       Medical Insurance                         3/9/2020                   132.95
CIGNA       Medical Insurance                         3/9/2020                   136.50
CIGNA       Medical Insurance                         3/9/2020                   137.82
CIGNA       Medical Insurance                         3/9/2020                   138.41
CIGNA       Accrued Benefit Liabilities               3/9/2020                   143.55
CIGNA       Medical Insurance                         3/9/2020                   143.55
CIGNA       Medical Insurance                         3/9/2020                   148.38
CIGNA       Medical Insurance                         3/9/2020                   155.76
CIGNA       Medical Insurance                         3/9/2020                   155.76
CIGNA       Medical Insurance                         3/9/2020                   155.76
CIGNA       Medical Insurance                         3/9/2020                   155.76
CIGNA       Medical Insurance                         3/9/2020                   155.76
CIGNA       Medical Insurance                         3/9/2020                   155.76
CIGNA       Medical Insurance                         3/9/2020                   158.07
CIGNA       Medical Insurance                         3/9/2020                   168.32
CIGNA       Medical Insurance                         3/9/2020                   174.31
CIGNA       Medical Insurance                         3/9/2020                   179.94
CIGNA       Medical Insurance                         3/9/2020                   180.48
CIGNA       Medical Insurance                         3/9/2020                   184.18
CIGNA       Medical Insurance                         3/9/2020                   198.20
CIGNA       Medical Insurance                         3/9/2020                   199.05
CIGNA       Medical Insurance                         3/9/2020                   201.90
CIGNA       Accrued Benefit Liabilities               3/9/2020                   202.22
CIGNA       Medical Insurance                         3/9/2020                   205.71
CIGNA       Medical Insurance                         3/9/2020                   205.71
CIGNA       Medical Insurance                         3/9/2020                   205.71
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Creditor    Reason for Payment                    Date         Total paid
CIGNA       Medical Insurance                         3/9/2020                   205.71
CIGNA       Medical Insurance                         3/9/2020                   205.71
CIGNA       Medical Insurance                         3/9/2020                   205.71
CIGNA       Medical Insurance                         3/9/2020                   205.71
CIGNA       Medical Insurance                         3/9/2020                   205.71
CIGNA       Medical Insurance                         3/9/2020                   209.32
CIGNA       Medical Insurance                         3/9/2020                   210.29
CIGNA       Medical Insurance                         3/9/2020                   211.11
CIGNA       Medical Insurance                         3/9/2020                   212.20
CIGNA       Medical Insurance                         3/9/2020                   214.43
CIGNA       Medical Insurance                         3/9/2020                   214.43
CIGNA       Accrued Benefit Liabilities               3/9/2020                   214.49
CIGNA       Medical Insurance                         3/9/2020                   215.31
CIGNA       Medical Insurance                         3/9/2020                   222.92
CIGNA       Medical Insurance                         3/9/2020                   225.28
CIGNA       Medical Insurance                         3/9/2020                   225.28
CIGNA       Medical Insurance                         3/9/2020                   231.58
CIGNA       Medical Insurance                         3/9/2020                   234.10
CIGNA       Medical Insurance                         3/9/2020                   237.85
CIGNA       Medical Insurance                         3/9/2020                   251.76
CIGNA       Medical Insurance                         3/9/2020                   252.91
CIGNA       Medical Insurance                         3/9/2020                   254.84
CIGNA       Medical Insurance                         3/9/2020                   256.87
CIGNA       Medical Insurance                         3/9/2020                   264.38
CIGNA       Medical Insurance                         3/9/2020                   275.78
CIGNA       Accrued Benefit Liabilities               3/9/2020                   277.86
CIGNA       Medical Insurance                         3/9/2020                   281.47
CIGNA       Medical Insurance                         3/9/2020                   283.08
CIGNA       Medical Insurance                         3/9/2020                   283.18
CIGNA       Medical Insurance                         3/9/2020                   284.96
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Creditor    Reason for Payment                    Date         Total paid
CIGNA       Medical Insurance                         3/9/2020                   294.56
CIGNA       Medical Insurance                         3/9/2020                   307.88
CIGNA       Accrued Benefit Liabilities               3/9/2020                   308.90
CIGNA       Medical Insurance                         3/9/2020                   315.54
CIGNA       Medical Insurance                         3/9/2020                   320.86
CIGNA       Medical Insurance                         3/9/2020                   341.82
CIGNA       Medical Insurance                         3/9/2020                   347.62
CIGNA       Medical Insurance                         3/9/2020                   354.56
CIGNA       Medical Insurance                         3/9/2020                   358.42
CIGNA       Accrued Benefit Liabilities               3/9/2020                   361.47
CIGNA       Medical Insurance                         3/9/2020                   361.47
CIGNA       Medical Insurance                         3/9/2020                   361.49
CIGNA       Medical Insurance                         3/9/2020                   368.40
CIGNA       Medical Insurance                         3/9/2020                   380.52
CIGNA       Medical Insurance                         3/9/2020                   396.52
CIGNA       Medical Insurance                         3/9/2020                   400.92
CIGNA       Medical Insurance                         3/9/2020                   406.27
CIGNA       Medical Insurance                         3/9/2020                   411.10
CIGNA       Medical Insurance                         3/9/2020                   411.42
CIGNA       Medical Insurance                         3/9/2020                   430.12
CIGNA       Medical Insurance                         3/9/2020                   447.91
CIGNA       Medical Insurance                         3/9/2020                   448.26
CIGNA       Medical Insurance                         3/9/2020                   448.29
CIGNA       Medical Insurance                         3/9/2020                   451.86
CIGNA       Medical Insurance                         3/9/2020                   457.24
CIGNA       Medical Insurance                         3/9/2020                   461.45
CIGNA       Medical Insurance                         3/9/2020                   476.98
CIGNA       Medical Insurance                         3/9/2020                   492.50
CIGNA       Medical Insurance                         3/9/2020                   518.80
CIGNA       Medical Insurance                         3/9/2020                   536.51
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Creditor    Reason for Payment                    Date         Total paid
CIGNA       Medical Insurance                         3/9/2020                   557.52
CIGNA       Medical Insurance                         3/9/2020                   570.40
CIGNA       Medical Insurance                         3/9/2020                   574.89
CIGNA       Medical Insurance                         3/9/2020                   616.70
CIGNA       Medical Insurance                         3/9/2020                   690.18
CIGNA       Medical Insurance                         3/9/2020                   694.74
CIGNA       Medical Insurance                         3/9/2020                   703.32
CIGNA       Medical Insurance                         3/9/2020                   725.47
CIGNA       Medical Insurance                         3/9/2020                   772.24
CIGNA       Medical Insurance                         3/9/2020                   812.34
CIGNA       Accrued Benefit Liabilities               3/9/2020                   814.54
CIGNA       Medical Insurance                         3/9/2020                   840.57
CIGNA       Medical Insurance                         3/9/2020                   859.20
CIGNA       Medical Insurance                         3/9/2020                   880.95
CIGNA       Accrued Benefit Liabilities               3/9/2020                   911.44
CIGNA       Medical Insurance                         3/9/2020                   911.58
CIGNA       Medical Insurance                         3/9/2020                   951.89
CIGNA       Accrued Benefit Liabilities               3/9/2020                   980.46
CIGNA       Medical Insurance                         3/9/2020                 1,024.82
CIGNA       Medical Insurance                         3/9/2020                 1,027.50
CIGNA       Medical Insurance                         3/9/2020                 1,069.51
CIGNA       Medical Insurance                         3/9/2020                 1,123.53
CIGNA       Medical Insurance                         3/9/2020                 1,139.50
CIGNA       Accrued Benefit Liabilities               3/9/2020                 1,316.06
CIGNA       Medical Insurance                         3/9/2020                 1,563.65
CIGNA       Accrued Benefit Liabilities             3/12/2020                     10.54
CIGNA       Accrued Benefit Liabilities             3/12/2020                     10.54
CIGNA       Accrued Benefit Liabilities             3/12/2020                     10.54
CIGNA       Accrued Benefit Liabilities             3/12/2020                     10.54
CIGNA       Accrued Benefit Liabilities             3/12/2020                     10.54
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Accrued Benefit Liabilities             3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
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CIGNA       Medical Insurance                       3/12/2020                   10.54
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CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   10.54
CIGNA       Medical Insurance                       3/12/2020                   17.13
CIGNA       Medical Insurance                       3/12/2020                   17.13
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Medical Insurance                       3/12/2020                   17.13
CIGNA       Medical Insurance                       3/12/2020                   20.53
CIGNA       Medical Insurance                       3/12/2020                   20.53
CIGNA       Medical Insurance                       3/12/2020                   20.53
CIGNA       Medical Insurance                       3/12/2020                   20.53
CIGNA       Medical Insurance                       3/12/2020                   20.53
CIGNA       Medical Insurance                       3/12/2020                   20.53
CIGNA       Medical Insurance                       3/12/2020                   20.53
CIGNA       Medical Insurance                       3/12/2020                   20.53
CIGNA       Accrued Benefit Liabilities             3/12/2020                   21.08
CIGNA       Medical Insurance                       3/12/2020                   21.08
CIGNA       Medical Insurance                       3/12/2020                   21.08
CIGNA       Medical Insurance                       3/12/2020                   21.08
CIGNA       Medical Insurance                       3/12/2020                   21.08
CIGNA       Medical Insurance                       3/12/2020                   21.08
CIGNA       Medical Insurance                       3/12/2020                   21.08
CIGNA       Accrued Benefit Liabilities             3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.00
CIGNA       Medical Insurance                       3/12/2020                   27.67
CIGNA       Medical Insurance                       3/12/2020                   27.67
CIGNA       Medical Insurance                       3/12/2020                   31.07
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Medical Insurance                       3/12/2020                    31.07
CIGNA       Medical Insurance                       3/12/2020                    31.07
CIGNA       Medical Insurance                       3/12/2020                    34.26
CIGNA       Medical Insurance                       3/12/2020                    37.54
CIGNA       Medical Insurance                       3/12/2020                    37.54
CIGNA       Medical Insurance                       3/12/2020                    37.54
CIGNA       Medical Insurance                       3/12/2020                    37.66
CIGNA       Medical Insurance                       3/12/2020                    38.21
CIGNA       Medical Insurance                       3/12/2020                    41.61
CIGNA       Medical Insurance                       3/12/2020                    41.61
CIGNA       Medical Insurance                       3/12/2020                    41.61
CIGNA       Medical Insurance                       3/12/2020                    42.16
CIGNA       Medical Insurance                       3/12/2020                    44.13
CIGNA       Medical Insurance                       3/12/2020                    44.13
CIGNA       Accrued Benefit Liabilities             3/12/2020                    48.08
CIGNA       Medical Insurance                       3/12/2020                    48.08
CIGNA       Medical Insurance                       3/12/2020                    48.08
CIGNA       Medical Insurance                       3/12/2020                    48.08
CIGNA       Accrued Benefit Liabilities             3/12/2020                    48.20
CIGNA       Medical Insurance                       3/12/2020                    54.00
CIGNA       Medical Insurance                       3/12/2020                    69.28
CIGNA       Medical Insurance                       3/12/2020                    71.13
CIGNA       Medical Insurance                       3/12/2020                    71.13
CIGNA       Medical Insurance                       3/12/2020                    75.20
CIGNA       Medical Insurance                       3/12/2020                    86.29
CIGNA       Accrued Benefit Liabilities             3/12/2020                    91.54
CIGNA       Medical Insurance                       3/12/2020                    98.13
CIGNA       Medical Insurance                       3/15/2020                 2,040.04
CIGNA       Medical Insurance                       3/15/2020                13,657.67
CIGNA       Medical Insurance                       3/15/2020                13,696.73
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Creditor    Reason for Payment           Date        Total paid
CIGNA       Medical Insurance              3/15/2020                 41,756.18
CIGNA       Medical Insurance              3/15/2020                 46,783.99
CIGNA       Medical Insurance              3/15/2020                 58,702.53
CIGNA       Medical Insurance              3/15/2020                 61,404.13
CIGNA       Medical Insurance              3/15/2020                 82,660.87
CIGNA       Medical Insurance              3/15/2020                157,304.04
CIGNA       Medical Insurance              3/15/2020                166,674.78
CIGNA       Medical Insurance              3/20/2020                    956.07
CIGNA       Medical Insurance              3/20/2020                    965.07
CIGNA       Medical Insurance              3/20/2020                    965.07
CIGNA       Medical Insurance              3/20/2020                  1,573.79
CIGNA       Medical Insurance              3/20/2020                  1,594.26
CIGNA       Medical Insurance              3/20/2020                  1,845.34
CIGNA       Medical Insurance              3/20/2020                  1,951.16
CIGNA       Medical Insurance              3/20/2020                  2,764.69
CIGNA       Medical Insurance              3/20/2020                  2,803.86
CIGNA       Medical Insurance              3/20/2020                  2,903.62
CIGNA       Medical Insurance              3/20/2020                  2,921.18
CIGNA       Medical Insurance              3/20/2020                  2,921.18
CIGNA       Medical Insurance              3/20/2020                  2,921.18
CIGNA       Medical Insurance              3/20/2020                  3,414.50
CIGNA       Medical Insurance              3/20/2020                  3,679.57
CIGNA       Medical Insurance              3/20/2020                  3,901.83
CIGNA       Medical Insurance              3/20/2020                  4,069.35
CIGNA       Medical Insurance              3/20/2020                  4,962.24
CIGNA       Medical Insurance              3/20/2020                  5,837.56
CIGNA       Medical Insurance              3/20/2020                  5,842.36
CIGNA       Medical Insurance              3/20/2020                  6,807.43
CIGNA       Medical Insurance              3/20/2020                  9,617.99
CIGNA       Medical Insurance              3/20/2020                 11,769.67
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Medical Insurance                       3/20/2020                18,058.18
CIGNA       Medical Insurance                       4/15/2020                     5.63
CIGNA       Medical Insurance                       4/15/2020                     5.63
CIGNA       Medical Insurance                       4/15/2020                     5.63
CIGNA       Medical Insurance                       4/15/2020                     5.63
CIGNA       Accrued Benefit Liabilities             4/15/2020                    10.54
CIGNA       Accrued Benefit Liabilities             4/15/2020                    10.54
CIGNA       Accrued Benefit Liabilities             4/15/2020                    10.54
CIGNA       Accrued Benefit Liabilities             4/15/2020                    10.54
CIGNA       Accrued Benefit Liabilities             4/15/2020                    10.54
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CIGNA       Accrued Benefit Liabilities             4/15/2020                    10.54
CIGNA       Accrued Benefit Liabilities             4/15/2020                    10.54
CIGNA       Accrued Benefit Liabilities             4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
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CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
CIGNA       Medical Insurance                       4/15/2020                    10.54
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Creditor    Reason for Payment           Date        Total paid
CIGNA       Medical Insurance              4/15/2020                   10.54
CIGNA       Medical Insurance              4/15/2020                   10.54
CIGNA       Medical Insurance              4/15/2020                   10.54
CIGNA       Medical Insurance              4/15/2020                   10.54
CIGNA       Medical Insurance              4/15/2020                   10.54
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CIGNA       Medical Insurance              4/15/2020                   10.54
CIGNA       Medical Insurance              4/15/2020                   10.54
CIGNA       Medical Insurance              4/15/2020                   10.54
CIGNA       Medical Insurance              4/15/2020                   10.54
CIGNA       Medical Insurance              4/15/2020                   17.13
CIGNA       Medical Insurance              4/15/2020                   17.13
CIGNA       Medical Insurance              4/15/2020                   17.13
CIGNA       Medical Insurance              4/15/2020                   17.13
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   20.53
CIGNA       Medical Insurance              4/15/2020                   21.08
CIGNA       Medical Insurance              4/15/2020                   21.08
CIGNA       Medical Insurance              4/15/2020                   21.08
CIGNA       Medical Insurance              4/15/2020                   21.08
CIGNA       Medical Insurance              4/15/2020                   21.08
CIGNA       Medical Insurance              4/15/2020                   22.52
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Medical Insurance                       4/15/2020                   25.55
CIGNA       Accrued Benefit Liabilities             4/15/2020                   27.00
CIGNA       Accrued Benefit Liabilities             4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.00
CIGNA       Medical Insurance                       4/15/2020                   27.67
CIGNA       Medical Insurance                       4/15/2020                   31.07
CIGNA       Medical Insurance                       4/15/2020                   31.07
CIGNA       Medical Insurance                       4/15/2020                   31.07
CIGNA       Medical Insurance                       4/15/2020                   34.26
CIGNA       Accrued Benefit Liabilities             4/15/2020                   36.81
CIGNA       Medical Insurance                       4/15/2020                   36.81
CIGNA       Medical Insurance                       4/15/2020                   36.81
CIGNA       Medical Insurance                       4/15/2020                   36.81
CIGNA       Medical Insurance                       4/15/2020                   36.81
CIGNA       Medical Insurance                       4/15/2020                   37.54
CIGNA       Medical Insurance                       4/15/2020                   37.54
CIGNA       Medical Insurance                       4/15/2020                   37.54
CIGNA       Medical Insurance                       4/15/2020                   37.54
CIGNA       Medical Insurance                       4/15/2020                   37.66
CIGNA       Medical Insurance                       4/15/2020                   38.21
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Medical Insurance                       4/15/2020                   41.61
CIGNA       Medical Insurance                       4/15/2020                   41.61
CIGNA       Medical Insurance                       4/15/2020                   41.61
CIGNA       Medical Insurance                       4/15/2020                   41.78
CIGNA       Medical Insurance                       4/15/2020                   42.16
CIGNA       Accrued Benefit Liabilities             4/15/2020                   42.44
CIGNA       Accrued Benefit Liabilities             4/15/2020                   42.44
CIGNA       Accrued Benefit Liabilities             4/15/2020                   42.44
CIGNA       Accrued Benefit Liabilities             4/15/2020                   42.44
CIGNA       Accrued Benefit Liabilities             4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   42.44
CIGNA       Medical Insurance                       4/15/2020                   44.13
CIGNA       Medical Insurance                       4/15/2020                   44.13
CIGNA       Medical Insurance                       4/15/2020                   44.13
CIGNA       Medical Insurance                       4/15/2020                   44.13
CIGNA       Accrued Benefit Liabilities             4/15/2020                   48.08
CIGNA       Medical Insurance                       4/15/2020                   48.08
CIGNA       Medical Insurance                       4/15/2020                   48.08
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Medical Insurance                       4/15/2020                   48.08
CIGNA       Medical Insurance                       4/15/2020                   48.17
CIGNA       Accrued Benefit Liabilities             4/15/2020                   48.20
CIGNA       Medical Insurance                       4/15/2020                   50.36
CIGNA       Accrued Benefit Liabilities             4/15/2020                   51.76
CIGNA       Accrued Benefit Liabilities             4/15/2020                   53.04
CIGNA       Medical Insurance                       4/15/2020                   53.04
CIGNA       Accrued Benefit Liabilities             4/15/2020                   54.00
CIGNA       Medical Insurance                       4/15/2020                   54.00
CIGNA       Accrued Benefit Liabilities             4/15/2020                   58.67
CIGNA       Accrued Benefit Liabilities             4/15/2020                   58.67
CIGNA       Accrued Benefit Liabilities             4/15/2020                   58.67
CIGNA       Medical Insurance                       4/15/2020                   58.67
CIGNA       Medical Insurance                       4/15/2020                   58.67
CIGNA       Medical Insurance                       4/15/2020                   58.67
CIGNA       Medical Insurance                       4/15/2020                   58.67
CIGNA       Medical Insurance                       4/15/2020                   58.67
CIGNA       Medical Insurance                       4/15/2020                   58.67
CIGNA       Medical Insurance                       4/15/2020                   58.67
CIGNA       Medical Insurance                       4/15/2020                   64.28
CIGNA       Medical Insurance                       4/15/2020                   72.18
CIGNA       Medical Insurance                       4/15/2020                   75.20
CIGNA       Medical Insurance                       4/15/2020                   78.59
CIGNA       Medical Insurance                       4/15/2020                   79.82
CIGNA       Medical Insurance                       4/15/2020                   80.69
CIGNA       Accrued Benefit Liabilities             4/15/2020                   83.44
CIGNA       Medical Insurance                       4/15/2020                   83.44
CIGNA       Medical Insurance                       4/15/2020                   84.88
CIGNA       Medical Insurance                       4/15/2020                   84.88
CIGNA       Medical Insurance                       4/15/2020                   84.88
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Medical Insurance                       4/15/2020                    84.88
CIGNA       Medical Insurance                       4/15/2020                    84.88
CIGNA       Medical Insurance                       4/15/2020                    84.98
CIGNA       Medical Insurance                       4/15/2020                    86.29
CIGNA       Medical Insurance                       4/15/2020                    93.67
CIGNA       Medical Insurance                       4/15/2020                    93.77
CIGNA       Medical Insurance                       4/15/2020                    98.13
CIGNA       Accrued Benefit Liabilities             4/15/2020                   101.11
CIGNA       Medical Insurance                       4/15/2020                   101.11
CIGNA       Medical Insurance                       4/15/2020                   110.43
CIGNA       Medical Insurance                       4/15/2020                   114.64
CIGNA       Medical Insurance                       4/15/2020                   117.34
CIGNA       Medical Insurance                       4/15/2020                   117.34
CIGNA       Medical Insurance                       4/15/2020                   125.88
CIGNA       Medical Insurance                       4/15/2020                   125.90
CIGNA       Medical Insurance                       4/15/2020                   127.32
CIGNA       Medical Insurance                       4/15/2020                   127.42
CIGNA       Medical Insurance                       4/15/2020                   127.42
CIGNA       Medical Insurance                       4/15/2020                   127.42
CIGNA       Medical Insurance                       4/15/2020                   131.87
CIGNA       Medical Insurance                       4/15/2020                   131.87
CIGNA       Medical Insurance                       4/15/2020                   131.87
CIGNA       Medical Insurance                       4/15/2020                   131.87
CIGNA       Medical Insurance                       4/15/2020                   131.87
CIGNA       Medical Insurance                       4/15/2020                   131.87
CIGNA       Medical Insurance                       4/15/2020                   134.66
CIGNA       Medical Insurance                       4/15/2020                   136.50
CIGNA       Medical Insurance                       4/15/2020                   138.41
CIGNA       Medical Insurance                       4/15/2020                   143.23
CIGNA       Medical Insurance                       4/15/2020                   143.55
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Medical Insurance                       4/15/2020                   149.21
CIGNA       Accrued Benefit Liabilities             4/15/2020                   155.76
CIGNA       Medical Insurance                       4/15/2020                   155.76
CIGNA       Medical Insurance                       4/15/2020                   155.76
CIGNA       Medical Insurance                       4/15/2020                   155.76
CIGNA       Medical Insurance                       4/15/2020                   155.76
CIGNA       Medical Insurance                       4/15/2020                   155.76
CIGNA       Medical Insurance                       4/15/2020                   155.76
CIGNA       Medical Insurance                       4/15/2020                   158.07
CIGNA       Medical Insurance                       4/15/2020                   168.32
CIGNA       Medical Insurance                       4/15/2020                   171.60
CIGNA       Medical Insurance                       4/15/2020                   178.55
CIGNA       Medical Insurance                       4/15/2020                   179.94
CIGNA       Medical Insurance                       4/15/2020                   180.48
CIGNA       Accrued Benefit Liabilities             4/15/2020                   186.49
CIGNA       Medical Insurance                       4/15/2020                   189.54
CIGNA       Medical Insurance                       4/15/2020                   193.94
CIGNA       Medical Insurance                       4/15/2020                   194.23
CIGNA       Medical Insurance                       4/15/2020                   198.20
CIGNA       Medical Insurance                       4/15/2020                   199.05
CIGNA       Medical Insurance                       4/15/2020                   200.40
CIGNA       Medical Insurance                       4/15/2020                   201.90
CIGNA       Medical Insurance                       4/15/2020                   205.71
CIGNA       Medical Insurance                       4/15/2020                   205.71
CIGNA       Medical Insurance                       4/15/2020                   205.71
CIGNA       Medical Insurance                       4/15/2020                   205.71
CIGNA       Medical Insurance                       4/15/2020                   205.71
CIGNA       Medical Insurance                       4/15/2020                   209.32
CIGNA       Accrued Benefit Liabilities             4/15/2020                   210.18
CIGNA       Medical Insurance                       4/15/2020                   210.29
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Creditor    Reason for Payment                    Date        Total paid
CIGNA       Accrued Benefit Liabilities             4/15/2020                   214.43
CIGNA       Medical Insurance                       4/15/2020                   214.43
CIGNA       Medical Insurance                       4/15/2020                   214.43
CIGNA       Accrued Benefit Liabilities             4/15/2020                   214.49
CIGNA       Medical Insurance                       4/15/2020                   215.31
CIGNA       Medical Insurance                       4/15/2020                   221.16
CIGNA       Medical Insurance                       4/15/2020                   225.28
CIGNA       Medical Insurance                       4/15/2020                   225.28
CIGNA       Medical Insurance                       4/15/2020                   234.10
CIGNA       Medical Insurance                       4/15/2020                   236.64
CIGNA       Medical Insurance                       4/15/2020                   237.85
CIGNA       Accrued Benefit Liabilities             4/15/2020                   250.23
CIGNA       Medical Insurance                       4/15/2020                   252.91
CIGNA       Medical Insurance                       4/15/2020                   256.87
CIGNA       Medical Insurance                       4/15/2020                   264.38
CIGNA       Medical Insurance                       4/15/2020                   264.38
CIGNA       Medical Insurance                       4/15/2020                   275.78
CIGNA       Medical Insurance                       4/15/2020                   281.47
CIGNA       Medical Insurance                       4/15/2020                   282.10
CIGNA       Medical Insurance                       4/15/2020                   283.08
CIGNA       Medical Insurance                       4/15/2020                   283.18
CIGNA       Medical Insurance                       4/15/2020                   284.96
CIGNA       Medical Insurance                       4/15/2020                   288.95
CIGNA       Medical Insurance                       4/15/2020                   294.56
CIGNA       Medical Insurance                       4/15/2020                   294.82
CIGNA       Medical Insurance                       4/15/2020                   304.94
CIGNA       Medical Insurance                       4/15/2020                   309.12
CIGNA       Medical Insurance                       4/15/2020                   315.54
CIGNA       Medical Insurance                       4/15/2020                   316.66
CIGNA       Accrued Benefit Liabilities             4/15/2020                   325.02
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Creditor     Reason for Payment                    Date        Total paid
CIGNA        Medical Insurance                       4/15/2020               341.82
CIGNA        Medical Insurance                       4/15/2020               342.21
CIGNA        Accrued Benefit Liabilities             4/15/2020               361.47
CIGNA        Medical Insurance                       4/15/2020               361.47
CIGNA        Accrued Benefit Liabilities             4/15/2020               377.26
CIGNA        Medical Insurance                       4/15/2020               382.26
CIGNA        Medical Insurance                       4/15/2020               386.71
CIGNA        Medical Insurance                       4/15/2020               389.59
CIGNA        Medical Insurance                       4/15/2020               392.30
CIGNA        Medical Insurance                       4/15/2020               396.40
CIGNA        Medical Insurance                       4/15/2020               396.52
CIGNA        Medical Insurance                       4/15/2020               411.10
CIGNA        Medical Insurance                       4/15/2020               411.42
CIGNA        Medical Insurance                       4/15/2020               413.23
CIGNA        Medical Insurance                       4/15/2020               447.91
CIGNA        Medical Insurance                       4/15/2020               460.55
CIGNA        Medical Insurance                       4/15/2020               461.45
CIGNA        Medical Insurance                       4/15/2020               468.81
CIGNA        Medical Insurance                       4/15/2020               476.98
CIGNA        Medical Insurance                       4/15/2020               492.50
CIGNA        Medical Insurance                       4/15/2020               510.67
CIGNA        Accrued Benefit Liabilities             4/15/2020               514.20
CIGNA        Medical Insurance                       4/15/2020               518.80
CIGNA        Medical Insurance                       4/15/2020               522.08
CIGNA        Medical Insurance                       4/15/2020               578.95
CIGNA        Medical Insurance                       4/15/2020               633.90
CIGNA        Medical Insurance                       4/15/2020               680.80
CIGNA        Medical Insurance                       4/15/2020               690.18
CIGNA        Medical Insurance                       4/15/2020               694.74
CIGNA        Accrued Benefit Liabilities             4/15/2020               719.16
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Creditor     Reason for Payment                    Date        Total paid
CIGNA        Accrued Benefit Liabilities             4/15/2020                759.74
CIGNA        Medical Insurance                       4/15/2020                772.24
CIGNA        Medical Insurance                       4/15/2020                795.38
CIGNA        Medical Insurance                       4/15/2020                812.34
CIGNA        Accrued Benefit Liabilities             4/15/2020                822.84
CIGNA        Medical Insurance                       4/15/2020                822.84
CIGNA        Medical Insurance                       4/15/2020                859.20
CIGNA        Medical Insurance                       4/15/2020                880.95
CIGNA        Medical Insurance                       4/15/2020              1,069.51
CIGNA        Medical Insurance                       4/15/2020              1,123.53
CIGNA        Medical Insurance                       4/15/2020              1,246.65
CIGNA        Medical Insurance                       4/15/2020              1,428.14
CIGNA        Medical Insurance                       4/16/2020                970.07
CIGNA        Medical Insurance                       4/16/2020                970.07
CIGNA        Medical Insurance                       4/16/2020                970.07
CIGNA        Medical Insurance                       4/16/2020              1,044.51
CIGNA        Medical Insurance                       4/16/2020              1,622.26
CIGNA        Medical Insurance                       4/16/2020              1,716.86
CIGNA        Medical Insurance                       4/16/2020              1,850.34
CIGNA        Medical Insurance                       4/16/2020              1,852.46
CIGNA        Medical Insurance                       4/16/2020              1,965.16
CIGNA        Medical Insurance                       4/16/2020              2,808.86
CIGNA        Medical Insurance                       4/16/2020              2,908.62
CIGNA        Medical Insurance                       4/16/2020              2,926.18
CIGNA        Medical Insurance                       4/16/2020              2,926.18
CIGNA        Medical Insurance                       4/16/2020              2,926.18
CIGNA        Medical Insurance                       4/16/2020              3,424.50
CIGNA        Medical Insurance                       4/16/2020              3,689.57
CIGNA        Medical Insurance                       4/16/2020              4,201.35
CIGNA        Medical Insurance                       4/16/2020              4,972.24
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Creditor     Reason for Payment           Date        Total paid
CIGNA        Medical Insurance              4/16/2020               5,852.36
CIGNA        Medical Insurance              4/16/2020               5,861.56
CIGNA        Medical Insurance              4/16/2020               6,822.43
CIGNA        Medical Insurance              4/16/2020               9,642.99
CIGNA        Medical Insurance              4/16/2020              11,794.67
CIGNA        Medical Insurance              4/16/2020              18,093.18
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  27.00
CIGNA        Medical Insurance             5/11/2020                  27.00
CIGNA        Medical Insurance             5/11/2020                  48.08
CIGNA        Medical Insurance             5/11/2020                  48.20
CIGNA        Medical Insurance             5/11/2020                  54.00
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  20.53
CIGNA        Medical Insurance             5/11/2020                  20.53
CIGNA        Medical Insurance             5/11/2020                  21.08
CIGNA        Medical Insurance             5/11/2020                  27.00
CIGNA        Medical Insurance             5/11/2020                  31.07
CIGNA        Medical Insurance             5/11/2020                  44.13
CIGNA        Medical Insurance             5/11/2020                  10.54
CIGNA        Medical Insurance             5/11/2020                  27.00
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Creditor     Reason for Payment           Date         Total paid
CIGNA        Medical Insurance             5/11/2020                 27.00
CIGNA        Medical Insurance             5/11/2020                 44.13
CIGNA        Medical Insurance             5/11/2020                 27.00
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 17.13
CIGNA        Medical Insurance             5/11/2020                 20.53
CIGNA        Medical Insurance             5/11/2020                 21.08
CIGNA        Medical Insurance             5/11/2020                 21.08
CIGNA        Medical Insurance             5/11/2020                 44.13
CIGNA        Medical Insurance             5/11/2020                 44.13
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 34.26
CIGNA        Medical Insurance             5/11/2020                 37.66
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 38.21
CIGNA        Medical Insurance             5/11/2020                 17.13
CIGNA        Medical Insurance             5/11/2020                 20.53
CIGNA        Medical Insurance             5/11/2020                 37.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 20.53
CIGNA        Medical Insurance             5/11/2020                 48.08
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 17.13
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Creditor     Reason for Payment           Date         Total paid
CIGNA        Medical Insurance             5/11/2020                 41.61
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 20.53
CIGNA        Medical Insurance             5/11/2020                 75.20
CIGNA        Medical Insurance             5/11/2020                 27.00
CIGNA        Medical Insurance             5/11/2020                 27.00
CIGNA        Medical Insurance             5/11/2020                 17.13
CIGNA        Medical Insurance             5/11/2020                 37.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 27.00
CIGNA        Medical Insurance             5/11/2020                 27.00
CIGNA        Medical Insurance             5/11/2020                 48.08
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 20.53
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 20.53
CIGNA        Medical Insurance             5/11/2020                 21.08
CIGNA        Medical Insurance             5/11/2020                 27.00
CIGNA        Medical Insurance             5/11/2020                 27.67
CIGNA        Medical Insurance             5/11/2020                 37.54
CIGNA        Medical Insurance             5/11/2020                 41.61
CIGNA        Medical Insurance             5/11/2020                 52.70
CIGNA        Medical Insurance             5/11/2020                 75.75
CIGNA        Medical Insurance             5/11/2020                 79.82
CIGNA        Medical Insurance             5/11/2020                 98.13
CIGNA        Medical Insurance             5/11/2020                 10.54
CIGNA        Medical Insurance             5/11/2020                 31.07
CIGNA        Medical Insurance             5/11/2020                 48.08
CIGNA        Medical Insurance             5/11/2020                 52.15
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Creditor                          Reason for Payment               Date          Total paid
CIGNA                             Medical Insurance                 5/11/2020                    10.54
CIGNA                             Medical Insurance                 5/11/2020                    10.54
CIGNA                             Medical Insurance                 5/11/2020                    10.54
CIGNA                             Medical Insurance                 5/11/2020                    10.54
CIGNA                             Medical Insurance                 5/11/2020                    27.00
CIGNA                             Medical Insurance                 5/11/2020                    31.07
CIGNA                             Medical Insurance                 5/11/2020                    37.54
CIGNA                             Medical Insurance                 5/11/2020                    37.54
CIGNA                             Medical Insurance                 5/11/2020                    10.54
CIGNA                             Medical Insurance                 5/11/2020                    10.54
CIGNA                             Medical Insurance                 5/11/2020                    20.53
CIGNA                             Medical Insurance                 5/11/2020                    21.08
CIGNA                             Medical Insurance                 5/11/2020                    54.00
CIGNA                             Medical Insurance                 5/19/2020                   269.27
CIGNA                             Medical Insurance                 5/19/2020                 1,244.28
CIGNA BEHAVIORAL HEALTH, INC.     Accrued Self Insured Medical       3/15/2020                1,484.80
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                    6.49
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   10.68
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   11.62
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   12.32
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   18.35
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   26.59
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   32.99
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   36.58
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   37.56
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   42.86
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   49.94
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   52.25
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   53.07
CIGNA OF NEW YORK                 Medical Insurance                  2/26/2020                   57.48
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Creditor              Reason for Payment           Date        Total paid
CIGNA OF NEW YORK     Medical Insurance              2/26/2020                74.33
CIGNA OF NEW YORK     Medical Insurance              2/26/2020                86.82
CIGNA OF NEW YORK     Medical Insurance              2/26/2020                89.36
CIGNA OF NEW YORK     Medical Insurance              2/26/2020                96.77
CIGNA OF NEW YORK     Medical Insurance              2/26/2020               101.09
CIGNA OF NEW YORK     Medical Insurance              2/26/2020               106.46
CIGNA OF NEW YORK     Medical Insurance              2/26/2020               111.47
CIGNA OF NEW YORK     Medical Insurance              2/26/2020               115.34
CIGNA OF NEW YORK     Medical Insurance              2/26/2020               194.16
CIGNA OF NEW YORK     Medical Insurance              2/26/2020               270.39
CIGNA OF NEW YORK     Medical Insurance              2/26/2020               389.22
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                14.10
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                15.56
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                17.28
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                18.62
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                21.15
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                22.82
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                30.17
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                36.25
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                37.70
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                45.97
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                47.16
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                52.26
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                53.80
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                61.35
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                62.14
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                71.88
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                97.50
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                98.56
CIGNA OF NEW YORK     Medical Insurance              3/26/2020                99.03
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Creditor                      Reason for Payment                Date         Total paid
CIGNA OF NEW YORK             Medical Insurance                   3/26/2020                  105.63
CIGNA OF NEW YORK             Medical Insurance                   3/26/2020                  107.01
CIGNA OF NEW YORK             Medical Insurance                   3/26/2020                  162.65
CIGNA OF NEW YORK             Medical Insurance                   3/26/2020                  181.73
CIGNA OF NEW YORK             Medical Insurance                   3/26/2020                  234.81
CIGNA OF NEW YORK             Medical Insurance                   3/26/2020                  247.16
CIGNA OF NEW YORK             Medical Insurance                   3/26/2020                  249.98
CINDY PERRONE LPC LLC         Consulting Fees                     3/23/2020                  160.00
CISCO SYSTEMS CAPITAL CRP     Equip. Repairs & Maint.             2/22/2020                  935.74
CITI BUSINESS CARD            Drug Expense                          3/6/2020               8,678.35
CITI BUSINESS CARD            Drug Expense                          3/6/2020              52,904.35
CITI BUSINESS CARD            Dues/Subscriptions                  3/11/2020                    4.99
CITI BUSINESS CARD            Dues/Subscriptions                  3/11/2020                    5.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                    8.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                   15.75
CITI BUSINESS CARD            License & Fees                      3/11/2020                   36.00
CITI BUSINESS CARD            Bank Fees                           3/11/2020                   39.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                   41.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                   50.00
CITI BUSINESS CARD            Telephone Expense                   3/11/2020                  123.13
CITI BUSINESS CARD            Bank Fees                           3/11/2020                  173.52
CITI BUSINESS CARD            Telephone Expense                   3/11/2020                  189.02
CITI BUSINESS CARD            Bank Fees                           3/11/2020                  207.89
CITI BUSINESS CARD            Telephone Expense                   3/11/2020                  226.96
CITI BUSINESS CARD            License & Fees                      3/11/2020                  233.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                  270.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                  270.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                  270.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                  270.00
CITI BUSINESS CARD            License & Fees                      3/11/2020                  302.00
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Creditor                                Reason for Payment                  Date         Total paid
CITI BUSINESS CARD                      License & Fees                        3/11/2020                500.00
CITI BUSINESS CARD                      License & Fees                        3/11/2020                731.00
CITI BUSINESS CARD                      License & Fees                        3/11/2020                731.00
CITI BUSINESS CARD                      License & Fees                        3/11/2020                731.00
CITI BUSINESS CARD                      License & Fees                        3/11/2020                731.00
CITI BUSINESS CARD                      License & Fees                        3/11/2020                731.00
CITI BUSINESS CARD                      License & Fees                        3/11/2020                731.00
CITI BUSINESS CARD                      License & Fees                        3/11/2020                731.00
CITY OF CHARLOTTE                       Utilities                             2/25/2020                 76.42
CITY OF CHARLOTTE                       Utilities                             2/25/2020                425.15
CITY OF CHARLOTTE                       Utilities                             3/26/2020                 81.81
CITY OF CHARLOTTE                       Utilities                             3/26/2020                432.03
CITY OF IDAHO FALLS                     Utilities                             2/26/2020                117.99
CITY OF IDAHO FALLS                     Utilities                             3/26/2020                 64.24
CITY OF IDAHO FALLS                     Utilities                               4/6/2020               292.87
CITY OF MYRTLE BEACH                    License & Fees                        3/10/2020                908.83
CITY OF SEATTLE                         License & Fees                        3/20/2020                 18.82
CITY OF ST. GEORGE                      Utilities                               4/1/2020               150.00
CITY OF ST. GEORGE                      Utilities                               4/1/2020               150.00
CITY OF WESTMINSTER FARP                Other Outside Services                2/20/2020                 30.00

CIVCO MEDICAL INSTRUMENTS               Clinical/OR Supplies & Disposable       3/9/2020               427.00

CIVCO MEDICAL INSTRUMENTS               Clinical/OR Supplies & Disposable     3/17/2020                 373.93
CLARK COUNTY ASSESSOR                   Property Taxes                        3/18/2020               1,026.52
Clark County Department of Business
License                                 License & Fees                        3/10/2020                 600.00
CLAUDIA AKIM                            Donor Pass Thru(Co Mgt Fees)          3/12/2020               7,000.00
CLEAN AIR FLOW, INC                     Equip. Repairs & Maint.               3/27/2020               1,530.00
CLIA LABORATORY PROGRAM                 Prepaid Other                         3/17/2020               2,735.00
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Creditor                                 Reason for Payment                  Date          Total paid
CLINICAL STAFFIG INC/ DZEEL CLINICAL
HEALTHCARE STAFFING                      Temporary Help                        2/20/2020                  445.50
CLINICAL STAFFIG INC/ DZEEL CLINICAL
HEALTHCARE STAFFING                      Temporary Help                        3/12/2020                  567.00
CLINICAL STAFFIG INC/ DZEEL CLINICAL
HEALTHCARE STAFFING                      Temporary Help                        3/19/2020                   378.00
CLISE AGENCY-TRUST ACCOUNT               Facility Repairs & Maint.             3/26/2020                 9,205.00
CLISE AGENCY-TRUST ACCOUNT               Rent Expense                          3/26/2020                18,135.52

CLYDE NORTHROP                           T&E - Other Travel/Entertainment       3/3/2020                   385.00
CMRS-FP                                  Postage & Freight                     3/13/2020                 2,000.00
CMRS-FP                                  Postage & Freight                     4/13/2020                 2,000.00
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                 6,896.00
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                 7,115.55
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                 8,296.00
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                 8,757.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                 8,757.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                 8,757.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                10,157.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                10,157.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/21/2020                10,157.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        2/27/2020                 8,757.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural         3/6/2020                 8,757.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        3/19/2020                 8,757.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        3/19/2020                 8,757.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        3/19/2020                 8,757.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        3/20/2020                23,259.60
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        3/27/2020                 2,635.85
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        3/27/2020                 7,115.55
COASTAL FERTILITY SPECIALISTS            Professional Fees - Procedural        3/27/2020                 8,757.60
                                         Attain/Shared Risk Med Cost
COASTAL FERTILITY SPECIALISTS            Reserve                                4/3/2020                 2,015.65
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Creditor                             Reason for Payment                Date         Total paid
COASTAL FERTILITY SPECIALISTS        Professional Fees - Procedural        4/3/2020              8,757.60
COASTAL FERTILITY SPECIALISTS        Professional Fees - Procedural        4/3/2020              8,757.60
COASTAL FERTILITY SPECIALISTS        Professional Fees - Procedural      4/10/2020               2,015.65
COASTAL FERTILITY SPECIALISTS        Professional Fees - Procedural      4/10/2020               7,115.55
COGENT COMMUNICATIONS                Telephone Expense                     3/1/2020                587.00
COGENT COMMUNICATIONS                Telephone Expense                     3/1/2020              1,150.00
COLDWELL BANKER COMMERCIAL ELITE     Rent Operating Expense              2/25/2020                  34.08
COLDWELL BANKER COMMERCIAL ELITE     Rent Expense                        2/25/2020                 198.89
COLDWELL BANKER COMMERCIAL ELITE     Real Estate Tax                     2/25/2020                 482.12
COLDWELL BANKER COMMERCIAL ELITE     Rent Operating Expense              2/25/2020                 612.68
COLDWELL BANKER COMMERCIAL ELITE     Rent Expense                        2/25/2020               6,103.88
COLDWELL BANKER COMMERCIAL ELITE     Rent Operating Expense              3/25/2020                  34.08
COLDWELL BANKER COMMERCIAL ELITE     Rent Expense                        3/25/2020                 198.89
COLDWELL BANKER COMMERCIAL ELITE     Real Estate Tax                     3/25/2020                 482.12
COLDWELL BANKER COMMERCIAL ELITE     Rent Operating Expense              3/25/2020                 612.68
COLDWELL BANKER COMMERCIAL ELITE     Rent Expense                        3/25/2020               6,103.88
COLLEEN MAZZONI                      Professional Fee- Anesthes.         2/27/2020               1,975.00
COLLEEN MAZZONI                      Professional Fee- Anesthes.           3/9/2020              1,600.00
COLLEEN MAZZONI                      Professional Fee- Anesthes.         3/30/2020               2,400.00
COLLEGE OF AMERICAN PATHOLIGISTS     Dues/Subscriptions                  3/20/2020               6,466.00
COLUMBIA GAS OF VIRGINIA, INC        Utilities                           3/13/2020                  29.55
COLWILL ENGINEERING TECHNOLOGIES
INC                                  Other Outside Services              2/25/2020                311.65
COMCAST                              Utilities                            3/1/2020                 94.95
COMCAST                              Utilities                            3/1/2020                109.90
COMCAST                              Utilities                            3/1/2020                109.90
COMCAST                              Utilities                            3/1/2020                109.90
COMCAST                              Utilities                            3/1/2020                129.90
COMCAST                              Utilities                            3/1/2020                134.85
COMCAST                              Utilities                            3/1/2020                139.85
COMCAST - 71211                      Telephone Expense                   2/20/2020                238.89
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Creditor            Reason for Payment           Date         Total paid
COMCAST - 71211     WAN Telecom                    2/22/2020                 119.64
COMCAST - 71211     Internet                       2/24/2020                 138.76
COMCAST - 71211     Telephone Expense              2/25/2020                 210.68
COMCAST - 71211     Telephone Expense              2/25/2020                 236.81
COMCAST - 71211     Telephone Expense              2/28/2020                 159.47
COMCAST - 71211     Internet                         3/1/2020                207.62
COMCAST - 71211     Telephone Expense                3/1/2020                259.27
COMCAST - 71211     WAN Telecom                      3/2/2020                181.31
COMCAST - 71211     Telephone Expense                3/6/2020                140.72
COMCAST - 71211     Internet                       3/11/2020                 164.99
COMCAST - 71211     Telephone Expense              3/18/2020                 176.77
COMCAST - 71211     Telephone Expense              3/20/2020                 238.89
COMCAST - 71211     WAN Telecom                    3/22/2020                 119.64
COMCAST - 71211     Internet                       3/24/2020                 138.76
COMCAST - 71211     Telephone Expense              3/25/2020                 210.68
COMCAST - 71211     Telephone Expense              3/25/2020                 236.81
COMCAST - 71211     Telephone Expense              3/28/2020                 159.47
COMCAST - 71211     Telephone Expense                4/1/2020                258.99
COMCAST - 71211     Telephone Expense                4/6/2020                140.72
COMCAST CABLE       Utilities                      2/25/2020                 108.41
COMCAST CABLE       Utilities                        3/1/2020                 63.20
COMCAST CABLE       Utilities                        3/1/2020                 98.01
COMCAST CABLE       Utilities                        3/1/2020                109.84
COMCAST CABLE       WAN Telecom                    3/26/2020               1,040.80
COMCAST-34744       Internet                       2/20/2020                 110.24
COMCAST-34744       Internet                       2/20/2020                 115.22
COMCAST-34744       WAN Telecom                    2/26/2020               1,040.80
COMCAST-34744       Telephone Expense                3/1/2020                238.98
COMCAST-34744       Telephone Expense                3/2/2020                366.39
COMCAST-34744       Internet                         3/5/2020                155.22
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Creditor                             Reason for Payment                 Date         Total paid
COMCAST-34744                        Internet                             3/13/2020                 110.00
COMCAST-34744                        Internet                             3/20/2020                 110.24
COMCAST-34744                        Internet                             3/21/2020                 115.22
COMCAST-34744                        Telephone Expense                      4/1/2020                197.36
COMCAST-34744                        Telephone Expense                      4/2/2020                605.43
COMCAST-37601                        Internet                             3/15/2020                 425.00
COMCAST-37601                        Internet                             3/15/2020                 425.00
COMCAST-37601                        Internet                             3/15/2020                 425.00
COMCAST-37601                        Internet                             3/15/2020                 430.00
COMCAST-37601                        Internet                             3/15/2020                 510.00
COMCAST-37601                        Internet                             3/15/2020                 594.95
COMCAST-37601                        Internet                             3/15/2020                 606.69
COMCAST-37601                        Internet                             3/15/2020                 771.04
COMCAST-37601                        Internet                             3/15/2020                 863.16
COMMERCIAL OFFICE INTERIORS          F/A - Furniture & Office Equip       2/27/2020               3,600.97
COMMERCIAL OFFICE INTERIORS          Facility Repairs & Maint.            2/29/2020                 324.50

COMMISSIONER OF TAXATION & FINANCE   Prepaid Taxes                         3/6/2020               2,532.90
COMMUNITY RESOURCE MANAGEMENT        Rent Expense                          3/2/2020               7,960.00
COMPLETE WICKED SERVICES             F/A - Facility Improvements          2/23/2020               2,051.50
COMPLIANCE ALLIANCE INC              Other Outside Services               3/15/2020                 899.00
COMPLIANCE CONTROL INC.              Equip. Repairs & Maint.               3/1/2020                 981.88
COMPUTER PROTECTION TECHNOLOGY
INC                                  Equip. Repairs & Maint.              2/28/2020                 957.00
CONNECTION FINANCIAL SERVICES        MIS Supplies-Software                3/21/2020                 867.32
CONNECTION FINANCIAL SERVICES        MIS Supplies - Hardware              3/21/2020               1,479.86
CONSULTOMEDIC LC                     Other Outside Services               2/29/2020               4,823.00
Consultomedic LLC                    Consulting Services                 3/23/2020                4,823.00
Consultomedic LLC                    Consulting Services                 3/23/2020                4,823.00
Consultomedic LLC                    Consulting Services                  4/1/2020                4,350.00
Consultomedic LLC                    Consulting Services                  4/1/2020                4,350.00
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Creditor             Reason for Payment                  Date          Total paid

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/21/2020                 217.75

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/21/2020                 530.00
COOK MEDICAL LLC     Lab Supplies                          2/21/2020                 540.87

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/21/2020                  742.00
COOK MEDICAL LLC     Equip. Repairs & Maint.               2/21/2020                  743.75
COOK MEDICAL LLC     Equip. Repairs & Maint.               2/21/2020                  743.75
COOK MEDICAL LLC     Equip. Repairs & Maint.               2/21/2020                  743.75
COOK MEDICAL LLC     Equip. Repairs & Maint.               2/21/2020                  743.75
COOK MEDICAL LLC     Equip. Repairs & Maint.               2/21/2020                1,381.25

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/21/2020                1,590.00

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/24/2020                 133.90

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/24/2020                 143.61

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/24/2020                 664.95

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/25/2020                3,973.94

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/26/2020                  915.27
COOK MEDICAL LLC     Lab Supplies                          2/26/2020                3,680.63

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/27/2020                 968.39

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/27/2020                2,680.00

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     2/28/2020                1,551.90

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                 133.00
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Creditor             Reason for Payment                  Date          Total paid

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                  185.50

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                  960.20

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                 1,853.00

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                 2,991.32

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                 3,706.00

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                 5,764.31

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                 8,280.93

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/2/2020                15,555.92

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/3/2020                  389.34

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/3/2020                 2,774.52

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/3/2020                 3,217.50

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/4/2020                  293.60

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/6/2020                   21.40

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/6/2020                 1,970.42

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable      3/9/2020                 1,778.53

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     3/10/2020                  324.36

COOK MEDICAL LLC     Clinical/OR Supplies & Disposable     3/10/2020                 1,399.20
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Creditor                               Reason for Payment                  Date          Total paid

COOK MEDICAL LLC                       Clinical/OR Supplies & Disposable     3/25/2020                  393.05

COOK MEDICAL LLC                       Clinical/OR Supplies & Disposable     3/26/2020                 4,057.68

COOPER SURGICAL                        Clinical/OR Supplies & Disposable     2/20/2020                  201.14
COOPER SURGICAL                        Other Clinical Materials               3/5/2020                  138.27

Cooper Surgical                        Clinical/OR Supplies & Disposable      3/9/2020                 1,932.04
COOPERGENOMICS INC                     Outside Lab Tests                     2/29/2020                 2,200.00
COPACINO + FUJIKADO, LLC               Advertising                           2/26/2020                 2,000.00
COPACINO + FUJIKADO, LLC               Open House/Community Events           2/26/2020                16,827.00
COPACINO + FUJIKADO, LLC               Advertising                           3/11/2020                 2,000.00
COPACINO + FUJIKADO, LLC               Accrued Marketing                     3/19/2020                62,678.00

CORODATA RECORDS MANAGEMENT, INC Other Outside Services                      2/29/2020                     0.52

CORODATA RECORDS MANAGEMENT, INC Other Outside Services                      2/29/2020                     0.81

CORODATA RECORDS MANAGEMENT, INC Storage Services                            2/29/2020                  141.99

CORODATA RECORDS MANAGEMENT, INC Storage Services                            2/29/2020                  141.99

CORODATA RECORDS MANAGEMENT, INC Other Outside Services                      2/29/2020                  365.81

CORODATA RECORDS MANAGEMENT, INC Storage Services                            2/29/2020                   977.34
CORY FRANKS                      Donor Pass Thru(Co Mgt Fees)                3/24/2020                 7,000.00

COSMOPOLITAN BUILDING SERVICES, INC.   Janitorial Service                     3/2/2020                  725.00
COUNTRY CLUB CLEANERS                  Laundry Services                      2/29/2020                  215.19
COURIER EXPRESS                        Courier Fees                          2/28/2020                  353.83
COURIER EXPRESS                        Courier Fees                          2/28/2020                  353.83
COURIER EXPRESS                        Courier Fees                          2/28/2020                  353.83
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Creditor                     Reason for Payment                  Date         Total paid
COURIER EXPRESS              Courier Fees                          2/28/2020                  353.83
COURIER EXPRESS              Courier Fees                          2/28/2020                  353.84
COURIER EXPRESS              Courier Fees                          2/28/2020                  353.84
COURIER EXPRESS              Courier Fees                          2/28/2020                  477.40
COURIER EXPRESS              Courier Fees                          3/13/2020                  353.83
COURIER EXPRESS              Courier Fees                          3/13/2020                  353.83
COURIER EXPRESS              Courier Fees                          3/13/2020                  353.83
COURIER EXPRESS              Courier Fees                          3/13/2020                  353.83
COURIER EXPRESS              Courier Fees                          3/13/2020                  353.84
COURIER EXPRESS              Courier Fees                          3/13/2020                  353.84
COURIER EXPRESS              Courier Fees                          3/13/2020                  477.40
COURIER EXPRESS              Courier Fees                          3/27/2020                  349.00
COURIER EXPRESS              Courier Fees                          3/27/2020                  349.01
COURIER EXPRESS              Courier Fees                          3/27/2020                  349.01
COURIER EXPRESS              Courier Fees                          3/27/2020                  349.01
COURIER EXPRESS              Courier Fees                          3/27/2020                  349.01
COURIER EXPRESS              Courier Fees                          3/27/2020                  349.01
COURTNEY BOGER               Donor Egg Compensation/Insur          2/28/2020                5,500.00
COURTNEY GACENGECI           Other Outside Services                2/28/2020                1,000.00
COUSINS PROPERTIES LP        Rent Operating Expense                2/27/2020                1,179.00
COUSINS PROPERTIES LP        Rent Expense                          2/27/2020               35,451.26
COUSINS PROPERTIES LP        Utilities                               3/6/2020               1,641.43
COVERALL CENTRAL FLORIDA     Janitorial Service                      3/1/2020               1,183.59
COVERALL CENTRAL FLORIDA     Janitorial Service                      3/1/2020               2,634.44
COVIDIEN                     Postage & Freight                     2/27/2020                   56.75
COVIDIEN                     OR Instruments/Instruments            2/27/2020                3,773.10

COVIDIEN LP                  Clinical/OR Supplies & Disposable       3/2/2020               1,913.39

COVIDIEN LP                  Clinical/OR Supplies & Disposable     3/12/2020                1,515.45
COX BUSINESS                 WAN Telecom                           3/19/2020                  705.00
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Creditor                                 Reason for Payment                Date         Total paid
COX CABLE                                Internet                            3/10/2020                    212.23
COX CABLE                                Internet                            3/21/2020                    332.68
COX COMMUNICATIONS                       Telephone Expense                   2/20/2020                    369.80
CPRICE SOLUTIONS, LLC                    Accrued Marketing                     3/3/2020                   198.60
CPRICE SOLUTIONS, LLC                    Accrued Marketing                     3/3/2020                   202.90
CPRICE SOLUTIONS, LLC                    Accrued Marketing                     3/3/2020                   987.78
CPRICE SOLUTIONS, LLC                    Accrued Marketing                     3/3/2020                 4,236.58
CREATING CHANGE                          Other Outside Services              2/20/2020                    425.00
CREATING CHANGE                          Other Outside Services              2/20/2020                    425.00
CREATING CHANGE                          Other Outside Services              2/20/2020                    425.00
CREATING CHANGE                          Other Outside Services              2/24/2020                    425.00
CREATING CHANGE                          Other Outside Services              2/25/2020                    425.00
CREATING CHANGE                          Other Outside Services                3/3/2020                   425.00
CREATING CHANGE                          Other Outside Services                3/4/2020                   425.00
CREATING CHANGE                          Other Outside Services              3/12/2020                    425.00
CREATING CHANGE                          Other Outside Services              3/23/2020                    425.00
CREATING CHANGE                          Other Outside Services              3/30/2020                    425.00
CREATING CHANGE                          Other Outside Services              3/31/2020                    425.00
CREATING CHANGE                          Other Outside Services                4/2/2020                   425.00

CREATIVE PRINTING AND PUBLISHING, INC.   Printing                            2/27/2020                    26.75
Creditor                                 Reason for Payment                Date        Total paid
CROW SHIELDS BAILEY                      Legal Fees                          2/27/2020                    625.00
CROWN CENTER EXECUTIVE SUITES            Rent Expense                        2/20/2020                  2,876.00
CROWN CENTER EXECUTIVE SUITES            Rent Expense                        3/20/2020                  2,875.50
CryoGam Colorado, Inc.                                                      5/20/2020                350,000.00
CRYOPORT                                                                    5/19/2020                  2,170.00
CRYSTAL AND SIERRA SPRINGS               Other Outside Services              3/14/2020                   373.25
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                   Professional Fees - Procedural      2/21/2020                  2,720.00
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Creditor                           Reason for Payment                Date          Total paid
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/21/2020                4,732.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/21/2020                4,971.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/21/2020                5,157.10
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/21/2020                5,682.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/21/2020                5,729.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/21/2020                7,072.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/27/2020                5,729.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/27/2020                5,729.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/27/2020                7,052.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      2/27/2020                8,704.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      3/13/2020                3,180.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      3/13/2020                6,347.20
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      3/13/2020                7,462.65
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      3/19/2020                2,203.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      3/19/2020                3,180.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      3/19/2020                4,173.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                             Professional Fees - Procedural      3/19/2020                6,364.80
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Creditor                              Reason for Payment                Date          Total paid
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural      3/19/2020                 7,052.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural      3/19/2020                 8,552.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural      3/27/2020                 6,347.20
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural      3/27/2020                 9,278.40
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural      3/27/2020                10,204.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural       4/3/2020                 2,720.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural       4/3/2020                 4,971.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural       4/3/2020                 7,052.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural       4/3/2020                10,204.00
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural      4/10/2020                 2,203.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural      4/10/2020                 4,971.75
CTR FOR REPRODUCTIVE MEDICINE-
MOBILE                                Professional Fees - Procedural      4/10/2020                11,224.50
CULLIGAN SPOKANE                      Other Outside Services              2/29/2020                   186.90
CUMBERLAND BIOMED LLC                 Equip. Repairs & Maint.             3/10/2020                   950.00
CUMMINS POWER SYSTEMS, LLC            Equip. Repairs & Maint.             2/27/2020                   585.23
Curi Agency, LLC                      Prepaid Other                       3/17/2020                10,457.66
CUSTOM AQUARIUM                       Other Outside Services               3/1/2020                    95.00
CUSTOM CLIMATE                        Facility Repairs & Maint.            3/3/2020                   125.00
CUSTOMIZED CREDENTIALING SERVICES     Other Outside Services               3/2/2020                   150.00
                                      Office Supplies & Non-Marketing
CWW ENTERPRISES INC                   Printing                            2/25/2020                   42.90
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Creditor                           Reason for Payment                Date          Total paid
                                   Office Supplies & Non-Marketing
CWW ENTERPRISES INC                Printing                            3/10/2020                   42.90
CYNTHIA PADILLA                    Automobile Expense                  2/25/2020                   26.92
D O BROTHERS INC                   Facility Repairs & Maint.           3/15/2020                  650.00
D SQUARE ENERGY LLC                Equip. Repairs & Maint.             3/12/2020                  326.01
                                   Office Supplies & Non-Marketing
DAIOHS USE, INC                    Printing                             3/4/2020                  241.55
DAIOHS USE, INC                    Media                                3/5/2020                   98.23
                                   Office Supplies & Non-Marketing
DAIOHS USE, INC                    Printing                             3/5/2020                  190.76
                                   Office Supplies & Non-Marketing
DAIOHS USE, INC                    Printing                             3/6/2020                    94.23
DALLAS IVF SURGERY CENTER LLC      Professional Fees - Procedural      3/13/2020                   910.00
DALLAS IVF SURGERY CENTER LLC      Professional Fees - Procedural      3/13/2020                 1,950.00
DALLAS IVF SURGERY CENTER LLC      Professional Fees - Procedural      3/13/2020                 3,139.50
DANA ORR                           Donor Pass Thru(Co Mgt Fees)        3/12/2020                   500.00
DANICA KARLIK                      Donor Pass Thru(Co Mgt Fees)        2/26/2020                 7,000.00
DANIEL CARUSILLO                   Pass Thru Costs                     3/20/2020                   200.00
DANIELA ALEMAN AND ALVARO ALEMAN   Attain/Shared Risk Deposits          4/8/2020                11,800.00
DARA BERGER                        Other Outside Services               3/3/2020                 5,000.00
DASH COURIER SERVIVE, LLC          Courier Fees                        2/23/2020                   133.55
DASH COURIER SERVIVE, LLC          Courier Fees                         3/1/2020                   133.55
DASH COURIER SERVIVE, LLC          Courier Fees                         3/8/2020                   133.55
DASH COURIER SERVIVE, LLC          Courier Fees                        3/15/2020                   133.55
DASH COURIER SERVIVE, LLC          Courier Fees                        3/22/2020                   133.55
DATAPRISE                          License & Fees                      2/29/2020                   468.00
DATAPRISE                          Consulting Fees                     2/29/2020                 1,155.00
DATAPRISE                          Consulting Fees                     2/29/2020                 2,330.85
DATAPRISE                          Consulting Fees                     2/29/2020                 2,400.25
DATAPRISE                          Consulting Fees                     2/29/2020                 5,289.05
DATAPRISE                          License & Fees                      2/29/2020                18,911.95
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Creditor                               Reason for Payment                  Date          Total paid
                                       Office Supplies & Non-Marketing
DAT-A-SYST                             Printing                              2/20/2020                    172.33
                                       Office Supplies & Non-Marketing
DAT-A-SYST                             Printing                              3/18/2020                    103.16

DAVID A GOODWIN                        Professional Fee-Social Worker        2/29/2020                   2,375.00
DCIP Consulting                        Consulting Services                   3/9/2020                   5,251.01
DCIP Consulting                        Consulting Services                   3/9/2020                   5,251.01
DCMV SERVICE CORPORATION               Janitorial Service                     3/1/2020                    731.40
DE LAGE LANDEN FINANCIAL SERVICES,
INC                                    Equipment Rental                       3/1/2020                    729.92
DE LAGE LANDEN FINANCIAL SERVICES,
INC                                    Equipment Rental                       3/2/2020                   1,491.21
DEARBORN LIFE INSURANCE COMPANY        Medical Insurance                     3/10/2020                  22,135.68
DEARBORN LIFE INSURANCE COMPANY        Medical Insurance                     3/10/2020                  22,191.48
DEARBORN LIFE INSURANCE COMPANY        Medical Insurance                      4/1/2020                  22,000.00
DEBONAIR CLEANERS                      Laundry Services                       3/1/2020                     127.50

DEBRA STEVENSON                        Clinical/OR Supplies & Disposable     3/11/2020                      12.22
DEEP SEVEN ARCHIVE AND SHRED           Other Outside Services                2/29/2020                     116.74
DEEP SEVEN ARCHIVE AND SHRED           Other Outside Services                3/31/2020                     215.00
DEIRDRE A. CONWAY                      T&E - Lodging                         3/11/2020                     270.00
DELIVERY EXPRESS                       Courier Fees                          2/23/2020                   8,470.00
DELL FINANCIAL SERVICES                Other Expense                         3/10/2020                   4,416.50
DELL MARKETING LP                      Equipment Rental                      2/20/2020                     298.50
DELL MARKETING LP                      Equipment Rental                      2/20/2020                   5,417.20
DELL MARKETING LP                      F/A - Computer Equipment              2/27/2020                  26,560.99
Deloitte & Touche LLP                  Professional Services                3/19/2020                 175,000.00
Deloitte & Touche LLP                  Professional Services                3/19/2020                 175,000.00
DENSTAR, LLC                           Rent Expense                          2/25/2020                   2,551.28
DENSTAR, LLC                           Rent Expense                          2/25/2020                   4,318.91
DENSTAR, LLC                           Rent Expense                          2/25/2020                  24,001.54
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Creditor                            Reason for Payment                Date         Total paid
DEPT. OF ENVIRONMENTAL QUALITY      Other Outside Services              3/24/2020                  105.00
DEPT. OF ENVIRONMENTAL QUALITY      Other Outside Services              3/24/2020                  105.00
DEPT. OF LABOR & INDUSTRIES         Accrued Business Insurance            4/6/2020              25,286.39
Deutsche Bank Trust Company AmericasFinancial Services                  5/5/2020            3,346,732.38
DEVINE'S PHARMACY                   Drug Expense                        2/25/2020                  986.67
DEVINE'S PHARMACY                   Drug Expense                         3/2/2020                  549.77
DEVINE'S PHARMACY                   Drug Expense                         3/3/2020                2,584.27
DEVINE'S PHARMACY                   Drug Expense                        3/11/2020                2,586.29
DEVINE'S PHARMACY                   Drug Expense                        3/12/2020                4,175.91
DEVINE'S PHARMACY                   Drug Expense                        3/17/2020                1,756.82
DEVINE'S PHARMACY                   Drug Expense                        3/19/2020                  984.23
DEVINE'S PHARMACY                   Drug Expense                        3/24/2020                1,983.11
DEVRIES INFORMATION MANAGEMENT      Other Outside Services              2/28/2020                   89.99
DEVRIES INFORMATION MANAGEMENT      Other Outside Services              3/31/2020                   89.99
Dex Media                           Advertising                         2/28/2020                  260.50
DIAGNOSTIC PHYSICS                  Equip. Repairs & Maint.             3/20/2020                  735.00
DIAGNOSTIC PHYSICS                  Equip. Repairs & Maint.             3/20/2020                  735.00
DIALOGTECH                          Other Marketing Costs               2/29/2020                  575.93
                                    Office Supplies & Non-Marketing
DIAMOND SPRINGS                     Printing                            3/13/2020                 177.69
                                    Office Supplies & Non-Marketing
DIANE FLETCHER                      Printing                              3/2/2020                 28.92
DIANE FLETCHER                      Cellular Phone/Page                   3/2/2020                232.96
DIANE FLETCHER                      Other Outside Services                3/2/2020                284.18
DIANE FLETCHER                      Automobile Expense                    3/2/2020                330.40
DIANE FLETCHER                      Advertising                           3/2/2020                750.60
                                    Office Supplies & Non-Marketing
DIANE HUNTER                        Printing                            3/16/2020                  25.18
DIANE MERRITT                       Radio                                3/4/2020                 150.00
DIGITAL THIRD COAST INTERNET
MARKETING, INC                      Internet                              3/1/2020               4,480.00
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Creditor                           Reason for Payment                  Date         Total paid
DIRK THEY'S                        Facility Repairs & Maint.             2/29/2020               1,457.18
DIRK THEY'S                        Facility Repairs & Maint.             3/31/2020                 135.00
DIRK THEY'S                        Facility Repairs & Maint.             3/31/2020               1,734.85
DISH NETWORK                       Utilities                             2/26/2020                   0.02
DISH NETWORK                       Utilities                             2/26/2020                  87.02
DIVERSIFIED ALARM SERVICE          Other Outside Services                  3/1/2020                117.00
DIVERSIFIED ALARM SERVICE          Other Outside Services                  3/1/2020                240.00
DIVERSIFIED ALARM SERVICE          Other Outside Services                  3/1/2020                240.00
DIVISION OF WASTE MANAGEMENT AND
RADIATION CONTROL                  License & Fees                          3/4/2020                35.00
DIVISION OF WASTE MANAGEMENT AND
RADIATION CONTROL                  License & Fees                         3/4/2020                  35.00
DIXIE REGIONAL MEDICAL CENTER      Outside Lab Tests                     2/20/2020                 243.03
DIXON HUGHES GOODMAN LLP           Legal Fees                            3/11/2020               2,100.00
DOMINION ENERGY                    Utilities                             2/20/2020                 159.49
DOMINION ENERGY                    Utilities                             2/20/2020                 237.74
DOMINION ENERGY                    Utilities                             3/10/2020               1,506.88
DOMINION ENERGY                    Utilities                             3/12/2020               1,235.78
DOMINION ENERGY                    Utilities                             3/20/2020                 346.01
DOMINION ENERGY                    Utilities                             3/23/2020                 121.19
DOMINION ENERGY                    Utilities                             3/23/2020                 198.56
DOMINION ENERGY                    Utilities                              4/9/2020                 666.00
DOMINION VIRGINIA POWER            Utilities                             3/16/2020                 193.13

DONNA BATHE                        T&E - Other Travel/Entertainment      3/20/2020                  99.06
DORF & NELSON, LLP                 Other Expense                         2/29/2020               2,300.00
DOUGLAS EMMETT REALITY FUND
1996,LLC40                         Utilities                             2/21/2020                495.00
DOUGLAS EMMETT REALITY FUND
1996,LLC40                         Facility Repairs & Maint.             3/15/2020                284.87
DOUGLAS EMMETT REALITY FUND
1996,LLC40                         Facility Repairs & Maint.             3/15/2020                355.96
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Creditor                            Reason for Payment                  Date          Total paid
DOUGLAS EMMETT REALITY FUND
1996,LLC40                          Facility Repairs & Maint.             3/15/2020                 1,628.12
DOUGLAS EMMETT REALITY FUND
1996,LLC40                          Rent Expense                          3/15/2020                 4,419.47
DOUGLAS EMMETT REALITY FUND
1996,LLC40                          Rent Expense                          3/15/2020                 5,067.76
DOUGLAS EMMETT REALITY FUND
1996,LLC40                          Rent Expense                          3/15/2020                13,025.61
DR. ELIE HOBEIKA                    Auto Allowance                        3/14/2020                   200.00
DR. FIKRET ATAMDEDE                 Consulting Fees                        3/1/2020                   500.00
DR. FIKRET ATAMDEDE                 Consulting Fees                        4/1/2020                   500.00
DR. LISA TUCKER                     License & Fees                        3/15/2020                   833.33
DR. RAMIN MIRHASHEMI                Consulting Fees                        3/1/2020                   500.00
DR. RAMIN MIRHASHEMI                Consulting Fees                        4/1/2020                   500.00
DR.WALID SALEH                      Recruitment                           2/20/2020                    60.00
DR.WALID SALEH                      Advertising                           3/11/2020                   414.00
DR.WALID SALEH                      Professional Fees - Procedural        3/15/2020                 1,000.00
DR.WALID SALEH                      Professional Fees - Procedural        4/15/2020                 1,000.00

DRAGER MEDICAL                      Clinical/OR Supplies & Disposable     3/17/2020                   668.45
DRIFTWOOD HOTEL PROPERTIES, LLC     Rent Expense                           3/5/2020                 2,000.00
DRIFTWOOD HOTEL PROPERTIES, LLC     Rent Expense                           4/5/2020                 2,000.00
DRINK MORE WATER INC                Equipment Rental                      2/27/2020                    19.11
DSIGNART                            Printing                               3/4/2020                    50.84
DUKE ENERGY                         Utilities                             2/26/2020                 4,090.45
DUKE POWER                          Utilities                             2/26/2020                   133.69
DUKE POWER                          Utilities                              3/3/2020                   523.16
DUKE POWER                          Utilities                              3/5/2020                 5,309.42
DUKE POWER                          Utilities                             3/27/2020                   133.69
DUKE POWER                          Utilities                              4/2/2020                   447.37
DUKE POWER                          Utilities                              4/6/2020                 5,494.73
DWF V WEST LAKE, LLC                Facility Repairs & Maint.             2/24/2020                34,803.99
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Creditor                    Reason for Payment                  Date         Total paid
DWF V WEST LAKE, LLC        Rent Expense                          2/24/2020               63,996.60
DWF V WEST LAKE, LLC        Facility Repairs & Maint.               4/1/2020              37,924.45
DWF V WEST LAKE, LLC        Rent Expense                            4/1/2020              63,996.60
DWMN LLC                    Professional Fee- Anesthes.           2/29/2020                  800.00
DWMN LLC                    Professional Fee- Anesthes.           3/21/2020                1,880.00

DXNOW INC                   Clinical/OR Supplies & Disposable     2/21/2020                3,319.63
DYMPASH GLOBAL, INC         Janitorial Service                     3/1/2020                  787.03
DYMPASH GLOBAL, INC         Janitorial Service                     3/1/2020                1,218.30
Dynalink Communications     Telephone Expense                      3/5/2020                  274.60
EAGLE ROCK IT               Other Outside Services                 3/5/2020                  550.00
EAST IDAHO NEWS             Advertising                            3/1/2020                  460.00
EAST WEST BANK              Equipment Rental                      3/15/2020               14,941.95
EASTLAKE PAINT COMPANY      Facility Repairs & Maint.             2/23/2020                2,811.68
EBSCO RECEPTION ROOM        Dues/Subscriptions                    2/25/2020                   57.06
EBSCO RECEPTION ROOM        Dues/Subscriptions                    2/25/2020                   65.45
EBSCO RECEPTION ROOM        Dues/Subscriptions                    2/25/2020                   72.93
EBSCO RECEPTION ROOM        Dues/Subscriptions                    2/25/2020                  106.00
EBSCO RECEPTION ROOM        Utilities                             2/25/2020                  111.76
EBSCO RECEPTION ROOM        Dues/Subscriptions                    2/25/2020                  140.40
EBSCO RECEPTION ROOM        Dues/Subscriptions                    2/25/2020                  158.42
ECOAST NETWORKS             Other Outside Services                2/25/2020                  129.00
ECOAST NETWORKS             License & Fees                        2/25/2020                  129.00
ECOAST NETWORKS             Accrued Other                         2/25/2020                  129.00
ECOAST NETWORKS             Accrued Other                         2/25/2020                  129.00
ECOAST NETWORKS             MIS Supplies - Hardware               2/27/2020                  128.38
ECOAST NETWORKS             Supplies                               3/3/2020                   96.27
ECOAST NETWORKS             Other Outside Services                 3/3/2020                  129.00
ECOAST NETWORKS             Other Outside Services                 3/3/2020                  250.00
ECOAST NETWORKS             Other Outside Services                 3/3/2020                  250.00
ECOAST NETWORKS             MIS Supplies - Cloud Services          3/3/2020                  359.00
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Creditor                          Reason for Payment                Date         Total paid
ECOAST NETWORKS                   MIS Supplies-Software                 3/3/2020                 359.00
ECOAST NETWORKS                   MIS Supplies-Software                 3/3/2020               3,000.00
ECOAST NETWORKS                   Equip. Repairs & Maint.               3/3/2020               4,500.00
ECOAST NETWORKS                   License & Fees                      3/10/2020                  129.00
ECOAST NETWORKS                   Supplies                            3/17/2020                  315.46
                                  Office Supplies & Non-Marketing
ECOAST NETWORKS                   Printing                            3/25/2020                   42.75
ECOAST NETWORKS                   MIS Supplies-Software                4/1/2020                  359.00
ECOAST NETWORKS                   Equip. Repairs & Maint.              4/1/2020                4,500.00
EDGAR TRIANA                      Facility Repairs & Maint.           3/12/2020                  900.00
EDGE BIOMEDICAL LLC               Equip. Repairs & Maint.             2/26/2020                  200.00
EDGE BIOMEDICAL LLC               Equip. Repairs & Maint.             2/27/2020                  280.00
EDGE CLEANING SERVICES, LLC       Janitorial Service                  2/20/2020                  200.00
EDGE CLEANING SERVICES, LLC       Janitorial Service                  3/23/2020                1,130.00
EDGE CLEANING SERVICES, LLC       Janitorial Service                  3/25/2020                  319.00
EDWARD MARUT, MD                  Auto Allowance                      3/14/2020                1,000.00
EGG DONOR CONNECT LLC             Other Outside Services               3/2/2020                  540.95
EISNERAMPER LLP                   Accrued Audit/Tax                   3/18/2020               31,720.00
ELDORADO HOLDINGS, LLC            Accrued Other                       2/20/2020               16,896.51
ELDORADO HOLDINGS, LLC            Accrued Other                       3/20/2020               16,896.51
ELITE ANESTHESIA SERVICES LLC     Professional Fee- Anesthes.         2/29/2020                4,220.00
ELITE ANESTHESIA SERVICES LLC     Professional Fee- Anesthes.         2/29/2020                5,350.00
ELITE ANESTHESIA SERVICES LLC     Professional Fee- Anesthes.         3/30/2020                3,240.00
ELITE ANESTHESIA SERVICES LLC     Professional Fee- Anesthes.         3/30/2020                3,760.00
ELIZABETH HERRERA                 Donor Pass Thru(Co Mgt Fees)        3/27/2020                  300.00
ELIZABETH HERRERA                 Donor Pass Thru(Co Mgt Fees)        3/27/2020                  850.00
ELIZABETH HERRERA                 Donor Pass Thru(Co Mgt Fees)        3/27/2020                  850.00
ELIZABETH HERRERA                 Donor Pass Thru(Co Mgt Fees)        3/27/2020                5,000.00
ELIZABETH NORTON                  Donor Pass Thru(Co Mgt Fees)        3/26/2020                5,000.00
ELIZABETH TERRY                   Donor Pass Thru(Co Mgt Fees)        2/25/2020                6,000.00
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Creditor                              Reason for Payment                  Date          Total paid
ELLEN FITZSIMMONS-CRAFT & TIMOTHY
CRAFT                                 Attain/Shared Risk Deposits           3/20/2020                12,400.00
ELLEN FITZSIMMONS-CRAFT & TIMOTHY
CRAFT                                 Attain/Shared Risk Deposits           3/30/2020                12,400.00
ELLENOFF GROSSMAN & SCHOLE LLP        Legal Fees                            2/29/2020                   625.00
ELLIE SCHWARTZMAN, PHD                Other Outside Services                2/28/2020                   600.00
EMBRYOTECH                            Postage & Freight                     3/16/2020                   177.00
EMBRYOTECH                            Outside Embryology Fees               3/16/2020                 1,505.00

EMD MILLIPORE CORP                    Clinical/OR Supplies & Disposable     2/20/2020                   47.70

EMD MILLIPORE CORP                    Clinical/OR Supplies & Disposable     2/21/2020                  140.56
                                      Office Supplies & Non-Marketing
EMILY WHEELER CARDEY                  Printing                              3/19/2020                   131.36
EMY JEAN CHAMBERLAINE-WELLINGS        Donor Pass Thru(Co Mgt Fees)          3/26/2020                   500.00
ENCINO PHARMACY                       Drug Expense                          2/21/2020                 1,386.53
ENCINO PHARMACY                       Drug Expense                          2/24/2020                   204.50
ENCINO PHARMACY                       Drug Expense                          2/24/2020                   493.78
ENCINO PHARMACY                       Drug Expense                          2/24/2020                 1,386.53
ENCINO PHARMACY                       Drug Expense                          2/25/2020                   189.37
ENCINO PHARMACY                       Drug Expense                          2/26/2020                   149.70
ENCINO PHARMACY                       Drug Expense                          2/26/2020                   534.65
ENCINO PHARMACY                       Drug Expense                          2/26/2020                 2,883.38
ENCINO PHARMACY                       Drug Expense                          2/26/2020                 3,092.40
ENCINO PHARMACY                       Drug Expense                          2/27/2020                   158.47
ENCINO PHARMACY                       Drug Expense                          2/27/2020                   245.37
ENCINO PHARMACY                       Drug Expense                          2/27/2020                   534.65
ENCINO PHARMACY                       Drug Expense                          2/28/2020                   534.65
ENCINO PHARMACY                       Drug Expense                           3/3/2020                    99.80
ENCINO PHARMACY                       Drug Expense                           3/3/2020                   254.40
ENCINO PHARMACY                       Drug Expense                           3/4/2020                   534.65
ENCINO PHARMACY                       Drug Expense                           3/6/2020                   282.09
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Creditor                      Reason for Payment           Date        Total paid
ENCINO PHARMACY               Drug Expense                   3/10/2020                534.65
ENCINO PHARMACY               Drug Expense                   3/16/2020                 17.45
ENCINO PHARMACY               Drug Expense                   3/17/2020              1,391.51
ENCINO PHARMACY               Drug Expense                   3/18/2020                534.65
ENCINO PHARMACY               Drug Expense                   3/20/2020                315.93
ENCINO PHARMACY               Drug Expense                   3/25/2020                239.38
ENCINO PHARMACY               Drug Expense                   3/26/2020                149.70
ENCINO PHARMACY               Drug Expense                   3/30/2020                254.40
ENCINO PHARMACY               Drug Expense                   3/30/2020                443.88
ENCINO PHARMACY               Drug Expense                   3/30/2020                493.78
ENCINO PHARMACY               Drug Expense                   3/30/2020                534.65
ENCINO PHARMACY               Drug Expense                   3/30/2020                534.65
ENCINO PHARMACY               Drug Expense                   3/31/2020                120.57
ENERGY MANAGEMENT SYSTEMS     Utilities                      2/20/2020              3,002.85
ENGAGEDMD LLC                 License & Fees                 2/29/2020                  4.75
ENGAGEDMD LLC                 License & Fees                 2/29/2020                  5.70
ENGAGEDMD LLC                 License & Fees                 2/29/2020                 18.05
ENGAGEDMD LLC                 License & Fees                 2/29/2020                 93.10
ENGAGEDMD LLC                 License & Fees                 2/29/2020                150.45
ENGAGEDMD LLC                 License & Fees                 2/29/2020                222.05
ENGAGEDMD LLC                 License & Fees                 2/29/2020                363.05
ENGAGEDMD LLC                 License & Fees                 2/29/2020                389.00
ENGAGEDMD LLC                 License & Fees                 2/29/2020                392.80
ENGAGEDMD LLC                 License & Fees                 2/29/2020                436.50
ENGAGEDMD LLC                 License & Fees                 2/29/2020                441.25
ENGAGEDMD LLC                 License & Fees                 2/29/2020                463.10
ENGAGEDMD LLC                 License & Fees                 2/29/2020                477.19
ENGAGEDMD LLC                 License & Fees                 2/29/2020                486.85
ENGAGEDMD LLC                 License & Fees                 2/29/2020                558.10
ENGAGEDMD LLC                 License & Fees                 2/29/2020                563.80
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Creditor                        Reason for Payment              Date        Total paid
ENGAGEDMD LLC                   License & Fees                    2/29/2020                585.65
ENGAGEDMD LLC                   License & Fees                    2/29/2020                603.31
ENGAGEDMD LLC                   License & Fees                    2/29/2020                704.55
ENGAGEDMD LLC                   License & Fees                    2/29/2020                738.68
ENGAGEDMD LLC                   License & Fees                    2/29/2020                739.05
ENGAGEDMD LLC                   License & Fees                    2/29/2020                739.05
ENGAGEDMD LLC                   License & Fees                    2/29/2020                833.90
ENGAGEDMD LLC                   License & Fees                    2/29/2020                874.60
ENGAGEDMD LLC                   License & Fees                    2/29/2020                977.38
ENGAGEDMD LLC                   License & Fees                    2/29/2020              1,156.98
ENGAGEDMD LLC                   License & Fees                    2/29/2020              1,175.55
ENGAGEDMD LLC                   License & Fees                    2/29/2020              1,218.48
ENGAGEDMD LLC                   License & Fees                    2/29/2020              1,287.35
ENGAGEDMD LLC                   License & Fees                    2/29/2020              1,289.20
ENGAGEDMD LLC                   License & Fees                    2/29/2020              1,378.85
ENGAGEDMD LLC                   License & Fees                    2/29/2020              1,499.11
ENGAGEDMD LLC                   License & Fees                    2/29/2020              2,036.67
ENGAGEDMD LLC                   License & Fees                    2/29/2020              2,966.25
ENGAGEDMD LLC                   Other Outside Services            2/29/2020              3,079.88
ENGAGEDMD LLC                   Other Outside Services            2/29/2020              3,135.00
ENGAGEDMD LLC                   Other Outside Services            2/29/2020              5,963.75
ENGAGEDMD LLC                   Other Outside Services            3/31/2020              2,904.63
ENV SERVICES INC                Equip. Repairs & Maint.           2/21/2020                280.64
ENVIRONMENTAL FUTURES, INC.     Other Outside Services            3/15/2020                105.00
ENVIRONMENTAL FUTURES, INC.     Equipment Rental                  3/15/2020                105.00
ERIN BLACKMON                   Donor Pass Thru(Co Mgt Fees)      3/10/2020                500.00
ERIN JAMES                      Donor Pass Thru(Co Mgt Fees)      3/24/2020                250.00
ERIN JAMES                      Donor Pass Thru(Co Mgt Fees)      3/24/2020                300.00
ERIN JAMES                      Donor Pass Thru(Co Mgt Fees)      3/24/2020                850.00
ERIN JAMES                      Donor Pass Thru(Co Mgt Fees)      3/24/2020                850.00
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Creditor                              Reason for Payment                  Date         Total paid
ERIN JAMES                            Donor Pass Thru(Co Mgt Fees)          3/24/2020                5,000.00
ESCO TECHNOLOGIES, INC                Media                                   3/9/2020               2,009.00
ESCO TECHNOLOGIES, INC                Accrued Other                         3/16/2020                  883.00

ESCO TECHNOLOGIES, INC                Clinical/OR Supplies & Disposable     3/18/2020                 289.00

EUGENIA L. GULLICK                    Professional Fee-Social Worker        3/27/2020                  350.00
EVANS CREEK, LLC                      Rent Expense                          2/20/2020               21,747.84
EVANS CREEK, LLC                      Rent Expense                          3/20/2020               21,747.84
EVERBANK COMMERCIAL FINANCE INC       Equipment Rental                      2/24/2020                2,632.78
EVERBANK COMMERCIAL FINANCE INC       Equipment Rental                      3/24/2020                2,632.78
EVERGREEN BUSINESS SOLUTIONS INC      Advertising                           3/19/2020                  561.00
EVERGREEN BUSINESS SOLUTIONS INC      Advertising                           3/20/2020                2,766.84
EVERGREEN HOSPITAL MEDICAL CENTER     Facility Repairs & Maint.             2/25/2020                4,896.56
EVERGREEN HOSPITAL MEDICAL CENTER     Rent Expense                          2/25/2020               19,366.90
EVERGREEN HOSPITAL MEDICAL CENTER     Facility Repairs & Maint.             3/23/2020                4,896.56
EVERGREEN HOSPITAL MEDICAL CENTER     Rent Expense                          3/23/2020               19,366.90
EVERSANA                              Lab Supplies                          2/27/2020                  880.00
EVERSANA                              Donor Egg Exp                          3/6/2020                1,335.00
EVERSANA                              Donor Egg Exp                          3/6/2020                3,270.00
EVERSANA                              Donor Egg Exp                         3/23/2020                  780.00
EXCEL PARTNERS INC                    Temporary Help                        2/20/2020                1,352.00
EXCEL PARTNERS INC                    Temporary Help                        2/27/2020                1,352.00
EXECUTECH                             MIS Supplies - Hardware               2/29/2020                  514.76
EXECUTECH                             Other Outside Services                2/29/2020                1,950.00
EXECUTECH                             License & Fees                        2/29/2020                2,821.02
EXECUTECH                             Other Outside Services                2/29/2020                9,000.00
EXECUTECH                             MIS Supplies - Hardware                3/6/2020                  190.51
EXPERIAN HEALTH, INC                  Other Outside Services                2/28/2020                    6.30
EXPRESS LAB                           Outside Lab Tests                     4/10/2020                  279.50
E-Z Cleaning                          Janitorial Service                    2/25/2020                2,000.00
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Creditor                       Reason for Payment               Date         Total paid
E-Z Cleaning                   Janitorial Service                 3/25/2020               2,000.00
EZ STORAGE-MIDDLEBROOK         Storage Services                   3/10/2020                 411.00
FARMERS INSURANCE EXCHANGE     Business Insurance                 2/26/2020                 215.00
FARMERS INSURANCE EXCHANGE     Business Insurance                 3/23/2020               1,847.50
Faultless Linen                Laundry Services                   2/26/2020                 262.87
Faultless Linen                Laundry Services                     3/4/2020                260.07
Faultless Linen                Laundry Services                   3/18/2020                 262.87
Fed Ex                         Postage & Freight                  2/21/2020                 195.46
Fed Ex                         Postage & Freight                  2/21/2020                 265.92
Fed Ex                         Postage & Freight                  2/26/2020                   8.50
Fed Ex                         Postage & Freight                  2/26/2020                  20.16
Fed Ex                         Postage & Freight                  2/26/2020                  21.79
Fed Ex                         Postage & Freight                  2/28/2020                 191.19
Fed Ex                         Postage & Freight                  2/28/2020                 531.46
Fed Ex                         Postage & Freight                  2/28/2020                 779.94
Fed Ex                         Postage & Freight                    3/4/2020                  8.50
Fed Ex                         Postage & Freight                    3/4/2020                 39.04
Fed Ex                         Postage & Freight                    3/4/2020                 60.25
Fed Ex                         Postage & Freight                    3/6/2020                246.38
Fed Ex                         Postage & Freight                    3/6/2020                809.34
Fed Ex                         Postage & Freight                  3/10/2020                 171.96
Fed Ex                         Postage & Freight                  3/11/2020                  11.00
Fed Ex                         Postage & Freight                  3/11/2020                  77.75
Fed Ex                         Postage & Freight                  3/11/2020                  99.33
Fed Ex                         Postage & Freight                  3/13/2020                 235.41
Fed Ex                         Postage & Freight                  3/13/2020                 633.75
Fed Ex                         Other Outside Services             3/19/2020                  73.92
Fed Ex                         Postage & Freight                  3/20/2020                 279.43
Fed Ex                         Postage & Freight                  3/20/2020                 332.85
Fed Ex                         Postage & Freight                  3/27/2020                 186.68
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Creditor                    Reason for Payment           Date         Total paid
Fed Ex                      Postage & Freight                4/3/2020                150.58
FEDERAL EXPRESS             Postage & Freight              2/25/2020                  12.96
FEDERAL EXPRESS             Postage & Freight              2/25/2020                  17.57
FEDERAL EXPRESS             Postage & Freight              2/25/2020                  61.97
FEDERAL EXPRESS             Postage & Freight              2/25/2020                  87.71
FEDERAL EXPRESS             Postage & Freight              2/25/2020                 512.72
FEDERAL EXPRESS             Postage & Freight                3/2/2020                161.29
FEDERAL EXPRESS             Postage & Freight                3/3/2020                 29.01
FEDERAL EXPRESS             Postage & Freight                3/3/2020                 32.79
FEDERAL EXPRESS             Postage & Freight                3/3/2020                 33.23
FEDERAL EXPRESS             Courier Fees                     3/3/2020                 36.41
FEDERAL EXPRESS             Postage & Freight                3/3/2020                259.73
FEDERAL EXPRESS             Postage & Freight                3/9/2020                322.78
FEDERAL EXPRESS             Postage & Freight              3/10/2020                  22.85
FEDERAL EXPRESS             Courier Fees                   3/10/2020                  41.71
FEDERAL EXPRESS             Courier Fees                   3/17/2020                   9.51
FEDERAL EXPRESS             Postage & Freight              3/17/2020                  14.59
FEDERAL EXPRESS             Postage & Freight              3/24/2020                  31.98
FEDERAL EXPRESS             Postage & Freight              3/24/2020                  35.04
FEDERAL EXPRESS             Postage & Freight              3/31/2020                  11.41
Fed-Ex Corporation 7221     Postage & Freight              2/20/2020                  53.40
Fed-Ex Corporation 7221     Postage & Freight              2/21/2020                  26.43
Fed-Ex Corporation 7221     Postage & Freight              2/21/2020                  43.22
Fed-Ex Corporation 7221     Postage & Freight              2/21/2020                 627.39
Fed-Ex Corporation 7221     Postage & Freight              2/27/2020               2,760.11
Fed-Ex Corporation 7221     Postage & Freight              2/28/2020                  16.08
Fed-Ex Corporation 7221     Postage & Freight              2/28/2020                  24.75
Fed-Ex Corporation 7221     Postage & Freight              2/28/2020                  87.10
Fed-Ex Corporation 7221     Postage & Freight              2/28/2020                 135.32
Fed-Ex Corporation 7221     Postage & Freight                3/6/2020                 12.34
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Creditor                          Reason for Payment                Date         Total paid
Fed-Ex Corporation 7221           Postage & Freight                     3/6/2020                  39.82
Fed-Ex Corporation 7221           Postage & Freight                     3/6/2020                  48.56
Fed-Ex Corporation 7221           Postage & Freight                     3/6/2020                  86.42
Fed-Ex Corporation 7221           Postage & Freight                   3/13/2020                   23.92
Fed-Ex Corporation 7221           Postage & Freight                   3/13/2020                   25.20
Fed-Ex Corporation 7221           Postage & Freight                   3/13/2020                   28.84
Fed-Ex Corporation 7221           Postage & Freight                   3/13/2020                   44.42
Fed-Ex Corporation 7221           Postage & Freight                   3/13/2020                   55.89
Fed-Ex Corporation 7221           Postage & Freight                   3/20/2020                   25.63
Fed-Ex Corporation 7221           Postage & Freight                   3/20/2020                   65.05
Fed-Ex Corporation 7221           Postage & Freight                   3/23/2020                   72.01
Fed-Ex Corporation 7221           Postage & Freight                   3/26/2020                2,606.43
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      2/21/2020                3,360.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      2/21/2020               11,140.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      2/27/2020                8,920.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural        3/6/2020               2,080.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural        3/6/2020               2,800.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural        3/6/2020               5,880.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural        3/6/2020               9,060.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural        3/6/2020               9,060.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      3/19/2020                2,080.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      3/19/2020                7,840.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      3/19/2020               11,140.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      3/19/2020               11,140.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      3/20/2020                2,800.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      3/27/2020                9,440.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural      3/27/2020               11,140.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural        4/3/2020               2,800.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural        4/3/2020               5,880.00
FERTILITY CENTERS OF ILLINOIS     Professional Fees - Procedural        4/3/2020               7,840.00
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Creditor                            Reason for Payment                Date         Total paid
FERTILITY CENTERS OF ILLINOIS       Professional Fees - Procedural        4/3/2020                 7,840.00
FERTILITY CENTERS OF ILLINOIS       Professional Fees - Procedural        4/3/2020                11,140.00
FERTILITY CENTERS OF ILLINOIS       Professional Fees - Procedural      4/10/2020                  3,360.00
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                     50.00
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                     50.00
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                     50.00
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                     54.75
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                     54.75
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                    109.50
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                    228.00
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                    567.00
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                    936.75
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                  1,290.00
FERTILITY PHARMACY OF AMERICA       Drug Expense                        2/29/2020                  7,070.85
Fidelity 401K                                                          5/13/2020                  2,778.55
Fidelity 401K                                                          5/13/2020                102,082.30
Fidelity Brokerage Services LLC     Financial Services                 2/28/2020                 10,056.79
Fidelity Brokerage Services LLC     Financial Services                 2/28/2020                256,733.42
Fidelity Brokerage Services LLC     Financial Services                 2/28/2020                 10,056.79
Fidelity Brokerage Services LLC     Financial Services                 2/28/2020                256,733.42
Fidelity Brokerage Services LLC     Financial Services                 3/12/2020                258,855.02
Fidelity Brokerage Services LLC     Financial Services                 3/12/2020                  7,672.72
Fidelity Brokerage Services LLC     Financial Services                 3/12/2020                258,855.02
Fidelity Brokerage Services LLC     Financial Services                 3/12/2020                  7,672.72
Fidelity Brokerage Services LLC     Financial Services                 3/27/2020                  7,115.13
Fidelity Brokerage Services LLC     Financial Services                 3/27/2020                247,309.46
Fidelity Brokerage Services LLC     Financial Services                 3/27/2020                  7,115.13
Fidelity Brokerage Services LLC     Financial Services                 3/27/2020                247,309.46
Fidelity Brokerage Services LLC     Financial Services                  4/8/2020                179,761.58
Fidelity Brokerage Services LLC     Financial Services                  4/8/2020                  7,004.31
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Creditor                             Reason for Payment                  Date          Total paid
Fidelity Brokerage Services LLC      Financial Services                    4/8/2020                 179,761.58
Fidelity Brokerage Services LLC      Financial Services                    4/8/2020                   7,004.31
Fidelity Brokerage Services LLC      Financial Services                   4/23/2020                   5,733.00
Fidelity Brokerage Services LLC      Financial Services                   4/23/2020                 119,369.85
Fidelity Brokerage Services LLC      Financial Services                   4/23/2020                   5,733.00
Fidelity Brokerage Services LLC      Financial Services                   4/23/2020                 119,369.85
Fidelity Brokerage Services LLC      Financial Services                    5/6/2020                  13,846.62
Fidelity Brokerage Services LLC      Financial Services                    5/6/2020                 328,203.70
FIRETROL PROTECTION SYSTEMS, INC     Facility Repairs & Maint.             3/24/2020                     498.00
FIRETROL PROTECTION SYSTEMS, INC     Facility Repairs & Maint.             3/25/2020                     264.00
FIRETROL PROTECTION SYSTEMS, INC     Facility Repairs & Maint.              4/1/2020                      98.85
FIRST COMMUNICATIONS LLC             Telephone Expense                     2/23/2020                   4,591.81
FIRST INSURANCE FUNDING              Prepaid Business Insurance            2/20/2020                  63,968.87
FIRST INSURANCE FUNDING              Prepaid Business Insurance            3/20/2020                  63,968.87
FIRST INSURANCE FUNDING              Financial Services                   4/23/2020                 114,523.10
FIRST INSURANCE FUNDING              Financial Services                   4/23/2020                 114,523.10
FISHER HEALTH CARE                   Lab Supplies                          2/20/2020                    653.59

FISHER HEALTH CARE                   Clinical/OR Supplies & Disposable     2/21/2020                    559.82
FISHER HEALTH CARE                   Lab Supplies                          2/25/2020                    234.90

FISHER HEALTH CARE                   Clinical/OR Supplies & Disposable     2/27/2020                       7.32

FISHER HEALTH CARE                   Clinical/OR Supplies & Disposable     2/27/2020                     14.64

FISHER HEALTH CARE                   Clinical/OR Supplies & Disposable     2/27/2020                     21.97

FISHER HEALTH CARE                   Clinical/OR Supplies & Disposable     2/27/2020                     54.91

FISHER HEALTH CARE                   Clinical/OR Supplies & Disposable     2/27/2020                     58.57

FISHER HEALTH CARE                   Clinical/OR Supplies & Disposable     2/27/2020                     84.20
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Creditor               Reason for Payment                  Date          Total paid

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable     2/27/2020                 124.48

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable     2/27/2020                 595.41

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/2/2020                  37.07

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/2/2020                  50.95

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/2/2020                 101.91

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/2/2020                 152.86

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/2/2020                 382.15

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/2/2020                 407.63

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/2/2020                 585.96

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/2/2020                 866.21

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                   2.39

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                   4.03

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                   4.78

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                   7.17

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                   8.05

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  12.07

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  17.93
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Creditor               Reason for Payment                  Date          Total paid

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  19.12

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  27.49

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  30.17

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  32.18

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  40.63

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  46.26

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/5/2020                  68.39

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/6/2020                   4.31

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/6/2020                   8.62

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/6/2020                  12.93

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/6/2020                  32.34

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/6/2020                  34.49

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/6/2020                  49.58

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/6/2020                  73.31

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable      3/6/2020                 159.58

FISHER HEALTH CARE     Clinical/OR Supplies & Disposable     3/17/2020                  28.96
FISHER HEALTHCARE      Lab Supplies                          2/26/2020                 184.65

FISHER HEALTHCARE      Clinical/OR Supplies & Disposable     2/27/2020                 939.64
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Creditor                          Reason for Payment                  Date        Total paid
FISHER HEALTHCARE                 Accrued Other                         2/28/2020              2,193.30

FISHER HEALTHCARE                 Clinical/OR Supplies & Disposable      3/3/2020               161.54

FISHER HEALTHCARE                 Clinical/OR Supplies & Disposable      3/3/2020                196.55
FISHER HEALTHCARE                 Accrued Other                          3/4/2020                297.20
FISHER HEALTHCARE                 Accrued Other                          3/6/2020                930.68
FISHER HEALTHCARE                 Accrued Other                          3/6/2020              1,090.88

FISHER HEALTHCARE                 Clinical/OR Supplies & Disposable     3/11/2020              1,340.35

FISHER HEALTHCARE                 Clinical/OR Supplies & Disposable     3/13/2020                55.88
FISHER HEALTHCARE                 Accrued Other                         3/13/2020               152.13
FISHER HEALTHCARE                 Accrued Other                         3/13/2020               521.60

FISHER HEALTHCARE                 Clinical/OR Supplies & Disposable     3/16/2020               288.64
FISHER SCIENTIFIC COMPANY LLC     Postage & Freight                     2/20/2020                23.70

FISHER SCIENTIFIC COMPANY LLC     Clinical/OR Supplies & Disposable     2/20/2020              1,499.88
FISHER SCIENTIFIC COMPANY LLC     Postage & Freight                     2/21/2020                 55.96

FISHER SCIENTIFIC COMPANY LLC     Clinical/OR Supplies & Disposable     2/21/2020                269.00
FISHERS TECHNOLOGY                Equipment Rental                      3/10/2020                111.24
FISHERS TECHNOLOGY                Equipment Rental                      3/18/2020                 86.75
FLAIR MARKETING & ADVERTISING     Public Relations                      2/28/2020              1,600.00
FLAIR MARKETING & ADVERTISING     Public Relations                      3/12/2020              1,000.00
FLORAL IMAGE CHICAGO              Other Outside Services                3/16/2020                 45.00
FLORAL IMAGE CHICAGO              Other Outside Services                 4/1/2020                 45.00
                                  Office Supplies & Non-Marketing
FLORAL IMAGE LOS ANGELES          Printing                               3/1/2020                49.28
FLORES & ASSOCIATES               Other Outside Services                 3/5/2020               250.00
FLORIDA HIGH SPEED INTERNET       Internet                               3/3/2020               250.00
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Creditor                         Reason for Payment                  Date         Total paid
FLORIDA POWER & LIGHT            Utilities                             2/24/2020                 106.70
FLORIDA POWER & LIGHT            Utilities                             2/24/2020                 380.31
FLORIDA POWER & LIGHT            Utilities                             2/25/2020                 181.50
FLORIDA POWER & LIGHT            Utilities                             2/25/2020                 502.12
FLORIDA POWER & LIGHT            Utilities                             2/27/2020                 178.52
FLORIDA POWER & LIGHT            Utilities                               3/2/2020                280.60
FLORIDA POWER & LIGHT            Utilities                             3/19/2020                 730.27
FLORIDA POWER & LIGHT            Utilities                             3/19/2020               1,341.49
FLORIDA POWER & LIGHT            Utilities                             3/19/2020               1,432.68
FLORIDA POWER & LIGHT            Utilities                             3/24/2020                  97.67
FLORIDA POWER & LIGHT            Utilities                             3/24/2020                 358.83
FLORIDA POWER & LIGHT            Utilities                             3/25/2020                 174.34
FLORIDA POWER & LIGHT            Utilities                             3/25/2020                 517.21
FLORIDA POWER & LIGHT            Utilities                             3/27/2020                 202.94
FLORIDA POWER & LIGHT            Utilities                               4/1/2020                297.20
FOLEY SIGN CO INC                Other Marketing Costs                 2/24/2020               2,664.42
FOUR STAR PLUMBING AND AIR
CONDITIONING                     Facility Repairs & Maint.             2/20/2020                 234.60
FRANCHSIE TAX BOARD              Other Taxes                           3/13/2020                 800.00
FRANCHSIE TAX BOARD              Other Taxes                           3/13/2020               6,000.00
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 182.52
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 193.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 193.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 358.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 371.80
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 373.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 382.20
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 394.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 425.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 431.35
FREEDOM DELIVERY & LOGISTICS     Courier Fees                          2/22/2020                 436.50
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Creditor                         Reason for Payment           Date         Total paid
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/22/2020                436.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/22/2020                452.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/22/2020                462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/22/2020                462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/22/2020                467.75
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/22/2020                487.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/22/2020                556.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/22/2020                706.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                182.52
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                193.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                193.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                358.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                371.80
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                373.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                382.20
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                394.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                425.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                431.35
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                436.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                436.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                452.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                467.75
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                487.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                556.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   2/29/2020                706.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               182.52
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               193.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               193.34
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Creditor                         Reason for Payment           Date         Total paid
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               358.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               371.80
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               373.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               382.20
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               394.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               425.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               431.35
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               436.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               436.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               452.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               467.75
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               487.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               556.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                     3/7/2020               706.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                 90.43
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                 93.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                182.52
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                193.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                268.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                358.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                371.80
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                373.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                382.20
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                394.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                425.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                431.35
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                436.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                   3/14/2020                436.55
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Creditor                         Reason for Payment                Date        Total paid
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/14/2020                 462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/14/2020                 462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/14/2020                 487.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/14/2020                 556.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/14/2020                 706.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 182.52
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 193.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 193.34
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 358.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 371.80
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 373.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 382.20
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 394.95
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 425.10
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 431.35
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 436.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 436.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 452.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 462.55
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 467.75
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 487.50
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 556.15
FREEDOM DELIVERY & LOGISTICS     Courier Fees                        3/21/2020                 781.95
FREEDOM FERTILITY PHARMACY       Drug Expense                        2/24/2020                 718.87
FREEDOM FERTILITY PHARMACY       Drug Expense                        2/24/2020               2,826.07
FREEDOM FERTILITY PHARMACY       Drug Expense                        2/24/2020               8,623.15
FREEDOM FERTILITY PHARMACY       Drug Expense                        3/31/2020              51,306.11
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                         Professional Fees - Procedural      2/21/2020                377.60
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Creditor                        Reason for Payment                Date          Total paid
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural      2/21/2020                1,200.00
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural      2/21/2020                3,415.10
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural      2/27/2020                 975.00
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural      3/19/2020                 375.00
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural      3/19/2020                 975.00
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural      3/19/2020                1,200.00
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural       4/3/2020                 306.80
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural       4/3/2020                 306.80
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural       4/3/2020                 306.80
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural       4/3/2020                 975.00
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural       4/3/2020                1,200.00
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural       4/3/2020                1,275.00
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural       4/3/2020                4,074.40
FROEDTERT MEMORIAL LUTHERAN
HOSPITAL                        Professional Fees - Procedural       4/3/2020                4,733.60
FRONTIER                        Internet                            2/25/2020                  121.98
FRONTIER                        Telephone Expense                   2/26/2020                  267.66
FRONTIER                        Internet                             3/8/2020                  106.98
FRONTIER                        Telephone Expense                   3/10/2020                  201.97
FRONTIER                        Telephone Expense                   3/10/2020                  208.69
FRONTIER                        Telephone Expense                   3/16/2020                  267.53
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Creditor                       Reason for Payment                  Date        Total paid
FRONTIER                       Telephone Expense                     3/19/2020                 765.99
FSP2 COMMERCE LLC              Rent Expense                          2/20/2020              12,550.80
FSP2 COMMERCE LLC              Rent Expense                          3/20/2020              12,550.80

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/20/2020                 44.99

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/20/2020                178.68

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/20/2020                544.38
FUJIFILM IRVINE SCIENTIFIC     Lab Supplies                          2/24/2020                356.59

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/24/2020               2,120.00
FUJIFILM IRVINE SCIENTIFIC     Accrued Other                         2/24/2020               2,822.05
FUJIFILM IRVINE SCIENTIFIC     Media                                 2/26/2020                 283.09
FUJIFILM IRVINE SCIENTIFIC     Accrued Other                         2/26/2020                 390.37

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/26/2020                485.90

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/26/2020                510.00

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/26/2020                633.57

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/26/2020                967.25

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/26/2020               1,326.78

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/26/2020               3,452.39

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/26/2020               4,859.04

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/26/2020               5,030.71
FUJIFILM IRVINE SCIENTIFIC     Media                                 2/27/2020                 634.82

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     2/27/2020               1,995.43
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Creditor                       Reason for Payment                  Date         Total paid
FUJIFILM IRVINE SCIENTIFIC     Lab Supplies                          2/28/2020               25,365.30
FUJIFILM IRVINE SCIENTIFIC     Media                                   3/2/2020                 673.43
FUJIFILM IRVINE SCIENTIFIC     Media                                   3/2/2020                 673.43
FUJIFILM IRVINE SCIENTIFIC     Lab Supplies                            3/2/2020                 778.64
FUJIFILM IRVINE SCIENTIFIC     Accrued Other                           3/2/2020               1,477.63

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable       3/2/2020               3,012.75
FUJIFILM IRVINE SCIENTIFIC     Accrued Other                           3/2/2020               3,781.94

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable       3/2/2020               5,099.63

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable       3/2/2020               5,849.11

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable       3/2/2020               7,922.38

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable       3/2/2020              15,900.00

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable       3/2/2020              22,862.58

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable      3/3/2020                  341.41
FUJIFILM IRVINE SCIENTIFIC     Lab Supplies                           3/3/2020                1,557.27
FUJIFILM IRVINE SCIENTIFIC     Media                                  3/3/2020                6,087.82
FUJIFILM IRVINE SCIENTIFIC     Media                                  3/3/2020                6,087.82
FUJIFILM IRVINE SCIENTIFIC     Lab Supplies                          3/10/2020                  927.93

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable     3/10/2020                3,000.00
FUJIFILM IRVINE SCIENTIFIC     Media                                 3/10/2020                7,350.00

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable       4/1/2020               8,362.63

FUJIFILM IRVINE SCIENTIFIC     Clinical/OR Supplies & Disposable      4/2/2020                 968.00
FUSION                         Telephone Expense                     3/17/2020                 401.62
FUSION CLOUD SERVICES, LLC     Telephone Expense                      3/3/2020                 242.50
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Creditor                           Reason for Payment                Date         Total paid
G.T. ANESTHESIA                    Pass Thru Costs                     2/20/2020                   425.00
G.T. ANESTHESIA                    Pass Thru Costs                     2/23/2020                   425.00
G.T. ANESTHESIA                    Pass Thru Costs                     2/25/2020                   425.00
G.T. ANESTHESIA                    Pass Thru Costs                       3/9/2020                  425.00
G.T. ANESTHESIA                    Pass Thru Costs                     3/10/2020                   212.50
G.T. ANESTHESIA                    Pass Thru Costs                     3/10/2020                   212.50
G.T. ANESTHESIA                    Pass Thru Costs                     3/23/2020                   425.00
G.T. ANESTHESIA                    Pass Thru Costs                       4/2/2020                  425.00
G.T. ANESTHESIA                    Pass Thru Costs                       4/3/2020                  425.00
G.T. ANESTHESIA                    Pass Thru Costs                       4/7/2020                  425.00
G.T. ANESTHESIA                    Pass Thru Costs                     4/16/2020                   425.00
GAHC4 TINLEY PARK IL MOB LLC       Rent Operating Expense              2/25/2020                   588.93
GAHC4 TINLEY PARK IL MOB LLC       Rent Operating Expense              2/25/2020                   875.00
GAHC4 TINLEY PARK IL MOB LLC       Rent Expense                        2/25/2020                 8,062.50
GALLAGHER BASSETT SERVICES,INC     Legal Fees                            3/3/2020                9,736.33
GAMETE RESOURCES, INC.             Professional Fees - Procedural        3/4/2020              144,245.00
GAMETE RESOURCES, INC.             Professional Fees - Procedural      3/17/2020               100,000.00
GAMETE RESOURCES, INC.             Professional Fees - Procedural      3/31/2020                55,419.74
GAMETE RESOURCES, INC.             Professional Fees - Procedural        4/6/2020              144,420.00
GARDA CL WEST-LOCKBOX # 233209     Other Outside Services              2/29/2020                     9.52
GARDA CL WEST-LOCKBOX # 233209     Courier Fees                        2/29/2020                   188.56
GARDA CL WEST-LOCKBOX # 233209     Courier Fees                          3/1/2020                1,573.29
GE HEALTHCARE                      Equipment Rental                    2/23/2020                   216.40
GE HEALTHCARE                      Equipment Rental                    2/25/2020                   243.05
GE HEALTHCARE                      Equip. Repairs & Maint.               3/1/2020                   59.29
GE HEALTHCARE                      Equip. Repairs & Maint.               3/1/2020                   59.29
GE HEALTHCARE                      Rent/Lease - Medical Equip            3/1/2020                  218.46
GE HEALTHCARE                      Equip. Repairs & Maint.               3/1/2020                  226.54
GE HEALTHCARE                      Equip. Repairs & Maint.               3/1/2020                  226.54
GE HEALTHCARE                      Equip. Repairs & Maint.               3/1/2020                  296.45
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Creditor          Reason for Payment                Date         Total paid
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                296.45
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                377.32
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                377.32
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                377.32
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                415.41
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                415.41
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                415.41
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                507.81
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                526.68
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                526.68
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                558.20
GE HEALTHCARE     Equip. Repairs & Maint.               3/1/2020                768.10
GE HEALTHCARE     Equipment Rental                      3/1/2020                784.45
GE HEALTHCARE     Equipment Rental                      3/1/2020              1,174.72
GE HEALTHCARE     Equipment Rental                      3/1/2020              2,370.21
GE HEALTHCARE     Equipment Rental                      3/1/2020              2,389.24
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                 59.29
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                 59.29
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                226.54
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                226.54
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                296.45
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                296.45
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                377.32
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                377.32
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                377.32
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                415.41
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                415.41
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                415.41
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                507.81
GE HEALTHCARE     Equip. Repairs & Maint.               4/1/2020                526.68
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Creditor                           Reason for Payment                  Date         Total paid
GE HEALTHCARE                      Equip. Repairs & Maint.                 4/1/2020                  526.68
GE HEALTHCARE                      Equip. Repairs & Maint.                 4/1/2020                  558.20
GE HEALTHCARE                      Equip. Repairs & Maint.                 4/1/2020                  768.10
GE PRECISON HEALTHCARE LLC         Rent/Lease - Medical Equip              3/1/2020                  302.64
GE PRECISON HEALTHCARE LLC         Rent/Lease - Medical Equip              3/1/2020                  988.74
GE PRECISON HEALTHCARE LLC         Rent/Lease - Medical Equip              3/1/2020                2,910.76
GE PRECISON HEALTHCARE LLC         Equip. Repairs & Maint.               3/11/2020                   965.25
Genel Biomedical Inc               Media                                 3/10/2020                   851.00

Genel Biomedical Inc               Clinical/OR Supplies & Disposable     3/20/2020                 1,141.00

Genel Biomedical Inc               Clinical/OR Supplies & Disposable     3/27/2020                   675.00
GENESCREEN CONSULTING LLC          Outside Lab Tests                     2/29/2020                 6,025.00
GEN-TECH                           Equip. Repairs & Maint.                3/9/2020                   182.00
GEORGE INGE                        Automobile Expense                    2/21/2020                   415.00
GEORGE INGE                        Automobile Expense                    3/23/2020                   272.70
GEORGE KOULIANOS MD                Automobile Expense                    3/23/2020                   272.70
GEORGIA POWER                      Utilities                              3/3/2020                    84.03
GEORGIA POWER                      Utilities                              4/2/2020                    89.13
GETTY IMAGES US INC                Other Marketing Costs                 2/26/2020                   683.33
Ghanima Maassarani                 Consulting Fees                        3/3/2020                38,452.32
Ghanima Maassarani                                                      5/15/2020                26,120.00
Ghanima Maassarani                                                      5/20/2020                26,120.00
GIBSON , DUNN, & CRUTHCHER LLP     Professional Services                2/24/2020                 4,676.50
GIBSON , DUNN, & CRUTHCHER LLP     Accrued Legal                         4/20/2020                18,009.50
GIBSON , DUNN, & CRUTHCHER LLP     Professional Services                4/23/2020                35,506.50
GIBSON , DUNN, & CRUTHCHER LLP     Professional Services                4/29/2020                95,394.71
GIBSON , DUNN, & CRUTHCHER LLP     Professional Services                 5/7/2020                70,136.50

GIBSON , DUNN, & CRUTHCHER LLP     Legal Services                        5/8/2020                52,379.50
GIBSON , DUNN, & CRUTHCHER LLP     Legal Services                       5/12/2020                57,663.50
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GIBSON , DUNN, & CRUTHCHER LLP        Legal Services                       5/15/2020                 46,516.00
GILMORE SERVICES                      Lab Supplies                          3/23/2020                     80.85
GKC INC                               Public Relations                       3/2/2020                  6,050.00
Goldberg Kohn LTD                     Professional Services                 5/1/2020                  3,788.43
GOLDEN TRIANGLE STORAGE               Storage Services                      2/22/2020                   129.00
GOLDEN TRIANGLE STORAGE               Storage Services                      2/22/2020                   166.00
GOLDEN TRIANGLE STORAGE               Storage Services                      2/22/2020                   210.00
GOOD SAMARITAN MEDICAL STAFF          Dues/Subscriptions                    3/14/2020                   400.00
GOOD SAMARITAN MEDICAL STAFF          Dues/Subscriptions                    3/14/2020                   400.00
GOSA GROUP                                                                 5/11/2020                 29,000.00
                                      Office Supplies & Non-Marketing
GRACE WAKUGAWA                        Printing                              3/27/2020                   118.62

GRAINGER                              Clinical/OR Supplies & Disposable      3/3/2020                   184.38
                                      Office Supplies & Non-Marketing
GRAINGER                              Printing                               3/5/2020                    105.53
GRAND FLOW - 10217                    Printing                              2/20/2020                    898.66
GRAND FLOW - 10217                    Printing                              2/24/2020                  1,503.65
GRANITE PROPERTIES                    Rent Operating Expense                2/25/2020                  1,256.86
GRANITE PROPERTIES                    Rent Expense                          2/25/2020                  3,285.70
GREATAMERICA FINANCIAL SVCS.          Equipment Rental                      2/21/2020                    252.47
GREATAMERICA FINANCIAL SVCS.          Equipment Rental                      2/24/2020                    138.88
GREATAMERICA FINANCIAL SVCS.          Other Outside Services                2/28/2020                     58.18
GREATAMERICA FINANCIAL SVCS.          Equipment Rental                       3/4/2020                    147.17
GREATAMERICA FINANCIAL SVCS.          Equipment Rental                      3/13/2020                    272.42
Grecom Application Service Providers B.V.
                                       Technology Services                  3/9/2020                  2,256.00
Grecom Application Service Providers B.V.
                                       Technology Services                  3/9/2020                  2,256.00
GREENBERG TRAURIG, LLP                Legal Fees                            2/27/2020                  5,463.28
GREENBERG TRAURIG, LLP                Legal Fees                            3/16/2020                    797.50
                                      Office Supplies & Non-Marketing
GREENVILLE OFFICE SUPPLY CO           Printing                               3/4/2020                    13.66
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Creditor                              Reason for Payment                Date          Total paid
                                      Office Supplies & Non-Marketing
GREENVILLE OFFICE SUPPLY CO           Printing                             3/5/2020                   15.19
                                      Office Supplies & Non-Marketing
GREENVILLE OFFICE SUPPLY CO           Printing                             3/9/2020                   21.45
                                      Office Supplies & Non-Marketing
GREENVILLE OFFICE SUPPLY CO           Printing                            3/12/2020                    21.45
Griesedieck Vending Services          Equipment Rental                     3/2/2020                    37.70
GT MECHANICAL INC.                    Equip. Repairs & Maint.             2/20/2020                 2,388.00
GUARDIAN                              Other Outside Services              2/29/2020                 1,666.00
GUARDIAN                              Other Outside Services              2/29/2020                 1,666.00
GUARDIAN                              Other Benefits                       3/1/2020                 2,600.99
GUARDIAN                              Other Benefits                       3/1/2020                 3,619.49
GUARDIAN                              Other Benefits                       3/1/2020                 5,863.02
GUARDIAN                              Other Benefits                       3/1/2020                 7,018.62
GUARDIAN                              Other Benefits                       3/1/2020                 8,040.07
GUARDIAN                              Other Benefits                       3/1/2020                 9,364.87
GUARDIAN                              Other Benefits                       3/1/2020                15,853.19
GUARDIAN                              Other Benefits                       3/1/2020                20,167.04
GUARDIAN                              Other Benefits                       3/1/2020                25,827.29
GUARDIAN                              Other Benefits                      3/19/2020                 2,330.55
GUARDIAN                              Other Benefits                      3/19/2020                 3,153.42
GUARDIAN                              Other Benefits                      3/19/2020                 5,305.30
GUARDIAN                              Other Benefits                      3/19/2020                 7,436.22
GUARDIAN                              Other Benefits                      3/19/2020                 9,274.91
GUARDIAN                              Other Benefits                      3/19/2020                10,013.67
GUARDIAN                              Other Benefits                      3/19/2020                16,067.36
GUARDIAN                              Other Benefits                      3/19/2020                25,003.99
GUARDIAN                              Other Benefits                      3/19/2020                26,619.86

GUARDIAN REALTY FUND II DULANEY LLC   Real Estate Tax                     2/20/2020                  173.00

GUARDIAN REALTY FUND II DULANEY LLC   Real Estate Tax                     2/20/2020                  200.00
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Creditor                              Reason for Payment                Date          Total paid

GUARDIAN REALTY FUND II DULANEY LLC   Rent Operating Expense              2/20/2020                 1,050.00

GUARDIAN REALTY FUND II DULANEY LLC   Rent Operating Expense              2/20/2020                 1,215.00

GUARDIAN REALTY FUND II DULANEY LLC   Rent Expense                        2/20/2020                19,167.72

GUARDIAN REALTY FUND II DULANEY LLC   Rent Expense                        2/20/2020                25,325.95

GUARDIAN REALTY FUND II DULANEY LLC   Utilities                           2/27/2020                 1,157.39

GUARDIAN REALTY FUND II DULANEY LLC   Rent Expense                        3/20/2020                   60.00

GUARDIAN REALTY FUND II DULANEY LLC   Rent Expense                        3/20/2020                11,062.09
GULF ANESTHESIA STAFFING SERVICES     Professional Fee- Anesthes.         2/29/2020                   800.00
GULF ANESTHESIA STAFFING SERVICES     Professional Fee- Anesthes.         3/23/2020                   800.00
H & M SALES AND SERVICE INC           Facility Repairs & Maint.            3/5/2020                   333.59
                                      Office Supplies & Non-Marketing
H & W PRINTING INC                    Printing                            2/20/2020                  132.53
                                      Office Supplies & Non-Marketing
H & W PRINTING INC                    Printing                             3/3/2020                  310.32
                                      Office Supplies & Non-Marketing
H&J Trophies                          Printing                             3/9/2020                   28.26
                                      Office Supplies & Non-Marketing
H&J Trophies                          Printing                             3/9/2020                   28.26
HACKBARTH DELIVERY SERVICE            Courier Fees                        2/27/2020                  373.60
HACKBARTH DELIVERY SERVICE            Courier Fees                        2/27/2020                  984.20
HACKBARTH DELIVERY SERVICE            Courier Fees                        3/23/2020                  373.60
HACKBARTH DELIVERY SERVICE            Courier Fees                        3/23/2020                  984.20
                                      Office Supplies & Non-Marketing
HALEY POLLACK                         Printing                            2/26/2020                  130.15
HALL EQUITIES GROUP                   Rent Expense                        2/25/2020                  273.00
HALL EQUITIES GROUP                   Rent Expense                        2/25/2020                  663.00
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Creditor                             Reason for Payment                  Date         Total paid
HALL EQUITIES GROUP                  Rent Expense                          2/25/2020               15,501.12
HALL PRANGLE AND SCHOONVELD, LLC     Legal Fees                            2/28/2020                   49.50
HALO BRANDED SOLUTIONS, INC.         Postage & Freight                       3/4/2020                 303.00
HALO BRANDED SOLUTIONS, INC.         Marketing Support Materials             3/4/2020               3,044.33
HALO BRANDED SOLUTIONS, INC.         Marketing Support Materials             3/4/2020               6,798.94
HAMILTON PARTNERS, INC.              Real Estate Tax                       2/25/2020                   26.53
HAMILTON PARTNERS, INC.              Rent Operating Expense                2/25/2020                  102.86
HAMILTON PARTNERS, INC.              Rent Expense                          2/25/2020                7,362.72
HAMILTON THORNE INC                  Lab Supplies                            3/2/2020                 220.00

HAMILTON THORNE INC                  Clinical/OR Supplies & Disposable       3/2/2020                771.00
HANDCRAFT CLEANERS & LAUNDERERS
INC                                  Laundry Services                        3/1/2020                194.18
HANDCRAFT CLEANERS & LAUNDERERS
INC                                  Laundry Services                        3/8/2020                 194.18
HANNAH WOODS                         Donor Egg Compensation/Insur            3/2/2020               5,500.00
                                     Office Supplies & Non-Marketing
Harry's Business Machines Inc        Printing                               3/2/2020                   75.00
HCA EAST                             Rent Expense                          2/25/2020                  152.31
HCA EAST                             Rent Expense                          3/25/2020                  152.31
HCP DR MCD, LLC                      Rent Expense                          3/15/2020               15,057.36
HEALTHCARE EQUIPMENT FINANCE         Rent/Lease - Medical Equip            2/21/2020                  820.18
HEALTHCARE EQUIPMENT FINANCE         Equipment Rental                      2/22/2020                  953.59
HEALTHCARE EQUIPMENT FINANCE         Rent/Lease - Medical Equip            2/22/2020                1,012.03
HEALTHCARE EQUIPMENT FINANCE         Equipment Rental                      2/22/2020                1,018.47
HEALTHCARE EQUIPMENT FINANCE         Equipment Rental                      2/22/2020                1,059.78
HEALTHCARE EQUIPMENT FINANCE         Rent/Lease - Medical Equip            2/22/2020                2,248.88
HEALTHCARE EQUIPMENT FINANCE         Equipment Rental                      2/23/2020                  526.93
HEALTHCARE EQUIPMENT FINANCE         Bank Fees                             2/24/2020                   90.37
HEALTHCARE EQUIPMENT FINANCE         Equipment Rental                      2/24/2020                  597.38
HEALTHCARE EQUIPMENT FINANCE         Rent/Lease - Medical Equip            2/24/2020                  852.53
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Creditor                           Reason for Payment                Date          Total paid
                                   Depreciation Expense - Capital
HEALTHCARE EQUIPMENT FINANCE       Leases                              2/24/2020                2,406.22
HEALTHCARE EQUIPMENT FINANCE       Rent/Lease - Medical Equip          2/24/2020                3,781.47
HEALTHCARE EQUIPMENT FINANCE       Rent/Lease - Medical Equip          2/25/2020                1,969.51
HEALTHCARE EQUIPMENT FINANCE       Rent/Lease - Medical Equip          2/25/2020                3,817.12
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                    2/26/2020                  670.80
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                    2/26/2020                2,508.43
HEALTHCARE EQUIPMENT FINANCE       Equip. Repairs & Maint.             2/27/2020                   75.00
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                    2/27/2020                1,070.38
HEALTHCARE EQUIPMENT FINANCE       Rent/Lease - Medical Equip          2/28/2020                   51.17
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                    2/28/2020                  500.20
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/1/2020                1,004.57
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/1/2020                1,004.58
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/2/2020                  886.55
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/2/2020                  886.55
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/2/2020                  886.55
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/2/2020                  888.38
HEALTHCARE EQUIPMENT FINANCE       Rent/Lease - Medical Equip           3/2/2020                1,342.78
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/4/2020                1,975.11
HEALTHCARE EQUIPMENT FINANCE       Rent/Lease - Medical Equip           3/8/2020                1,544.38
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/9/2020                  597.38
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     3/9/2020                1,012.37
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                    3/10/2020                  529.22
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                    3/28/2020                  670.80
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     4/1/2020                  888.38
HEALTHCARE EQUIPMENT FINANCE       Equipment Rental                     4/1/2020                1,002.78
HEALTHCARE REALTY SERVICES INC     Rent Operating Expense              2/25/2020                3,691.79
HEALTHCARE REALTY SERVICES INC     Rent Operating Expense              2/25/2020                3,915.55
HEALTHCARE REALTY SERVICES INC     Rent Expense                        2/25/2020                6,884.58
HEALTHCARE REALTY SERVICES INC     Rent Expense                        2/25/2020                7,577.88
HealthLink, Inc                    Other Outside Services              2/29/2020                   15.36
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Creditor                          Reason for Payment                  Date         Total paid
HELEN LINDAMOOD                   Outside Lab Tests                     2/23/2020                 315.81
HELLO INC                         Other Outside Services                2/28/2020                 139.97
HELLO INC                         Other Outside Services                2/28/2020                 139.98
HENINGER ENTERPRISES, LLC         Other Outside Services                3/18/2020                 705.00
HENLEY LEADERSHIP GROUP INC       Consulting Fees                         3/2/2020              1,200.00

HENRY SCHEIN                      Clinical/OR Supplies & Disposable     2/21/2020                349.40

HENRY SCHEIN                      Clinical/OR Supplies & Disposable     2/28/2020                 44.28

HENRY SCHEIN                      Clinical/OR Supplies & Disposable     2/28/2020                 44.28

HENRY SCHEIN                      Clinical/OR Supplies & Disposable       3/4/2020                95.04
HENRY SCHEIN                      Postage & Freight                       3/6/2020                14.25

HENRY SCHEIN                      Clinical/OR Supplies & Disposable       3/6/2020                70.89

HENRY SCHEIN                      Clinical/OR Supplies & Disposable       3/9/2020               233.15

HENRY SCHEIN                      Clinical/OR Supplies & Disposable     3/12/2020                 69.98

HENRY SCHEIN                      Clinical/OR Supplies & Disposable     3/18/2020                111.53

HENRY SCHEIN                      Clinical/OR Supplies & Disposable     3/19/2020                 748.61
HEPPS RX PHARMACY                 Pass Thru Costs                       2/20/2020                 322.50
HEPPS RX PHARMACY                 Pass Thru Costs                       3/10/2020                 111.55
HEPPS RX PHARMACY                 Pass Thru Costs                       3/19/2020                 299.50
HERITAGE WARRINGTON CENTER LP     Rent Operating Expense                2/20/2020                 158.00
HERITAGE WARRINGTON CENTER LP     Utilities                             2/20/2020                 592.00
HERITAGE WARRINGTON CENTER LP     Rent Expense                          2/20/2020               4,655.58
HERITAGE WARRINGTON CENTER LP     Rent Operating Expense                3/20/2020                 158.00
HERITAGE WARRINGTON CENTER LP     Utilities                             3/20/2020                 592.00
HERITAGE WARRINGTON CENTER LP     Rent Expense                          3/20/2020               4,655.58
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Creditor                             Reason for Payment                  Date         Total paid
HERMANSON COMPANY LLP                Facility Repairs & Maint.             2/28/2020                  943.01
HERMANSON COMPANY LLP                Equip. Repairs & Maint.                 3/5/2020               7,297.98
HERMANSON COMPANY LLP                Equip. Repairs & Maint.               3/11/2020                  835.56
HF ACQUISITION CO LLC                Drug Expense                          3/18/2020                   79.07

HIGH MOUNTAIN EDUCATION ASSOC. INC   Other Outside Services                3/10/2020                  500.00
HIGHLAND CAPITAL CORPORATION         Rent/Lease - Medical Equip             3/6/2020                  223.81
HIGHLINE BUILDING SERVICES           Janitorial Service                     3/1/2020                1,990.75
HIGHLINE BUILDING SERVICES           Janitorial Service                     3/1/2020                6,282.45
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Expense                          2/25/2020                 224.00
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Operating Expense                2/26/2020                    5.56
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Expense                          2/26/2020                  11.23
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Operating Expense                2/26/2020                  28.36
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Expense                          2/26/2020                 140.00
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Operating Expense                2/26/2020                 150.00
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Operating Expense                2/26/2020                 159.18
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Expense                          2/26/2020                 207.00
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Operating Expense                2/26/2020                 334.35
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Expense                          2/26/2020                 355.25
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Expense                          2/26/2020                1,809.50
HIGHWOODS REALTY LIMITED
PARTNERSHIP                          Rent Expense                          2/26/2020               10,129.00
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Creditor                           Reason for Payment                  Date          Total paid
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Expense                          2/26/2020                19,541.05
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Operating Expense                3/25/2020                     5.56
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Operating Expense                3/25/2020                   28.36
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Operating Expense                3/25/2020                  159.18
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Operating Expense                3/25/2020                  334.35
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Expense                          3/25/2020                  355.25
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Expense                          3/25/2020                 1,809.50
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Expense                          3/25/2020                10,129.00
HIGHWOODS REALTY LIMITED
PARTNERSHIP                        Rent Expense                          3/25/2020                19,541.05

HINCKLEY SPRING WATER COMPANY      Clinical/OR Supplies & Disposable     2/26/2020                   59.50

HINCKLEY SPRING WATER COMPANY      Clinical/OR Supplies & Disposable     2/26/2020                    77.87
HIREBRIDGE LLC                     MIS Supplies-Software                  3/4/2020                 3,240.00

HOLD HOPE, LLC                     Professional Fee-Social Worker        3/20/2020                 2,630.00

HOLD HOPE, LLC                     Professional Fee-Social Worker        3/24/2020                   830.00
Holder, Elizabeth P.               Director Financial Services            5/5/2020                 5,536.00
HOLLIE ZAMMIT AND DAVID ZAMMIT     Attain/Shared Risk Reserve            3/11/2020                 9,750.00

HOLOGIC (MA) LLC                   Clinical/OR Supplies & Disposable     2/20/2020                 5,653.98

HOLOGIC (MA) LLC                   Clinical/OR Supplies & Disposable     2/27/2020                 1,778.68
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Creditor                    Reason for Payment                  Date          Total paid

HOLOGIC INC                 Clinical/OR Supplies & Disposable     2/21/2020                 1,170.21

HOLOGIC INC                 Clinical/OR Supplies & Disposable     2/28/2020                 1,749.00
HOPE MINER                  Donor Pass Thru(Co Mgt Fees)           3/9/2020                   300.00
HOPE MINER                  Donor Pass Thru(Co Mgt Fees)           3/9/2020                   850.00
HOPE MINER                  Donor Pass Thru(Co Mgt Fees)           3/9/2020                   850.00
HOPE MINER                  Donor Pass Thru(Co Mgt Fees)           3/9/2020                 5,000.00
HORIZON MARKETING GROUP     Advertising                           2/21/2020                 3,400.00
HORIZON MARKETING GROUP     Advertising                           2/27/2020                 3,400.00
HORIZON MARKETING GROUP     Web Development and Mgmt              2/28/2020                    50.00
HORIZON MARKETING GROUP     Web Development and Mgmt              2/28/2020                    50.00
HORIZON MARKETING GROUP     Internet                              2/28/2020                 3,000.00
HORIZON MARKETING GROUP     Internet                              2/28/2020                 4,800.00
HORIZON MARKETING GROUP     Accrued Marketing                     2/28/2020                 6,350.00
HORIZON MARKETING GROUP     Internet                              2/28/2020                 8,350.00
HORIZON MARKETING GROUP     Internet                              2/28/2020                10,350.00
HORIZON MARKETING GROUP     Internet                              2/28/2020                21,650.00
HORIZON MARKETING GROUP     Internet                              3/31/2020                18,550.00
HOYT MEDIA                  Program Educational Events             3/1/2020                 4,000.00

HPSRX ENTERPRISES, INC.     Clinical/OR Supplies & Disposable     2/21/2020                   60.41

HPSRX ENTERPRISES, INC.     Clinical/OR Supplies & Disposable     2/21/2020                  137.80

HPSRX ENTERPRISES, INC.     Clinical/OR Supplies & Disposable     2/21/2020                   177.26
HSRE CAPMED LLC             Utilities                             2/20/2020                   205.33
HSRE CAPMED LLC             Parking Expense                       2/20/2020                   280.00
HSRE CAPMED LLC             Real Estate Tax                       2/20/2020                   293.32
HSRE CAPMED LLC             Rent Operating Expense                2/20/2020                   443.67
HSRE CAPMED LLC             Rent Expense                          2/20/2020                23,600.00
HSRE CAPMED LLC             Rent Expense                          2/20/2020                43,286.29
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Creditor                               Reason for Payment                Date        Total paid
HTA- CELEBRATION HOSPITAL MOB, LLC     Rent Expense                        3/16/2020               9,501.89
HTC                                    Telephone Expense                   3/12/2020                 147.76

HUBBARD RADIO WEST PALM BEACH, LLC     Radio                               2/29/2020               6,930.00
HUNGRYNECK II LLC                      Rent Expense                         3/5/2020               3,700.00
HUNGRYNECK II LLC                      Rent Expense                         4/5/2020               3,700.00
HUNGRYNECK PARTNERS                    Rent Expense                         3/5/2020              19,150.00
HUNGRYNECK PARTNERS                    Rent Expense                         4/5/2020              19,150.00
HUNTINGTON CREEK APARTMENTS            Rent Expense                         3/1/2020               1,500.00
HUNTINGTON CREEK APARTMENTS            Rent Expense                        3/16/2020               1,500.00
IDAHO CENTER FOR REPRODUCTIVE
MEDICINE                               Professional Fees - Procedural      2/21/2020               5,006.95
IDAHO CENTER FOR REPRODUCTIVE
MEDICINE                               Professional Fees - Procedural      3/27/2020               5,640.70
IGENOMIX LA                            Pass Thru Costs                     2/22/2020               1,500.00
IGENOMIX LA                            Pass Thru Costs                     2/28/2020                 600.00
IGENOMIX USA                           Outside Lab Tests                   2/28/2020                 795.00
IHEARTMEDIA                            Radio                               2/23/2020               7,305.00
IHEARTMEDIA                            Radio                               2/24/2020               2,345.00
IHEARTMEDIA                            Radio                                3/1/2020              10,000.00
Illinois Record Keepers, Inc           Storage Services                     3/3/2020                  86.70
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/20/2020                  24.07
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/20/2020                  72.20
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/20/2020                  75.00
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/20/2020                 325.40
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/25/2020                  18.14
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/25/2020                  19.23
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/25/2020                  23.16
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/25/2020                  54.41
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/25/2020                  57.70
IMAGE FIRST MEDICAL WEAR               Laundry Services                    2/25/2020                  69.50
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Creditor                     Reason for Payment           Date         Total paid
IMAGE FIRST MEDICAL WEAR     Laundry Services               2/25/2020                267.81
IMAGE FIRST MEDICAL WEAR     Laundry Services               2/25/2020                342.08
IMAGE FIRST MEDICAL WEAR     Laundry Services               2/26/2020                 48.42
IMAGE FIRST MEDICAL WEAR     Laundry Services               2/26/2020                 69.38
IMAGE FIRST MEDICAL WEAR     Laundry Services               2/27/2020                 24.07
IMAGE FIRST MEDICAL WEAR     Laundry Services               2/27/2020                 72.20
IMAGE FIRST MEDICAL WEAR     Laundry Services               2/27/2020                 75.00
IMAGE FIRST MEDICAL WEAR     Laundry Services               2/27/2020                325.40
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/3/2020                18.14
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/3/2020                19.23
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/3/2020                23.16
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/3/2020                54.41
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/3/2020                57.70
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/3/2020                69.50
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/3/2020               267.81
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/3/2020               342.08
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/4/2020                69.38
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/5/2020                24.07
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/5/2020                72.20
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/5/2020                75.00
IMAGE FIRST MEDICAL WEAR     Laundry Services                 3/5/2020               325.40
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/10/2020                 18.14
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/10/2020                 19.23
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/10/2020                 23.16
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/10/2020                 54.41
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/10/2020                 57.70
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/10/2020                 69.50
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/10/2020                270.49
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/10/2020                342.08
IMAGE FIRST MEDICAL WEAR     Laundry Services               3/11/2020                 69.38
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Creditor                               Reason for Payment           Date        Total paid
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/12/2020                24.07
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/12/2020                48.42
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/12/2020                72.20
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/12/2020                75.00
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/12/2020               325.40
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/17/2020                18.14
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/17/2020                19.23
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/17/2020                23.16
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/17/2020                54.41
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/17/2020                57.70
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/17/2020                69.50
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/17/2020               267.81
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/17/2020               342.08
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/24/2020               342.08
IMAGE FIRST MEDICAL WEAR               Laundry Services               3/31/2020               342.08

IMAGEFIRST UNIFORM RENTAL SVCS.INC     Laundry Services               2/24/2020               164.96

IMAGEFIRST UNIFORM RENTAL SVCS.INC     Laundry Services               2/26/2020                83.50

IMAGEFIRST UNIFORM RENTAL SVCS.INC     Laundry Services               2/26/2020               277.92

IMAGEFIRST UNIFORM RENTAL SVCS.INC     Laundry Services                3/4/2020                83.50

IMAGEFIRST UNIFORM RENTAL SVCS.INC     Laundry Services                3/4/2020               277.92

IMAGEFIRST UNIFORM RENTAL SVCS.INC     Laundry Services               3/11/2020                83.50

IMAGEFIRST UNIFORM RENTAL SVCS.INC     Laundry Services               3/18/2020                83.50
IMMACULATE RESIDENTIAL AND
COMMERCIAL CLEANING                    Janitorial Service             2/21/2020               570.00
IMMACULATE RESIDENTIAL AND
COMMERCIAL CLEANING                    Janitorial Service             2/28/2020               570.00
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Creditor                              Reason for Payment                  Date          Total paid
IMMACULATE RESIDENTIAL AND
COMMERCIAL CLEANING                   Janitorial Service                     3/6/2020                  570.00
IMMACULATE RESIDENTIAL AND
COMMERCIAL CLEANING                   Janitorial Service                    3/13/2020                  570.00
IMMACULATE RESIDENTIAL AND
COMMERCIAL CLEANING                   Janitorial Service                    3/20/2020                  570.00
IMMACULATE RESIDENTIAL AND
COMMERCIAL CLEANING                   Janitorial Service                    3/27/2020                  570.00
IMMACULATE RESIDENTIAL AND
COMMERCIAL CLEANING                   Janitorial Service                     4/3/2020                   570.00
IMPERIAL PARKING                      Parking Expense                       3/11/2020                 1,608.03
INDEPENDENT HOLDINGS,LLC              Rent Expense                          2/24/2020                 1,106.00
INDEPENDENT HOLDINGS,LLC              Rent Expense                          2/24/2020                 2,593.00
INDEPENDENT HOLDINGS,LLC              Rent Expense                          2/24/2020                 2,677.18
INDEPENDENT HOLDINGS,LLC              Rent Expense                          2/24/2020                 6,276.60
INDEPENDENT HOLDINGS,LLC              Rent Expense                          2/24/2020                12,003.05
INDEPENDENT HOLDINGS,LLC              Rent Expense                          2/24/2020                40,708.31
INDEPENDENT HOLDINGS,LLC              Utilities                             3/10/2020                 3,355.23

INDEPENDENT MEDICAL ASSOCIATES        Clinical/OR Supplies & Disposable     3/12/2020                 2,290.75
INDEPENDENT SEDATION & ANESTHESIA
SERVICES                              Professional Fee- Anesthes.           2/22/2020                 1,600.00
INDIANA INVESTORS GROUP               Facility Repairs & Maint.              3/1/2020                 9,560.30
INDIANA INVESTORS GROUP               Rent Expense                           3/1/2020                13,671.25
INDIANA INVESTORS GROUP               Facility Repairs & Maint.             3/31/2020                 5,661.88
INDIANA INVESTORS GROUP               Rent Expense                          3/31/2020                13,671.25
INFECTION CONTOL SOLUTIONS, LLC       Other Outside Services                3/15/2020                   290.46
INFLOW CIMMUNICATIONS INC             Telephone Expense                     2/20/2020                   995.00
INFLOW CIMMUNICATIONS INC             Telephone Expense                     3/30/2020                   250.00
INFORMS BUSINESS PRINTING             Postage & Freight                     2/26/2020                    19.39
INFORMS BUSINESS PRINTING             Printing                              2/26/2020                   167.53
INFORMS BUSINESS PRINTING             Postage & Freight                     2/26/2020                   209.07
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Creditor                          Reason for Payment                Date          Total paid
                                  Office Supplies & Non-Marketing
INFORMS BUSINESS PRINTING         Printing                            2/26/2020                    880.48
INNER HARBOR EAST GARAGE, LLC     Rent Expense                        3/15/2020                    850.85
INSIGHT DIRECT USA, INC           MIS Supplies - Hardware             2/27/2020                    352.19
Insperity                                                            5/11/2020                 153,000.00
Insperity                                                            5/14/2020                 150,000.00
Insperity                                                            5/18/2020                 250,000.00
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             2/28/2020                      91.99
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             2/28/2020                     147.98
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             2/28/2020                     759.93
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             2/28/2020                     935.96
INTEGRATION TECHNOLOGIES          Consulting Fees                     2/28/2020                     957.44
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             2/28/2020                   1,081.99
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             2/28/2020                   1,105.93
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             2/28/2020                   1,128.00
INTEGRATION TECHNOLOGIES          Consulting Fees                     2/28/2020                   1,562.50
INTEGRATION TECHNOLOGIES          Consulting Fees                     2/28/2020                   1,675.52
INTEGRATION TECHNOLOGIES          Consulting Fees                     2/28/2020                   1,795.20
INTEGRATION TECHNOLOGIES          Consulting Fees                     2/28/2020                   2,393.60
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             2/28/2020                   3,432.96
INTEGRATION TECHNOLOGIES          Consulting Fees                     2/28/2020                   5,146.24
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             3/16/2020                   2,297.06
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             3/16/2020                   2,297.06
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             3/16/2020                   3,297.05
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             3/16/2020                   4,397.05
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             3/16/2020                   5,297.03
INTEGRATION TECHNOLOGIES          MIS Supplies - Hardware             3/16/2020                   7,197.08
                                  Office Supplies & Non-Marketing
INTEGRATION TECHNOLOGIES          Printing                            3/31/2020                    154.36
                                  Office Supplies & Non-Marketing
INTEGRATION TECHNOLOGIES          Printing                            3/31/2020                    523.33
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Creditor                      Reason for Payment                    Date        Total paid
INTEGRATION TECHNOLOGIES      Consulting Fees                         3/31/2020              1,197.44
INTEGRATION TECHNOLOGIES      Consulting Fees                         3/31/2020              2,095.52
INTEGRATION TECHNOLOGIES      Consulting Fees                         3/31/2020              2,245.20
INTEGRATION TECHNOLOGIES      Consulting Fees                         3/31/2020              2,993.60
INTEGRATION TECHNOLOGIES      Consulting Fees                         3/31/2020              7,136.24
INTER WEST INTERPRETTING      Other Outside Services                  2/21/2020                715.00
INTER WEST INTERPRETTING      Other Outside Services                  3/20/2020                825.00
Interfertility SL             Healthcare Services                     3/9/2020               3,500.00
Interfertility SL             Healthcare Services                     3/9/2020               3,500.00
INTERIOR GARDENS BMG          Other Outside Services                   3/1/2020                144.84
INTERIOR GARDENS BMG          Other Outside Services                  3/10/2020                 10.89
INTERMOUNTAIN GAS CO.         Utilities                               2/28/2020                236.19
INTERMOUNTAIN GAS COMPANY     Utilities                               2/26/2020                 56.15
INTERMOUNTAIN GAS COMPANY     Utilities                                3/4/2020                 59.13
INTERMOUNTAIN GAS COMPANY     Utilities                                4/3/2020                129.18
Internet Health Resources     Internet                                3/13/2020                115.00
Internet Health Resources     Internet                                3/13/2020                270.00
INTERSECTIONS, INC.           Accrued Benefit Liabilities             3/20/2020                  6.00
INTERSECTIONS, INC.           Accrued Benefit Liabilities             3/20/2020                  6.00
INTERSECTIONS, INC.           Accrued Benefit Liabilities             3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
INTERSECTIONS, INC.           Medical Insurance                       3/20/2020                  6.00
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Creditor                Reason for Payment                    Date        Total paid
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                 6.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             3/20/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                10.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             3/20/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                16.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             3/20/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                20.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                23.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                23.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                27.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                27.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                27.00
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Creditor                Reason for Payment                    Date        Total paid
INTERSECTIONS, INC.     Accrued Benefit Liabilities             3/20/2020                29.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             3/20/2020                30.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                30.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                30.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                30.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                30.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                30.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                30.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                30.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             3/20/2020                40.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                40.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                40.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             3/20/2020                42.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             3/20/2020                47.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                60.00
INTERSECTIONS, INC.     Medical Insurance                       3/20/2020                77.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                 6.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                 6.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
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Creditor                Reason for Payment                    Date        Total paid
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                 6.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                10.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                10.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                12.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                16.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                16.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                17.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                20.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                23.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                23.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                27.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                27.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                27.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                29.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                30.00
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Creditor                Reason for Payment                    Date        Total paid
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    30.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    30.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    30.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    30.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    30.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    30.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    30.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    30.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    40.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    40.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    40.00
INTERSECTIONS, INC.     Accrued Benefit Liabilities             4/15/2020                    47.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    60.00
INTERSECTIONS, INC.     Medical Insurance                       4/15/2020                    77.00
INTRALINKS, INC         Prepaid Other                           2/24/2020                10,644.20
INTRALINKS, INC         Prepaid Other                           3/24/2020                12,134.52
INVITAE CORPORATION     Outside Lab Tests                       2/29/2020                   200.00
INVITAE CORPORATION     Outside Embryology Fees                 2/29/2020                12,150.00
INVITAE CORPORATION     Outside Lab Tests                       3/31/2020                 3,375.00

IPFS CORPORATION        Accrued Malpractice Insurance           2/20/2020               173,766.62

IPFS CORPORATION        Accrued Malpractice Insurance           3/20/2020               173,766.62
IPFS CORPORATION                                               5/20/2020               173,766.62
IPFS CORPORATION                                               5/20/2020               173,766.62
IRON MOUNTAIN           Storage Services                        2/29/2020                   17.51
IRON MOUNTAIN           Other Outside Services                  2/29/2020                  222.93
Iron Mountain           Storage Services                        2/29/2020                  228.40
Iron Mountain           Other Outside Services                  2/29/2020                  255.03
IRON MOUNTAIN           Accrued Other                           2/29/2020                  357.16
IRON MOUNTAIN           Medical Records                         2/29/2020                  588.89
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Creditor                  Reason for Payment                Date         Total paid
IRON MOUNTAIN             Storage Services                    2/29/2020                  593.85
IRON MOUNTAIN             Storage Services                    2/29/2020                  645.45
Iron Mountain             Medical Records                     2/29/2020                2,130.74
IRON MOUNTAIN             Storage Services                    2/29/2020                4,674.50
IRON MOUNTAIN RECORDS     Other Outside Services              2/29/2020                  203.81
IRON MOUNTAIN RECORDS     Other Outside Services              2/29/2020                  327.35
IRON MOUNTAIN RECORDS     Storage Services                    2/29/2020                  560.54
ITEDIUM,INC               Other Outside Services                3/1/2020                 108.50
ITEDIUM,INC               Other Outside Services                3/9/2020                 122.80
IT'S MY COOLER LLP        Equip. Repairs & Maint.               3/4/2020                 130.00
IT'S MY COOLER LLP        Equip. Repairs & Maint.               3/6/2020                 150.00
IT'S MY COOLER LLP        Equip. Repairs & Maint.             3/10/2020                   55.00
IVF FLORIDA               Professional Fees - Procedural      2/21/2020                7,840.95
IVF FLORIDA               Professional Fees - Procedural      2/21/2020                9,650.40
IVF FLORIDA               Professional Fees - Procedural      2/21/2020                9,650.40
IVF FLORIDA               Professional Fees - Procedural      2/21/2020                9,650.40
IVF FLORIDA               Professional Fees - Procedural      2/21/2020               10,067.20
IVF FLORIDA               Professional Fees - Procedural      2/21/2020               11,186.40
                          Attain/Shared Risk Med Cost
IVF FLORIDA               Reserve                             2/27/2020                2,569.45
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                3,015.75
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                3,352.00
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                4,399.50
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                6,865.95
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                7,840.95
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                8,450.40
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                9,650.40
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                9,650.40
IVF FLORIDA               Professional Fees - Procedural      2/27/2020                9,650.40
IVF FLORIDA               Professional Fees - Procedural      2/27/2020               11,186.40
IVF FLORIDA               Professional Fees - Procedural      2/27/2020               11,186.40
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Creditor        Reason for Payment                Date         Total paid
IVF FLORIDA     Professional Fees - Procedural      2/27/2020               11,186.40
IVF FLORIDA     Professional Fees - Procedural      2/27/2020               11,186.40
IVF FLORIDA     Professional Fees - Procedural      2/28/2020                3,495.75
IVF FLORIDA     Professional Fees - Procedural      2/28/2020                3,495.75
IVF FLORIDA     Professional Fees - Procedural      2/28/2020                4,399.50
IVF FLORIDA     Professional Fees - Procedural      2/28/2020                4,399.50
IVF FLORIDA     Professional Fees - Procedural        3/6/2020                  56.95
IVF FLORIDA     Professional Fees - Procedural        3/6/2020               2,796.60
IVF FLORIDA     Professional Fees - Procedural        3/6/2020               3,497.75
IVF FLORIDA     Professional Fees - Procedural        3/6/2020               3,561.50
IVF FLORIDA     Professional Fees - Procedural        3/6/2020              11,186.40
IVF FLORIDA     Professional Fees - Procedural        3/6/2020              11,186.40
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                2,569.45
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                2,674.75
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                2,963.20
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                3,352.00
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                3,352.00
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                3,497.75
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                5,028.00
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                5,593.20
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                6,865.95
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                8,050.40
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                8,179.60
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                9,088.95
IVF FLORIDA     Professional Fees - Procedural      3/13/2020                9,650.40
IVF FLORIDA     Professional Fees - Procedural      3/13/2020               11,186.40
IVF FLORIDA     Professional Fees - Procedural      3/19/2020                  666.25
IVF FLORIDA     Professional Fees - Procedural      3/19/2020                2,796.60
IVF FLORIDA     Professional Fees - Procedural      3/19/2020                3,352.00
IVF FLORIDA     Professional Fees - Procedural      3/19/2020                3,352.00
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Creditor          Reason for Payment                  Date        Total paid
IVF FLORIDA       Professional Fees - Procedural        3/19/2020               3,497.75
IVF FLORIDA       Professional Fees - Procedural        3/19/2020               3,561.50
IVF FLORIDA       Professional Fees - Procedural        3/19/2020               5,281.50
IVF FLORIDA       Professional Fees - Procedural        3/19/2020               8,450.40
IVF FLORIDA       Professional Fees - Procedural        3/19/2020               9,088.95
IVF FLORIDA       Professional Fees - Procedural        3/19/2020               9,088.95
IVF FLORIDA       Professional Fees - Procedural        3/19/2020              11,186.40
                  Attain/Shared Risk Med Cost
IVF FLORIDA       Reserve                               3/20/2020               2,674.75
IVF FLORIDA       Professional Fees - Procedural        3/20/2020              11,186.40
IVF FLORIDA       Professional Fees - Procedural        3/27/2020               2,674.75
IVF FLORIDA       Professional Fees - Procedural        3/27/2020               2,723.50
IVF FLORIDA       Professional Fees - Procedural        3/27/2020               3,497.75
                  Attain/Shared Risk Med Cost
IVF FLORIDA       Reserve                               3/27/2020               4,245.75
IVF FLORIDA       Professional Fees - Procedural        3/27/2020               9,088.95
IVF FLORIDA       Professional Fees - Procedural        3/27/2020              11,186.40
IVF FLORIDA       Professional Fees - Procedural         4/3/2020               2,412.60
IVF FLORIDA       Professional Fees - Procedural         4/3/2020               3,561.50
IVF FLORIDA       Professional Fees - Procedural        4/10/2020               2,451.80

IVF STORE LLC     Clinical/OR Supplies & Disposable     2/25/2020               2,851.01
IVF STORE LLC     Lab Supplies                          2/28/2020                 509.28

IVF STORE LLC     Clinical/OR Supplies & Disposable      3/3/2020               5,312.19

IVF STORE LLC     Clinical/OR Supplies & Disposable      3/6/2020               2,755.60

IVF STORE LLC     Clinical/OR Supplies & Disposable     3/10/2020                586.27

IVF STORE LLC     Clinical/OR Supplies & Disposable     3/10/2020                631.03
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Creditor                              Reason for Payment                  Date          Total paid

IVF STORE LLC                         Clinical/OR Supplies & Disposable     3/10/2020                2,622.44

IVF STORE LLC                         Clinical/OR Supplies & Disposable     3/23/2020                 877.50

IZI MEDICAL PRODUCTS, LLC             Clinical/OR Supplies & Disposable      3/9/2020                  484.67
J. L. Sterling & Associates           Transcription Services                 3/3/2020                  283.79
J. L. Sterling & Associates           Transcription Services                 4/6/2020                  119.15
J2 CLOUD SERVICES                     License & Fees                        2/29/2020                  159.00
J2 CLOUD SERVICES                     License & Fees                        2/29/2020                4,200.99
JACOBS MEDICAL, LLC.                  Auto Allowance                        3/14/2020                1,000.00
JAF Station                           Utilities                             2/27/2020                3,325.09
JAGUAR FINANCIAL FROUP C/O CHASE      Automobile Expense                     3/7/2020                1,169.38
JAN- PRO CLEANING                     Janitorial Service                     3/1/2020                  275.00
JAN- PRO CLEANING                     Janitorial Service                     3/1/2020                  995.00
JAN PRO OF COLUMBIA                   Janitorial Service                     3/1/2020                  320.00
JANE NANI, MD                         Auto Allowance                        3/14/2020                1,000.00
JANIKING OF ILLINOIS, INC.            Janitorial Service                     3/1/2020                  555.00
JANIKING OF ILLINOIS, INC.            Janitorial Service                     3/1/2020                  567.49
JANIKING OF ILLINOIS, INC.            Janitorial Service                    3/13/2020                  200.00
JANIKING OF ILLINOIS, INC.            Janitorial Service                     4/1/2020                  558.00
JANI-KING OF TAMPA BAY                Janitorial Service                     3/1/2020                2,522.63
JANI-KING OF TAMPA BAY                Janitorial Service                     4/1/2020                2,522.63
JANI-KING OF TAMPA BAY                Janitorial Service                    4/15/2020                  159.02
JAN-PRO CLEANING SYSTEM OF SOUTHERN
CALIFORNIA                            Janitorial Service                    2/22/2020                 332.00
JAN-PRO CLEANING SYSTEM OF SOUTHERN
CALIFORNIA                            Janitorial Service                    2/29/2020                 150.00
JAN-PRO CLEANING SYSTEM OF SOUTHERN
CALIFORNIA                            Janitorial Service                    2/29/2020                 150.00
JAN-PRO CLEANING SYSTEM OF SOUTHERN
CALIFORNIA                            Janitorial Service                     3/1/2020                 246.00
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Creditor                              Reason for Payment                  Date          Total paid
JAN-PRO CLEANING SYSTEM OF SOUTHERN
CALIFORNIA                            Janitorial Service                    3/21/2020                  102.00
JAN-PRO CLEANING SYSTEM OF SOUTHERN
CALIFORNIA                            Janitorial Service                    3/22/2020                   448.00
JAN-PRO OF NORTHWEST FLORIDA          Janitorial Service                    2/27/2020                   419.25
JAN-PRO OF NORTHWEST FLORIDA          Janitorial Service                    3/23/2020                   419.25
JASON PARKER                          T&E - Lodging                         2/25/2020                   210.42
JASON PARKER                          License & Fees                        2/25/2020                   261.00
JASON PARKER                          Automobile Expense                    2/25/2020                   573.04
JASON PARKER                          T&E - Lodging                         2/25/2020                   607.43
JASON PARKER                          Automobile Expense                    2/25/2020                   628.72
Java Works Enterprises, Inc.          Equipment Rental                      2/27/2020                    45.07
Java Works Enterprises, Inc.          Equipment Rental                      2/27/2020                   104.00
JAY REYNOLDS MD                       Professional Fee- Anesthes.           3/31/2020                 4,950.00
JAZMIN OSUNA AND JULIO OSUNA          Attain/Shared Risk Deposits           3/19/2020                21,900.00
JEANETTE PEREZ                        Donor Pass Thru(Co Mgt Fees)          3/31/2020                    64.46
JEFF MONAGHAN, PHARM. D               Consulting Fees                       2/21/2020                   340.00
JEFF MONAGHAN, PHARM. D               Consulting Fees                       3/29/2020                   340.00

JEFFERSON MEDICAL & IMAGING INC       Clinical/OR Supplies & Disposable     2/26/2020                 2,246.70

JEFFERSON MEDICAL & IMAGING INC       Clinical/OR Supplies & Disposable      3/2/2020                 2,256.70
JENNI BICK BOOKBINDING ,INC           Accrued Other                          3/5/2020                 1,056.00
JENNIFER BRESNYAN                     Other Marketing Costs                 2/26/2020                   194.36
JENNIFER HART                         Cellular Phone/Page                   3/15/2020                    60.00
JENNIFER HART                         Cellular Phone/Page                   4/15/2020                    60.00
JENNIFER HIRSHFELD-CYTRON, M.D.       Auto Allowance                        3/14/2020                 1,000.00
JENNIFER LASSI                        Dues/Subscriptions                     4/6/2020                   150.00
                                      Office Supplies & Non-Marketing
JENNIFER MERSEREAU                    Printing                              2/28/2020                    63.62
JENNIFER VARGAS                       Professional Development              3/13/2020                    44.96
Jeralyn Kahlea Pasoquen               Donor Pass Thru(Co Mgt Fees)          2/26/2020                 7,000.00
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Creditor                          Reason for Payment                  Date          Total paid
                                  Office Supplies & Non-Marketing
JESSICA CASPER                    Printing                              3/10/2020                   45.93
JESSICA GOLDEN                    Donor Pass Thru(Co Mgt Fees)          3/20/2020                  500.00
JESSICA NOBLE                     Other Marketing Costs                 3/11/2020                  297.55

Jessica Ortiz                     Clinical/OR Supplies & Disposable     3/19/2020                   54.44
Jessica Ortiz                     Other Benefits                        3/24/2020                   38.99

Jessica Ortiz                     Clinical/OR Supplies & Disposable     3/24/2020                1,036.92
JESSIE DORAIS                     Dues/Subscriptions                    3/26/2020                  665.00
JIA YI VOORHEES                   Other Outside Services                2/28/2020                3,400.00
JIA YI VOORHEES                   Other Outside Services                3/31/2020                  750.00
JILL BOTH                         Donor Pass Thru(Co Mgt Fees)           4/3/2020                  250.00
Jishai Eliason                    Consulting Services                  2/25/2020                 5,891.00
Jishai Eliason                    Consulting Services                  2/25/2020                 5,891.00
JK MOVING & STORAGE INC           Janitorial Service                    2/29/2020                  639.43
JLR ANESTHESIA                    Professional Fee- Anesthes.           2/20/2020                2,600.00
JOHANNA B. FLYNN M. TCM,L. AC     Prof Fees - Acupuncture               2/21/2020                  625.00
JOHANNA B. FLYNN M. TCM,L. AC     Prof Fees - Acupuncture                3/3/2020                  875.00
JOHANNA B. FLYNN M. TCM,L. AC     Prof Fees - Acupuncture               3/10/2020                1,000.00
JOHN GILILLAND                    Rent Expense                          3/14/2020                2,510.00
JOHN GILILLAND                    Rent Expense                          3/16/2020                  140.00
JOHN GILILLAND                    Rent Expense                          3/16/2020                1,190.33
JOHN HANCOCK LIFE INSURANCE
COMPANY                           Medical Insurance                     3/18/2020                6,880.00
JOHN J. RAPISARDA, MD             Auto Allowance                        3/14/2020                1,000.00
JOHN MUIR MEDICAL STAFF           Dues/Subscriptions                    2/28/2020                  350.00
JOHN MUIR MEDICAL STAFF           Dues/Subscriptions                    2/28/2020                  350.00
JONES WALKER LLP                  Legal Fees                             3/9/2020                2,145.00

                                  Employee Meetings/Educational
JONNA COLLINS                     Materials                             2/28/2020                   58.30
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Creditor                            Reason for Payment                Date        Total paid
JONNA COLLINS                       Dues/Subscriptions                  3/11/2020                75.00
JORGEN OLSSON                       Other Outside Services              2/29/2020                15.15
                                    Office Supplies & Non-Marketing
JORGEN OLSSON                       Printing                            2/29/2020                16.04
JORGEN OLSSON                       Internet                            2/29/2020                34.95
                                    Office Supplies & Non-Marketing
JORGEN OLSSON                       Printing                            2/29/2020               104.09
                                    Office Supplies & Non-Marketing
JORGEN OLSSON                       Printing                            2/29/2020               175.66
JORGEN OLSSON                       MIS Supplies - Hardware              3/3/2020                34.68
JORGEN OLSSON                       Other Outside Services              3/31/2020                14.13
                                    Office Supplies & Non-Marketing
JORGEN OLSSON                       Printing                            3/31/2020                 16.04
JORGEN OLSSON                       Internet                            3/31/2020                 49.55
JOY ANNE AKER                       Professional Fee- Anesthes.         2/29/2020              2,040.00
JOY ANNE AKER                       Professional Fee- Anesthes.         2/29/2020              2,040.00
JOY ANNE AKER                       Professional Fee- Anesthes.         2/29/2020              5,710.00
JOY ANNE AKER                       Professional Fee- Anesthes.         2/29/2020              5,710.00
JOY ANNE AKER                       Professional Fee- Anesthes.         3/27/2020              2,660.00
JOY ANNE AKER                       Professional Fee- Anesthes.         3/27/2020              4,000.00
JOYA LLC                            Rent Expense                        2/25/2020              1,080.00
JOYA LLC                            Rent Expense                        3/19/2020              1,080.00
JOYCE MURTY                         Legal Fees                          3/10/2020              1,560.00
JPM ANESTHESIA                      Professional Fee- Anesthes.         2/27/2020              4,000.00
JPM ANESTHESIA                      Professional Fee- Anesthes.         3/30/2020                800.00
JULIE'S CLEANING SERVICE, LLC       Janitorial Service                  2/29/2020              2,613.00
JULIE'S CLEANING SERVICE, LLC       Janitorial Service                  2/29/2020              4,962.73
JUNG'S LAUNDRY AND CLEANERS         Laundry Services                     3/1/2020                 55.09
JUNG'S LAUNDRY AND CLEANERS         Laundry Services                    3/15/2020                216.83
JUNG'S LAUNDRY AND CLEANERS         Laundry Services                     4/1/2020                 99.17
KA PULLEY ANESTHESIA ASSOCIATES     Professional Fee- Anesthes.         2/25/2020              4,000.00
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Creditor                               Reason for Payment                  Date         Total paid
KA PULLEY ANESTHESIA ASSOCIATES        Professional Fee- Anesthes.           2/25/2020                5,770.00
KA PULLEY ANESTHESIA ASSOCIATES        Professional Fee- Anesthes.           3/25/2020                4,000.00
KA PULLEY ANESTHESIA ASSOCIATES        Professional Fee- Anesthes.           3/25/2020                5,870.00
KAISER FOUNDATION HEALTH PLAN          Medical Insurance                       3/1/2020              54,241.45
KAISER FOUNDATION HEALTH PLAN          Medical Insurance                       4/1/2020              51,800.03
Karen Rodriguez                        Other Benefits                        2/20/2020                   86.95
Karen Rodriguez                        Training and Education                3/12/2020                1,216.32

KARL STORZ ENDOSCOPY - AMERICA INC     Postage & Freight                     2/26/2020                  42.75

KARL STORZ ENDOSCOPY - AMERICA INC     Clinical/OR Supplies & Disposable     2/26/2020                 592.67

KARL STORZ ENDOSCOPY - AMERICA INC     OR Instruments/Instruments            2/26/2020                 681.42

KARL STORZ ENDOSCOPY - AMERICA INC     Clinical/OR Supplies & Disposable     2/27/2020                 574.84

KARL STORZ ENDOSCOPY - AMERICA INC     Clinical/OR Supplies & Disposable     2/27/2020                4,246.42

KARL STORZ ENDOSCOPY - AMERICA INC     Clinical/OR Supplies & Disposable     2/29/2020                1,468.63

KARL STORZ ENDOSCOPY - AMERICA INC     Clinical/OR Supplies & Disposable     2/29/2020                1,469.43

KARL STORZ ENDOSCOPY - AMERICA INC     Clinical/OR Supplies & Disposable     3/23/2020                  928.25
KASI MILLER DESIGNS                    Other Outside Services                3/12/2020                1,000.00
KASSONDRA SMITH                        Donor Pass Thru(Co Mgt Fees)          3/24/2020                   98.97
KASSONDRA SMITH                        Donor Pass Thru(Co Mgt Fees)          3/24/2020                  300.00
KASSONDRA SMITH                        Donor Pass Thru(Co Mgt Fees)          3/24/2020                  850.00
KASSONDRA SMITH                        Donor Pass Thru(Co Mgt Fees)          3/24/2020                  850.00
KASSONDRA SMITH                        Donor Pass Thru(Co Mgt Fees)          3/24/2020                5,000.00
KATELYN YOUNT                          Donor Egg Compensation/Insur          3/26/2020                  300.00
KATELYN YOUNT                          Donor Egg Compensation/Insur          3/26/2020                  850.00
KATELYN YOUNT                          Donor Egg Compensation/Insur          3/26/2020                  850.00
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Creditor                 Reason for Payment              Date        Total paid
KATELYN YOUNT            Donor Egg Compensation/Insur      3/26/2020              5,000.00
KATHERINE BROWNE         Other Marketing Costs             3/10/2020                250.00
KATHLEEN PENNY           Donor Pass Thru(Co Mgt Fees)      2/20/2020                 50.00
Kathleen S.Jozwiak       Parking Expense                   2/29/2020                 18.50
Kathleen S.Jozwiak       Parking Expense                   2/29/2020                 25.00
Kathleen S.Jozwiak       Telephone Expense                 2/29/2020                100.00
Kathleen S.Jozwiak       Automobile Expense                2/29/2020                230.26
Kathleen S.Jozwiak       Automobile Expense                2/29/2020                236.64
Kathleen S.Jozwiak       MD Referral                       2/29/2020                502.33
Kathleen S.Jozwiak       MD Referral                       2/29/2020              1,648.30
Kathleen S.Jozwiak       Parking Expense                   3/25/2020                 23.00
Kathleen S.Jozwiak       Automobile Expense                3/25/2020                181.54
Kathleen S.Jozwiak       Automobile Expense                3/25/2020                213.44
Kathleen S.Jozwiak       MD Referral                       3/25/2020              1,237.14
Kathleen S.Jozwiak       MD Referral                       3/25/2020              1,336.12
Kathleen S.Jozwiak       MD Referral                       3/25/2020              3,772.14
Kathleen S.Jozwiak       Telephone Expense                 3/31/2020                100.00
Kathleen S.Jozwiak       MD Referral                       3/31/2020              1,355.86

                         Employee Meetings/Educational
KATRINA WOLFENBARGER     Materials                          3/9/2020                26.62

                         Employee Meetings/Educational
KATRINA WOLFENBARGER     Materials                         3/18/2020                  8.10
KATZ DIGITAL GROUP       Internet                          2/27/2020              1,445.00
KATZ DIGITAL GROUP       Internet                          2/27/2020              2,549.29
KATZ DIGITAL GROUP       Internet                          2/27/2020              2,999.71
KAYLA ALVA               Donor Egg Compensation/Insur       3/3/2020                300.00
KAYLA ALVA               Donor Egg Compensation/Insur       3/3/2020                850.00
KAYLA ALVA               Donor Egg Compensation/Insur       3/3/2020                850.00
KAYLA ALVA               Donor Egg Compensation/Insur       3/3/2020              5,000.00
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Creditor                              Reason for Payment                  Date         Total paid
KAYLA MEACHAM                         Donor Pass Thru(Co Mgt Fees)          3/10/2020                 350.00
KEILAH WHITE                          Donor Pass Thru(Co Mgt Fees)          2/23/2020               5,000.00
KELCY OZAKI                           Donor Egg Exp                           3/2/2020                330.00
KELCY OZAKI                           Donor Egg Exp                           4/9/2020                199.88
KELSA BROWN                           Donor Pass Thru(Co Mgt Fees)          2/23/2020               6,000.00
KENNETH WOFFORD                       Professional Fee- Anesthes.           2/26/2020               1,600.00
                                      Office Supplies & Non-Marketing
KENTWOOD SPRINGS                      Printing                              2/27/2020                188.64

KEY SURGICAL LLC                      Clinical/OR Supplies & Disposable      3/4/2020                  80.05
KHI MECHANICAL SERVICES               Facility Repairs & Maint.             2/28/2020                 332.50
KHI MECHANICAL SERVICES               Facility Repairs & Maint.             3/17/2020               5,556.88
KIA MOTORS FINANCE                    Auto Allowance                        2/20/2020                 224.04
KIA MOTORS FINANCE                    Auto Allowance                        3/20/2020                 224.04
KIM ALDRICH                           Other Outside Services                 3/3/2020                  45.00
KONICA MINOLTA                        Equipment Rental                      3/10/2020                  72.09
KONICA MINOLTA                        Equipment Rental                      3/10/2020                 349.61
KONICA MINOLTA                        Equipment Rental                      3/10/2020                 382.66
KONICA MINOLTA                        Equipment Rental                      3/10/2020                 493.79
KONICA MINOLTA                        Equipment Rental                      3/10/2020                 805.26
KONICA MINOLTA                        Equipment Rental                      3/10/2020               3,146.84
KONICA MINOLTA                        Equipment Rental                       4/9/2020                  72.09
KONICA MINOLTA                        Equipment Rental                       4/9/2020                 349.61
KONICA MINOLTA                        Equipment Rental                       4/9/2020                 382.66
KONICA MINOLTA                        Equipment Rental                       4/9/2020                 493.79
KONICA MINOLTA                        Equipment Rental                       4/9/2020                 805.26
KONICA MINOLTA                        Equipment Rental                       4/9/2020               3,146.84

KONICA MINOLTA BUS SOLUTIONS 2823     Equipment Rental                      2/29/2020                 28.89

KONICA MINOLTA BUS SOLUTIONS 2823     Equipment Rental                      2/29/2020                 31.57
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Creditor                               Reason for Payment              Date          Total paid

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  2/29/2020                  31.57

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  2/29/2020                  31.57

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  2/29/2020                 103.80

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  2/29/2020                 448.39

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  3/31/2020                  28.89

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  3/31/2020                  34.51

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  3/31/2020                  34.51

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  3/31/2020                  34.51

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  3/31/2020                 106.74

KONICA MINOLTA BUS SOLUTIONS 2823      Equipment Rental                  3/31/2020                  484.84
KONICA MINOLTA PREMIER FINANCE         Equipment Rental                  3/11/2020                  161.58
KRISTEN GLAVAC                         Donor Pass Thru(Co Mgt Fees)      2/21/2020                  300.00
KRISTEN GLAVAC                         Donor Pass Thru(Co Mgt Fees)      2/21/2020                  850.00
KRISTEN GLAVAC                         Donor Pass Thru(Co Mgt Fees)      2/21/2020                  850.00
KRISTEN GLAVAC                         Donor Pass Thru(Co Mgt Fees)      2/21/2020                5,000.00
KRISTI RODGERSON                       License & Fees                     4/9/2020                  731.00
KRUEGER-GILBERT HEALTH PHYSICS INC     Equip. Repairs & Maint.           2/29/2020                    6.50
KRUEGER-GILBERT HEALTH PHYSICS INC     Equip. Repairs & Maint.           2/29/2020                   19.50
KRUEGER-GILBERT HEALTH PHYSICS INC     Equip. Repairs & Maint.           2/29/2020                   36.00
KRUEGER-GILBERT HEALTH PHYSICS INC     Equip. Repairs & Maint.           2/29/2020                  149.17
KRUEGER-GILBERT HEALTH PHYSICS INC     Equip. Repairs & Maint.           2/29/2020                  335.63
KTVN                                   Advertising                       2/23/2020                3,000.00
KTVN                                   Advertising                       2/29/2020                1,650.00
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Creditor                       Reason for Payment                  Date         Total paid
KTVN                           Advertising                           3/26/2020                 630.00
KTVN                           Advertising                           3/29/2020               2,700.00
KTVN                           Advertising                           3/31/2020               1,650.00
KUGLER INC                     Facility Repairs & Maint.               3/2/2020                375.00
KW FUND V-CCE, LLC             Facility Repairs & Maint.               3/1/2020              3,968.52
KW FUND V-CCE, LLC             Rent Expense                            3/1/2020              9,335.25
KW FUND V-CCE, LLC             Facility Repairs & Maint.               4/1/2020              4,045.25
KW FUND V-CCE, LLC             Rent Expense                            4/1/2020              9,335.25
KWAN LAN LEE                   Professional Fee- Anesthes.           2/25/2020               3,470.00
KWAN LAN LEE                   Professional Fee- Anesthes.           3/31/2020               4,210.00
LA JOLLA DISCOUNT PHARMACY     Drug Expense                            3/6/2020                304.71
LA JOLLA DISCOUNT PHARMACY     Drug Expense                          3/18/2020                  32.45
LA JOLLA LOCK & SAFE           Other Outside Services                3/10/2020               1,505.36
LAB CORP                       Outside Lab Tests                     2/29/2020                  43.50
LAB CORP                       Outside Lab Tests                     2/29/2020                 100.00
LAB CORP                       Outside Lab Tests                     2/29/2020                 101.72
LAB CORP                       Outside Lab Tests                     2/29/2020                 386.13
LAB CORP                       Outside Lab Tests                     2/29/2020                 388.34
LAB CORP                       Outside Lab Tests                     2/29/2020                 775.07
LAB CORP                       Outside Lab Tests                     2/29/2020                 851.55
LAB CORP                       Outside Lab Tests                     2/29/2020               1,263.59
LAB CORP                       Outside Lab Tests                     2/29/2020               1,473.74
LAB CORP                       Outside Lab Tests                     2/29/2020               1,473.74

LAB CORP                       Clinical/OR Supplies & Disposable     2/29/2020               1,521.79
LAB CORP                       Outside Lab Tests                     2/29/2020               1,934.02
LAB CORP                       Outside Lab Tests                     2/29/2020               2,640.02
LAB CORP                       Outside Lab Tests                     2/29/2020               2,664.86
LAB CORP                       Outside Lab Tests                     2/29/2020               2,946.96

LAB CORP                       Clinical/OR Supplies & Disposable     2/29/2020               3,303.64
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Creditor                        Reason for Payment                  Date        Total paid
LAB CORP                        Outside Lab Tests                     2/29/2020               3,574.41
LAB CORP                        Outside Lab Tests                     2/29/2020               3,586.86
LAB CORP                        Outside Lab Tests                     2/29/2020               3,856.62
LAB CORP                        Outside Lab Tests                     2/29/2020               4,105.08

LAB CORP                        Clinical/OR Supplies & Disposable     2/29/2020               4,279.80

LAB CORP                        Clinical/OR Supplies & Disposable     2/29/2020               4,297.05
LAB CORP                        Outside Lab Tests                     2/29/2020               4,608.89
LAB CORP                        Outside Lab Tests                     2/29/2020               6,067.78
LAB CORP                        Outside Lab Tests                     2/29/2020               7,673.90
LAB CORP                        Outside Lab Tests                     2/29/2020               7,745.62
LAB CORP                        Outside Lab Tests                     2/29/2020               7,807.64
LAB CORP                        Outside Lab Tests                     2/29/2020               8,104.78
LAB CORP                        Outside Lab Tests                     2/29/2020              18,832.92
LAB CORP                        Outside Lab Tests                     2/29/2020              19,540.55
LAB CORP                        Outside Lab Tests                     2/29/2020              20,384.44
LAB CORP                        Outside Lab Tests                      3/1/2020               6,936.43
LAB CORP                        Outside Lab Tests                      3/1/2020              24,822.99
LAB CORP                        Outside Lab Tests                     3/10/2020               1,834.00
LAB CORP                        Outside Lab Tests                     3/10/2020              10,120.53
LAB CORP                        Outside Lab Tests                     3/29/2020               2,120.20
LAB DISPOSABLE PRODUCTS INC     Postage & Freight                     2/21/2020                 192.33

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable     2/21/2020                978.16

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable     2/21/2020               1,583.18
LAB DISPOSABLE PRODUCTS INC     Lab Supplies                          2/24/2020                 389.20

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable      3/2/2020                274.13

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable      3/2/2020               4,134.88
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Creditor                        Reason for Payment                  Date          Total paid

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable      3/4/2020                 192.33

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable      3/4/2020                 696.70
LAB DISPOSABLE PRODUCTS INC     Postage & Freight                      3/9/2020                 130.52

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable      3/9/2020                1,386.96

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable     3/11/2020                 219.99

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable     3/11/2020                 439.98
LAB DISPOSABLE PRODUCTS INC     Lab Supplies                          3/12/2020                 413.64
LAB DISPOSABLE PRODUCTS INC     Postage & Freight                     3/12/2020                 495.83

LAB DISPOSABLE PRODUCTS INC     Clinical/OR Supplies & Disposable     3/12/2020                3,752.69
LAB DISPOSABLE PRODUCTS INC     Lab Supplies                          3/16/2020                  566.44

LAB WISE                        Clinical/OR Supplies & Disposable     2/28/2020                 894.01

LAB WISE                        Clinical/OR Supplies & Disposable     3/10/2020                3,502.53
LABEL CITY INC.                 Postage & Freight                      3/6/2020                    5.99
                                Office Supplies & Non-Marketing
LABEL CITY INC.                 Printing                               3/6/2020                  41.67
LABEL CITY INC.                 Postage & Freight                      3/9/2020                   5.99
                                Office Supplies & Non-Marketing
LABEL CITY INC.                 Printing                               3/9/2020                 219.64

LABELS DIRECT INC               Clinical/OR Supplies & Disposable     2/26/2020                  85.00

LABELS DIRECT INC               Clinical/OR Supplies & Disposable      3/2/2020                  97.75

LABELS DIRECT INC               Clinical/OR Supplies & Disposable      3/9/2020                 160.00

LABELS DIRECT INC               Clinical/OR Supplies & Disposable     3/10/2020                  85.00
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Creditor                           Reason for Payment                  Date          Total paid

LABELS DIRECT INC                  Clinical/OR Supplies & Disposable     3/11/2020                  180.00

LABELS DIRECT INC                  Clinical/OR Supplies & Disposable     3/13/2020                   85.00

LABELVALUE.COM                     Clinical/OR Supplies & Disposable     3/20/2020                   455.81
LABORATOIRES CDL INC.              Other Outside Services                3/20/2020                 2,120.20
LACI SPENCER                       Donor Pass Thru(Co Mgt Fees)          2/25/2020                 5,000.00
LAKE ANESTHESIA ASSOC              Professional Fee- Anesthes.           2/29/2020                 5,120.00
LAKE ANESTHESIA ASSOC              Professional Fee- Anesthes.           2/29/2020                17,280.00
LAKE COUNTY PRESS, INC.            Postage & Freight                     2/21/2020                   889.97
LAKE COUNTY PRESS, INC.            Printing                              2/21/2020                 1,536.00
LAKE COUNTY PRESS, INC.            Printing                              2/21/2020                 2,177.00
                                   Office Supplies & Non-Marketing
LAKEYSHA CURLEY                    Printing                              2/27/2020                   64.16
LAND ROVER FINANCIAL GROUP C/O
CHASE                              Automobile Expense                    2/29/2020                 1,465.87
LAND ROVER FINANCIAL GROUP C/O
CHASE                              Automobile Expense                     3/9/2020                  546.20
LAND ROVER FINANCIAL GROUP C/O
CHASE                              Automobile Expense                    3/10/2020                  859.10
LAND ROVER FINANCIAL GROUP C/O
CHASE                              Automobile Expense                    3/16/2020                 1,465.87
LANGTREE OFFICE CENTER , LLC       Rent Expense                          2/23/2020                 9,720.85
LANGUAGE LINE SERVICES             Other Outside Services                2/29/2020                    51.75
LANGUAGE LINE SERVICES             Other Outside Services                2/29/2020                   100.04
LANGUAGE RESOURCE CENTER INC       Other Outside Services                2/24/2020                   428.00
LANK OIL COMPANY                   Other Outside Services                3/12/2020                   575.00
LARSON-MILLER INC.                 Medical Waste Disposal                2/21/2020                   218.16
LARSON-MILLER INC.                 Medical Waste Disposal                2/29/2020                    78.16
LARSON-MILLER INC.                 Medical Waste Disposal                2/29/2020                   218.16
LARSON-MILLER INC.                 Medical Waste Disposal                2/29/2020                   638.16
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Creditor               Reason for Payment                Date        Total paid
LARSON-MILLER INC.     Medical Waste Disposal              3/10/2020                345.42
LARSON-MILLER INC.     Medical Waste Disposal              3/27/2020                138.16
LARSON-MILLER INC.     Medical Waste Disposal              3/31/2020                 78.16
LARSON-MILLER INC.     Medical Waste Disposal              3/31/2020                183.16
LARSON-MILLER INC.     Medical Waste Disposal              3/31/2020                603.16
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                 44.92
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                 52.94
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                 58.06
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                 71.85
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                 74.52
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                 75.58
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                 77.18
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                 96.00
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                100.49
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                103.43
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                108.35
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                109.66
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                125.62
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                137.80
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                174.50
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                186.76
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                198.14
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                254.22
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                267.46
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                332.87
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                360.02
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                370.43
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                428.19
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020                517.43
LASER LINE INC         Equip. Repairs & Maint.             2/29/2020              1,014.57
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Creditor                          Reason for Payment                Date        Total paid
LASER LINE INC                    Equip. Repairs & Maint.             2/29/2020               1,095.73
LASHUNDRA ROBERSON & FREDRICK
ROBERSON                          Attain/Shared Risk Deposits         2/24/2020              10,700.00
LAUREN CROOKSTON                  T&E - Meals                         2/25/2020                  36.84
LAUREN CROOKSTON                  T&E - Meals                         3/16/2020                  54.65
LAURENCE SCHUERMANN               Lab Supplies                        3/20/2020                 252.81
LAURENCE SCHUERMANN               Lab Supplies                        3/30/2020                 777.51
LAWRENCE FRIEDMAN                 Consulting Fees                     2/27/2020              17,500.00
LAWRENCE FRIEDMAN                 T&E - Lodging                       2/29/2020               1,567.40
LAZ PARKING                       Parking Expense                     3/13/2020                 850.00
LAZ PARKING                       Parking Expense                     3/13/2020               2,675.00
LAZ PARKING LTD                   Parking Expense                     3/15/2020               2,550.00
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                  48.70
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                  97.12
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 105.33
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 105.33
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 105.33
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 105.33
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 105.33
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 105.33
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 105.33
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 105.33
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 189.14
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 229.17
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 241.10
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 368.50
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 368.50
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 368.50
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 368.50
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 368.50
LEAF CAPITAL FUNDING LLC          Equipment Rental                    2/29/2020                 368.50
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Creditor                     Reason for Payment                    Date        Total paid
LEAF CAPITAL FUNDING LLC     Equipment Rental                        2/29/2020                368.50
LEAF CAPITAL FUNDING LLC     Equipment Rental                        2/29/2020                368.50
LEAF CAPITAL FUNDING LLC     Equipment Rental                        2/29/2020                374.56
LEAF CAPITAL FUNDING LLC     Equipment Rental                        2/29/2020                374.56
LEAF CAPITAL FUNDING LLC     Equipment Rental                        2/29/2020                375.00
LEAF CAPITAL FUNDING LLC     Equipment Rental                        2/29/2020                375.00
LEAF CAPITAL FUNDING LLC     Equipment Rental                        2/29/2020                375.00
LEAF CAPITAL FUNDING LLC     Equipment Rental                        2/29/2020                375.00
LEE ANN DILORETO             Transcription Services                  3/12/2020              2,418.52
LEE ANN DILORETO             Transcription Services                  3/27/2020              2,278.77
LEGALEASE                    Accrued Benefit Liabilities             3/20/2020                 18.74
LEGALEASE                    Accrued Benefit Liabilities             3/20/2020                 18.74
LEGALEASE                    Accrued Benefit Liabilities             3/20/2020                 18.74
LEGALEASE                    Accrued Benefit Liabilities             3/20/2020                 18.74
LEGALEASE                    Accrued Benefit Liabilities             3/20/2020                 18.74
LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
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LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
LEGALEASE                    Medical Insurance                       3/20/2020                 18.74
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Creditor      Reason for Payment           Date        Total paid
LEGALEASE     Medical Insurance              3/20/2020                18.74
LEGALEASE     Medical Insurance              3/20/2020                18.74
LEGALEASE     Medical Insurance              3/20/2020                18.74
LEGALEASE     Medical Insurance              3/20/2020                18.74
LEGALEASE     Medical Insurance              3/20/2020                18.74
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LEGALEASE     Medical Insurance              3/20/2020                18.74
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LEGALEASE     Medical Insurance              3/20/2020                18.74
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LEGALEASE     Medical Insurance              3/20/2020                18.74
LEGALEASE     Medical Insurance              3/20/2020                18.74
LEGALEASE     Medical Insurance              3/20/2020                18.74
LEGALEASE     Medical Insurance              3/20/2020                18.74
LEGALEASE     Medical Insurance              3/20/2020                37.48
LEGALEASE     Medical Insurance              3/20/2020                37.48
LEGALEASE     Medical Insurance              3/20/2020                37.48
LEGALEASE     Medical Insurance              3/20/2020                37.48
LEGALEASE     Medical Insurance              3/20/2020                37.48
LEGALEASE     Medical Insurance              3/20/2020                37.48
LEGALEASE     Medical Insurance              3/20/2020                37.48
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Creditor      Reason for Payment           Date        Total paid
LEGALEASE     Medical Insurance              3/20/2020                37.48
LEGALEASE     Medical Insurance              3/20/2020                37.48
LEGALEASE                                   5/15/2020                18.74
LEGALEASE                                   5/15/2020                18.74
LEGALEASE                                   5/15/2020                18.74
LEGALEASE                                   5/15/2020                18.74
LEGALEASE                                   5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                37.48
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                37.48
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                37.48
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                37.48
LEGALEASE     Medical Insurance             5/15/2020                18.74
LEGALEASE     Medical Insurance             5/15/2020                18.74
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Creditor                           Reason for Payment                Date          Total paid
LEGALEASE                          Medical Insurance                  5/15/2020                    37.48
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
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LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    37.48
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    37.48
LEGALEASE                          Medical Insurance                  5/15/2020                    37.48
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEGALEASE                          Medical Insurance                  5/15/2020                    18.74
LEMAY MOBILE SHREDDING             Other Outside Services               3/1/2020                    82.80
LENDING CLUB PATIENT SOLUTIONS     Attain/Shared Risk Deposits          3/2/2020                10,522.95
LENDING CLUB PATIENT SOLUTIONS     Attain/Shared Risk Deposits         3/10/2020                28,637.80
LENDING CLUB PATIENT SOLUTIONS     Attain/Shared Risk Deposits         3/10/2020                32,097.40
LENDING CLUB PATIENT SOLUTIONS     Attain/Shared Risk Deposits         3/19/2020                 2,883.00
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Creditor                            Reason for Payment                    Date         Total paid
LENDING CLUB PATIENT SOLUTIONS      Attain/Shared Risk Deposits               4/9/2020              17,298.00
LENOVO FINANCIAL SERVICES           Equipment Rental                        3/10/2020                  254.96
LENOVO FINANCIAL SERVICES           License & Fees                          3/10/2020                  476.26
LENOVO FINANCIAL SERVICES           MIS Supplies - Cloud Services           3/10/2020                1,225.84
LENOVO FINANCIAL SERVICES           MIS Supplies - Cloud Services           3/10/2020                6,144.36
LESLEY SIMMONS                      Advertising                             2/27/2020                   15.61

                                    Employee Meetings/Educational
LESLEY SIMMONS                      Materials                               2/27/2020                 152.98
                                    Office Supplies & Non-Marketing
LESLEY SIMMONS                      Printing                                2/27/2020                 419.77
LESLEY SIMMONS                      Professional Development                2/27/2020                 536.31
LESLEY SIMMONS                      Laundry Services                         3/4/2020                  34.65

                                    Employee Meetings/Educational
LESLEY SIMMONS                      Materials                                 3/4/2020                 53.88
                                    Office Supplies & Non-Marketing
LESLEY SIMMONS                      Printing                                 3/4/2020                  339.20
LEXUS FINANCIAL                     Automobile Expense                       3/7/2020                   75.00
LEXUS FINANCIAL                     Automobile Expense                       3/7/2020                  884.95
LEXUS FINANCIAL                     Automobile Expense                       3/9/2020                1,009.30
LEXUS FINANCIAL                     Automobile Expense                      3/16/2020                  795.13
LIFE GAS                            Gases                                   2/22/2020                  591.48
LIFE GAS                            Gases                                   2/22/2020                  799.12
LIFE GAS                            Gases                                   2/28/2020                  822.43
LIFE GAS                            Gases                                    3/7/2020                  736.50
LIFE GAS                            Gases                                   3/14/2020                  736.50
LIFE GAS                            Gases                                   3/21/2020                1,070.87
LIFE GAS                            Gases                                   3/22/2020                  838.18
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  14.81
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  14.81
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AMERICA                             Medical Insurance                       3/10/2020                  14.81
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AMERICA                             Medical Insurance                       3/10/2020                  14.81
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AMERICA                             Medical Insurance                       3/10/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  15.68
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AMERICA                             Accrued Benefit Liabilities             3/10/2020                  15.68
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AMERICA                             Accrued Benefit Liabilities             3/10/2020                  15.68
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AMERICA                             Accrued Benefit Liabilities             3/10/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  15.68
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AMERICA                             Medical Insurance                       3/10/2020                  15.68
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AMERICA                             Medical Insurance                       3/10/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  15.68
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Creditor                            Reason for Payment           Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  15.68
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AMERICA                             Medical Insurance              3/10/2020                  15.68
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AMERICA                             Medical Insurance              3/10/2020                  15.68
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AMERICA                             Medical Insurance              3/10/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  15.68
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  15.68
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AMERICA                             Medical Insurance                       3/10/2020                  15.68
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AMERICA                             Medical Insurance                       3/10/2020                  15.68
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AMERICA                             Medical Insurance                       3/10/2020                  15.68
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AMERICA                             Medical Insurance                       3/10/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  22.87
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  22.87
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  22.87
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  25.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  26.02
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  26.24
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  26.24
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  26.24
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  26.24
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  30.36
                                  Case 20-11170-LSS      Doc 7    Filed 05/22/20        Page 193 of 358




Creditor                            Reason for Payment           Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  30.49
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AMERICA                             Medical Insurance              3/10/2020                  30.49
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  30.49
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  31.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  31.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  31.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  33.42
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AMERICA                             Medical Insurance              3/10/2020                  33.42
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AMERICA                             Medical Insurance              3/10/2020                  33.42
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AMERICA                             Medical Insurance              3/10/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  38.55
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              3/10/2020                  38.55
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  40.91
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  40.91
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  41.70
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  41.92
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  44.43
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  46.04
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  49.10
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  53.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  54.23
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  56.73
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  57.60
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  59.66
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  60.85
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  63.92
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  64.25
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  64.25
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  64.78
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  64.79
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  72.19
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  73.28
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  75.34
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             3/10/2020                  79.59
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                  87.12
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                 104.64
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                 113.08
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                 115.55
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       3/10/2020                 159.39
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  14.81
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AMERICA                             Medical Insurance                       4/15/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  14.81
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  14.81
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                  15.68
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AMERICA                             Accrued Benefit Liabilities             4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  15.68
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AMERICA                             Medical Insurance                       4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  15.68
                                  Case 20-11170-LSS      Doc 7    Filed 05/22/20        Page 197 of 358




Creditor                            Reason for Payment           Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
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AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance              4/15/2020                  15.68
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  22.87
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  22.87
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  22.87
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  25.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  26.02
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  26.02
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  26.24
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  26.24
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  26.24
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  30.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  30.49
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  30.49
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  30.49
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  31.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  31.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  31.36
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  33.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  38.55
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  38.55
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  40.91
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  40.91
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  41.70
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  41.92
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  41.92
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  41.92
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  44.43
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  46.04
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  49.10
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                  53.42
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  54.23
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                  56.51
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  56.73
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  57.60
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  59.66
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                  60.85
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  63.92
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  64.25
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  64.25
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  64.78
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  64.78
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  64.79
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Creditor                            Reason for Payment                    Date          Total paid
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                   75.34
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Accrued Benefit Liabilities             4/15/2020                   79.59
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                   87.12
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                   94.61
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  113.08
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                  115.55
LIFE INSURANCE COMPANY OF NORTH
AMERICA                             Medical Insurance                       4/15/2020                   130.88
LIFELINE BIOMEDICAL, INC.           Equip. Repairs & Maint.                 2/24/2020                 2,457.74
LIGHTNING BOLT SOLUTIONS, INC       Other Outside Services                  3/11/2020                   503.30
LILIA MAY JUAREZ AND JASON MAY      Attain/Shared Risk Deposits             3/19/2020                25,800.00
LILLIAN JOYCE                       Donor Pass Thru(Co Mgt Fees)            4/16/2020                 6,000.00
LINA                                Medical Insurance                       3/10/2020                    13.69
LINA                                Medical Insurance                       3/10/2020                    15.88
LINA                                Medical Insurance                       3/10/2020                    16.96
LINA                                Medical Insurance                       3/10/2020                    17.58
LINA                                Medical Insurance                       3/10/2020                    17.97
LINA                                Medical Insurance                       3/10/2020                    17.97
LINA                                Medical Insurance                       3/10/2020                    19.96
LINA                                Medical Insurance                       3/10/2020                    23.81
LINA                                Medical Insurance                       3/10/2020                    24.78
LINA                                Medical Insurance                       3/10/2020                    29.93
LINA                                Medical Insurance                       3/10/2020                    31.20
LINA                                Medical Insurance                       3/10/2020                    31.25
LINA                                Medical Insurance                       3/10/2020                    33.66
LINA                                Medical Insurance                       3/10/2020                    33.77
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              3/10/2020                34.21
LINA         Medical Insurance              3/10/2020                36.15
LINA         Medical Insurance              3/10/2020                36.17
LINA         Medical Insurance              3/10/2020                36.56
LINA         Medical Insurance              3/10/2020                37.18
LINA         Medical Insurance              3/10/2020                38.02
LINA         Medical Insurance              3/10/2020                38.86
LINA         Medical Insurance              3/10/2020                38.96
LINA         Medical Insurance              3/10/2020                39.08
LINA         Medical Insurance              3/10/2020                40.65
LINA         Medical Insurance              3/10/2020                40.80
LINA         Medical Insurance              3/10/2020                41.82
LINA         Medical Insurance              3/10/2020                46.49
LINA         Medical Insurance              3/10/2020                48.24
LINA         Medical Insurance              3/10/2020                50.29
LINA         Medical Insurance              3/10/2020                51.64
LINA         Medical Insurance              3/10/2020                51.66
LINA         Medical Insurance              3/10/2020                52.26
LINA         Medical Insurance              3/10/2020                53.20
LINA         Medical Insurance              3/10/2020                53.69
LINA         Medical Insurance              3/10/2020                54.30
LINA         Medical Insurance              3/10/2020                54.89
LINA         Medical Insurance              3/10/2020                55.00
LINA         Medical Insurance              3/10/2020                55.11
LINA         Medical Insurance              3/10/2020                55.74
LINA         Medical Insurance              3/10/2020                55.92
LINA         Medical Insurance              3/10/2020                56.77
LINA         Medical Insurance              3/10/2020                57.88
LINA         Medical Insurance              3/10/2020                58.00
LINA         Medical Insurance              3/10/2020                58.84
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              3/10/2020                58.86
LINA         Medical Insurance              3/10/2020                65.31
LINA         Medical Insurance              3/10/2020                65.96
LINA         Medical Insurance              3/10/2020                66.89
LINA         Medical Insurance              3/10/2020                70.42
LINA         Medical Insurance              3/10/2020                71.85
LINA         Medical Insurance              3/10/2020                73.25
LINA         Medical Insurance              3/10/2020                77.42
LINA         Medical Insurance              3/10/2020                80.09
LINA         Medical Insurance              3/10/2020                80.48
LINA         Medical Insurance              3/10/2020                80.84
LINA         Medical Insurance              3/10/2020                83.09
LINA         Medical Insurance              3/10/2020                83.38
LINA         Medical Insurance              3/10/2020                84.22
LINA         Medical Insurance              3/10/2020                84.46
LINA         Medical Insurance              3/10/2020                84.86
LINA         Medical Insurance              3/10/2020                86.98
LINA         Medical Insurance              3/10/2020                88.79
LINA         Medical Insurance              3/10/2020                89.84
LINA         Medical Insurance              3/10/2020                90.27
LINA         Medical Insurance              3/10/2020                92.95
LINA         Medical Insurance              3/10/2020                93.79
LINA         Medical Insurance              3/10/2020                98.21
LINA         Medical Insurance              3/10/2020                98.54
LINA         Medical Insurance              3/10/2020                99.95
LINA         Medical Insurance              3/10/2020               101.53
LINA         Medical Insurance              3/10/2020               102.50
LINA         Medical Insurance              3/10/2020               102.78
LINA         Medical Insurance              3/10/2020               104.20
LINA         Medical Insurance              3/10/2020               105.25
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              3/10/2020               106.33
LINA         Medical Insurance              3/10/2020               106.33
LINA         Medical Insurance              3/10/2020               106.73
LINA         Medical Insurance              3/10/2020               107.37
LINA         Medical Insurance              3/10/2020               111.74
LINA         Medical Insurance              3/10/2020               112.05
LINA         Medical Insurance              3/10/2020               112.87
LINA         Medical Insurance              3/10/2020               114.52
LINA         Medical Insurance              3/10/2020               114.70
LINA         Medical Insurance              3/10/2020               115.66
LINA         Medical Insurance              3/10/2020               118.65
LINA         Medical Insurance              3/10/2020               121.26
LINA         Medical Insurance              3/10/2020               122.40
LINA         Medical Insurance              3/10/2020               125.65
LINA         Medical Insurance              3/10/2020               127.36
LINA         Medical Insurance              3/10/2020               129.38
LINA         Medical Insurance              3/10/2020               132.06
LINA         Medical Insurance              3/10/2020               132.31
LINA         Medical Insurance              3/10/2020               132.96
LINA         Medical Insurance              3/10/2020               133.88
LINA         Medical Insurance              3/10/2020               137.95
LINA         Medical Insurance              3/10/2020               139.34
LINA         Medical Insurance              3/10/2020               140.22
LINA         Medical Insurance              3/10/2020               140.68
LINA         Medical Insurance              3/10/2020               147.92
LINA         Medical Insurance              3/10/2020               149.55
LINA         Medical Insurance              3/10/2020               153.70
LINA         Medical Insurance              3/10/2020               154.14
LINA         Medical Insurance              3/10/2020               155.48
LINA         Medical Insurance              3/10/2020               156.01
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              3/10/2020               156.53
LINA         Medical Insurance              3/10/2020               157.14
LINA         Medical Insurance              3/10/2020               157.20
LINA         Medical Insurance              3/10/2020               160.79
LINA         Medical Insurance              3/10/2020               164.92
LINA         Medical Insurance              3/10/2020               164.93
LINA         Medical Insurance              3/10/2020               172.25
LINA         Medical Insurance              3/10/2020               172.94
LINA         Medical Insurance              3/10/2020               177.76
LINA         Medical Insurance              3/10/2020               182.10
LINA         Medical Insurance              3/10/2020               182.23
LINA         Medical Insurance              3/10/2020               182.87
LINA         Medical Insurance              3/10/2020               183.56
LINA         Medical Insurance              3/10/2020               184.22
LINA         Medical Insurance              3/10/2020               185.50
LINA         Medical Insurance              3/10/2020               187.22
LINA         Medical Insurance              3/10/2020               190.20
LINA         Medical Insurance              3/10/2020               191.61
LINA         Medical Insurance              3/10/2020               197.23
LINA         Medical Insurance              3/10/2020               197.58
LINA         Medical Insurance              3/10/2020               204.12
LINA         Medical Insurance              3/10/2020               204.57
LINA         Medical Insurance              3/10/2020               206.23
LINA         Medical Insurance              3/10/2020               208.09
LINA         Medical Insurance              3/10/2020               217.02
LINA         Medical Insurance              3/10/2020               219.15
LINA         Medical Insurance              3/10/2020               229.03
LINA         Medical Insurance              3/10/2020               230.60
LINA         Medical Insurance              3/10/2020               230.69
LINA         Medical Insurance              3/10/2020               231.31
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              3/10/2020               232.86
LINA         Medical Insurance              3/10/2020               235.28
LINA         Medical Insurance              3/10/2020               242.41
LINA         Medical Insurance              3/10/2020               245.25
LINA         Medical Insurance              3/10/2020               249.48
LINA         Medical Insurance              3/10/2020               251.57
LINA         Medical Insurance              3/10/2020               256.45
LINA         Medical Insurance              3/10/2020               261.04
LINA         Medical Insurance              3/10/2020               266.75
LINA         Medical Insurance              3/10/2020               273.35
LINA         Medical Insurance              3/10/2020               276.72
LINA         Medical Insurance              3/10/2020               277.75
LINA         Medical Insurance              3/10/2020               280.23
LINA         Medical Insurance              3/10/2020               286.55
LINA         Medical Insurance              3/10/2020               293.07
LINA         Medical Insurance              3/10/2020               294.40
LINA         Medical Insurance              3/10/2020               305.15
LINA         Medical Insurance              3/10/2020               307.61
LINA         Medical Insurance              3/10/2020               325.59
LINA         Medical Insurance              3/10/2020               329.71
LINA         Medical Insurance              3/10/2020               330.06
LINA         Medical Insurance              3/10/2020               348.75
LINA         Medical Insurance              3/10/2020               350.83
LINA         Medical Insurance              3/10/2020               357.37
LINA         Medical Insurance              3/10/2020               369.10
LINA         Medical Insurance              3/10/2020               376.94
LINA         Medical Insurance              3/10/2020               380.19
LINA         Medical Insurance              3/10/2020               397.48
LINA         Medical Insurance              3/10/2020               405.02
LINA         Medical Insurance              3/10/2020               414.87
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              3/10/2020               419.26
LINA         Medical Insurance              3/10/2020               424.03
LINA         Medical Insurance              3/10/2020               426.47
LINA         Medical Insurance              3/10/2020               428.41
LINA         Medical Insurance              3/10/2020               434.94
LINA         Medical Insurance              3/10/2020               439.70
LINA         Medical Insurance              3/10/2020               440.33
LINA         Medical Insurance              3/10/2020               447.50
LINA         Medical Insurance              3/10/2020               449.66
LINA         Medical Insurance              3/10/2020               456.74
LINA         Medical Insurance              3/10/2020               458.07
LINA         Medical Insurance              3/10/2020               463.47
LINA         Medical Insurance              3/10/2020               469.57
LINA         Medical Insurance              3/10/2020               480.19
LINA         Medical Insurance              3/10/2020               526.48
LINA         Medical Insurance              3/10/2020               560.22
LINA         Medical Insurance              3/10/2020               599.92
LINA         Medical Insurance              3/10/2020               625.27
LINA         Medical Insurance              3/10/2020               631.00
LINA         Medical Insurance              3/10/2020               633.28
LINA         Medical Insurance              3/10/2020               644.87
LINA         Medical Insurance              3/10/2020               673.00
LINA         Medical Insurance              3/10/2020               708.76
LINA         Medical Insurance              3/10/2020               760.59
LINA         Medical Insurance              3/10/2020               796.23
LINA         Medical Insurance              3/10/2020               806.33
LINA         Medical Insurance              3/10/2020               811.50
LINA         Medical Insurance              3/10/2020               840.71
LINA         Medical Insurance              3/10/2020               850.00
LINA         Medical Insurance              3/10/2020               920.63
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              3/10/2020              1,341.66
LINA         Medical Insurance              3/10/2020              1,582.51
LINA         Medical Insurance              3/10/2020              1,838.09
LINA         Medical Insurance              3/10/2020              2,205.92
LINA         Medical Insurance              4/15/2020                 10.56
LINA         Medical Insurance              4/15/2020                 14.78
LINA         Medical Insurance              4/15/2020                 16.12
LINA         Medical Insurance              4/15/2020                 16.96
LINA         Medical Insurance              4/15/2020                 18.04
LINA         Medical Insurance              4/15/2020                 18.38
LINA         Medical Insurance              4/15/2020                 18.43
LINA         Medical Insurance              4/15/2020                 23.81
LINA         Medical Insurance              4/15/2020                 24.78
LINA         Medical Insurance              4/15/2020                 29.93
LINA         Medical Insurance              4/15/2020                 31.25
LINA         Medical Insurance              4/15/2020                 32.05
LINA         Medical Insurance              4/15/2020                 33.37
LINA         Medical Insurance              4/15/2020                 33.66
LINA         Medical Insurance              4/15/2020                 34.57
LINA         Medical Insurance              4/15/2020                 36.17
LINA         Medical Insurance              4/15/2020                 36.50
LINA         Medical Insurance              4/15/2020                 36.56
LINA         Medical Insurance              4/15/2020                 37.18
LINA         Medical Insurance              4/15/2020                 37.59
LINA         Medical Insurance              4/15/2020                 38.02
LINA         Medical Insurance              4/15/2020                 38.16
LINA         Medical Insurance              4/15/2020                 38.96
LINA         Medical Insurance              4/15/2020                 39.56
LINA         Medical Insurance              4/15/2020                 41.46
LINA         Medical Insurance              4/15/2020                 41.80
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              4/15/2020                44.19
LINA         Medical Insurance              4/15/2020                46.49
LINA         Medical Insurance              4/15/2020                48.33
LINA         Medical Insurance              4/15/2020                48.60
LINA         Medical Insurance              4/15/2020                49.30
LINA         Medical Insurance              4/15/2020                51.64
LINA         Medical Insurance              4/15/2020                52.56
LINA         Medical Insurance              4/15/2020                52.91
LINA         Medical Insurance              4/15/2020                53.69
LINA         Medical Insurance              4/15/2020                54.89
LINA         Medical Insurance              4/15/2020                55.00
LINA         Medical Insurance              4/15/2020                55.92
LINA         Medical Insurance              4/15/2020                55.99
LINA         Medical Insurance              4/15/2020                56.53
LINA         Medical Insurance              4/15/2020                56.77
LINA         Medical Insurance              4/15/2020                56.86
LINA         Medical Insurance              4/15/2020                57.53
LINA         Medical Insurance              4/15/2020                57.88
LINA         Medical Insurance              4/15/2020                58.00
LINA         Medical Insurance              4/15/2020                58.86
LINA         Medical Insurance              4/15/2020                59.40
LINA         Medical Insurance              4/15/2020                59.59
LINA         Medical Insurance              4/15/2020                60.94
LINA         Medical Insurance              4/15/2020                65.31
LINA         Medical Insurance              4/15/2020                66.20
LINA         Medical Insurance              4/15/2020                66.89
LINA         Medical Insurance              4/15/2020                66.90
LINA         Medical Insurance              4/15/2020                67.79
LINA         Medical Insurance              4/15/2020                70.42
LINA         Medical Insurance              4/15/2020                73.25
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              4/15/2020                74.34
LINA         Medical Insurance              4/15/2020                75.33
LINA         Medical Insurance              4/15/2020                77.42
LINA         Medical Insurance              4/15/2020                77.60
LINA         Medical Insurance              4/15/2020                81.82
LINA         Medical Insurance              4/15/2020                82.23
LINA         Medical Insurance              4/15/2020                83.09
LINA         Medical Insurance              4/15/2020                84.22
LINA         Medical Insurance              4/15/2020                84.46
LINA         Medical Insurance              4/15/2020                84.63
LINA         Medical Insurance              4/15/2020                86.12
LINA         Medical Insurance              4/15/2020                86.32
LINA         Medical Insurance              4/15/2020                86.45
LINA         Medical Insurance              4/15/2020                86.98
LINA         Medical Insurance              4/15/2020                88.07
LINA         Medical Insurance              4/15/2020                88.79
LINA         Medical Insurance              4/15/2020                91.60
LINA         Medical Insurance              4/15/2020                92.03
LINA         Medical Insurance              4/15/2020                92.62
LINA         Medical Insurance              4/15/2020                92.95
LINA         Medical Insurance              4/15/2020                94.49
LINA         Medical Insurance              4/15/2020                95.87
LINA         Medical Insurance              4/15/2020                96.51
LINA         Medical Insurance              4/15/2020                98.21
LINA         Medical Insurance              4/15/2020                98.64
LINA         Medical Insurance              4/15/2020               100.47
LINA         Medical Insurance              4/15/2020               101.98
LINA         Medical Insurance              4/15/2020               103.26
LINA         Medical Insurance              4/15/2020               103.81
LINA         Medical Insurance              4/15/2020               104.20
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              4/15/2020               105.73
LINA         Medical Insurance              4/15/2020               106.33
LINA         Medical Insurance              4/15/2020               106.33
LINA         Medical Insurance              4/15/2020               106.73
LINA         Medical Insurance              4/15/2020               107.76
LINA         Medical Insurance              4/15/2020               112.05
LINA         Medical Insurance              4/15/2020               112.63
LINA         Medical Insurance              4/15/2020               114.39
LINA         Medical Insurance              4/15/2020               114.52
LINA         Medical Insurance              4/15/2020               114.70
LINA         Medical Insurance              4/15/2020               115.66
LINA         Medical Insurance              4/15/2020               117.94
LINA         Medical Insurance              4/15/2020               119.00
LINA         Medical Insurance              4/15/2020               121.26
LINA         Medical Insurance              4/15/2020               122.40
LINA         Medical Insurance              4/15/2020               125.65
LINA         Medical Insurance              4/15/2020               129.38
LINA         Medical Insurance              4/15/2020               129.42
LINA         Medical Insurance              4/15/2020               129.43
LINA         Medical Insurance              4/15/2020               132.96
LINA         Medical Insurance              4/15/2020               133.87
LINA         Medical Insurance              4/15/2020               134.95
LINA         Medical Insurance              4/15/2020               137.95
LINA         Medical Insurance              4/15/2020               138.50
LINA         Medical Insurance              4/15/2020               140.68
LINA         Medical Insurance              4/15/2020               140.78
LINA         Medical Insurance              4/15/2020               141.79
LINA         Medical Insurance              4/15/2020               144.98
LINA         Medical Insurance              4/15/2020               147.92
LINA         Medical Insurance              4/15/2020               153.70
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              4/15/2020               154.14
LINA         Medical Insurance              4/15/2020               155.48
LINA         Medical Insurance              4/15/2020               157.94
LINA         Medical Insurance              4/15/2020               159.70
LINA         Medical Insurance              4/15/2020               160.32
LINA         Medical Insurance              4/15/2020               161.41
LINA         Medical Insurance              4/15/2020               161.46
LINA         Medical Insurance              4/15/2020               163.97
LINA         Medical Insurance              4/15/2020               166.13
LINA         Medical Insurance              4/15/2020               167.60
LINA         Medical Insurance              4/15/2020               168.07
LINA         Medical Insurance              4/15/2020               169.76
LINA         Medical Insurance              4/15/2020               172.94
LINA         Medical Insurance              4/15/2020               175.15
LINA         Medical Insurance              4/15/2020               181.57
LINA         Medical Insurance              4/15/2020               182.10
LINA         Medical Insurance              4/15/2020               184.22
LINA         Medical Insurance              4/15/2020               185.50
LINA         Medical Insurance              4/15/2020               186.30
LINA         Medical Insurance              4/15/2020               188.29
LINA         Medical Insurance              4/15/2020               188.31
LINA         Medical Insurance              4/15/2020               190.20
LINA         Medical Insurance              4/15/2020               191.61
LINA         Medical Insurance              4/15/2020               202.76
LINA         Medical Insurance              4/15/2020               204.12
LINA         Medical Insurance              4/15/2020               205.64
LINA         Medical Insurance              4/15/2020               215.06
LINA         Medical Insurance              4/15/2020               220.11
LINA         Medical Insurance              4/15/2020               223.29
LINA         Medical Insurance              4/15/2020               230.60
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              4/15/2020               230.69
LINA         Medical Insurance              4/15/2020               231.31
LINA         Medical Insurance              4/15/2020               232.86
LINA         Medical Insurance              4/15/2020               235.28
LINA         Medical Insurance              4/15/2020               235.54
LINA         Medical Insurance              4/15/2020               242.41
LINA         Medical Insurance              4/15/2020               248.32
LINA         Medical Insurance              4/15/2020               257.44
LINA         Medical Insurance              4/15/2020               261.04
LINA         Medical Insurance              4/15/2020               266.75
LINA         Medical Insurance              4/15/2020               274.19
LINA         Medical Insurance              4/15/2020               277.75
LINA         Medical Insurance              4/15/2020               280.23
LINA         Medical Insurance              4/15/2020               285.17
LINA         Medical Insurance              4/15/2020               286.55
LINA         Medical Insurance              4/15/2020               289.75
LINA         Medical Insurance              4/15/2020               299.14
LINA         Medical Insurance              4/15/2020               307.61
LINA         Medical Insurance              4/15/2020               307.89
LINA         Medical Insurance              4/15/2020               311.31
LINA         Medical Insurance              4/15/2020               315.23
LINA         Medical Insurance              4/15/2020               325.59
LINA         Medical Insurance              4/15/2020               329.71
LINA         Medical Insurance              4/15/2020               330.06
LINA         Medical Insurance              4/15/2020               350.95
LINA         Medical Insurance              4/15/2020               355.53
LINA         Medical Insurance              4/15/2020               355.72
LINA         Medical Insurance              4/15/2020               356.78
LINA         Medical Insurance              4/15/2020               357.37
LINA         Medical Insurance              4/15/2020               373.54
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              4/15/2020               387.93
LINA         Medical Insurance              4/15/2020               388.41
LINA         Medical Insurance              4/15/2020               397.48
LINA         Medical Insurance              4/15/2020               413.88
LINA         Medical Insurance              4/15/2020               426.41
LINA         Medical Insurance              4/15/2020               429.18
LINA         Medical Insurance              4/15/2020               437.71
LINA         Medical Insurance              4/15/2020               440.33
LINA         Medical Insurance              4/15/2020               441.47
LINA         Medical Insurance              4/15/2020               449.66
LINA         Medical Insurance              4/15/2020               455.51
LINA         Medical Insurance              4/15/2020               460.98
LINA         Medical Insurance              4/15/2020               476.57
LINA         Medical Insurance              4/15/2020               480.19
LINA         Medical Insurance              4/15/2020               495.52
LINA         Medical Insurance              4/15/2020               499.91
LINA         Medical Insurance              4/15/2020               525.72
LINA         Medical Insurance              4/15/2020               526.48
LINA         Medical Insurance              4/15/2020               532.70
LINA         Medical Insurance              4/15/2020               542.11
LINA         Medical Insurance              4/15/2020               575.26
LINA         Medical Insurance              4/15/2020               588.57
LINA         Medical Insurance              4/15/2020               593.02
LINA         Medical Insurance              4/15/2020               633.28
LINA         Medical Insurance              4/15/2020               656.21
LINA         Medical Insurance              4/15/2020               661.84
LINA         Medical Insurance              4/15/2020               673.00
LINA         Medical Insurance              4/15/2020               718.11
LINA         Medical Insurance              4/15/2020               738.73
LINA         Medical Insurance              4/15/2020               772.50
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Creditor     Reason for Payment           Date        Total paid
LINA         Medical Insurance              4/15/2020                879.38
LINA         Medical Insurance              4/15/2020                891.11
LINA         Medical Insurance              4/15/2020                920.63
LINA         Medical Insurance              4/15/2020              1,392.58
LINA         Medical Insurance              4/15/2020              1,849.61
LINA         Medical Insurance              4/15/2020              2,205.92
LINA         Medical Insurance             5/11/2020                52.56
LINA         Medical Insurance             5/11/2020                52.91
LINA         Medical Insurance             5/11/2020                86.12
LINA         Medical Insurance             5/11/2020               129.42
LINA         Medical Insurance             5/11/2020               129.43
LINA         Medical Insurance             5/11/2020               133.87
LINA         Medical Insurance             5/11/2020               160.32
LINA         Medical Insurance             5/11/2020               202.76
LINA         Medical Insurance             5/11/2020               223.29
LINA         Medical Insurance             5/11/2020               307.89
LINA         Medical Insurance             5/11/2020               361.73
LINA         Medical Insurance             5/11/2020               542.11
LINA         Medical Insurance             5/11/2020               575.26
LINA         Medical Insurance             5/11/2020               718.11
LINA         Medical Insurance             5/11/2020                38.02
LINA         Medical Insurance             5/11/2020                84.22
LINA         Medical Insurance             5/11/2020               132.96
LINA         Medical Insurance             5/11/2020               166.13
LINA         Medical Insurance             5/11/2020               235.28
LINA         Medical Insurance             5/11/2020               307.61
LINA         Medical Insurance             5/11/2020               105.73
LINA         Medical Insurance             5/11/2020                82.23
LINA         Medical Insurance             5/11/2020                85.30
LINA         Medical Insurance             5/11/2020               387.93
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Creditor     Reason for Payment           Date         Total paid
LINA         Medical Insurance             5/11/2020                 84.46
LINA         Medical Insurance             5/11/2020                  6.20
LINA         Medical Insurance             5/11/2020                114.70
LINA         Medical Insurance             5/11/2020                299.14
LINA         Medical Insurance             5/11/2020                 14.78
LINA         Medical Insurance             5/11/2020                 31.25
LINA         Medical Insurance             5/11/2020                 73.25
LINA         Medical Insurance             5/11/2020                 86.98
LINA         Medical Insurance             5/11/2020                111.74
LINA         Medical Insurance             5/11/2020                126.22
LINA         Medical Insurance             5/11/2020                129.38
LINA         Medical Insurance             5/11/2020                191.61
LINA         Medical Insurance             5/11/2020                316.59
LINA         Medical Insurance             5/11/2020                357.37
LINA         Medical Insurance             5/11/2020                446.47
LINA         Medical Insurance             5/11/2020                503.34
LINA         Medical Insurance             5/11/2020                633.28
LINA         Medical Insurance             5/11/2020                829.49
LINA         Medical Insurance             5/11/2020                 92.62
LINA         Medical Insurance             5/11/2020                184.03
LINA         Medical Insurance             5/11/2020                 41.46
LINA         Medical Insurance             5/11/2020                 48.60
LINA         Medical Insurance             5/11/2020                 56.86
LINA         Medical Insurance             5/11/2020                161.46
LINA         Medical Insurance             5/11/2020                188.31
LINA         Medical Insurance             5/11/2020                232.86
LINA         Medical Insurance             5/11/2020                311.31
LINA         Medical Insurance             5/11/2020                106.33
LINA         Medical Insurance             5/11/2020                107.76
LINA         Medical Insurance             5/11/2020                134.95
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Creditor     Reason for Payment           Date         Total paid
LINA         Medical Insurance             5/11/2020                181.57
LINA         Medical Insurance             5/11/2020                 84.63
LINA         Medical Insurance             5/11/2020                 24.78
LINA         Medical Insurance             5/11/2020                 55.92
LINA         Medical Insurance             5/11/2020                 77.42
LINA         Medical Insurance             5/11/2020                 66.89
LINA         Medical Insurance             5/11/2020                 67.79
LINA         Medical Insurance             5/11/2020                315.23
LINA         Medical Insurance             5/11/2020                593.75
LINA         Medical Insurance             5/11/2020                 36.17
LINA         Medical Insurance             5/11/2020                 34.57
LINA         Medical Insurance             5/11/2020                 61.31
LINA         Medical Insurance             5/11/2020                112.11
LINA         Medical Insurance             5/11/2020                151.41
LINA         Medical Insurance             5/11/2020                182.10
LINA         Medical Insurance             5/11/2020                347.05
LINA         Medical Insurance             5/11/2020                 37.59
LINA         Medical Insurance             5/11/2020                 55.99
LINA         Medical Insurance             5/11/2020                 70.42
LINA         Medical Insurance             5/11/2020                 74.34
LINA         Medical Insurance             5/11/2020                112.63
LINA         Medical Insurance             5/11/2020                186.30
LINA         Medical Insurance             5/11/2020                188.29
LINA         Medical Insurance             5/11/2020                205.64
LINA         Medical Insurance             5/11/2020                215.06
LINA         Medical Insurance             5/11/2020                 38.96
LINA         Medical Insurance             5/11/2020                 83.09
LINA         Medical Insurance             5/11/2020                 88.79
LINA         Medical Insurance             5/11/2020                144.98
LINA         Medical Insurance             5/11/2020                185.50
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Creditor     Reason for Payment           Date         Total paid
LINA         Medical Insurance             5/11/2020                 37.18
LINA         Medical Insurance             5/11/2020                 56.77
LINA         Medical Insurance             5/11/2020                137.95
LINA         Medical Insurance             5/11/2020                231.31
LINA         Medical Insurance             5/11/2020                329.71
LINA         Medical Insurance             5/11/2020                455.51
LINA         Medical Insurance             5/11/2020                 33.37
LINA         Medical Insurance             5/11/2020                 36.50
LINA         Medical Insurance             5/11/2020                 38.16
LINA         Medical Insurance             5/11/2020                 44.19
LINA         Medical Insurance             5/11/2020                 48.33
LINA         Medical Insurance             5/11/2020                 49.30
LINA         Medical Insurance             5/11/2020                 53.69
LINA         Medical Insurance             5/11/2020                 66.20
LINA         Medical Insurance             5/11/2020                 75.33
LINA         Medical Insurance             5/11/2020                 77.60
LINA         Medical Insurance             5/11/2020                 86.32
LINA         Medical Insurance             5/11/2020                 86.45
LINA         Medical Insurance             5/11/2020                 88.07
LINA         Medical Insurance             5/11/2020                 98.64
LINA         Medical Insurance             5/11/2020                101.98
LINA         Medical Insurance             5/11/2020                106.73
LINA         Medical Insurance             5/11/2020                113.33
LINA         Medical Insurance             5/11/2020                140.78
LINA         Medical Insurance             5/11/2020                159.70
LINA         Medical Insurance             5/11/2020                161.41
LINA         Medical Insurance             5/11/2020                168.07
LINA         Medical Insurance             5/11/2020                230.69
LINA         Medical Insurance             5/11/2020                286.55
LINA         Medical Insurance             5/11/2020                321.82
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Creditor     Reason for Payment           Date         Total paid
LINA         Medical Insurance             5/11/2020                330.06
LINA         Medical Insurance             5/11/2020                413.88
LINA         Medical Insurance             5/11/2020                486.57
LINA         Medical Insurance             5/11/2020                495.52
LINA         Medical Insurance             5/11/2020                656.21
LINA         Medical Insurance             5/11/2020                738.73
LINA         Medical Insurance             5/11/2020                 98.21
LINA         Medical Insurance             5/11/2020                112.05
LINA         Medical Insurance             5/11/2020                266.75
LINA         Medical Insurance             5/11/2020                397.48
LINA         Medical Insurance             5/11/2020                 16.96
LINA         Medical Insurance             5/11/2020                 36.56
LINA         Medical Insurance             5/11/2020                 57.88
LINA         Medical Insurance             5/11/2020                154.14
LINA         Medical Insurance             5/11/2020                 10.56
LINA         Medical Insurance             5/11/2020                 29.93
LINA         Medical Insurance             5/11/2020                 46.49
LINA         Medical Insurance             5/11/2020                 92.95
LINA         Medical Insurance             5/11/2020                242.41
LINA         Medical Insurance             5/11/2020                440.33
LINA         Medical Insurance             5/11/2020                 16.12
LINA         Medical Insurance             5/11/2020                 18.38
LINA         Medical Insurance             5/11/2020                 18.43
LINA         Medical Insurance             5/11/2020                 39.56
LINA         Medical Insurance             5/11/2020                 59.59
LINA         Medical Insurance             5/11/2020                 41.80
LINA         Medical Insurance             5/11/2020                 58.00
LINA         Medical Insurance             5/11/2020                 81.82
LINA         Medical Insurance             5/11/2020                157.94
LINA         Medical Insurance             5/11/2020                373.54
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Creditor     Reason for Payment           Date         Total paid
LINA         Medical Insurance             5/11/2020                380.27
LINA         Medical Insurance             5/11/2020                426.41
LINA         Medical Insurance             5/11/2020                  6.20
LINA         Medical Insurance             5/11/2020                 18.04
LINA         Medical Insurance             5/11/2020                 32.05
LINA         Medical Insurance             5/11/2020                163.97
LINA         Medical Insurance             5/11/2020                 51.64
LINA         Medical Insurance             5/11/2020                 59.40
LINA         Medical Insurance             5/11/2020                 79.64
LINA         Medical Insurance             5/11/2020                115.66
LINA         Medical Insurance             5/11/2020                125.65
LINA         Medical Insurance             5/11/2020                153.70
LINA         Medical Insurance             5/11/2020                155.48
LINA         Medical Insurance             5/11/2020                172.94
LINA         Medical Insurance             5/11/2020                184.22
LINA         Medical Insurance             5/11/2020                480.19
LINA         Medical Insurance             5/11/2020                526.48
LINA         Medical Insurance             5/11/2020                593.02
LINA         Medical Insurance             5/11/2020                920.63
LINA         Medical Insurance             5/11/2020                 58.86
LINA         Medical Insurance             5/11/2020                388.41
LINA         Medical Insurance             5/11/2020                 55.00
LINA         Medical Insurance             5/11/2020                 56.53
LINA         Medical Insurance             5/11/2020                 91.60
LINA         Medical Insurance             5/11/2020                 94.49
LINA         Medical Insurance             5/11/2020                169.76
LINA         Medical Insurance             5/11/2020                 33.66
LINA         Medical Insurance             5/11/2020                 54.89
LINA         Medical Insurance             5/11/2020                 66.90
LINA         Medical Insurance             5/11/2020                104.20
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Creditor     Reason for Payment           Date         Total paid
LINA         Medical Insurance             5/11/2020                  147.92
LINA         Medical Insurance             5/11/2020                  204.12
LINA         Medical Insurance             5/11/2020                  230.60
LINA         Medical Insurance             5/11/2020                  277.75
LINA         Medical Insurance             5/11/2020                  280.23
LINA         Medical Insurance             5/11/2020                  289.75
LINA         Medical Insurance             5/11/2020                  325.59
LINA         Medical Insurance             5/11/2020                  350.95
LINA         Medical Insurance             5/11/2020                  851.05
LINA         Medical Insurance             5/11/2020                1,363.61
LINA         Medical Insurance             5/11/2020                1,849.61
LINA         Medical Insurance             5/11/2020                2,205.92
LINA         Medical Insurance             5/11/2020                   23.81
LINA         Medical Insurance             5/11/2020                   95.87
LINA         Medical Insurance             5/11/2020                  106.33
LINA         Medical Insurance             5/11/2020                  261.04
LINA         Medical Insurance             5/11/2020                  661.84
LINA         Medical Insurance             5/11/2020                  691.48
LINA         Medical Insurance             5/11/2020                   65.31
LINA         Medical Insurance             5/11/2020                  107.51
LINA         Medical Insurance             5/11/2020                  119.00
LINA         Medical Insurance             5/11/2020                  121.26
LINA         Medical Insurance             5/11/2020                  122.40
LINA         Medical Insurance             5/11/2020                  140.68
LINA         Medical Insurance             5/11/2020                  186.15
LINA         Medical Insurance             5/11/2020                  429.18
LINA         Medical Insurance             5/11/2020                  437.71
LINA         Medical Insurance             5/11/2020                  449.66
LINA         Medical Insurance             5/11/2020                  499.91
LINA         Medical Insurance             5/11/2020                  612.18
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Creditor                              Reason for Payment                  Date          Total paid
LINA                                  Medical Insurance                    5/11/2020                    772.50
LINA                                  Medical Insurance                    5/11/2020                     57.53
LINA                                  Medical Insurance                    5/11/2020                    100.47
LINA                                  Medical Insurance                    5/11/2020                    103.26
LINA                                  Medical Insurance                    5/11/2020                    103.81
LINA                                  Medical Insurance                    5/11/2020                    141.79
LINA                                  Medical Insurance                    5/11/2020                    220.11
LINA                                  Medical Insurance                    5/11/2020                    248.32
LINA                                  Medical Insurance                    5/11/2020                    250.28
LINA                                  Medical Insurance                    5/11/2020                    285.17
LINA                                  Medical Insurance                    5/14/2020                 46,926.31

LINA MEDICAL US IINC                  Clinical/OR Supplies & Disposable      3/3/2020                  5,205.24
LINDSEY AND MARK JOHNSON              Attain/Shared Risk Deposits            3/5/2020                  9,124.00
LISA HARRINGTON                       Other Outside Services                 3/3/2020                    930.00
LOGOS PLUS BY LYNN INC                Printing                              3/23/2020                  1,391.13
LORI BONELLO                          Professional Fee- Anesthes.           3/19/2020                    800.00
LORI KRZESZEWSKI AND ERIK JAMES       Attain/Shared Risk Deposits            4/2/2020                 10,150.00
LORNE HOLLAND                         Consulting Fees                        3/2/2020                  1,500.00
LORNE HOLLAND                         Consulting Fees                        3/2/2020                  1,500.00
LOUIS N. WECKSTEIN                    Professional Fees - Procedural        3/15/2020                    500.00
LOUIS N. WECKSTEIN                    Professional Fees - Procedural        4/15/2020                    500.00
LOW COUNTRY TARGET MAILING            Printing                              3/24/2020                    297.97
LUCY WEBB HAYES NATIONAL TRAINING     Parking Expense                       3/15/2020                  1,368.00
LV SOLUTIONS INC                      Facility Repairs & Maint.             3/17/2020                    112.35
LV SOLUTIONS INC                      Facility Repairs & Maint.             3/20/2020                    600.00
LYNDA TRAN                            T&E - Meals                           2/28/2020                     33.99
M. Xiomara Hernandez Martin           Consulting Services                  3/27/2020                  5,051.00
M. Xiomara Hernandez Martin           Consulting Services                  3/27/2020                  5,051.00
M.D ROSA CLEANING                     Janitorial Service                    2/29/2020                  2,100.00
MADDEN, JONES,COLE & JOHNSON          Legal Fees                            3/13/2020                  3,213.00
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Creditor                            Reason for Payment                Date         Total paid
MADISON BACKUS                      Donor Pass Thru(Co Mgt Fees)        3/23/2020                5,000.00
MADISON J FIORATO                   Donor Pass Thru(Co Mgt Fees)        2/20/2020                  300.00
MADISON J FIORATO                   Donor Pass Thru(Co Mgt Fees)        2/20/2020                  850.00
MADISON J FIORATO                   Donor Pass Thru(Co Mgt Fees)        2/20/2020                  850.00
MADISON J FIORATO                   Donor Pass Thru(Co Mgt Fees)        2/20/2020                1,000.00
MADISON J FIORATO                   Donor Pass Thru(Co Mgt Fees)        2/20/2020                5,000.00
MADISON SEELEY                      T&E - Airfare                         3/3/2020                 370.39
MALECKI & BROOKS LAW GROUP ,LLC     Donor Pass Thru(Co Mgt Fees)          3/3/2020               1,275.00
MANDELL'S CLINIICAL PHARMACY        Drug Expense                          3/3/2020               3,028.62
MANDELL'S CLINIICAL PHARMACY        Drug Expense                          3/9/2020               2,451.83
MANDELL'S CLINIICAL PHARMACY        Drug Expense                        3/10/2020                4,039.63
MANDELL'S CLINIICAL PHARMACY        Drug Expense                        3/16/2020                2,563.27
MANDELL'S CLINIICAL PHARMACY        Drug Expense                        3/16/2020                2,565.92
MANDELL'S CLINIICAL PHARMACY        Drug Expense                        3/16/2020                2,605.83
MANDELL'S CLINIICAL PHARMACY        Drug Expense                        3/20/2020                3,177.83
MANN WEITZ AND ASSOCIATES, LLC      Consulting Fees                     3/31/2020                1,490.00
MANN WEITZ AND ASSOCIATES, LLC      Consulting Fees                     3/31/2020                9,925.00
Map Communications, Inc             Telephone - Answer Svc                3/1/2020                 565.77
MARGARET SMIRES AND THOMAS
MOLONEY                             Attain/Shared Risk Deposits         3/10/2020               34,000.00
MARIA LINA DIAZ                     Other Outside Services              2/28/2020                5,600.00
MARIA LINA DIAZ                     Other Outside Services              3/20/2020                4,000.00
                                    Office Supplies & Non-Marketing
MARISOL ORTIZ                       Printing                            3/15/2020                  25.85
                                    Office Supplies & Non-Marketing
MARISOL ORTIZ                       Printing                            3/15/2020                  25.85
                                    Office Supplies & Non-Marketing
MARISOL ORTIZ                       Printing                            3/15/2020                 103.41
                                    Office Supplies & Non-Marketing
MARISOL ORTIZ                       Printing                            3/15/2020                 103.41
MARJORIE HIDER                      Donor Pass Thru(Co Mgt Fees)        2/20/2020                 200.00
MARJORIE HIDER                      Donor Pass Thru(Co Mgt Fees)        2/28/2020                 200.00
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Creditor                             Reason for Payment                  Date        Total paid
MARJORIE HIDER                       Donor Pass Thru(Co Mgt Fees)          3/13/2020                200.00
MARJORIE HIDER                       Donor Pass Thru(Co Mgt Fees)          3/18/2020                200.00
MARK J. SHEPPARD                     Legal Fees                            2/28/2020                312.50

MARKETLAB INC                        Clinical/OR Supplies & Disposable     3/11/2020                121.52
                                     Office Supplies & Non-Marketing
MARLI AMIN, MD                       Printing                              2/24/2020                444.50
MARSHALLS LOCKSMITH                  Facility Repairs & Maint.             2/26/2020                426.80

MARTA CIRAUDO & FRANCISCO MENESES Attain/Shared Risk Deposits              2/24/2020              10,750.00
MARTIN, DECRUZE & COMPANY LLP     Accrued Audit/Tax                        2/29/2020               6,500.00

MARY COLEMAN ALLEN GFROERER          Professional Fee-Social Worker        2/24/2020                 500.00
MARY MABON                           Donor Egg Compensation/Insur          2/24/2020               4,500.00
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     2/21/2020                 249.89
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     2/21/2020                 279.18
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     2/21/2020                 299.14
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     2/21/2020                 321.72
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     2/21/2020                 407.69
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     2/21/2020               1,815.50
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     2/21/2020               1,860.81
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     3/23/2020                 249.89
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     3/23/2020                 279.18
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     3/23/2020                 299.14
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     3/23/2020                 321.72
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     3/23/2020                 407.69
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     3/23/2020               1,815.50
MASS MUTUAL LIFE INS. CO.            Medical Insurance                     3/23/2020               1,860.81
MATTHEW FORREST                      Other Outside Services                3/15/2020                  60.00
MAXIMUM PLUMBING , INC               Facility Repairs & Maint.              3/4/2020                 400.00
MAYSEE AND LEE HANG                  Attain/Shared Risk Reserve            3/10/2020              34,800.00
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Creditor                             Reason for Payment                  Date        Total paid
MAZDA CAPITAL SERVCES C/O CHASE      Automobile Expense                    3/16/2020                284.45
MCCAY, KIDDY & ASSOC. LLC            Consulting Fees                       3/11/2020              3,000.00
                                     Office Supplies & Non-Marketing
MCKESSON GENERAL MEDICAL CORP-GA     Printing                              2/20/2020                 1.35

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 4.14

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 5.49

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 5.50

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 8.94

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                11.74

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                22.49

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                22.66

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                25.14

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                26.01

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                26.53

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                31.46

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                47.40

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          2/20/2020                48.67

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                50.28

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                55.37
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MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                  66.49

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                  87.56

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                  88.78

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 101.61

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 102.79

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 105.21

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 113.57

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 132.14

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 168.21

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 211.31

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 243.18

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 615.46

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 797.42

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/20/2020                 895.57

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/21/2020                  54.53
                                     Office Supplies & Non-Marketing
MCKESSON GENERAL MEDICAL CORP-GA     Printing                              2/21/2020                  95.78

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/21/2020                 105.43
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/21/2020                 144.16

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/21/2020                 201.56

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/21/2020                 257.43

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/21/2020                 336.37

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/21/2020                 548.40

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          2/21/2020                 849.67

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/23/2020                  21.35

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/23/2020                  62.64

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          2/23/2020                  71.68

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/24/2020                  42.51

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/24/2020                  43.08

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/24/2020                  91.45

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/24/2020                 107.49

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/24/2020                 132.59

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/24/2020                 376.65

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/24/2020                 422.55

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/24/2020                1,805.04
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                   6.58

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                   7.46

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  12.72

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  30.40

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  31.80

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  39.93

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  52.52

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  63.91

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  70.36

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  74.22

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                  80.18

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 102.20

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 108.51

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 108.61

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 116.46

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 117.50

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 145.79
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 154.45

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 166.38

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 259.09

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 283.44

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 339.56

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 424.79

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          2/25/2020                 434.47

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 502.13

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 523.11

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 597.81

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 622.48

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 628.20

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 741.34

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 755.68

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/25/2020                 759.33

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                   1.25

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                   3.25
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                  15.16

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                  30.42

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                  83.58

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                 113.87

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                 298.34

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                 427.96

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                 785.65

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/26/2020                 900.15

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                   5.13

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                  15.11

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                  33.56

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                  39.04

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                  49.91

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                  65.10

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                  69.86

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                  77.36

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          2/27/2020                 133.20
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                 159.41

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                 340.95

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          2/27/2020                 352.50

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                 378.17

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                 403.95

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                 406.55

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/27/2020                 539.38

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          2/27/2020                 676.86

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/28/2020                   8.89

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/28/2020                  11.66

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/28/2020                  75.65

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/28/2020                  82.36

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/28/2020                  85.14

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/28/2020                 133.58

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/28/2020                 561.84

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     2/28/2020                 597.74

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/1/2020                   6.99
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                           3/1/2020                 194.05

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                   3.23

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                   7.12

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  10.72

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  11.52

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  23.16

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  26.88

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  27.16

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  27.91

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  29.38

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  32.07

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  36.87

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  40.41

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  48.28

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  49.91

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  51.58

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  51.58
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  59.82

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  67.12

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                  80.25

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 112.58

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 165.70

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 165.80

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 184.03

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 192.71

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 200.69

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 247.51

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 377.31

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 395.32

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 540.73

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                 547.19

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                1,352.03

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                1,526.14

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                2,568.38
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MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/2/2020                4,529.07

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                   7.64

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                  30.19

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                  38.12

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                  42.39

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                  76.98

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                  99.64

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                 142.02

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                 160.27

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                 162.56

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                 213.36

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                 299.52

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/3/2020                 350.61

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                   5.16

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                   8.49

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                  18.53

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                  49.91
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                  52.52

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                  76.77

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                  91.90

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                 110.80

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                 113.68

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                 178.29

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                 236.95

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                 350.80

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                 440.98

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                 780.13

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/4/2020                 791.97

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/5/2020                  41.00

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/5/2020                  41.52

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/5/2020                 198.00

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/5/2020                 662.48

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/5/2020                 790.99

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/6/2020                   8.93
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/6/2020                  44.35

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/6/2020                  90.04

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/6/2020                 107.67

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/6/2020                 111.64

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/6/2020                 162.99

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/6/2020                 185.43

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/6/2020                2,449.70

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/8/2020                  44.78

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/9/2020                  10.54

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/9/2020                  15.39

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable      3/9/2020                 199.09

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/10/2020                   5.80

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/10/2020                  27.57

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/10/2020                  45.84

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/10/2020                 238.40

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          3/11/2020                   7.80

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/11/2020                  57.48
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/12/2020                  11.94

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/12/2020                  19.43

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/12/2020                  32.66

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/12/2020                  41.41

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/12/2020                  58.37

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/12/2020                  63.65

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/12/2020                  65.17

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/12/2020                  69.60

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          3/12/2020                  71.68

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          3/12/2020                 165.42

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          3/12/2020                 470.00

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/16/2020                   7.64

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/16/2020                  11.72

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/16/2020                  19.10

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/16/2020                  28.16

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          3/16/2020                  54.53

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/16/2020                 183.36
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Creditor                             Reason for Payment                  Date          Total paid

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/16/2020                 235.69

MCKESSON GENERAL MEDICAL CORP-GA     Drug Expense                          3/16/2020                 562.28

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/16/2020                 827.77

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/17/2020                   5.85

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/17/2020                 108.16

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/17/2020                 324.49

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/18/2020                   5.89

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/18/2020                  16.63

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/18/2020                  51.64

MCKESSON GENERAL MEDICAL CORP-GA     Clinical/OR Supplies & Disposable     3/18/2020                  73.76

MCKESSON MEDICAL SURGICAL            Clinical/OR Supplies & Disposable     2/21/2020                 104.39

MCKESSON MEDICAL SURGICAL            Clinical/OR Supplies & Disposable     2/27/2020                 157.78

MCKESSON MEDICAL SURGICAL            Clinical/OR Supplies & Disposable     2/28/2020                9,491.39

MCKESSON MEDICAL SURGICAL            Clinical/OR Supplies & Disposable     2/29/2020                1,649.89

MCKESSON MEDICAL SURGICAL            Clinical/OR Supplies & Disposable     2/29/2020                3,551.73

MCKESSON MEDICAL SURGICAL            Clinical/OR Supplies & Disposable      3/2/2020                  38.56

MCKESSON MEDICAL SURGICAL            Clinical/OR Supplies & Disposable      3/2/2020                  87.58
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MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable      3/3/2020                  77.17

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable      3/9/2020                  45.85

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable      3/9/2020                  63.84

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable      3/9/2020                  72.09

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable      3/9/2020                1,021.75

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable     3/12/2020                  48.91

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable     3/17/2020                 277.11

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable     3/17/2020                 316.40

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable     3/18/2020                  32.13

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable     3/18/2020                  96.62

MCKESSON MEDICAL SURGICAL         Clinical/OR Supplies & Disposable     3/18/2020                 633.97

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/20/2020                 103.78

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/20/2020                 208.66

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/24/2020                  45.97

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/24/2020                 173.85

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/25/2020                  45.35

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/26/2020                  68.95
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Creditor                          Reason for Payment                  Date          Total paid

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/26/2020                 109.08

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/26/2020                 474.22

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/27/2020                3,889.41

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/28/2020                  85.18

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/28/2020                  86.16

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/28/2020                 175.47

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/28/2020                 208.21

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable     2/28/2020                1,746.66

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/1/2020                 153.20

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/2/2020                  65.12

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/2/2020                 269.20

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/2/2020                2,540.22

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/3/2020                  45.17

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/3/2020                  56.37

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/3/2020                  66.76

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/3/2020                 145.95

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/3/2020                 176.58
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Creditor                          Reason for Payment                  Date          Total paid

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/3/2020                  331.41

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/3/2020                 1,109.06

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/5/2020                   51.16

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/5/2020                  111.71

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/5/2020                  391.76

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/6/2020                  267.06

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/6/2020                  352.50

McKesson Medical Surgical Inc     Clinical/OR Supplies & Disposable      3/6/2020                   473.83
MCMASTER CONSULTING               Other Outside Services                2/21/2020                   988.80
MCMASTER CONSULTING               Other Outside Services                 3/2/2020                   173.81
MCMASTER CONSULTING               Other Outside Services                3/23/2020                   988.80
MDR ENCINO PHARMACY               Pass Thru Costs                       2/27/2020                    55.99
MDR ENCINO PHARMACY               Pass Thru Costs                       2/28/2020                   438.69
MDR ENCINO PHARMACY               Pass Thru Costs                       2/29/2020                   386.68
MDR ENCINO PHARMACY               Pass Thru Costs                        3/9/2020                    15.60
MDR ENCINO PHARMACY               Pass Thru Costs                        3/9/2020                   239.70
MDR ENCINO PHARMACY               Drug Expense                          3/12/2020                    69.80
MDR ENCINO PHARMACY               Pass Thru Costs                       3/16/2020                   292.70
Meadowcreek Management LLC        Rent Expense                          2/21/2020                16,873.17
Meadowcreek Management LLC        Rent Expense                          3/21/2020                16,873.17
MED WASTE MANAGEMENT LLC          Medical Waste Disposal                2/29/2020                   104.50
MED WASTE MANAGEMENT LLC          Medical Waste Disposal                2/29/2020                   448.00
MED WASTE MANAGEMENT LLC          Medical Waste Disposal                2/29/2020                   448.00
MED WASTE MANAGEMENT LLC          Medical Waste Disposal                2/29/2020                   802.98
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Creditor                              Reason for Payment                Date         Total paid
MED WASTE MANAGEMENT LLC              Medical Waste Disposal              3/31/2020                  448.00
MED WASTE MANAGEMENT LLC              Medical Waste Disposal              3/31/2020                  448.00
MEDCLEAN-CLINIC                       Laundry Services                    2/20/2020                  368.34
MEDCLEAN-CLINIC                       Laundry Services                    2/24/2020                  386.98
MEDCLEAN-CLINIC                       Laundry Services                    2/24/2020                  404.14
MEDCLEAN-CLINIC                       Laundry Services                    2/27/2020                  376.09
MEDCLEAN-CLINIC                       Laundry Services                      3/2/2020                 372.61
MEDCLEAN-CLINIC                       Laundry Services                      3/2/2020                 401.17
MEDCLEAN-CLINIC                       Laundry Services                      3/5/2020                 379.06
MEDCLEAN-CLINIC                       Laundry Services                      3/9/2020                 401.17
MEDCLEAN-CLINIC                       Laundry Services                      3/9/2020                 405.04
MEDCLEAN-CLINIC                       Laundry Services                    3/11/2020                  652.33
MEDCLEAN-CLINIC                       Laundry Services                    3/12/2020                  370.13
MEDCLEAN-CLINIC                       Laundry Services                    3/16/2020                  401.17
MEDCLEAN-CLINIC                       Laundry Services                    3/16/2020                  401.17
MEDCLEAN-CLINIC                       Laundry Services                    3/16/2020                  402.16
MEDCLEAN-CLINIC                       Laundry Services                    3/19/2020                  373.11
MED-ELECTRONICS, INC.                 Equip. Repairs & Maint.             2/21/2020                1,183.38
MED-ELECTRONICS, INC.                 Equip. Repairs & Maint.             2/27/2020                  235.00
MEDICAL ANESTHESIA CONSULTANTS
MEDICAL GROUP, INC                    Professional Fee- Anesthes.         2/29/2020               24,000.00
MEDICAL ANESTHESIA CONSULTANTS
MEDICAL GROUP, INC                    Professional Fee- Anesthes.         3/15/2020               24,000.00
MEDICAL ASSOCIATION OF THE STATE OF
ALABAMA                               Dues/Subscriptions                  2/21/2020                  90.00
MEDICAL ASSOCIATION OF THE STATE OF
ALABAMA                               Medical Insurance                   2/21/2020               61,789.00
MEDICAL ASSOCIATION OF THE STATE OF
ALABAMA                               Medical Insurance                   2/27/2020                2,093.00
MEDICAL ASSOCIATION OF THE STATE OF
ALABAMA                               Dues/Subscriptions                  3/20/2020                 150.00
MEDICAL BOARD OF CALIFORNIA           Rent Expense                         3/1/2020                 820.00
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Creditor                            Reason for Payment                  Date        Total paid
MEDICAL BOARD OF CALIFORNIA         Dues/Subscriptions                    3/10/2020               820.00
                                    Office Supplies & Non-Marketing
Medical City Dallas LLC             Printing                              2/26/2020                 14.00
Medical City Dallas LLC             Telephone Expense                     2/26/2020                323.44
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural        2/21/2020                377.60
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural        2/21/2020              1,200.00
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural        2/21/2020              2,794.17
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural        2/27/2020                975.00
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural        3/19/2020                375.00
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural        3/19/2020                975.00
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural        3/19/2020              1,200.00
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural         4/3/2020                306.80
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural         4/3/2020                306.80
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural         4/3/2020                306.80
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural         4/3/2020                975.00
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural         4/3/2020              1,200.00
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural         4/3/2020              1,275.00
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural         4/3/2020              4,074.40
MEDICAL COLLEGE OF WISCONSIN        Professional Fees - Procedural         4/3/2020              4,733.60
MEDICAL ELECTRONIC SYSTEMS, LLC     Postage & Freight                     2/24/2020                 25.00

MEDICAL ELECTRONIC SYSTEMS, LLC     Clinical/OR Supplies & Disposable     2/24/2020                411.08
MEDICAL INSTRUMENTATION REPAIR      Equip. Repairs & Maint.                3/7/2020                458.00
MEDICAL INSTRUMENTATION REPAIR      Equip. Repairs & Maint.                3/7/2020              1,589.50
MEDICAL OXYGEN SERVICES             Gases                                 2/24/2020                352.40
MEDICAL OXYGEN SERVICES             Gases                                 2/25/2020                377.04
MEDICAL OXYGEN SERVICES             Gases                                 2/27/2020                206.12

MEDICAL OXYGEN SERVICES             Clinical/OR Supplies & Disposable     2/29/2020               134.99

MEDICAL OXYGEN SERVICES             Clinical/OR Supplies & Disposable     2/29/2020               206.12
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Creditor                             Reason for Payment                  Date         Total paid
MEDICAL OXYGEN SERVICES              Gases                                 2/29/2020                 206.12
MEDICAL OXYGEN SERVICES              Gases                                 2/29/2020                 497.88
MEDICAL OXYGEN SERVICES              Gases                                 2/29/2020                 523.31
MEDICAL OXYGEN SERVICES              Gases                                 2/29/2020                 523.31
MEDICAL OXYGEN SERVICES              Gases                                 2/29/2020                 669.59
MEDICAL OXYGEN SERVICES              Gases                                   3/6/2020                377.04
MEDICAL OXYGEN SERVICES              Gases                                   3/6/2020                739.83
MEDICAL OXYGEN SERVICES              Gases                                 3/10/2020                 679.83
MEDICAL OXYGEN SERVICES              Gases                                 3/11/2020                 206.12
MEDICAL OXYGEN SERVICES              Gases                                 3/11/2020                 352.39
MEDICAL SOCIETY OF MOBILE COUNTY     Advertising                           2/21/2020               1,000.00
MEDICAL STAFF FUND - AIMMC           Dues/Subscriptions                    2/25/2020                 325.00
MEDICAL STAFFING NETWORK
HEALTHCARE                           Temporary Help                        3/15/2020                690.00
MEDICAL STAFFING NETWORK
HEALTHCARE                           Temporary Help                        3/22/2020                805.00

MEDICAL SYSTEMS GROUP INC            Clinical/OR Supplies & Disposable     2/27/2020                 404.40
MEDICLEANSE                          Laundry Services                      2/29/2020               4,121.61
MEDIX STAFFING SOLUTIONS             Temporary Help                        2/22/2020               1,338.95
MEDIX STAFFING SOLUTIONS             Temporary Help                        2/22/2020               2,816.83
MEDIX STAFFING SOLUTIONS             Temporary Help                        2/29/2020               1,338.95
MEDIX STAFFING SOLUTIONS             Temporary Help                        2/29/2020               2,720.04
MEDIX STAFFING SOLUTIONS             Temporary Help                         3/7/2020               1,338.95
MEDIX STAFFING SOLUTIONS             Temporary Help                         3/7/2020               2,884.72
MEDIX STAFFING SOLUTIONS             Temporary Help                        3/14/2020                 576.55
MEDIX STAFFING SOLUTIONS             Temporary Help                        3/14/2020               1,036.37
MEDIX STAFFING SOLUTIONS             Temporary Help                        3/14/2020               1,338.95
MEDIX STAFFING SOLUTIONS             Temporary Help                        3/14/2020               2,963.72
MEDLINE INDUSTRIES INC               Lab Supplies                          2/20/2020                  21.23
MEDLINE INDUSTRIES INC               Lab Supplies                          2/21/2020                 442.94
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MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable     2/22/2020                  491.65
MEDLINE INDUSTRIES INC              Lab Supplies                          2/29/2020                  247.30
MEDLINE INDUSTRIES INC              Lab Supplies                          2/29/2020                  274.55
MEDLINE INDUSTRIES INC              Lab Supplies                           3/1/2020                   26.25

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable      3/2/2020                  734.77

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable      3/4/2020                  538.23

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable      3/5/2020                   88.00
MEDLINE INDUSTRIES INC              Lab Supplies                           3/6/2020                  181.36

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable      3/9/2020                   84.10

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable      3/9/2020                  349.82

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable     3/10/2020                   48.21

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable     3/11/2020                   81.80
MEDLINE INDUSTRIES INC              Lab Supplies                          3/11/2020                   88.57

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable     3/12/2020                  800.49

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable     3/13/2020                   29.41

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable     3/13/2020                   56.68
MEDLINE INDUSTRIES INC              Lab Supplies                          3/13/2020                   73.96

MEDLINE INDUSTRIES INC              Clinical/OR Supplies & Disposable     3/17/2020                  170.91

MEDLINE INDUSTRIES, INC             Clinical/OR Supplies & Disposable      3/5/2020                 1,233.01
MedNetwoRx                          Internet                               3/5/2020                   308.69
MEDPRO RRG RISH RETENTION GROUP     Malpractice Insurance                  3/4/2020                46,557.00
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Creditor                         Reason for Payment                Date         Total paid
MEDTECH FOR SOLUTIONS, INC       Temporary Help                        3/2/2020              17,500.00
MEDTECH FOR SOLUTIONS, INC       Temporary Help                        4/6/2020              14,500.00
                                 Office Supplies & Non-Marketing
MEGAN JOHNSON                    Printing                            3/18/2020                  430.27
MEGAN JOHNSON                    Other Outside Services              3/18/2020                  570.00
MEIKE UHLER, MD                  Auto Allowance                      3/14/2020                1,000.00
MERCEDES- BENNZ CREDIT           Automobile Expense                   3/7/2020                1,050.37
MERCEDES- BENNZ CREDIT           Automobile Expense                   3/9/2020                2,096.75
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                    7.15
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                   35.88
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                   36.53
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                   46.67
MERCEDES TRANSCRIPTION, INC.     Other Outside Services               3/1/2020                   61.49
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  102.31
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  128.23
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  157.44
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  158.34
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  193.20
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  198.72
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  201.71
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  236.34
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  253.34
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  280.37
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  292.68
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  297.18
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  297.50
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  316.71
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  359.95
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  372.95
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  405.08
MERCEDES TRANSCRIPTION, INC.     Transcription Services               3/1/2020                  410.55
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Creditor                         Reason for Payment                Date         Total paid
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                543.01
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                647.91
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                701.87
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                709.67
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                724.84
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                726.31
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                755.78
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                761.53
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                765.67
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020                998.77
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020              2,036.31
MERCEDES TRANSCRIPTION, INC.     Transcription Services                3/1/2020              3,867.27
MGIS NC                          Medical Insurance                   2/25/2020               3,848.29
MGIS NC                          Medical Insurance                   3/24/2020               3,831.68
MGP ANESTHESIA SERVICES          Professional Fee- Anesthes.         2/29/2020               4,160.00
MGP ANESTHESIA SERVICES          Professional Fee- Anesthes.         3/30/2020               2,400.00
MICHAEL J SINISCALCHI PC         Professional Fee- Anesthes.         2/24/2020               1,600.00
MICHAEL SCHNEIDER,MD             Pass Thru Costs                     3/20/2020               6,800.00
MICHAELE E. FLYNN                Prof Fees - Acupuncture             2/29/2020               3,750.00
MICHAELE E. FLYNN                Prof Fees - Acupuncture             3/30/2020               2,500.00
                                 Office Supplies & Non-Marketing
MICHELLE MACFARLANE              Printing                            2/29/2020                 24.70
                                 Office Supplies & Non-Marketing
MICHELLE MACFARLANE              Printing                              3/4/2020                15.98

                                 Employee Meetings/Educational
MICHELLE MACFARLANE              Materials                           3/17/2020                 39.98
                                 Office Supplies & Non-Marketing
MICHELLE MACFARLANE              Printing                              4/6/2020                 5.33
                                 Office Supplies & Non-Marketing
MICHELLE MACFARLANE              Printing                            4/13/2020                 11.25
MICHELLE ROCA DESIGN             Printing                             3/4/2020                437.00
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Creditor                            Reason for Payment                  Date          Total paid
                                    Office Supplies & Non-Marketing
MICHELLE ROCA DESIGN                Printing                               3/4/2020                   721.00
MICHELLE ROCA DESIGN                Marketing Support Materials           3/30/2020                   527.00
MICHELLE ROSEN                      Telephone Expense                     2/28/2020                   100.00
MICHELLE ROSEN                      Parking Expense                       2/28/2020                   114.75
MICHELLE ROSEN                      Automobile Expense                    2/28/2020                   263.90
MICHELLE ROSEN                      Automobile Expense                    2/28/2020                   329.44
MICHELLE ROSEN                      Telephone Expense                     3/13/2020                   100.00
MICHELLE ROSEN                      Parking Expense                       3/13/2020                   187.30
MICHELLE ROSEN                      Automobile Expense                    3/13/2020                   284.78
MICHELLE SKOW AND JESSE SKOW        Attain/Shared Risk Deposits           2/24/2020                25,200.00
MICROSOFT                           Other Outside Services                 3/2/2020                    71.36
MICROSOFT                           Other Outside Services                 3/2/2020                 1,029.45
MICROSOFT                           Other Outside Services                 3/2/2020                 1,070.79
MICROSOFT                           Other Outside Services                 3/2/2020                 1,680.06
MIDWEST FERTILITY SPECIALIST        Professional Fees - Procedural        3/19/2020                 8,229.79
MIDWEST FERTILITY SPECIALIST        Professional Fees - Procedural        3/27/2020                 6,067.25
MIDWEST FERTILITY SPECIALIST        Professional Fees - Procedural        3/31/2020                 8,945.00
MIDWEST FERTILITY SPECIALIST        Professional Fees - Procedural        3/31/2020                10,245.00
MIDWEST FERTILITY SPECIALIST        Professional Fees - Procedural        3/31/2020                10,245.00
MIDWEST FERTILITY SPECIALIST        Professional Fees - Procedural        3/31/2020                10,245.00
MIDWEST FERTILITY SPECIALIST        Professional Fees - Procedural        4/10/2020                 8,175.20
MIDWEST FERTILITY SPECIALIST        Professional Fees - Procedural        4/10/2020                10,245.00
MIKE'S                              Equip. Repairs & Maint.               2/26/2020                   275.00
MIKE'S PHARMACY                     Drug Expense                          2/29/2020                    29.36
MILLBROOK PRINTING COMPANY, INC     Printing                              3/16/2020                   111.37

MILLENIUM SERVICES & SUPPLIES       Clinical/OR Supplies & Disposable     2/21/2020                  283.69

MILLENIUM SERVICES & SUPPLIES       Clinical/OR Supplies & Disposable     2/21/2020                 2,390.63
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Creditor                            Reason for Payment                  Date          Total paid

MILLENIUM SERVICES & SUPPLIES       Clinical/OR Supplies & Disposable     2/26/2020                  792.63

MILLENIUM SERVICES & SUPPLIES       Clinical/OR Supplies & Disposable      3/4/2020                  137.06

MILLENIUM SERVICES & SUPPLIES       Clinical/OR Supplies & Disposable      3/4/2020                   175.31
MILLICENTVIEW PROPERTIES LLC        Rent Expense                           3/4/2020                13,258.67
MILLICENTVIEW PROPERTIES LLC        Rent Expense                           4/1/2020                 7,232.00
MINDY FIERROS                       Janitorial Service                    2/20/2020                 1,700.00
MINDY FIERROS                       Janitorial Service                    3/20/2020                 1,700.00
MINT CONDITION                      Facility Repairs & Maint.              3/1/2020                 1,495.00
MINT CONDITION                      Facility Repairs & Maint.             3/11/2020                   184.69
                                    Office Supplies & Non-Marketing
MINUTEMAN PRESS                     Printing                               3/4/2020                  182.99
MINUTEMAN PRESS                     Advertising                            3/4/2020                  707.99
                                    Office Supplies & Non-Marketing
MINUTEMAN PRESS                     Printing                              3/13/2020                   37.54
                                    Office Supplies & Non-Marketing
MINUTEMAN PRESS                     Printing                              3/18/2020                   37.54
                                    Office Supplies & Non-Marketing
MINUTEMAN PRESS                     Printing                              3/24/2020                  932.00
                                    Office Supplies & Non-Marketing
MINUTEMAN PRESS                     Printing                              3/26/2020                    37.54
Miss Green Jeans Plant Care         Other Outside Services                 3/1/2020                    95.00
Miss Green Jeans Plant Care         Other Outside Services                3/31/2020                    95.00
MOBILE INFIRMARY MEDICAL CENTER     Rent Expense                          2/22/2020                 6,339.13
MOBILE INFIRMARY MEDICAL CENTER     Pass Thru Costs                       3/20/2020                   815.00
MODEL LINEN SUPPLY                  Laundry Services                      2/21/2020                    83.27
MODEL LINEN SUPPLY                  Laundry Services                      2/25/2020                    87.58
MODEL LINEN SUPPLY                  Laundry Services                      2/26/2020                    52.53
MODEL LINEN SUPPLY                  Laundry Services                      2/27/2020                    21.45
MODEL LINEN SUPPLY                  Laundry Services                      2/28/2020                    83.27
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MODEL LINEN SUPPLY                 Laundry Services                        3/3/2020                 87.58
MODEL LINEN SUPPLY                 Laundry Services                        3/6/2020                 88.25
MODEL LINEN SUPPLY                 Laundry Services                      3/10/2020                  92.81
MODEL LINEN SUPPLY                 Laundry Services                      3/11/2020                  37.45
MODEL LINEN SUPPLY                 Laundry Services                      3/12/2020                  21.45
MODEL LINEN SUPPLY                 Laundry Services                      3/13/2020                  88.25
MODEL LINEN SUPPLY                 Laundry Services                      3/17/2020                  92.81
MODEL LINEN SUPPLY                 Laundry Services                      3/20/2020                  88.25
MODEL LINEN SUPPLY                 Laundry Services                      3/24/2020                  92.81
MODEL LINEN SUPPLY                 Laundry Services                      3/26/2020                  21.45
MODEL LINEN SUPPLY                 Laundry Services                      3/26/2020                  52.53
MODEL LINEN SUPPLY                 Laundry Services                      3/27/2020                 103.57
MODEL LINEN SUPPLY                 Laundry Services                      3/30/2020                  43.69
                                   Office Supplies & Non-Marketing
MONAIR WIGGINS                     Printing                              3/14/2020                 148.82

MONARCH MEDICAL SUPPLIES           Clinical/OR Supplies & Disposable       3/9/2020                160.00

MONARCH MEDICAL SUPPLIES           Clinical/OR Supplies & Disposable       3/9/2020                 305.00
MOP UPS CLEANING SERVICES, INC     Janitorial Service                      3/1/2020               2,332.00
                                   Office Supplies & Non-Marketing
MORGAN HARRIS                      Printing                              3/19/2020                  227.42
MORNING CALM ANESTHESIA LLC        Professional Fee- Anesthes.           2/29/2020               20,080.00
MORNING CALM ANESTHESIA LLC        Professional Fee- Anesthes.           3/31/2020                1,600.00
MORNING CALM ANESTHESIA LLC        Professional Fee- Anesthes.           3/31/2020               14,280.00
MOUNT PLEASANT WATERWORKS          Utilities                              3/4/2020                   69.09
MOUNT PLEASANT WATERWORKS          Utilities                              3/4/2020                  249.09
MOUNT SINAI GENOMICS INC           Outside Lab Tests                     2/24/2020                  693.00
MOUNT SINAI GENOMICS INC           Pass Thru Costs                       2/26/2020                  495.00
MOUNT SINAI GENOMICS INC           Donor Egg Exp                         3/18/2020                  250.40
MOUNT SINAI GENOMICS INC           Outside Lab Tests                     3/18/2020                3,216.20
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Creditor                             Reason for Payment                  Date         Total paid
MOUNT SINAI GENOMICS INC             Outside Lab Tests                     3/25/2020                 198.00
MSRH, LLC                            Rent Operating Expense                2/20/2020               2,105.89
MSRH, LLC                            Real Estate Tax                       2/20/2020               2,461.56
MSRH, LLC                            Rent Expense                          2/20/2020               4,936.63
MUSTAFA KOLENOVIC                    Facility Repairs & Maint.               3/6/2020              8,020.00
MY PEDIATRICS & RESPIRATORY CARE
CLINIC                               Pass Thru Costs                       3/11/2020               1,050.00
MYLES GREENBERG                      License & Fees                        3/15/2020               1,250.00
MYLES GREENBERG                      License & Fees                        3/15/2020               1,250.00
MYLES GREENBERG                      License & Fees                        3/16/2020               1,250.00
MYLES GREENBERG                      License & Fees                        4/15/2020               1,250.00
MYLES GREENBERG                      License & Fees                        4/15/2020               1,250.00
MYLES GREENBERG                      License & Fees                        4/15/2020               1,250.00
MYLES GREENBERG                                                           5/15/2020                1,250.00
MYLES GREENBERG                                                           5/15/2020                1,250.00
MYLES GREENBERG                                                           5/15/2020                1,250.00
MYRIAD WOMEN'S HEALTH, INC.          Outside Lab Tests                     2/29/2020                 598.00
MYRIAD WOMEN'S HEALTH, INC.          Donor Egg Exp                         2/29/2020                 598.00
MYRIAD WOMEN'S HEALTH, INC.          Outside Lab Tests                     2/29/2020                 796.00
MYRIAD WOMEN'S HEALTH, INC.          Outside Embryology Fees               3/13/2020                 199.00
NAE'S CLEANING SERVICE               Janitorial Service                    2/28/2020                 640.00
NATALIE SHAW                         T&E - Meals                           2/26/2020                 164.15
NATERA, INC                          Outside Lab Tests                     2/24/2020                  99.00
NATERA, INC                          Outside Lab Tests                     2/27/2020                  99.00
NATERA, INC                          Outside Lab Tests                     2/28/2020                  99.00
NATERA, INC                          Outside Lab Tests                     2/29/2020                  99.00
NATIONAL EMBROIDERY & SCREEN
PRINTING                             Other Benefits                        2/24/2020                 134.04
NAVIGATE GENETIC COUNSELING, INC     Donor Egg Exp                          3/2/2020                  62.50
NEIMAN GROUP                         Other Outside Services                 3/2/2020               6,545.00
NEIMAN GROUP                         Other Outside Services                 3/6/2020                  90.86
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Creditor                                 Reason for Payment                  Date         Total paid
NEOFUNDS BY NEOPOST                      Postage & Freight                       3/3/2020                279.29
NESTLE WATERS NORTH AMERICA              Facility Repairs & Maint.             3/20/2020                  56.36

                                         Employee Meetings/Educational
NESTO'S PIZZA & DELI                     Materials                             2/25/2020                 169.96

                                         Employee Meetings/Educational
NESTO'S PIZZA & DELI                     Materials                             2/25/2020                 370.48

                                         Employee Meetings/Educational
NESTO'S PIZZA & DELI                     Materials                             2/26/2020                 135.00
Nevada Association of Employers          Professional Development               3/1/2020                  35.70
Nevada Association of Employers          Professional Development               3/1/2020                 210.00

Nevada Center For Reproductive Medicine Professional Fees - Procedural         2/21/2020                8,203.00

Nevada Center For Reproductive Medicine Professional Fees - Procedural         2/21/2020               10,096.00

Nevada Center For Reproductive Medicine Professional Fees - Procedural           3/6/2020               2,418.25

Nevada Center For Reproductive Medicine Professional Fees - Procedural           3/6/2020               2,524.00

Nevada Center For Reproductive Medicine Professional Fees - Procedural         3/13/2020                8,656.00

Nevada Center For Reproductive Medicine Professional Fees - Procedural         3/19/2020                4,922.50

Nevada Center For Reproductive Medicine Professional Fees - Procedural         3/27/2020                2,418.25
Nevada Linen Supply                     Laundry Services                        3/4/2020                  449.04
                                        Office Supplies & Non-Marketing
Nevada Rubber Stamp                     Printing                                4/9/2020                  35.73
NEW LIFE AGENCY INC.                    Donor Egg Exp                          2/25/2020                 240.00
NEW LIFE AGENCY INC.                    Donor Pass Thru(Co Mgt Fees)           2/27/2020                 280.00
NEW LIFE AGENCY INC.                    Donor Pass Thru(Co Mgt Fees)           2/27/2020                 280.00
NEW LIFE AGENCY INC.                    Donor Pass Thru(Co Mgt Fees)            3/9/2020                 280.00
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Creditor                            Reason for Payment              Date         Total paid
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)        3/9/2020                280.00
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)        3/9/2020                280.00
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)      3/12/2020                 240.00
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)      3/12/2020                 240.00
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)      3/12/2020                 240.00
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)      3/12/2020                 240.00
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)      3/12/2020                 240.00
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)      3/12/2020                 240.00
NEW LIFE AGENCY INC.                Donor Pass Thru(Co Mgt Fees)      3/12/2020                 240.00
NEW VITALITY CENTER FOR MEN LLC     Real Estate Tax                   2/25/2020                 221.40
NEW VITALITY CENTER FOR MEN LLC     Utilities                         2/25/2020                 400.00
NEW VITALITY CENTER FOR MEN LLC     Rent Expense                      2/25/2020               2,300.00
NEXAIR LLC                          Gases                             2/21/2020                 209.07
NEXAIR LLC                          Gases                             2/29/2020               1,150.88
NEXAIR LLC                          Gases                               3/4/2020                330.39
NEXAIR LLC                          Gases                               3/5/2020                209.07
NEXAIR, LLC                         Gases                             2/20/2020                 317.87
NEXAIR, LLC                         Gases                             2/25/2020                 207.90
NEXAIR, LLC                         Gases                             2/25/2020                 214.55
NEXAIR, LLC                         Gases                             2/26/2020                 214.77
NEXAIR, LLC                         Gases                             2/27/2020                 207.90
NEXAIR, LLC                         Gases                             2/29/2020                 164.14
NEXAIR, LLC                         Gases                             2/29/2020                 219.44
NEXAIR, LLC                         Gases                             2/29/2020                 432.58
NEXAIR, LLC                         Gases                             2/29/2020                 445.19
NEXAIR, LLC                         Gases                               3/2/2020                207.90
NEXAIR, LLC                         Gases                               3/2/2020                211.19
NEXAIR, LLC                         Gases                               3/5/2020                777.79
NEXAIR, LLC                         Gases                               3/9/2020                207.90
NEXAIR, LLC                         Gases                             3/12/2020                 188.20
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Creditor                   Reason for Payment           Date        Total paid
NEXAIR, LLC                Gases                          3/12/2020               207.90
NEXAIR, LLC                Gases                          3/12/2020               214.55
NEXAIR, LLC                Gases                          3/12/2020               294.96
NEXAIR, LLC                Gases                          3/13/2020               501.59
NEXAIR, LLC                Gases                          3/16/2020               223.68
NEXAIR, LLC                Gases                          3/16/2020               282.58
NEXAIR, LLC                Gases                          3/16/2020               799.83
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 0.55
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 0.55
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 1.17
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 1.65
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 1.65
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 3.30
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 3.52
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 3.85
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 4.95
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 4.95
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 5.28
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 6.60
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 7.70
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 7.70
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                 8.81
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                12.10
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                12.10
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                26.40
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                28.18
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                28.60
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                32.45
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                45.20
NEXGEN HEALTHCARE, INC     License & Fees                 3/15/2020                46.20
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Creditor                   Reason for Payment                  Date         Total paid
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                   54.68
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                   64.35
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  108.47
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  184.62
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  191.59
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  224.28
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  275.02
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  336.92
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  365.41
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  451.01
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  622.38
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  848.10
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                  878.28
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                1,132.92
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                1,224.94
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                1,247.78
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                1,276.93
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                1,300.47
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                1,701.66
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                3,840.87
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                8,850.00
NEXGEN HEALTHCARE, INC     License & Fees                        3/15/2020                8,850.28
NEXTGEN LIFELABS LLC       F/A - Medical Equipment                 3/2/2020              41,823.10

NEXTGEN LIFELABS LLC       Clinical/OR Supplies & Disposable      3/4/2020                  636.01
NEXTGEN LIFELABS LLC       Lab Supplies                           3/4/2020                2,392.45
NEXTGEN LIFELABS LLC       Accrued Other                          3/5/2020                  209.14
NEXTGEN LIFELABS LLC       Lab Supplies                           3/5/2020                1,347.87
NEXTGEN LIFELABS LLC       Accrued Other                          3/6/2020                  219.87
NEXTGEN LIFELABS LLC       Equipment Rental                      3/24/2020                  840.04
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Creditor                            Reason for Payment                  Date          Total paid

NEXTGEN LIFELABS LLC                Clinical/OR Supplies & Disposable     3/26/2020                  104.86
NGT CORP-COVERALL SERVICE           Janitorial Service                     3/1/2020                  646.60
NICOLE FROSOLONE                    Donor Pass Thru(Co Mgt Fees)          3/17/2020                   27.45
NICOLE FROSOLONE                    Donor Pass Thru(Co Mgt Fees)          3/17/2020                  300.00
NICOLE FROSOLONE                    Donor Pass Thru(Co Mgt Fees)          3/17/2020                  850.00
NICOLE FROSOLONE                    Donor Pass Thru(Co Mgt Fees)          3/17/2020                  850.00
NICOLE FROSOLONE                    Donor Pass Thru(Co Mgt Fees)          3/17/2020                5,000.00
NICOLE MACE                         Other Marketing Costs                 2/28/2020                  250.00
NICOLE NELSON                       Other Benefits                         3/4/2020                  128.74
Nimlok Limited Nimlok House         Technical Services                    3/5/2020                 6,110.13
Nimlok Limited Nimlok House         Technical Services                    3/5/2020                 6,110.13
NING-YEN YAO                        Professional Fee- Anesthes.           2/29/2020                  500.00
NING-YEN YAO                        Professional Fee- Anesthes.           2/29/2020                2,500.00

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/20/2020                   18.15

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/20/2020                   23.16

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/20/2020                   28.72

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/20/2020                  598.51

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/21/2020                   14.00

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/21/2020                   60.51

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/21/2020                2,056.88

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/22/2020                   19.19

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      2/24/2020                   14.26
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Creditor                            Reason for Payment           Date          Total paid

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/24/2020                  17.79

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/24/2020                  31.78

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/24/2020                  45.81

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/24/2020                  73.80

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/24/2020                  82.02

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/25/2020                  70.41

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/25/2020                 214.21

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/25/2020                 337.99

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/26/2020                  24.38

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/26/2020                  27.99

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/26/2020                 139.17

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/26/2020                 176.90

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/26/2020                 778.65

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/27/2020                  18.15

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/27/2020                  23.16

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/27/2020                  28.72

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/27/2020                 122.13
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Creditor                            Reason for Payment           Date          Total paid

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/27/2020                 751.48

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/28/2020                  14.00

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/28/2020                  60.51

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/28/2020                 264.87

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services               2/28/2020                 564.16

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/2/2020                  17.79

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/2/2020                  31.78

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/2/2020                  82.02

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/3/2020                  39.46

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/3/2020                  67.01

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/3/2020                 214.21

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/3/2020                 337.99

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/4/2020                  24.38

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/4/2020                  27.99

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/4/2020                 139.17

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/4/2020                 176.90

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                3/4/2020                 801.56
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Creditor                            Reason for Payment                 Date          Total paid

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      3/5/2020                   18.15

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      3/5/2020                   23.16

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      3/5/2020                   28.72

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      3/6/2020                  206.77

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      3/6/2020                  914.60

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      3/9/2020                   82.02

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                     3/10/2020                   15.00

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                     3/12/2020                   28.72

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      4/2/2020                   28.72

NIXON UNFIROM SVC. & MEDICAL WEAR   Laundry Services                      4/6/2020                    45.40
NIZZA SERRANO                       Professional Development              3/4/2020                    90.00
NON NOCERE, LLC                     Rent Expense                          3/1/2020                11,684.55
NON NOCERE, LLC                     Rent Expense                          4/1/2020                11,684.55
NORCO, INC                          Gases                                3/10/2020                 1,432.90
NORTH SHORE GAS                     Utilities                            3/18/2020                    80.40
NORTH SHORE GAS                     Utilities                             4/1/2020                   106.89

NORTHSHORE UNIVERSITY HEALTHSYSTEM Rent Expense                          2/20/2020                  270.00

NORTHSHORE UNIVERSITY HEALTHSYSTEM Rent Expense                          2/20/2020                 9,154.67

NORTHSHORE UNIVERSITY HEALTHSYSTEM Rent Expense                          2/20/2020                10,172.25

NORTHSHORE UNIVERSITY HEALTHSYSTEM Rent Expense                          3/20/2020                  270.00
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Creditor                             Reason for Payment                Date          Total paid

NORTHSHORE UNIVERSITY HEALTHSYSTEM Rent Expense                          3/20/2020                  270.00

NORTHSHORE UNIVERSITY HEALTHSYSTEM Rent Expense                          3/20/2020                 9,154.67

NORTHSHORE UNIVERSITY HEALTHSYSTEM Rent Expense                          3/20/2020                 9,154.67

NORTHSHORE UNIVERSITY HEALTHSYSTEM Rent Expense                          3/20/2020                10,172.25

NORTHSHORE UNIVERSITY HEALTHSYSTEM   Rent Expense                        3/20/2020                10,172.25
NORTHSIDE HOSPITAL INC               Rent Expense                        2/25/2020                 3,494.10
NORTHWEST BIOMEDICAL ASSOCIATES      Equip. Repairs & Maint.             3/19/2020                 1,705.00
NV Energy                            Utilities                           2/25/2020                    76.58
NV Energy                            Utilities                           2/25/2020                   318.88
NV Energy                            Utilities                            3/9/2020                   299.99
NV Energy                            Utilities                           3/30/2020                    75.40
NV Energy                            Utilities                           3/30/2020                   303.02
NV Energy                            Utilities                           3/30/2020                   343.38
NYRVA CADET                          Professional Fee- Anesthes.         2/29/2020                 2,400.00
NYRVA CADET                          Professional Fees - Procedural      3/23/2020                 2,400.00
O.C. TANNER COMPANY                  Other Outside Services              2/29/2020                    71.75
O.C. TANNER COMPANY                  Other Outside Services              2/29/2020                   161.48
O.C. TANNER COMPANY                  Other Outside Services              2/29/2020                   264.08
O.C. TANNER COMPANY                  Employee Recognition                2/29/2020                   391.89
OAK HILL TERRACE ASSOCIATES          Property and Liability Ins.         3/24/2020                    79.63
OAK HILL TERRACE ASSOCIATES          Facility Repairs & Maint.           3/24/2020                 1,129.26
OAK HILL TERRACE ASSOCIATES          Utilities                           3/24/2020                 1,223.41
OAK HILL TERRACE ASSOCIATES          Property Taxes                      3/24/2020                 4,257.10
OAK HILL TERRACE ASSOCIATES          Rent Expense                        3/24/2020                26,369.31
OAK HILL TERRACE ASSOCIATES          Property and Liability Ins.          4/1/2020                    79.63
OAK HILL TERRACE ASSOCIATES          Facility Repairs & Maint.            4/1/2020                 1,129.26
OAK HILL TERRACE ASSOCIATES          Utilities                            4/1/2020                 1,223.41
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Creditor                              Reason for Payment                Date         Total paid
OAK HILL TERRACE ASSOCIATES           Property Taxes                        4/1/2020               4,257.10
OAK HILL TERRACE ASSOCIATES           Rent Expense                          4/1/2020              26,369.31
OAKS LIMITED PARTNERSHIP              Rent Operating Expense              2/20/2020                  146.00
OAKS LIMITED PARTNERSHIP              Rent Operating Expense              2/20/2020                  150.00
OAKS LIMITED PARTNERSHIP              Rent Expense                        2/20/2020                3,821.03
OAKS LIMITED PARTNERSHIP              Rent Expense                        2/20/2020               10,601.82
OAKS LIMITED PARTNERSHIP              Rent Expense                        3/20/2020                  296.00
OC Tanner Recognition Company Ltd     Employee Services                  4/20/2020                  568.88
OC Tanner Recognition Company Ltd     Employee Services                  4/20/2020                  568.88
OCC PURCHASE LLC                      Rent Operating Expense              2/20/2020                  819.81
OCC PURCHASE LLC                      Real Estate Tax                     2/20/2020                  825.14
OCC PURCHASE LLC                      Rent Expense                        2/20/2020                1,312.50
OCC PURCHASE LLC                      Rent Expense                        2/20/2020               75,297.75
OCC PURCHASE LLC                      Janitorial Service                  2/24/2020                  879.73
OCC PURCHASE LLC                      Utilities                           2/24/2020                8,112.56
OCEAN DRUG, INC                       Donor Egg Exp                       2/26/2020                2,439.00
OCEAN DRUG, INC                       Drug Expense                        3/13/2020                1,130.81
OCP HOLDINGS, LLC                     Rent Expense                        2/20/2020                3,100.00
OCP HOLDINGS, LLC                     Rent Expense                        3/20/2020                3,100.00
OCTAGON MEDICAL SERVICES              Other Outside Services              2/29/2020                   71.75
OCTAGON MEDICAL SERVICES              Other Outside Services              2/29/2020                  264.08
OCTAGON MEDICAL SERVICES              Employee Recognition                2/29/2020                  391.89
OEC MEDICAL SYSTEMS, INC.             Rent/Lease - Medical Equip           3/6/2020                1,100.12
                                      Office Supplies & Non-Marketing
OFFICE DEPOT                          Printing                            2/21/2020                 307.38
                                      Office Supplies & Non-Marketing
OFFICE DEPOT                          Printing                            2/25/2020                1,223.34
                                      Office Supplies & Non-Marketing
OFFICE DEPOT                          Printing                            2/26/2020                 140.05
                                      Office Supplies & Non-Marketing
OFFICE DEPOT                          Printing                            2/29/2020                1,676.30
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Creditor         Reason for Payment                Date          Total paid
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                   3.23
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                  68.99
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                  69.97
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                  79.87
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                  92.63
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                  99.06
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 109.81
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 142.08
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 160.84
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 163.57
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 165.69
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 197.00
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 209.84
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 210.49
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 216.23
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 222.46
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 231.22
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Creditor         Reason for Payment                Date          Total paid
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 263.46
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 437.79
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 460.76
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 516.90
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 594.71
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 600.28
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 664.80
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 696.20
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 712.16
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 788.32
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 858.98
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 879.31
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 890.67
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                 971.58
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,000.77
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,020.71
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,093.90
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Creditor         Reason for Payment                Date          Total paid
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,260.09
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,393.08
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,393.77
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,512.89
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,650.34
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,831.13
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                1,849.81
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                2,302.19
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/1/2020                2,937.01
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/2/2020                  16.23
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/2/2020                 177.72
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/3/2020                 125.00
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                             3/5/2020                 158.26
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                            3/12/2020                 154.07
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                            3/13/2020                  18.21
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                            3/13/2020                  18.45
                 Office Supplies & Non-Marketing
OFFICE DEPOT     Printing                            3/13/2020                  54.10
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Creditor                       Reason for Payment                  Date          Total paid
                               Office Supplies & Non-Marketing
OFFICE DEPOT                   Printing                              3/13/2020                  65.46
                               Office Supplies & Non-Marketing
OFFICE DEPOT                   Printing                              3/13/2020                 183.54
                               Office Supplies & Non-Marketing
OFFICE DEPOT                   Printing                              3/31/2020                  756.15
OFFICE ENVIORNMENT COMPANY     Facility Repairs & Maint.             2/28/2020                2,190.00
OFFICE PRIDE                   Janitorial Service                     3/1/2020                  799.00
Olivia Ashley Shen             Donor Egg Compensation/Insur          2/28/2020                5,500.00

OLYMPUS AMERIC A INC           Clinical/OR Supplies & Disposable     2/25/2020                1,155.76
OLYMPUS AMERIC A INC           Equip. Repairs & Maint.                3/9/2020                7,996.96
ON HOLD CONCEPTS               Other Outside Services                 3/1/2020                   24.95
ON HOLD MARKETING              Other Outside Services                 3/1/2020                  354.00
ON HOLD MARKETING              Other Outside Services                 3/1/2020                  354.00
                               Office Supplies & Non-Marketing
ONLINE LABELS, INC.            Printing                               3/5/2020                  383.20
ONPAGE CORPORATION             License & Fees                         3/1/2020                3,810.69
ONTRAC                         Courier Fees                          2/22/2020                  227.85
ONTRAC                         Courier Fees                          2/29/2020                  182.28
ONTRAC                         Courier Fees                           3/7/2020                  227.25
ONTRAC                         Courier Fees                          3/14/2020                  212.70
ONTRAC                         Courier Fees                          3/21/2020                   87.60
ONTRAC                         Courier Fees                          3/28/2020                   27.00
ORANGE COMMERCIAL CREDIT       Lab Supplies                          2/27/2020                1,481.50
ORANGE COMMERCIAL CREDIT       Lab Supplies                          3/20/2020                2,906.75

ORIGIO                         Clinical/OR Supplies & Disposable     2/20/2020                 174.06

ORIGIO                         Clinical/OR Supplies & Disposable     2/20/2020                9,706.39

ORIGIO                         Clinical/OR Supplies & Disposable     2/21/2020                 292.76
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Creditor     Reason for Payment                  Date          Total paid

ORIGIO       Clinical/OR Supplies & Disposable     2/21/2020                 1,258.81
ORIGIO       Lab Supplies                          2/21/2020                 1,868.24

ORIGIO       Clinical/OR Supplies & Disposable     2/24/2020                  110.00

ORIGIO       Clinical/OR Supplies & Disposable     2/24/2020                  299.00

ORIGIO       Clinical/OR Supplies & Disposable     2/24/2020                  802.37

ORIGIO       Clinical/OR Supplies & Disposable     2/24/2020                  850.26

ORIGIO       Clinical/OR Supplies & Disposable     2/24/2020                   896.80
ORIGIO       Accrued Other                         2/24/2020                 1,320.12
ORIGIO       Media                                 2/24/2020                 1,326.02

ORIGIO       Clinical/OR Supplies & Disposable     2/24/2020                 1,812.43
ORIGIO       Accrued Other                         2/24/2020                 4,875.82
ORIGIO       Accrued Other                         2/24/2020                 5,056.54
ORIGIO       Media                                 2/24/2020                 6,570.39
ORIGIO       Media                                 2/24/2020                 7,747.85

ORIGIO       Clinical/OR Supplies & Disposable     2/24/2020                12,837.91

ORIGIO       Clinical/OR Supplies & Disposable     2/24/2020                26,149.31

ORIGIO       Clinical/OR Supplies & Disposable     2/25/2020                   82.92

ORIGIO       Clinical/OR Supplies & Disposable     2/25/2020                  209.60

ORIGIO       Clinical/OR Supplies & Disposable     2/25/2020                  248.55

ORIGIO       Clinical/OR Supplies & Disposable     2/25/2020                   780.21
ORIGIO       Media                                 2/25/2020                35,763.33
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Creditor     Reason for Payment                  Date          Total paid

ORIGIO       Clinical/OR Supplies & Disposable     2/26/2020                  652.27
ORIGIO       Media                                 2/26/2020                  673.30

ORIGIO       Clinical/OR Supplies & Disposable     2/26/2020                   675.47
ORIGIO       Lab Supplies                          2/26/2020                11,057.40

ORIGIO       Clinical/OR Supplies & Disposable     2/27/2020                   564.60
ORIGIO       Lab Supplies                          2/27/2020                 1,259.19

ORIGIO       Clinical/OR Supplies & Disposable     2/27/2020                 5,964.50

ORIGIO       Clinical/OR Supplies & Disposable     2/28/2020                   57.17

ORIGIO       Clinical/OR Supplies & Disposable     2/28/2020                  112.94

ORIGIO       Clinical/OR Supplies & Disposable     2/28/2020                  112.94

ORIGIO       Clinical/OR Supplies & Disposable     2/28/2020                  112.94

ORIGIO       Clinical/OR Supplies & Disposable     2/28/2020                  338.60

ORIGIO       Clinical/OR Supplies & Disposable     2/28/2020                  563.65

ORIGIO       Clinical/OR Supplies & Disposable     2/28/2020                 1,643.98

ORIGIO       Clinical/OR Supplies & Disposable     2/28/2020                 1,987.13

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                   61.45
ORIGIO       Media                                  3/2/2020                  512.97

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                  538.38

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                  593.57
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Creditor     Reason for Payment                  Date          Total paid

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                 763.20

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                  927.42
ORIGIO       Lab Supplies                           3/2/2020                1,408.13

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                1,579.30

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                1,738.84

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                1,836.93

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                2,026.79
ORIGIO       Lab Supplies                           3/2/2020                2,049.12

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                2,359.48

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                2,955.56
ORIGIO       Lab Supplies                           3/2/2020                3,543.86

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                3,974.71

ORIGIO       Clinical/OR Supplies & Disposable      3/2/2020                5,118.94
ORIGIO       Gases                                  3/2/2020                6,005.67
ORIGIO       Media                                  3/2/2020                9,048.70

ORIGIO       Clinical/OR Supplies & Disposable      3/3/2020                 539.17

ORIGIO       Clinical/OR Supplies & Disposable      3/3/2020                2,428.45

ORIGIO       Clinical/OR Supplies & Disposable      3/4/2020                 612.97

ORIGIO       Clinical/OR Supplies & Disposable      3/4/2020                1,308.55
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Creditor     Reason for Payment                  Date          Total paid

ORIGIO       Clinical/OR Supplies & Disposable      3/4/2020                1,495.54

ORIGIO       Clinical/OR Supplies & Disposable      3/4/2020                1,545.68
ORIGIO       Accrued Other                          3/4/2020                1,628.73

ORIGIO       Clinical/OR Supplies & Disposable      3/4/2020                2,028.33

ORIGIO       Clinical/OR Supplies & Disposable      3/4/2020                3,309.87

ORIGIO       Clinical/OR Supplies & Disposable      3/5/2020                 119.59

ORIGIO       Clinical/OR Supplies & Disposable      3/6/2020                 481.18

ORIGIO       Clinical/OR Supplies & Disposable      3/6/2020                 481.18

ORIGIO       Clinical/OR Supplies & Disposable      3/9/2020                 513.46

ORIGIO       Clinical/OR Supplies & Disposable      3/9/2020                 630.42

ORIGIO       Clinical/OR Supplies & Disposable      3/9/2020                  973.26
ORIGIO       Media                                  3/9/2020                1,724.54

ORIGIO       Clinical/OR Supplies & Disposable      3/9/2020                2,310.47
ORIGIO       Media                                  3/9/2020                2,852.70

ORIGIO       Clinical/OR Supplies & Disposable     3/10/2020                  42.90

ORIGIO       Clinical/OR Supplies & Disposable     3/10/2020                 125.73

ORIGIO       Clinical/OR Supplies & Disposable     3/10/2020                 134.68
ORIGIO       Media                                 3/10/2020                 155.35
ORIGIO       Media                                 3/10/2020                 156.11
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Creditor                        Reason for Payment                  Date          Total paid

ORIGIO                          Clinical/OR Supplies & Disposable     3/10/2020                 163.16

ORIGIO                          Clinical/OR Supplies & Disposable     3/10/2020                 177.27

ORIGIO                          Clinical/OR Supplies & Disposable     3/10/2020                 291.36

ORIGIO                          Clinical/OR Supplies & Disposable     3/10/2020                 340.13
ORIGIO                          Accrued Other                         3/10/2020                 455.16

ORIGIO                          Clinical/OR Supplies & Disposable     3/10/2020                  520.97
ORIGIO                          Media                                 3/10/2020                1,261.08
ORIGIO                          Media                                 3/10/2020                1,954.09
ORIGIO                          Accrued Other                         3/10/2020                2,145.72

ORIGIO                          Clinical/OR Supplies & Disposable     3/10/2020                2,388.11

ORIGIO                          Clinical/OR Supplies & Disposable     3/10/2020                6,002.92

ORIGIO                          Clinical/OR Supplies & Disposable     3/11/2020                 355.01

ORIGIO                          Clinical/OR Supplies & Disposable     3/11/2020                1,539.73

ORIGIO                          Clinical/OR Supplies & Disposable     3/12/2020                 302.87

ORIGIO                          Clinical/OR Supplies & Disposable     3/12/2020                 389.63

ORIGIO                          Clinical/OR Supplies & Disposable     3/12/2020                3,781.46
ORIGIO                          Lab Supplies                          3/30/2020                1,898.66
OU PHYSICIANS REP. MEDICINE
(OKLAHOMA)                      Professional Fees - Procedural        2/21/2020                4,790.00
OU PHYSICIANS REP. MEDICINE
(OKLAHOMA)                      Professional Fees - Procedural        2/21/2020                7,664.00
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Creditor                         Reason for Payment                  Date          Total paid
OU PHYSICIANS REP. MEDICINE
(OKLAHOMA)                       Professional Fees - Procedural        2/27/2020                2,749.75
OU PHYSICIANS REP. MEDICINE
(OKLAHOMA)                       Professional Fees - Procedural        2/27/2020                5,456.00
OU PHYSICIANS REP. MEDICINE
(OKLAHOMA)                       Professional Fees - Procedural        2/27/2020                8,143.00
OU PHYSICIANS REP. MEDICINE
(OKLAHOMA)                       Professional Fees - Procedural         3/6/2020                2,102.75
OU PHYSICIANS REP. MEDICINE
(OKLAHOMA)                       Professional Fees - Procedural         3/6/2020                3,396.75
OU PHYSICIANS REP. MEDICINE
(OKLAHOMA)                       Professional Fees - Procedural        3/13/2020                2,588.00

OWENS & MINOR                    Clinical/OR Supplies & Disposable     2/20/2020                  60.00

OWENS & MINOR                    Clinical/OR Supplies & Disposable     2/25/2020                 126.84

OWENS & MINOR                    Clinical/OR Supplies & Disposable      3/3/2020                  61.46

OWENS & MINOR                    Clinical/OR Supplies & Disposable      3/4/2020                 321.23

OWENS & MINOR                    Clinical/OR Supplies & Disposable     3/10/2020                  46.03

OWENS & MINOR                    Clinical/OR Supplies & Disposable     3/11/2020                  58.73

OWENS & MINOR                    Clinical/OR Supplies & Disposable     3/11/2020                 113.87

OXARC                            Clinical/OR Supplies & Disposable     3/10/2020                  102.31
PACIFIC OFFICE AUTOMATION        Equipment Rental                      2/22/2020                  899.54
PACIFIC OFFICE AUTOMATION        Equipment Rental                      2/22/2020                9,648.11
PACIFIC OFFICE AUTOMATION        Equipment Rental                      3/14/2020                  318.84
PACIFIC OFFICE AUTOMATION        Equipment Rental                      3/22/2020                  856.70
PACIFIC OFFICE AUTOMATION        Equipment Rental                      3/22/2020                9,648.11
PACIFIC OFFICE AUTOMATION-OR     Equipment Rental                      2/28/2020                  103.49
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Creditor                              Reason for Payment                  Date        Total paid
PALMETTO COMPRESSORS INC              Facility Repairs & Maint.             2/26/2020                 461.11
PALMETTO GREEN LANDSCAPE AND
DESIGN LLC                            Other Outside Services                 3/1/2020                  665.00
PAOLI COMPANY                         Drug Expense                          2/21/2020                   11.99
PAOLI COMPANY                         Drug Expense                           3/3/2020                   17.99
PARK CENTER PROPERTIES LLC            Rent Expense                          3/15/2020               11,301.69
PARKING MANAGEMENT, INC.              Parking Expense                       3/12/2020                1,200.00
PARKING MANAGEMENT, INC.              Parking Expense                       3/25/2020                1,200.00
PAS                                   Professional Fee- Anesthes.           2/29/2020                1,545.00
PAS                                   Professional Fee- Anesthes.            3/5/2020               66,660.00
PATRICIA DAVIS                        Courier Fees                           3/1/2020                1,775.00
PATRICIA DAVIS                        Courier Fees                           4/1/2020                1,530.00
PAUL N. AUSTIN                        Professional Fee- Anesthes.           2/27/2020                4,620.00
PAUL N. AUSTIN                        Professional Fee- Anesthes.            4/3/2020                3,080.00
PAVILION PARK, INC.                   Rent Expense                           3/8/2020                4,349.81
PAYCHEX OF NEW YORK LLC               Other Outside Services                2/27/2020                  547.38
PAYCHEX OF NEW YORK LLC               Other Outside Services                3/31/2020                  505.91
PC CONNECTION                         MIS Supplies - Hardware                3/6/2020                1,345.15
PC CONNECTION                         MIS Supplies - Hardware               3/13/2020                  551.95
PC CONNECTION                         MIS Supplies-Software                 3/22/2020                1,104.23
PC CONNECTION                         MIS Supplies-Software                 3/22/2020                1,651.97
PECO PAYMENT PROCESSING               Utilities                             3/19/2020                8,800.36
PEDRO MELERO                          Overhead Allocation                   3/10/2020                1,603.93
PEDRO MELERO                          MIS Supplies - Hardware               3/17/2020                2,184.50
PENACHIO MALARA                                                            5/19/2020               10,000.00
PENACHIO MALARA, LLP                                                       5/19/2020               10,000.00
PEOPLES GAS                           Utilities                              3/1/2020                1,468.14
PEOPLES GAS                           Utilities                              4/1/2020                1,115.00
PERFECTSERVE INC                      Telephone - Answer Svc                 3/8/2020                  421.83
PERRY RADIOLOGICAL CONSULTING LLC     Consulting Fees                       2/27/2020                  800.00
PET ASSURE CORP                       Medical Insurance                     2/25/2020                    3.75
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Creditor            Reason for Payment           Date        Total paid
PET ASSURE CORP     Medical Insurance              2/25/2020                 3.75
PET ASSURE CORP     Medical Insurance              2/25/2020                 8.00
PET ASSURE CORP     Medical Insurance              2/25/2020                 8.00
PET ASSURE CORP     Medical Insurance              2/25/2020                 8.00
PET ASSURE CORP     Medical Insurance              2/25/2020                 8.00
PET ASSURE CORP     Medical Insurance              2/25/2020                 8.00
PET ASSURE CORP     Medical Insurance              2/25/2020                11.00
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                11.75
PET ASSURE CORP     Medical Insurance              2/25/2020                14.75
PET ASSURE CORP     Medical Insurance              2/25/2020                14.75
PET ASSURE CORP     Medical Insurance              2/25/2020                15.50
PET ASSURE CORP     Medical Insurance              2/25/2020                15.50
PET ASSURE CORP     Medical Insurance              2/25/2020                15.50
PET ASSURE CORP     Medical Insurance              2/25/2020                15.50
PET ASSURE CORP     Medical Insurance              2/25/2020                15.50
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Creditor            Reason for Payment           Date        Total paid
PET ASSURE CORP     Medical Insurance              2/25/2020                18.50
PET ASSURE CORP     Medical Insurance              2/25/2020                18.50
PET ASSURE CORP     Medical Insurance              2/25/2020                18.50
PET ASSURE CORP     Medical Insurance              2/25/2020                18.50
PET ASSURE CORP     Medical Insurance              2/25/2020                18.50
PET ASSURE CORP     Medical Insurance              2/25/2020                18.50
PET ASSURE CORP     Medical Insurance              2/25/2020                19.25
PET ASSURE CORP     Medical Insurance              2/25/2020                19.75
PET ASSURE CORP     Medical Insurance              2/25/2020                22.75
PET ASSURE CORP     Medical Insurance              2/25/2020                23.50
PET ASSURE CORP     Medical Insurance              2/25/2020                23.50
PET ASSURE CORP     Medical Insurance              2/25/2020                23.50
PET ASSURE CORP     Medical Insurance              2/25/2020                27.25
PET ASSURE CORP     Medical Insurance              2/25/2020                27.25
PET ASSURE CORP     Medical Insurance              2/25/2020                30.25
PET ASSURE CORP     Medical Insurance              2/25/2020                37.00
PET ASSURE CORP     Medical Insurance              2/25/2020                52.25
PET ASSURE CORP     Medical Insurance              3/20/2020                 3.75
PET ASSURE CORP     Medical Insurance              3/20/2020                 3.75
PET ASSURE CORP     Medical Insurance              3/20/2020                 8.00
PET ASSURE CORP     Medical Insurance              3/20/2020                 8.00
PET ASSURE CORP     Medical Insurance              3/20/2020                 8.00
PET ASSURE CORP     Medical Insurance              3/20/2020                 8.00
PET ASSURE CORP     Medical Insurance              3/20/2020                 8.00
PET ASSURE CORP     Medical Insurance              3/20/2020                11.00
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
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Creditor            Reason for Payment           Date        Total paid
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                11.75
PET ASSURE CORP     Medical Insurance              3/20/2020                14.75
PET ASSURE CORP     Medical Insurance              3/20/2020                15.50
PET ASSURE CORP     Medical Insurance              3/20/2020                15.50
PET ASSURE CORP     Medical Insurance              3/20/2020                15.50
PET ASSURE CORP     Medical Insurance              3/20/2020                15.50
PET ASSURE CORP     Medical Insurance              3/20/2020                18.50
PET ASSURE CORP     Medical Insurance              3/20/2020                18.50
PET ASSURE CORP     Medical Insurance              3/20/2020                18.50
PET ASSURE CORP     Medical Insurance              3/20/2020                18.50
PET ASSURE CORP     Medical Insurance              3/20/2020                18.50
PET ASSURE CORP     Medical Insurance              3/20/2020                19.25
PET ASSURE CORP     Medical Insurance              3/20/2020                19.75
PET ASSURE CORP     Medical Insurance              3/20/2020                22.75
PET ASSURE CORP     Medical Insurance              3/20/2020                23.50
PET ASSURE CORP     Medical Insurance              3/20/2020                23.50
PET ASSURE CORP     Medical Insurance              3/20/2020                23.50
PET ASSURE CORP     Medical Insurance              3/20/2020                26.50
PET ASSURE CORP     Medical Insurance              3/20/2020                27.25
PET ASSURE CORP     Medical Insurance              3/20/2020                30.25
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Creditor                   Reason for Payment                  Date        Total paid
PET ASSURE CORP            Medical Insurance                     3/20/2020                30.25
PET ASSURE CORP            Medical Insurance                     3/20/2020                52.25
PG&E                       Utilities                             2/28/2020               204.02
PG&E                       Utilities                             3/29/2020               221.89

PHC MEDICAL SALES, INC     Clinical/OR Supplies & Disposable      3/4/2020                27.44

PHC MEDICAL SALES, INC     Clinical/OR Supplies & Disposable      3/4/2020               243.74

PHC MEDICAL SALES, INC     Clinical/OR Supplies & Disposable      3/6/2020                44.91

PHC MEDICAL SALES, INC     Clinical/OR Supplies & Disposable     3/10/2020                41.75

PHC MEDICAL SALES, INC     Clinical/OR Supplies & Disposable     3/11/2020               313.75

PHC MEDICAL SALES, INC     Clinical/OR Supplies & Disposable     3/13/2020                 25.34
PHELPS DUNBAR              Legal Fees                            3/20/2020              6,875.60
PHILIPS HEALTHCARE         Rent/Lease - Medical Equip             3/3/2020                207.32
PHILIPS HEALTHCARE         Rent/Lease - Medical Equip             3/3/2020                207.32
PHILIPS HEALTHCARE         Rent/Lease - Medical Equip             3/3/2020                207.32
PHILIPS HEALTHCARE         Rent/Lease - Medical Equip             3/3/2020                414.63
PHILIPS HEALTHCARE         Rent/Lease - Medical Equip             3/3/2020                414.63
PHILIPS HEALTHCARE         Rent/Lease - Medical Equip             3/3/2020              1,049.94
PHYSICIANSWEAR             Laundry Services                      2/20/2020                 86.58
PHYSICIANSWEAR             Laundry Services                      2/25/2020                141.25
PHYSICIANSWEAR             Laundry Services                      2/27/2020                 70.27
PHYSICIANSWEAR             Laundry Services                       3/3/2020                181.75
PHYSICIANSWEAR             Laundry Services                       3/5/2020                104.05
PHYSICIANSWEAR             Laundry Services                      3/10/2020                143.71
PHYSICIANSWEAR             Laundry Services                      3/12/2020                 70.97
PHYSICIANSWEAR             Laundry Services                      3/17/2020                130.05
PIEDMONT NATURAL GAS       Utilities                             2/24/2020                 85.43
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Creditor                             Reason for Payment                Date         Total paid
PIEDMONT NATURAL GAS                 Utilities                           3/25/2020                  90.21
PIONEER BUILDING SERVICES, INC       Janitorial Service                    3/1/2020              1,457.50
PIPETTE CALIBRATION & REPAIR INC     Equip. Repairs & Maint.             2/24/2020                 822.00
PIPETTE.COM                          Equip. Repairs & Maint.               3/4/2020                397.00
PITNEY BOWES                         Postage & Freight                   3/23/2020                 324.94
PITNEY BOWES CREDIT CORP             Equipment Rental                    2/27/2020                  52.66
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                   2/24/2020                 32.00
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Equipment Rental                    2/26/2020                  9.12
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Equipment Rental                    2/28/2020                299.14
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                   2/29/2020                216.29
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Equipment Rental                    2/29/2020                299.17
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                   2/29/2020                522.72
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                   2/29/2020                583.94
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                     3/2/2020                32.00
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                   3/10/2020                209.74
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Equipment Rental                    3/13/2020                 96.53
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Equipment Rental                    3/13/2020                206.16
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Equipment Rental                    3/13/2020                274.77
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Equipment Rental                    3/13/2020                310.94
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                   3/13/2020                323.37
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Creditor                             Reason for Payment                Date          Total paid
PITNEY BOWES GLOBAL FINANCIAL        Office Supplies & Non-Marketing
SERVICES                             Printing                            3/13/2020                  616.04
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Bank Fees                           3/20/2020                   32.00
PITNEY BOWES GLOBAL FINANCIAL        Office Supplies & Non-Marketing
SERVICES                             Printing                            3/23/2020                  150.12
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                   3/23/2020                  411.42
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Equipment Rental                    3/26/2020                   35.26
PITNEY BOWES GLOBAL FINANCIAL
SERVICES                             Postage & Freight                    4/5/2020                  263.20
Planio GmbH                          Technology Services                3/13/2020                 3,411.82
Planio GmbH                                                             3/13/2020                 3,411.82
PLANIT ADVERTISING INC               Web Development and Mgmt            2/24/2020                 2,484.37
PLEASANT GROVE CITY                  Utilities                           2/29/2020                    22.94
PLEASANT GROVE CITY                  Utilities                           2/29/2020                   190.30
PLEASANT GROVE CITY                  Utilities                           2/29/2020                   191.66
PLEASANT GROVE CITY                  Utilities                           3/31/2020                    22.94
PLEASANT GROVE CITY                  Utilities                           3/31/2020                   191.66
PLEASANT GROVE CITY                  Utilities                           3/31/2020                   400.55
PLUMTREE ORTHOPAEDIC ASSOCIATES,
LLC.                                 Rent Expense                        2/20/2020                10,305.15
PORSCHE PAYMENT CENTER               Automobile Expense                   3/1/2020                 2,059.21
PORSCHE PAYMENT CENTER               Automobile Expense                   3/7/2020                 1,810.52
Positano Group, Inc.                 Consulting Fees                     2/29/2020                 2,270.00
Positano Group, Inc.                 Consulting Fees                     3/31/2020                15,273.00
POTOMAC EDISON                       Utilities                            3/2/2020                   257.47
POTOMAC EDISON                       Utilities                            3/2/2020                   764.98
POTOMAC EDISON                       Utilities                           3/27/2020                   272.22
POTOMAC EDISON                       Utilities                           3/27/2020                   556.41
POWDER MOUNTAIN PRESS                Advertising                         2/25/2020                   773.00
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Creditor                            Reason for Payment                 Date         Total paid
PPM CAPITAL LLC                     Rent Expense                         3/18/2020                12,529.96
PRAIRIEFIRE COMMUNICATIONS          Advertising                            3/3/2020                4,006.30
Precup, Georgeta                    Vice President                         5/5/2020              123,200.00
PREMIER COORDINATORS                Other Outside Services               3/10/2020                 1,037.50
PRESTONS MEDICAL WASTE DISPOSAL     Medical Waste Disposal               3/12/2020                    50.00

PRIME EXECUTIVE SERVICES INC        T&E - Other Travel/Entertainment      3/2/2020                  974.40
PRIME GROUP STORAGE                 Accrued Other                        2/20/2020                  248.86
PRIME GROUP STORAGE                                                     5/19/2020                   322.85
PRIORITY DISPATCH SERVICE INC       Courier Fees                         2/23/2020                 1,848.96
PRIORITY DISPATCH SERVICE INC       Courier Fees                          3/1/2020                 1,652.37
PRIORITY DISPATCH SERVICE INC       Courier Fees                          3/8/2020                 1,657.87
PRIORITY DISPATCH SERVICE INC       Courier Fees                         3/15/2020                 1,635.87
PRIORITY EXPRESS COURIER, INC       Courier Fees                         2/21/2020                   197.15
PRIORITY EXPRESS COURIER, INC       Courier Fees                         2/28/2020                   197.15
PRIORITY EXPRESS COURIER, INC       Courier Fees                          3/6/2020                   197.15
PROBENEFITS                         Medical Insurance                    2/27/2020                   227.00
PROBENEFITS                         Medical Insurance                    3/24/2020                   227.00
                                    Office Supplies & Non-Marketing
PROFORMA                            Printing                             2/20/2020                   700.10
PROFORMA                            Printing                              3/3/2020                   475.90
PROFORMA                            Printing                              3/3/2020                   834.04
PROFORMA                            Marketing Support Materials           3/3/2020                 1,304.93
PROFORMA                            Printing                              3/3/2020                 1,386.87
                                    Office Supplies & Non-Marketing
PROFORMA                            Printing                             3/17/2020                   84.88
                                    Office Supplies & Non-Marketing
PROFORMA                            Printing                             3/17/2020                  500.85
                                    Office Supplies & Non-Marketing
PROFORMA                            Printing                             3/17/2020                 1,110.62
PROGENESIS                          Outside Embryology Fees               3/6/2020                 1,700.00
PROPHARMA DISTRIBUTION, LLC         Postage & Freight                    3/13/2020                    41.40
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Creditor                             Reason for Payment                Date         Total paid
PROPHARMA DISTRIBUTION, LLC          Drug Expense                        3/13/2020                 218.99
PROSHRED SECURITY                    Other Outside Services              2/28/2020                  42.50
PROSHRED SECURITY                    Other Outside Services              2/29/2020                  73.50
PROSHRED SECURITY                    Other Outside Services                3/2/2020                 54.50
PROSHRED SECURITY                    Janitorial Service                    3/3/2020                 60.36
PROSHRED SECURITY                    Janitorial Service                  3/17/2020                  60.36
PROSHRED SECURITY                    Janitorial Service                  3/31/2020                  43.90
PROSSER'S MOVING AND STORAGE CO      Storage Services                      3/1/2020                246.50
PROVIDENCE ANESTHESIOLOGY
ASSOCIATES, P.A.                     Professional Fee- Anesthes.           3/2/2020                900.00
PROVIDENCE ANESTHESIOLOGY
ASSOCIATES, P.A.                     Professional Fee- Anesthes.           3/2/2020               3,150.00
PROVIDENCE ANESTHESIOLOGY
ASSOCIATES, P.A.                     Professional Fee- Anesthes.         3/25/2020                 450.00
PROVIDENCE ANESTHESIOLOGY
ASSOCIATES, P.A.                     Professional Fee- Anesthes.         3/25/2020                1,350.00
PROVIDENCE ANESTHESIOLOGY
ASSOCIATES, P.A.                     Professional Fee- Anesthes.         3/25/2020                2,250.00
PROVIDENCE HEALTH & SERVICES- WA     Rent Expense                         3/3/2020                  277.32
PROVIDENT                            Business Insurance                  3/27/2020                  539.41
PROVIDENT                            Business Insurance                  3/27/2020                  539.41
PROVIDENT                            Business Insurance                  3/27/2020                  539.41
PUBLIC STORAGE 08161                 Other Outside Services              3/12/2020                  142.00
PUBLIC STORAGE 08161                 Other Outside Services              3/12/2020                  171.00
Pulitz Records MGT LV                Storage Services                    2/29/2020                  356.99
PULIZ RECORDS MANAGEMENT             Other Outside Services              2/29/2020                  130.00
PULIZ RECORDS MANAGEMENT             Other Outside Services              2/29/2020                  130.00
PUMPKIN PATCH PROPERTIES , LLC       Rent Expense                        2/20/2020               44,666.68
PUMPKIN PATCH PROPERTIES , LLC       Rent Expense                        3/20/2020               44,666.68
PURCHASE POWER                       Postage & Freight                   2/20/2020                  520.99
PURCHASE POWER                       Postage & Freight                   2/25/2020                  868.47
PURCHASE POWER                       Postage & Freight                    3/3/2020                   35.25
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Creditor                         Reason for Payment                Date         Total paid
PURCHASE POWER                   Equipment Rental                      3/3/2020               124.69
                                 Office Supplies & Non-Marketing
PURCHASE POWER                   Printing                            3/15/2020                 812.10
PURCHASE POWER                   Postage & Freight                   3/20/2020               1,008.50
PURCHASE POWER                   Postage & Freight                    4/3/2020                 402.50
PURE WATER SOLUTIONS             Equipment Rental                    2/20/2020                  84.79
Q INTERNATIONAL COURIER, INC     Courier Fees                        2/21/2020                 226.90
QUADIENT FINANCE USA, INC        Postage & Freight                   2/28/2020                  39.00
QUADIENT FINANCE USA, INC        Postage & Freight                   2/28/2020               1,374.23
QUADIENT FINANCE USA, INC        Postage & Freight                   3/18/2020                 428.10
QUADIENT INC                     Postage & Freight                   2/23/2020                 120.06
QUADIENT INC                     Equipment Rental                    2/23/2020                 120.68
QUADIENT INC                     Equipment Rental                    3/19/2020                 102.86
QUADIENT LEASING USA, INC        Postage & Freight                   3/18/2020                 178.50
QUADIENT LEASING USA, INC        Property Taxes                      3/19/2020                  71.75
QUADIENT LEASING USA, INC        Equipment Rental                    3/24/2020               1,330.90
QUENCH USA INC                   Equipment Rental                     3/1/2020                  40.28
QUENCH USA INC                   Equipment Rental                     3/1/2020                  40.28
QUENCH USA INC                   Equipment Rental                     3/1/2020                  49.01
QUENCH USA INC                   Equipment Rental                     3/1/2020                 106.67
QUENCH USA INC                   Equipment Rental                     3/1/2020                 120.84
QUENCH USA INC                   Equipment Rental                     3/1/2020                 131.95
QUENCH USA, INC                  Other Outside Services               4/1/2020                 267.28
QUEST DIAGNOSTICS                Pass Thru Costs                     2/25/2020                  72.78
QUEST DIAGNOSTICS                Outside Lab Tests                   2/25/2020                 871.75
QUEST DIAGNOSTICS                Outside Lab Tests                   3/25/2020                 105.88
QUEST DIAGNOSTICS INC            Outside Lab Tests                   2/21/2020                 313.99
QUICK CONNECTIONS ANSWERING
SERVICE INC                      Telephone - Answer Svc                3/1/2020              3,213.13
                                 Office Supplies & Non-Marketing
QUILL CORP                       Printing                            2/25/2020                120.13
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Creditor                       Reason for Payment                  Date          Total paid
                               Office Supplies & Non-Marketing
QUILL CORP                     Printing                              2/25/2020                  160.19
                               Office Supplies & Non-Marketing
QUILL CORP                     Printing                              2/28/2020                   75.76
                               Office Supplies & Non-Marketing
QUILL CORP                     Printing                               3/5/2020                   52.25
                               Office Supplies & Non-Marketing
QUILL CORP                     Printing                              3/12/2020                     7.85
                               Office Supplies & Non-Marketing
QUILL CORP                     Printing                              3/12/2020                   80.65
                               Office Supplies & Non-Marketing
QUILL CORP                     Printing                              3/12/2020                   93.08
                               Office Supplies & Non-Marketing
QUILL CORP                     Printing                              3/27/2020                   227.28
R&S COMMUNICATIONS             Facility Repairs & Maint.             2/20/2020                   945.00
R&S COMMUNICATIONS             Facility Repairs & Maint.             3/13/2020                 4,765.20
RACHEL AND DEREK OTTAVIANO     Attain/Shared Risk Deposits           3/10/2020                13,500.00
RACHEL MORGAN                  Donor Pass Thru(Co Mgt Fees)          3/24/2020                   300.00
RACHEL MORGAN                  Donor Pass Thru(Co Mgt Fees)          3/24/2020                   750.00
RACHEL MORGAN                  Donor Pass Thru(Co Mgt Fees)          3/24/2020                   850.00
RACHEL MORGAN                  Donor Pass Thru(Co Mgt Fees)          3/24/2020                   850.00
RACHEL MORGAN                  Donor Pass Thru(Co Mgt Fees)          3/24/2020                 5,000.00
RACHNA SUBRAMONY               Pass Thru Costs                        3/1/2020                   499.00
RACKSPACE US INC               MIS Supplies - Cloud Services          3/1/2020                10,000.00
RADIOMD, LLC                   Radio                                  3/2/2020                   950.00
RADIOMD, LLC                   Radio                                  3/2/2020                   950.00
RADIOMD, LLC                   Other Marketing Costs                  3/2/2020                 1,500.00
RALEIGH SCREEN PRINT           Marketing Support Materials           3/27/2020                 1,394.51
RAMYA AKULA                    Donor Pass Thru(Co Mgt Fees)          3/10/2020                 5,500.00
RARX LLC                       Drug Expense                          2/29/2020                30,550.25

RARX LLC                       Clinical/OR Supplies & Disposable     3/18/2020                  189.25
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Creditor                      Reason for Payment                Date         Total paid
RC ANESTHESIA LLC             Professional Fee- Anesthes.         3/30/2020                1,600.00
RCN                           Utilities                           2/28/2020                  499.32
RCN                           Utilities                           2/28/2020                  499.32
REACH                         Professional Fees - Procedural      2/21/2020                2,419.95
REACH                         Professional Fees - Procedural      2/21/2020                2,691.15
REACH                         Professional Fees - Procedural      2/21/2020                2,691.15
REACH                         Professional Fees - Procedural      2/21/2020                2,830.41
REACH                         Professional Fees - Procedural      2/21/2020                3,226.75
REACH                         Professional Fees - Procedural      2/21/2020                5,405.00
REACH                         Professional Fees - Procedural      2/21/2020                7,840.95
REACH                         Professional Fees - Procedural      2/21/2020               11,321.68
REACH                         Professional Fees - Procedural        3/6/2020               2,419.95
REACH                         Professional Fees - Procedural        3/6/2020               4,700.40
REACH                         Professional Fees - Procedural        3/6/2020               7,284.55
                              Attain/Shared Risk Med Cost
REACH                         Reserve                             3/19/2020                2,177.96
REACH                         Professional Fees - Procedural      3/19/2020               10,325.60
REACH                         Professional Fees - Procedural      3/19/2020               11,321.68
REACH                         Professional Fees - Procedural      3/20/2020                2,989.35
REACH                         Professional Fees - Procedural      3/20/2020                3,538.03
REACH                         Professional Fees - Procedural      3/20/2020               18,801.60
REACH                         Professional Fees - Procedural      3/27/2020                8,389.55
REACH                         Professional Fees - Procedural       4/3/2020               10,325.60
REACH BUILDING ASSOCIATES     Rent Expense                        2/23/2020               54,037.00
REACH BUILDING ASSOCIATES     Rent Expense                        3/23/2020               27,018.50
                              Office Supplies & Non-Marketing
READY REFRESH BY NESTLE       Printing                            2/20/2020                 548.81
                              Office Supplies & Non-Marketing
READY REFRESH BY NESTLE       Printing                            3/20/2020                  247.89
REBECCA RILEY                 Donor Egg Exp                        3/9/2020                  541.97
RED SECURITY GROUP            Facility Repairs & Maint.           3/10/2020                1,260.50
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Creditor                          Reason for Payment                Date          Total paid
                                  Office Supplies & Non-Marketing
REDWOOD PRODUCTIONS, INC.         Printing                             3/3/2020                   974.00
RENO MEDIA GROUP, LP              Radio                               2/29/2020                   320.00
RENO MEDIA GROUP, LP              Radio                               2/29/2020                   320.00
RENO MEDIA GROUP, LP              Radio                               2/29/2020                   420.00
RENO MEDIA GROUP, LP              Radio                               2/29/2020                 1,440.00
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural      2/21/2020                 8,144.00
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural       3/6/2020                 6,617.00
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural       3/6/2020                 7,393.75
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural       3/6/2020                 8,144.00
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural      3/13/2020                 3,213.60
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural      3/13/2020                 3,213.60
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural      3/27/2020                 2,843.75
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural      3/27/2020                 3,213.60
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural      3/27/2020                 4,217.85
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural      3/27/2020                 9,100.00
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural       4/3/2020                 3,213.60
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural       4/3/2020                 3,213.60
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural       4/3/2020                 4,217.85
REPRODUCTIVE MEDICINE GROUP       Professional Fees - Procedural       4/3/2020                 9,100.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural      2/27/2020                12,040.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural       3/6/2020                 4,000.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural       3/6/2020                 4,000.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural       4/3/2020                 4,000.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural       4/3/2020                 4,000.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural       4/3/2020                 4,000.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural       4/3/2020                 8,860.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural       4/3/2020                12,040.00
REPRODUCTIVE MEDICINE OF NJ       Professional Fees - Procedural       4/3/2020                12,040.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural      2/21/2020                 1,925.25
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Creditor                          Reason for Payment                Date          Total paid
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural      2/21/2020                10,625.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural       3/6/2020                 2,550.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural       3/6/2020                10,625.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural       3/6/2020                13,770.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural      3/13/2020                 2,550.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Pass Thru Costs                     3/30/2020                25,000.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural      3/31/2020                 2,550.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural      3/31/2020                10,625.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural      3/31/2020                10,625.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural       4/3/2020                 2,550.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA JOLLA                    Professional Fees - Procedural       4/3/2020                13,770.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                       Pass Thru Costs                     2/24/2020                 1,651.92
REPRODUCTIVE PARTNERS MEDICAL     Attain/Shared Risk Med Cost
GROUP LA\OC                       Reserve                             2/27/2020                 1,654.25
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                       Professional Fees - Procedural      2/27/2020                12,720.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                       Professional Fees - Procedural       3/6/2020                 8,385.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                       Professional Fees - Procedural       3/6/2020                 8,385.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                       Professional Fees - Procedural       3/6/2020                10,320.00
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Creditor                              Reason for Payment                Date          Total paid
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                           Professional Fees - Procedural       3/6/2020                10,335.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                           Professional Fees - Procedural       3/6/2020                10,335.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                           Professional Fees - Procedural       3/6/2020                12,720.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                           Professional Fees - Procedural       3/6/2020                12,720.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                           Professional Fees - Procedural      3/13/2020                 2,036.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                           Professional Fees - Procedural      4/10/2020                 1,989.00
REPRODUCTIVE PARTNERS MEDICAL
GROUP LA\OC                           Professional Fees - Procedural      4/10/2020                 8,385.00

REPRODUCTIVE RESOURCE CENTER OF KC Professional Fees - Procedural          3/6/2020                 1,967.60

REPRODUCTIVE RESOURCE CENTER OF KC Professional Fees - Procedural         3/13/2020                 2,174.30

REPRODUCTIVE RESOURCE CENTER OF KC Professional Fees - Procedural         3/19/2020                 8,010.40

REPRODUCTIVE RESOURCE CENTER OF KC    Professional Fees - Procedural      3/27/2020                 6,394.70
REPROSOURCE FERTILITY DIAGNOSTICS     Outside Lab Tests                   2/29/2020                    30.00
REPROSOURCE FERTILITY DIAGNOSTICS,
INC                                   Outside Lab Tests                   2/29/2020                  487.00
REPROSOURCE FERTILITY DIAGNOSTICS,
INC                                   Outside Lab Tests                    3/4/2020                   693.00
REPROTECH, LTD                        Other Outside Services              3/20/2020                 1,272.00
Republic Services                     Utilities                           2/26/2020                   836.41
Republic Services                     Utilities                           3/26/2020                   577.21
REPUBLIC SERVICES # 742               Other Outside Services              2/25/2020                   635.00
REPUBLIC SERVICES # 742               Other Outside Services              3/25/2020                   635.00
RESOLVE INC                           Dues/Subscriptions                  2/23/2020                   275.00
RESOLVE INC                           Contributions                        3/3/2020                 1,000.00
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RESOLVE THE NATIONAL INFERTILITY
ASSOC                                Dues/Subscriptions                    2/24/2020                3,800.00
RESOLVE THE NATIONAL INFERTILITY
ASSOC                                Open House/Community Events           2/24/2020                5,000.00
RESOLVE THE NATIONAL INFERTILITY
ASSOC                                Open House/Community Events           2/24/2020                5,000.00
RIALYA TECH LLC                      MIS Supplies-Software                 2/28/2020                  209.57
RIALYA TECH LLC                      MIS Supplies-Software                 2/28/2020                  943.63
Ribeiro Company                      Parking Expense                       2/21/2020                   32.24
Ribeiro Company                      Parking Expense                       2/21/2020                   32.24
Ribeiro Company                      Parking Expense                       3/21/2020                   32.24
Ribeiro Company                      Parking Expense                       3/21/2020                   32.24

RICARDO CONTRERAS                    T&E - Other Travel/Entertainment       3/4/2020                  33.08
RICARDO VALDEZ                       Facility Repairs & Maint.             2/25/2020                  75.00
RICHARD WOLF MEDICAL                 Postage & Freight                     2/27/2020                   8.76
RICHARD WOLF MEDICAL                 Postage & Freight                     2/27/2020                   8.76
RICHARD WOLF MEDICAL                 OR Instruments/Instruments            2/27/2020                  63.08
RICHARD WOLF MEDICAL                 OR Instruments/Instruments            2/27/2020                  63.08
RICHARD WOLF MEDICAL                 Postage & Freight                      3/5/2020                  14.93

RICHARD WOLF MEDICAL                 Clinical/OR Supplies & Disposable      3/5/2020                  351.10
RICHMOND EXPRESS INC                 Courier Fees                           3/3/2020                   92.77
Ricoh USA, Inc                       Postage & Freight                      3/6/2020                   44.38
Ricoh USA, Inc                       Equipment Rental                       3/8/2020                1,791.96
RINGCENTRAL INC                      Telephone Expense                     2/25/2020                2,522.46
RINGCENTRAL INC                      WAN Telecom                            3/1/2020                1,694.06
RINGCENTRAL INC                      Telephone Expense                      3/1/2020                2,560.82
RINGCENTRAL INC                      WAN Telecom                            3/1/2020                4,488.20
RINGCENTRAL INC                      WAN Telecom                            3/3/2020                  775.85
RINGCENTRAL INC                      WAN Telecom                            3/3/2020                2,801.10
RINGCENTRAL INC                      Telephone Expense                      3/4/2020                5,519.00
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RINGCENTRAL INC                   Telephone Expense                       3/6/2020               4,801.99
RINGCENTRAL INC                   WAN Telecom                             4/1/2020               4,409.15
RINGCENTRAL, INC                  WAN Telecom                             3/1/2020               6,990.24
RIVERBEND COMMUNICATIONS, LLC     Advertising                           2/29/2020                  539.00
RIVERBEND COMMUNICATIONS, LLC     Advertising                           3/31/2020                  914.00
RMA OF TEXAS                      Professional Fees - Procedural        2/21/2020               10,157.50
ROBERT B FAULKNER                 Printing                              2/28/2020                  525.00
ROBERT B FAULKNER                 Printing                                3/4/2020                 100.00
ROBERTS OXYGEN COMPANY            Gases                                 2/20/2020                  376.28
ROBERTS OXYGEN COMPANY            Gases                                 2/21/2020                  235.22
ROBERTS OXYGEN COMPANY            Gases                                 2/27/2020                   23.84
ROBERTS OXYGEN COMPANY            Gases                                 2/27/2020                  360.82
ROBERTS OXYGEN COMPANY            Gases                                 2/28/2020                  378.71
ROBERTS OXYGEN COMPANY            Gases                                 2/29/2020                  107.11
ROBERTS OXYGEN COMPANY            Gases                                 2/29/2020                  500.42
ROBERTS OXYGEN COMPANY            Gases                                   3/6/2020                 430.96
ROBERTS OXYGEN COMPANY            Gases                                 3/12/2020                  603.18
ROBERTS OXYGEN COMPANY            Gases                                 3/19/2020                  277.06
ROBINSON, BRADSHAW & HINSON       Legal Fees                              3/9/2020               1,646.55
ROCHE DIAGNOSTICS CORP            Equipment Rental                      2/26/2020                  722.13

ROCHE DIAGNOSTICS CORP            Clinical/OR Supplies & Disposable       3/4/2020               5,860.50

ROCHE DIAGNOSTICS CORP            Clinical/OR Supplies & Disposable       3/5/2020                 49.00

ROCHE DIAGNOSTICS CORP            Clinical/OR Supplies & Disposable       3/6/2020               3,103.22

ROCHE DIAGNOSTICS CORPORATION     Endocrine Testing Kits & Reagents     2/24/2020                4,310.03

ROCHE DIAGNOSTICS CORPORATION     Endocrine Testing Kits & Reagents     2/25/2020                2,342.13

ROCHE DIAGNOSTICS CORPORATION     Clinical/OR Supplies & Disposable     2/26/2020                 234.90
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Creditor                          Reason for Payment                  Date          Total paid

ROCHE DIAGNOSTICS CORPORATION     Endocrine Testing Kits & Reagents     2/26/2020                 309.36

ROCHE DIAGNOSTICS CORPORATION     Endocrine Testing Kits & Reagents     2/26/2020                5,735.11

ROCHE DIAGNOSTICS CORPORATION     Endocrine Testing Kits & Reagents     2/27/2020                  87.74

ROCHE DIAGNOSTICS CORPORATION     Clinical/OR Supplies & Disposable     2/27/2020                2,080.48

ROCHE DIAGNOSTICS CORPORATION     Endocrine Testing Kits & Reagents     2/27/2020                4,143.41
ROCHE DIAGNOSTICS CORPORATION     Rent/Lease - Medical Equip            2/28/2020                  752.00
ROCHE DIAGNOSTICS CORPORATION     Rent/Lease - Medical Equip            2/29/2020                1,190.22

ROCHE DIAGNOSTICS CORPORATION     Endocrine Testing Kits & Reagents      3/5/2020                  361.35
ROCHE DIAGNOSTICS CORPORATION     Lab Supplies                           3/8/2020                3,258.64

ROCHE DIAGNOSTICS CORPORATION     Endocrine Testing Kits & Reagents     3/10/2020                  65.86

ROCKET MEDICAL, LLC               Clinical/OR Supplies & Disposable     2/27/2020                1,520.00

ROCKET MEDICAL, LLC               Clinical/OR Supplies & Disposable     2/27/2020                3,420.00

ROCKET MEDICAL, LLC               Clinical/OR Supplies & Disposable     2/28/2020                 145.00

ROCKET MEDICAL, LLC               Clinical/OR Supplies & Disposable     2/28/2020                 160.00

ROCKET MEDICAL, LLC               Clinical/OR Supplies & Disposable     2/28/2020                 405.00

ROCKET MEDICAL, LLC               Clinical/OR Supplies & Disposable     2/28/2020                 410.00

ROCKET MEDICAL, LLC               Clinical/OR Supplies & Disposable     2/28/2020                 920.00

ROCKET MEDICAL, LLC               Clinical/OR Supplies & Disposable     2/28/2020                1,450.00
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ROCKET MEDICAL, LLC                     Clinical/OR Supplies & Disposable      3/9/2020                   980.00

ROCKET MEDICAL, LLC                     Clinical/OR Supplies & Disposable     3/10/2020                  2,300.25

ROCKET MEDICAL, LLC                     Clinical/OR Supplies & Disposable     3/12/2020                   435.00

ROCKET MEDICAL, LLC                     Clinical/OR Supplies & Disposable     3/24/2020                    675.00
ROCKY MOUNTAIN POWER                    Utilities                             3/31/2020                  3,706.44
ROETECH ENTERPRISES, INC DBA OFFICE     Office Supplies & Non-Marketing
FURNITURE SOURCE                        Printing                              3/10/2020                  1,285.11
ROIC CALIFORNIA, LLC                    Rent Expense                          2/25/2020                 21,736.39
Roman, Tracy L.                         Director Marketing                     5/5/2020                  9,554.00
ROSS & ZUCKERMAN LLP                    Donor Pass Thru(Co Mgt Fees)          2/28/2020                    900.00
ROSS PRINTING                           Printing                              3/26/2020                    601.19
RPMG LAJ Med/Dental Reimbursement                                            5/19/2020                 67,508.92
RS IDENTITY DESIGN                      Marketing Support Materials           3/26/2020                    340.00
RSC BAY AREA                            Professional Fees - Procedural        2/21/2020                  3,502.00
RSC BAY AREA                            Professional Fees - Procedural        2/21/2020                 10,463.70
RSC BAY AREA                            Professional Fees - Procedural        2/21/2020                 12,878.40
RSC BAY AREA                            Professional Fees - Procedural        2/27/2020                  4,263.00
RSC BAY AREA                            Professional Fees - Procedural        2/27/2020                 12,878.40
RSC BAY AREA                            Professional Fees - Procedural         3/6/2020                    442.00
RSC BAY AREA                            Professional Fees - Procedural         3/6/2020                    442.00
RSC BAY AREA                            Professional Fees - Procedural         3/6/2020                  2,817.75
RSC BAY AREA                            Professional Fees - Procedural         3/6/2020                 10,078.40
RSC BAY AREA                            Professional Fees - Procedural         3/6/2020                 10,078.40
RSC BAY AREA                            Professional Fees - Procedural         3/6/2020                 10,463.70
RSC BAY AREA                            Professional Fees - Procedural         3/6/2020                 10,463.70
RSC BAY AREA                            Professional Fees - Procedural         3/6/2020                 12,878.40
RSC BAY AREA                            Professional Fees - Procedural        3/13/2020                  3,219.60
RSC BAY AREA                            Professional Fees - Procedural        3/13/2020                  3,684.75
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Creditor                            Reason for Payment                  Date         Total paid
RSC BAY AREA                        Professional Fees - Procedural        3/13/2020               12,878.40
RSC BAY AREA                        Professional Fees - Procedural        3/19/2020                  442.00
RSC BAY AREA                        Professional Fees - Procedural        3/27/2020               10,078.40
RSC BAY AREA                        Professional Fees - Procedural        3/27/2020               12,878.40
RSC BAY AREA                        Professional Fees - Procedural        3/27/2020               12,878.40
RSC BAY AREA                        Professional Fees - Procedural          4/3/2020              10,078.40
RSC BAY AREA                        Professional Fees - Procedural        4/10/2020               10,463.70
RSC BAY AREA                        Professional Fees - Procedural        4/10/2020               12,878.40
RUI WANG AND QUANMING LI            Attain/Shared Risk Deposits             4/2/2020              26,400.00
RUSSELL FOULK                       License & Fees                        3/15/2020                  833.33
RUSSELL FOULK                       License & Fees                        4/15/2020                  833.33
RUSTY CLIFFS LLC                    Rent Expense                          2/28/2020                  281.34

RUTHERFORD SUPPLY CORPORATION       Clinical/OR Supplies & Disposable       3/3/2020                191.64

RUTHERFORD SUPPLY CORPORATION       Clinical/OR Supplies & Disposable      3/3/2020                  191.65
S & T SYSTEMS, INC                  Facility Repairs & Maint.             3/11/2020                  572.45
SABITA LAMICHHANE AND CHET BHATTA   Attain/Shared Risk Deposits            4/2/2020               10,065.00
SAFFER PLUMBING AND HEATING INC     Facility Repairs & Maint.             2/28/2020                2,115.00
SALT CREEK CAMPUS LLC               Rent Operating Expense                2/20/2020                  594.00
SALT CREEK CAMPUS LLC               Rent Operating Expense                2/20/2020                  594.00
SALT CREEK CAMPUS LLC               Rent Operating Expense                2/20/2020                  594.00
SALT CREEK CAMPUS LLC               Rent Expense                          2/20/2020               10,727.85
SAMANATHA STARNES                   Donor Egg Compensation/Insur          2/28/2020                5,500.00
SAMANTHA BRENNER                    Donor Pass Thru(Co Mgt Fees)          3/12/2020                7,000.00
SAMSUNG FINANCIAL SOLUTIONS         Rent/Lease - Medical Equip            2/29/2020                4,735.24
SAN RAMON REGIONAL MEDICAL CTR      Dues/Subscriptions                     3/9/2020                   50.00
SANDRINE LEVY                       T&E - Airfare                          3/4/2020                2,646.30
SANTEE COOPER                       Utilities                             3/20/2020                   89.38
SAPPHIRE ANESTHESIA, LLC            Professional Fee- Anesthes.           2/29/2020                3,200.00
SAPPHIRE ANESTHESIA, LLC            Professional Fee- Anesthes.           3/30/2020                1,600.00
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Creditor                                 Reason for Payment                  Date          Total paid
                                         Office Supplies & Non-Marketing
SARA DOWNS                               Printing                              3/24/2020                   34.94
                                         Office Supplies & Non-Marketing
SARA DOWNS                               Printing                               4/5/2020                   68.35
Sarah Esdaile                            Consulting Services                  2/26/2020                   934.98
Sarah Esdaile                            Consulting Services                  2/26/2020                   934.98
SARAH MEYER AND KATIE ACCOLA             Attain/Shared Risk Deposits           3/11/2020                29,800.00
SARAH REEMY                              Consulting Fees                       2/24/2020                    15.00

                                         Employee Meetings/Educational
SARAH SANNS                              Materials                             3/17/2020                    42.66
SATISH VAYUVEGULA, M.D.                  License & Fees                        3/15/2020                   200.00
SATISH VAYUVEGULA, M.D.                  License & Fees                        4/15/2020                   200.00
SAVANAH MOORE                            Donor Egg Exp                         2/25/2020                    28.65
SBG HEALTH                               Professional Fee- Anesthes.           2/28/2020                 2,400.00
SBG HEALTH                               Professional Fee- Anesthes.           3/16/2020                 1,600.00
SBIP                                     Dues/Subscriptions                    2/26/2020                 1,200.00

SCG QUADRANT I5 OFFICE BUILDING A, LLC Facility Repairs & Maint.               3/20/2020                 4,701.99

SCG QUADRANT I5 OFFICE BUILDING A, LLC   Rent Expense                          3/20/2020                11,660.17
SCHINDLER ELEVATOR CORP                  Facility Repairs & Maint.              3/1/2020                   383.62
SCHINDLER ELEVATOR CORP                  Facility Repairs & Maint.              4/1/2020                   383.62
SCOTT WHITTEN                            Other Outside Services                2/21/2020                    59.43

                                         Employee Meetings/Educational
SCOTT WHITTEN                            Materials                             2/21/2020                   72.05
SCOTT WHITTEN                            License & Fees                        2/25/2020                   95.00
SCOTT WHITTEN                            License & Fees                        2/25/2020                  175.00

SCOTT WHITTEN                            Clinical/OR Supplies & Disposable     2/25/2020                  493.01
SCOTT WHITTEN                            Professional Development              2/27/2020                   69.00
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Creditor                          Reason for Payment                  Date        Total paid
SCOTT WHITTEN                     Other Outside Services                2/27/2020                300.00

SCOTT WHITTEN                     Clinical/OR Supplies & Disposable      3/4/2020                 27.01

SCOTT WHITTEN                     Clinical/OR Supplies & Disposable      3/4/2020                 82.13

SCOTT WHITTEN                     Clinical/OR Supplies & Disposable      3/4/2020                129.84

                                  Employee Meetings/Educational
SCOTT WHITTEN                     Materials                              3/6/2020                 85.58

                                  Employee Meetings/Educational
SCOTT WHITTEN                     Materials                             3/13/2020                 68.32

                                  Employee Meetings/Educational
SCOTT WHITTEN                     Materials                             3/13/2020                 188.06
SCRIPPS/XIMED MEDICAL CENTER      Rent Expense                          2/22/2020               9,384.62
SCRIPPS/XIMED MEDICAL CENTER      Rent Expense                          2/22/2020              10,514.63
SCRIPPS/XIMED MEDICAL CENTER      Rent Expense                          2/22/2020              29,524.64
SCRIPPS/XIMED MEDICAL CENTER      Utilities                             2/29/2020                  69.25
SCRIPPS/XIMED MEDICAL CENTER      Janitorial Service                    2/29/2020                 153.08
SCRIPPS/XIMED MEDICAL CENTER      Utilities                             2/29/2020                 289.85
SCRIPPS/XIMED MEDICAL CENTER      Janitorial Service                    2/29/2020                 292.35
SCRIPPS/XIMED MEDICAL CENTER      Utilities                             2/29/2020                 718.57
SCRIPPS/XIMED MEDICAL CENTER      Facility Repairs & Maint.             2/29/2020               2,500.00
SCRIPPS/XIMED MEDICAL CENTER      Security Deposits                      3/1/2020                 128.85
SCRIPPS/XIMED MEDICAL CENTER      Security Deposits                      3/1/2020                 157.72
SCRIPPS/XIMED MEDICAL CENTER      Security Deposits                      3/1/2020                 442.87
SEARCH AMERICA, INC.              Other Outside Services                2/29/2020                 253.75
                                  Attain/Shared Risk Med Cost
SEATTLE REPRODUCTIVE MEDICINE     Reserve                               2/21/2020                 546.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        2/21/2020                 672.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        2/21/2020               2,128.00
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SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               2,275.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               2,275.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               3,192.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               3,675.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               3,675.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               3,675.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               4,200.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               4,280.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               8,326.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               8,736.00
                                  Attain/Shared Risk Med Cost
SEATTLE REPRODUCTIVE MEDICINE     Reserve                             2/21/2020               8,872.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               8,914.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               8,914.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               9,372.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020               9,372.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020              10,300.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020              10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020              10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020              10,972.00
                                  Attain/Shared Risk Med Cost
SEATTLE REPRODUCTIVE MEDICINE     Reserve                             2/21/2020              11,602.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020              20,732.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020              20,732.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/21/2020              20,732.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/27/2020                 546.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/27/2020               2,057.25
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/27/2020               2,275.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/27/2020               7,391.80
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/27/2020              10,248.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/27/2020              10,972.00
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Creditor                          Reason for Payment                Date         Total paid
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/27/2020               10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      2/27/2020               18,706.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        3/6/2020               7,068.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        3/6/2020               8,368.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        3/6/2020               8,914.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        3/6/2020               9,372.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        3/6/2020               9,372.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        3/6/2020              10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        3/6/2020              18,320.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                1,006.20
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,128.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,743.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,743.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,743.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,743.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,975.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,975.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,975.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                2,975.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                5,857.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                7,614.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                8,700.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020                8,914.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020               10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020               10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020               10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/13/2020               10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/19/2020                2,275.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/19/2020                7,614.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/19/2020                8,560.00
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Creditor                          Reason for Payment                Date         Total paid
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/19/2020                9,372.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/19/2020               10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/19/2020               11,328.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/19/2020               16,872.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/19/2020               18,320.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/20/2020                2,800.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/27/2020                2,128.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/27/2020                2,240.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/27/2020                2,800.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/27/2020                4,200.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      3/27/2020                5,486.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020               1,400.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020               2,800.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020               5,437.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020               7,614.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020               8,872.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020               8,914.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020               9,372.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020              10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020              10,972.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020              12,052.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural        4/3/2020              15,372.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      4/10/2020                2,057.25
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      4/10/2020                2,275.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      4/10/2020                2,800.00
                                  Attain/Shared Risk Med Cost
SEATTLE REPRODUCTIVE MEDICINE     Reserve                             4/10/2020                7,614.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      4/10/2020                8,872.50
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      4/10/2020                8,914.75
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      4/10/2020               12,052.00
SEATTLE REPRODUCTIVE MEDICINE     Professional Fees - Procedural      4/10/2020               15,614.75
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SEATTLE REPRODUCTIVE MEDICINE        Professional Fees - Procedural        4/10/2020               16,772.00
SEATTLE REPRODUCTIVE MEDICINE        Professional Fees - Procedural        4/10/2020               16,772.00
SEATTLE REPRODUCTIVE MEDICINE        Professional Fees - Procedural        4/10/2020               18,802.50
SEATTLE SURGICAL REPAIR              Equip. Repairs & Maint.               2/26/2020                  831.70

SEATTLE SURGICAL REPAIR              Clinical/OR Supplies & Disposable      3/4/2020                 932.55
SECRETARY OF STATE                   Rent Expense                          2/28/2020                  20.00
SECURE ON-SITE SHREDDING             Janitorial Service                    2/20/2020                  89.00
SECURITY CENTRAL                     Equip. Repairs & Maint.               2/25/2020                 325.08
                                     Office Supplies & Non-Marketing
SECURITY PRESS                       Printing                              2/24/2020                1,492.20
                                     Office Supplies & Non-Marketing
SECURITY PRESS                       Printing                              3/11/2020                 168.39
Seyed Ghaemi                                                              5/20/2020               10,000.00
Seyed Ghaemi                                                              5/20/2020                2,637.38
SEYED GHAEMIALEHASHEMI               Other                                5/20/2020               10,000.00
SHADY GROVE CHESTERBROOK LENDER,
L.P.                                 Rent Expense                          2/20/2020                 824.00
SHADY GROVE CHESTERBROOK LENDER,
L.P.                                 Rent Expense                          2/20/2020               14,420.00

SHAMROCK SCIENTIFIC                  Clinical/OR Supplies & Disposable     2/21/2020                 337.92

SHAMROCK SCIENTIFIC                  Clinical/OR Supplies & Disposable      3/4/2020                  80.78

SHARON COVINGTON, LCSW-C,BCD         Professional Fee-Social Worker        2/22/2020               36,000.00

SHARON COVINGTON, LCSW-C,BCD         Professional Fee-Social Worker        2/29/2020                9,000.00

SHARON COVINGTON, LCSW-C,BCD         Professional Fee-Social Worker        2/29/2020               10,750.00
SHARP BUSINESS SYSTEMS               Equip. Repairs & Maint.                3/4/2020                  269.28

SHEATHING TECHNOLOGIES, INC          Clinical/OR Supplies & Disposable      3/2/2020                 512.41
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SHEATHING TECHNOLOGIES, INC     Clinical/OR Supplies & Disposable      3/4/2020                  620.68
SHELLEY BUCKNER                 Other Outside Services                 4/6/2020                3,625.00
SHERRY KIRKLAND                 Transcription Services                3/23/2020                  640.50
SHRED IT US JV LLC              Janitorial Service                    2/22/2020                   56.69
SHRED IT US JV LLC              Janitorial Service                    2/22/2020                   57.67
SHRED IT US JV LLC              Janitorial Service                    2/22/2020                   87.17
SHRED IT US JV LLC              Janitorial Service                    2/22/2020                1,137.30
SHRED IT US JV LLC              Other Outside Services                2/29/2020                   20.00
SHRED IT US JV LLC              Other Outside Services                2/29/2020                   20.00
SHRED IT US JV LLC              Other Outside Services                2/29/2020                   20.00
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                   48.61
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                   58.03
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                   61.33
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                   89.63
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                   94.16
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                   97.22
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                  110.16
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                  110.16
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                  201.42
SHRED IT US JV LLC              Janitorial Service                    2/29/2020                  307.48
SHRED IT US JV LLC              Other Outside Services                2/29/2020                  335.52
SHRED-IT USA                    Other Outside Services                 3/7/2020                   47.52
SHRED-IT USA                    Other Outside Services                 3/7/2020                   95.04
SHRED-IT USA                    Other Outside Services                 3/7/2020                  156.98
SHRED-IT USA                    Other Outside Services                 3/7/2020                  224.46
SHRED-IT USA                    Other Outside Services                 3/7/2020                  238.36
SHRED-IT USA                    Other Outside Services                3/15/2020                  148.60
SHRED-IT USA                    Other Outside Services                3/15/2020                  259.78
SHRED-IT USA                    Other Outside Services                3/15/2020                  316.94
SHRED-IT USA                    Other Outside Services                3/15/2020                  331.28
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SHRED-IT USA                           Other Outside Services                3/15/2020                   462.96
SIEMENS HEALTHCARE DIAGNOSTICS         Equip. Repairs & Maint.               2/21/2020                 4,308.34

SIEMENS HEALTHCARE DIAGNOSTICS         Clinical/OR Supplies & Disposable      3/1/2020                 2,154.17
SIEMENS HEALTHCARE DIAGNOSTICS         Postage & Freight                     3/11/2020                     2.23

SIEMENS HEALTHCARE DIAGNOSTICS         Endocrine Testing Kits & Reagents     3/11/2020                   89.37
SIEMENS MEDICAL SOLUTIONS USA INC      Equip. Repairs & Maint.               2/21/2020                  920.58
SIEMENS MEDICAL SOLUTIONS, USA INC     Equip. Repairs & Maint.               2/20/2020                  461.75
SIEMENS MEDICAL SOLUTIONS, USA INC     Equip. Repairs & Maint.               2/24/2020                  541.86
SIEMENS MEDICAL SOLUTIONS, USA INC     Other Clinical Materials               3/2/2020                  378.67
SIEMENS MEDICAL SOLUTIONS, USA INC     Equip. Repairs & Maint.               3/16/2020                  483.70
SIERRA COMPOUNDING PHARMACY            Drug Expense                          2/28/2020                  385.00

SIGMA - ALDRICH, INC.                  Clinical/OR Supplies & Disposable      3/2/2020                  132.12

SIGMA - ALDRICH, INC.                  Clinical/OR Supplies & Disposable     3/20/2020                  730.22

SIGMA-ALDRICH                          Clinical/OR Supplies & Disposable     3/16/2020                  133.11
SIGN LANGUAGE USA LLC                  Other Outside Services                 3/1/2020                  150.00
SIGN LANGUAGE USA LLC                  Other Outside Services                 3/1/2020                  600.00
SIGN PRO                               Other Outside Services                 4/6/2020                  198.35
SIGNARAMA OF DURHAM,CHAPEL HILL &
RTP                                    Facility Repairs & Maint.             2/25/2020                 2,300.18
SIGNARAMA OF DURHAM,CHAPEL HILL &
RTP                                    Facility Repairs & Maint.             3/13/2020                  302.88
Signature Bank                         Self-Insured Medical Payments         5/7/2020               718,000.00
Signature Bank                         Self-Insured Medical Payments         5/7/2020               122,287.00
Signature Bank                         Self-Insured Medical Payments         5/7/2020               166,000.00
SIGNIUS COMMUNICATIONS                 Telephone - Answer Svc                2/27/2020                 3,122.89
SIGNIUS COMMUNICATIONS                 Telephone - Answer Svc                3/20/2020                 3,189.38
SILENT PICTURES                        Professional Fees - Ultrasound        2/29/2020                10,476.00
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Creditor                                Reason for Payment                Date         Total paid
SILVER STAR COMMUNICATIONS              Telephone Expense                     4/1/2020               762.55

SINGING RIVER ELECTRIC POWER ASSOC.     Utilities                           3/20/2020                 135.05
SIRM DALLAS                             Professional Fees - Procedural      2/27/2020               2,620.00
SIRM DALLAS                             Professional Fees - Procedural      2/27/2020               8,200.00
SIRM DALLAS                             Professional Fees - Procedural      3/13/2020               2,620.00
SIRM DALLAS                             Professional Fees - Procedural      3/13/2020               9,420.00
SIRM DALLAS                             Professional Fees - Procedural      3/19/2020               2,620.00
SIRM DALLAS                             Professional Fees - Procedural      3/20/2020               8,400.00
SIRM DALLAS                             Professional Fees - Procedural      3/20/2020               9,420.00
SIRM DALLAS                             Professional Fees - Procedural       4/3/2020               2,620.00
SIRM DALLAS                             Professional Fees - Procedural       4/3/2020               6,465.60
SIRM NEW YORK FERTILITY CLINIC          Professional Fees - Procedural       3/6/2020               9,344.00
SIRM NEW YORK FERTILITY CLINIC          Professional Fees - Procedural      3/13/2020               1,910.00
SIRM NEW YORK FERTILITY CLINIC          Professional Fees - Procedural      3/19/2020               9,096.00
SIRM NEW YORK FERTILITY CLINIC          Professional Fees - Procedural      4/10/2020               9,192.00
SIRM ST. LOUIS                          Professional Fees - Procedural      2/21/2020               3,256.00
SIRM ST. LOUIS                          Professional Fees - Procedural      2/21/2020               7,546.50
SIRM ST. LOUIS                          Professional Fees - Procedural      2/21/2020               8,088.00
SIRM ST. LOUIS                          Professional Fees - Procedural      2/27/2020               2,277.50
SIRM ST. LOUIS                          Professional Fees - Procedural      2/27/2020               2,362.00
SIRM ST. LOUIS                          Professional Fees - Procedural      2/27/2020               2,902.50
SIRM ST. LOUIS                          Professional Fees - Procedural      2/27/2020               3,459.50
SIRM ST. LOUIS                          Professional Fees - Procedural      2/27/2020               4,273.50
SIRM ST. LOUIS                          Professional Fees - Procedural      2/27/2020               4,273.50
SIRM ST. LOUIS                          Professional Fees - Procedural      2/27/2020               8,480.00
SIRM ST. LOUIS                          Professional Fees - Procedural      2/27/2020               9,288.00
SIRM ST. LOUIS                          Professional Fees - Procedural       3/6/2020               3,846.15
SIRM ST. LOUIS                          Professional Fees - Procedural       3/6/2020               4,273.50
SIRM ST. LOUIS                          Professional Fees - Procedural       3/6/2020               5,921.50
SIRM ST. LOUIS                          Professional Fees - Procedural       3/6/2020               6,890.00
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Creditor                               Reason for Payment                Date         Total paid
SIRM ST. LOUIS                         Professional Fees - Procedural        3/6/2020               7,546.50
SIRM ST. LOUIS                         Professional Fees - Procedural        3/6/2020               8,088.00
SIRM ST. LOUIS                         Professional Fees - Procedural        3/6/2020               8,480.00
SIRM ST. LOUIS                         Professional Fees - Procedural        3/6/2020              11,130.00
SIRM ST. LOUIS                         Professional Fees - Procedural        3/6/2020              12,190.50
SIRM ST. LOUIS                         Professional Fees - Procedural      3/13/2020                8,480.00
SIRM ST. LOUIS                         Professional Fees - Procedural      3/19/2020                2,645.50
SKILLPATH SEMINARS                     Professional Development            2/24/2020                   53.07
SLEEP SAFE ANESTHESIA SERVICES LLC     Professional Fee- Anesthes.         2/28/2020                2,310.00
SLEEP SAFE ANESTHESIA SERVICES LLC     Professional Fee- Anesthes.         2/28/2020               13,100.00
SLEEP SAFE ANESTHESIA SERVICES LLC     Professional Fee- Anesthes.         3/31/2020                  800.00
SLEEP SAFE ANESTHESIA SERVICES LLC     Professional Fee- Anesthes.         3/31/2020               14,790.00
SMART CITY- TELECOM -538412            Telephone Expense                     3/1/2020                 529.82
SMB, LLC                               Rent Expense                        3/15/2020                  291.78
SMB, LLC                               Rent Expense                        3/15/2020                1,226.00
SMB, LLC                               Rent Expense                        3/15/2020                2,917.84
SMB, LLC                               Property Taxes                      3/15/2020               14,475.92
SMB, LLC                               Rent Expense                        3/15/2020               47,388.17
                                       Office Supplies & Non-Marketing
SMT SERVICES, INC                      Printing                             3/3/2020                  480.83
SODEXHO                                Equip. Repairs & Maint.              3/4/2020                  725.32
SOLID SURFACE CARE, INC                Facility Repairs & Maint.           2/27/2020                  421.20
SOMMER BRYANT AND NATHAN BRYANT        Attain/Shared Risk Deposits         2/24/2020                8,250.00
SONITROL                               Other Outside Services               3/2/2020                  261.00
                                       Office Supplies & Non-Marketing
SONITROL SECURITY SYSTEMS              Printing                              3/1/2020                 20.25
SONITROL SECURITY SYSTEMS              Equip. Repairs & Maint.               3/1/2020                 45.00
SONITROL SECURITY SYSTEMS              Equip. Repairs & Maint.               3/1/2020                450.00
                                       Office Supplies & Non-Marketing
SONITROL SECURITY SYSTEMS              Printing                            3/10/2020                  44.25
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Creditor                               Reason for Payment                  Date          Total paid
SOUTH CAROLINA PATIENTS
COMPENSATION FUND                      Prepaid Other                         3/10/2020                   591.00
SOUTH COAST ANESTHESIA, INC            Pass Thru Costs                       3/15/2020                13,500.00
SOUTH COAST ANESTHESIA, INC            Pass Thru Costs                       3/29/2020                11,250.00
SOUTH MIAMI PHARMACY                   Drug Expense                          2/20/2020                 4,078.89
SOUTH MIAMI PHARMACY                   Drug Expense                          2/24/2020                 9,880.50
SOUTH MIAMI PHARMACY                   Drug Expense                          2/24/2020                11,558.98
SOUTH MIAMI PHARMACY                   Drug Expense                          2/25/2020                 6,326.89
SOUTH MIAMI PHARMACY                   Drug Expense                          3/31/2020                   159.56
SOUTH MIAMI PHARMACY                   Drug Expense                          3/31/2020                 8,237.09
SOUTH MIAMI PHARMACY                   Drug Expense                          3/31/2020                16,543.42
SOUTH MIAMI PHARMACY II, INC           Drug Expense                          2/29/2020                   130.00
SOUTH MIAMI PHARMACY II, INC           Drug Expense                          3/31/2020                   309.78
SOUTH MIAMI PHARMACY II, INC           Drug Expense                          3/31/2020                 2,647.04
SOUTHBAY EXPRESS COURIER               Courier Fees                          2/29/2020                   295.00
SOUTHBAY EXPRESS COURIER               Courier Fees                          2/29/2020                 1,800.00
SOUTHBAY EXPRESS COURIER               Courier Fees                          3/31/2020                   460.00
SOUTHBAY EXPRESS COURIER               Courier Fees                          3/31/2020                 1,800.00

SOUTHERN ANESTHESIA & SURGICAL, INC. Clinical/OR Supplies & Disposable       2/28/2020                  189.70

SOUTHERN ANESTHESIA & SURGICAL, INC. Clinical/OR Supplies & Disposable        3/2/2020                  107.32

SOUTHERN ANESTHESIA & SURGICAL, INC.   Clinical/OR Supplies & Disposable      3/5/2020                  137.23
SOUTHERN ANESTHESIA MANAGEMENT         Pass Thru Costs                       3/20/2020                  400.00
SOUTHERN CALIFORNIA EDISON             Utilities                             2/28/2020                  446.43
SOUTHERN CALIFORNIA EDISON             Utilities                             3/28/2020                  445.01
                                       Office Supplies & Non-Marketing
SOUTHERN CULTURES                      Printing                              2/27/2020                   45.00
SOUTHERN ELEVATOR                      Facility Repairs & Maint.              3/3/2020                  432.57
SOUTHERN MARYLAND ELECTRIC COOP.
INC                                    Utilities                             2/27/2020                  332.80
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Creditor                              Reason for Payment                  Date         Total paid
SOUTHWEST ANSWERING SERVICE , INC     Telephone - Answer Svc                2/27/2020                605.75
SOUTHWEST ANSWERING SERVICE , INC     Telephone - Answer Svc                3/26/2020                514.89
SPARKLETTS & SIERRA SPRING            Equipment Rental                        3/1/2020                35.11
                                      Office Supplies & Non-Marketing
SPARKLETTS & SIERRA SPRING            Printing                                3/1/2020                80.25
                                      Office Supplies & Non-Marketing
SPARKLETTS & SIERRA SPRING            Printing                                3/1/2020               207.12
                                      Office Supplies & Non-Marketing
SPARKLETTS & SIERRA SPRING            Printing                               3/5/2020                217.71
SPARKLIGHT                            Telephone Expense                     2/23/2020                241.18
SPECTRIO, LLC                         Other Outside Services                 3/1/2020                461.12

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable     2/20/2020               1,090.14

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       3/2/2020               153.83

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       3/2/2020               293.98

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       3/2/2020               432.30

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       3/2/2020               503.19

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       3/2/2020               569.47

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       3/2/2020               660.00

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       3/2/2020              1,373.57

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       3/2/2020              1,828.33

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       4/1/2020               153.83

SPECTRUM TECHNOLOGIES                 Clinical/OR Supplies & Disposable       4/1/2020              1,828.33
SPEEDPRO IMAGING                      Printing                                3/2/2020                 58.99
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Creditor                                 Reason for Payment                  Date         Total paid
SPEEDPRO IMAGING                         Printing                                3/2/2020                 58.99
SPEEDPRO IMAGING                         Printing                                3/9/2020                 84.73
SPEROS, INC                              Facility Repairs & Maint.               3/1/2020                348.82
SPRING VALLEY MEDICAL PROPERTIES II,
LLC                                      Rent Expense                          3/15/2020                2,598.77
SPRING VALLEY MEDICAL PROPERTIES II,
LLC                                      Rent Expense                          3/15/2020                6,254.97
SPRING VALLEY MEDICAL PROPERTIES II,
LLC                                      Rent Expense                          3/15/2020               11,414.44
ST. ALEXIUS MEDICAL CENTER               Dues/Subscriptions                    2/25/2020                  225.00
ST. GEORGE CLEANING AND JANITORIAL       Janitorial Service                     3/2/2020                1,684.00
ST. GEORGE CLEANING AND JANITORIAL       Janitorial Service                     4/1/2020                1,400.00
                                         Office Supplies & Non-Marketing
STANDARD COFFEE SERVICE CO               Printing                              3/13/2020                  47.14
                                         Office Supplies & Non-Marketing
STANDARD COFFEE SERVICE CO               Printing                              3/13/2020                  47.14
                                         Office Supplies & Non-Marketing
STANDARD COFFEE SERVICE CO               Printing                              3/13/2020                 450.89
                                         Office Supplies & Non-Marketing
STANDARD COFFEE SERVICE CO               Printing                              3/13/2020                 450.90
                                         Office Supplies & Non-Marketing
STAPLES                                  Printing                              2/29/2020                    8.56
                                         Office Supplies & Non-Marketing
STAPLES                                  Printing                              2/29/2020                  49.20
                                         Office Supplies & Non-Marketing
STAPLES                                  Printing                              2/29/2020                  82.09
                                         Office Supplies & Non-Marketing
STAPLES                                  Printing                              2/29/2020                  93.01
                                         Office Supplies & Non-Marketing
STAPLES                                  Printing                              2/29/2020                 118.57
                                         Office Supplies & Non-Marketing
STAPLES                                  Printing                              2/29/2020                 126.78
                                         Office Supplies & Non-Marketing
STAPLES                                  Printing                              2/29/2020                 169.26
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Creditor                              Reason for Payment                  Date          Total paid
                                      Office Supplies & Non-Marketing
STAPLES                               Printing                              2/29/2020                 175.91
                                      Office Supplies & Non-Marketing
STAPLES                               Printing                              2/29/2020                 177.83
                                      Office Supplies & Non-Marketing
STAPLES                               Printing                              2/29/2020                 181.92
                                      Office Supplies & Non-Marketing
STAPLES                               Printing                              2/29/2020                 223.04
                                      Office Supplies & Non-Marketing
STAPLES                               Printing                              2/29/2020                 850.46
                                      Office Supplies & Non-Marketing
STAPLES                               Printing                              2/29/2020                1,422.90
                                      Office Supplies & Non-Marketing
STAPLES ADVANTAGE                     Printing                              2/22/2020                 135.58
                                      Office Supplies & Non-Marketing
STAPLES ADVANTAGE                     Printing                              2/22/2020                 422.65
                                      Office Supplies & Non-Marketing
STAPLES ADVANTAGE                     Printing                               3/7/2020                  55.52
                                      Office Supplies & Non-Marketing
STAPLES ADVANTAGE                     Printing                               3/7/2020                 258.54
                                      Office Supplies & Non-Marketing
STAPLES CREDIT PLAN                   Printing                              3/15/2020                 115.42

STAR IMAGING                          Clinical/OR Supplies & Disposable     2/24/2020                1,323.15
STARK MEDIA STRATEGIES                Public Relations                       3/2/2020                3,000.00
STATE FARM                            Automobile Expense                    2/21/2020                1,097.92
STATE OF MARYLAND                     Medical Insurance                      3/1/2020                  722.24

STEINHISER HEALTHCARE CORPORATION     Other Outside Services                 3/6/2020                 900.00
                                      Office Supplies & Non-Marketing
STEPHANIE BENAVIDEZ                   Printing                               4/8/2020                 130.49
STERICYCLE                            Storage Services                      2/27/2020                  33.90
STERICYCLE                            Medical Waste Disposal                2/27/2020                  89.25
STERICYCLE                            Medical Waste Disposal                2/27/2020                 343.35
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Creditor                     Reason for Payment                  Date        Total paid
STERICYCLE                   Medical Waste Disposal                3/23/2020               178.50
STERICYCLE                   Medical Waste Disposal                3/23/2020               686.70
STERICYCLE COMMUNICATION
SOLUTIONS, INC               Telephone - Answer Svc                 3/5/2020               481.89
STERICYCLE COMMUNICATION
SOLUTIONS, INC               Telephone - Answer Svc                 3/9/2020              1,400.90
STERICYCLE INC               Medical Waste Disposal                2/29/2020                106.17
STERICYCLE INC               Medical Waste Disposal                2/29/2020                106.17
STERICYCLE INC               Medical Waste Disposal                2/29/2020                204.17
STERICYCLE INC               Medical Waste Disposal                2/29/2020                245.00
STERICYCLE INC               Medical Waste Disposal                2/29/2020                947.33
STERICYCLE INC               Medical Waste Disposal                 3/1/2020                  5.97
STERICYCLE INC               Medical Waste Disposal                 3/1/2020                 32.00
STERICYCLE INC               Medical Waste Disposal                 3/1/2020                 32.00
STERICYCLE INC               Medical Waste Disposal                 3/1/2020                 53.08
STERICYCLE INC               Medical Waste Disposal                 3/1/2020                 53.08
STERICYCLE INC               Medical Waste Disposal                 3/1/2020                 75.00

STERICYCLE INC               Clinical/OR Supplies & Disposable      3/1/2020                99.45
STERICYCLE INC               Medical Waste Disposal                 3/1/2020               112.00
STERICYCLE INC               Medical Waste Disposal                 3/1/2020               125.00
STERICYCLE INC               Other Outside Services                 3/1/2020               281.59
STERICYCLE INC               Other Outside Services                 3/1/2020               281.59
STERICYCLE INC               Other Outside Services                 3/1/2020               281.59
STERICYCLE INC               Medical Waste Disposal                 3/1/2020               308.00
STERICYCLE INC               Medical Waste Disposal                 3/1/2020               418.00

STERICYCLE INC               Clinical/OR Supplies & Disposable      3/1/2020              1,022.11
STERICYCLE INC               Other Outside Services                 3/1/2020              1,136.67
STERICYCLE INC               Other Outside Services                 3/1/2020              2,028.34
STERICYCLE INC               Medical Waste Disposal                 3/1/2020              7,540.71
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Creditor            Reason for Payment                  Date         Total paid
STERICYCLE INC      Medical Waste Disposal                3/31/2020                106.17
STERICYCLE INC      Medical Waste Disposal                3/31/2020                106.17
STERICYCLE INC      Medical Waste Disposal                3/31/2020                207.23
STERICYCLE INC      Medical Waste Disposal                3/31/2020                248.67
STERICYCLE INC      Medical Waste Disposal                3/31/2020                963.13
STERICYCLE INC      Medical Waste Disposal                  4/1/2020                53.08
STERICYCLE INC      Medical Waste Disposal                  4/1/2020                53.08

STERICYCLE INC      Clinical/OR Supplies & Disposable       4/1/2020                99.45

STERICYCLE INC      Clinical/OR Supplies & Disposable      4/1/2020               1,022.11
STERICYCLE, INC     Medical Waste Disposal                2/29/2020                  53.37
STERICYCLE, INC     Medical Waste Disposal                2/29/2020                 109.04
STERICYCLE, INC     Medical Waste Disposal                2/29/2020                 119.56
STERICYCLE, INC     Medical Waste Disposal                2/29/2020                 172.89
STERICYCLE, INC     Medical Waste Disposal                2/29/2020                 202.12
STERICYCLE, INC     Medical Waste Disposal                2/29/2020               1,162.57
STERICYCLE, INC     Other Outside Services                 3/1/2020                  18.59
STERICYCLE, INC     Other Outside Services                 3/1/2020                  49.56
STERICYCLE, INC     Other Outside Services                 3/1/2020                  80.54
STERICYCLE, INC     Other Outside Services                 3/1/2020                  80.54
STERICYCLE, INC     Other Outside Services                 3/1/2020                  80.54
STERICYCLE, INC     Other Outside Services                 3/1/2020                  80.54
STERICYCLE, INC     Other Outside Services                 3/1/2020                  87.67
STERICYCLE, INC     Other Outside Services                 3/1/2020                 150.00
STERICYCLE, INC     Other Outside Services                 3/1/2020                 150.00
STERICYCLE, INC     Other Outside Services                 3/1/2020                 161.07
STERICYCLE, INC     Medical Waste Disposal                 3/1/2020                 499.89
STERICYCLE, INC     Other Outside Services                 3/1/2020                 724.82
STERICYCLE, INC     Other Outside Services                 3/1/2020               1,672.66
STERICYCLE, INC     Other Outside Services                 4/1/2020                  18.59
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Creditor                             Reason for Payment                  Date         Total paid
STERICYCLE, INC                      Other Outside Services                  4/1/2020                 40.27
STERICYCLE, INC                      Other Outside Services                  4/1/2020                 49.56
STERICYCLE, INC                      Other Outside Services                  4/1/2020                 80.54
STERICYCLE, INC                      Other Outside Services                  4/1/2020                 80.54
STERICYCLE, INC                      Other Outside Services                  4/1/2020                 80.54
STERICYCLE, INC                      Other Outside Services                  4/1/2020                 87.67
STERICYCLE, INC                      Other Outside Services                  4/1/2020                161.07
STERICYCLE, INC                      Other Outside Services                  4/1/2020                362.41
STERICYCLE, INC                      Other Outside Services                  4/1/2020                843.46
STERLING TALENT SOLUTIONS            Other Outside Services                2/29/2020                  25.00
STERLING TALENT SOLUTIONS            Other Outside Services                2/29/2020                 280.80
STERLING TALENT SOLUTIONS            Other Outside Services                2/29/2020                 399.00
STERLING TALENT SOLUTIONS            Recruitment                           2/29/2020                 649.25
STERLING TALENT SOLUTIONS            Recruitment                             3/6/2020                180.00
STEVE RAD, MD INC                    Consulting Fees                         3/1/2020              1,000.00
STEVE RAD, MD INC                    Consulting Fees                         4/1/2020              1,000.00
STEVE-N-SON LANDSCAPING              Facility Repairs & Maint.               3/8/2020              1,135.00
STEVE-N-SON LANDSCAPING              Facility Repairs & Maint.               4/7/2020                405.00
STOCKTON MAINTENANCE GROUP, INC.     Facility Repairs & Maint.             2/29/2020                 275.00
STOCKTON MAINTENANCE GROUP, INC.     Facility Repairs & Maint.             3/31/2020                 220.00
STONE POINT CONSULTING , INC         Other Outside Services                3/10/2020                 765.00
STORQUEST                            Storage Services                      3/16/2020                 260.00
STORQUEST                            Storage Services                      3/16/2020                 372.00
STORQUEST-TORRANCE                   Storage Services                      3/15/2020                 149.99
STORQUEST-TORRANCE                   Storage Services                      3/15/2020                 182.01
STORQUEST-TORRANCE                   Storage Services                      3/15/2020                 258.00
STORQUEST-TORRANCE                   Storage Services                      3/15/2020                 605.00
STRAIGHT EIGHT PROPERTIES, LLC       Rent Expense                          2/20/2020               2,926.55
STRAIGHT EIGHT PROPERTIES, LLC       Rent Expense                          3/20/2020               2,926.55
STRATUS INDEMAND INC                 Other Outside Services                2/29/2020               1,239.07
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Creditor                              Reason for Payment                Date        Total paid
STRATUS INFORMATION SYSTEMS, LLC      MIS Supplies - Cloud Services       3/19/2020               180.00
Strawberrysoup Ltd                    Technology Services                 3/6/2020                 80.13
Strawberrysoup Ltd                    Technology Services                 3/6/2020                 80.13
Strawberrysoup Ltd                    Technology Services                 3/6/2020                 80.13
Strawberrysoup Ltd                    Technology Services                 3/6/2020                 80.13
STUDIO BENNA                          Web Development and Mgmt            3/14/2020              5,000.00
SUITE 1000                            Telephone Expense                   2/26/2020              1,111.00
SUITE 1000                            Telephone Expense                   3/25/2020                934.00
SUMMIT PHYSICIAN SPECIALISTS, PC      Rent Expense                        2/20/2020              3,266.82
SUMMIT PHYSICIAN SPECIALISTS, PC      Rent Expense                        3/20/2020              3,266.82
Summit Transcription Services Inc     Transcription Services              3/10/2020                 95.69
SUN LIFE FINANCIAL                    Medical Insurance                   2/25/2020                509.74
SUN LIFE FINANCIAL                    Medical Insurance                   2/25/2020                509.74

SUN LIFE FINANCIAL                    Medical Insurance - Physicians      2/25/2020                531.66
SUN LIFE FINANCIAL                    Medical Insurance                   2/25/2020              2,138.42

SUN LIFE FINANCIAL                    Medical Insurance - Physicians      3/24/2020                531.66
SUN LIFE FINANCIAL                    Medical Insurance                   3/24/2020              2,138.42
SUN LIFE FINANCIAL                    Medical Insurance                   3/31/2020                509.74
SUNDUN, INC OF WASHINGTON             Equipment Rental                    2/28/2020                127.20
SUNSET LINEN                          Laundry Services                    2/26/2020                356.61
SUNSET LINEN                          Laundry Services                     3/4/2020                370.51
SUNSET LINEN                          Laundry Services                    3/11/2020                382.05
SUNSET LINEN                          Laundry Services                    3/25/2020                400.74
SUPER CLEAN JANITORIAL                Janitorial Service                   3/3/2020                 25.44
SUPER CLEAN JANITORIAL                Janitorial Service                   3/3/2020                240.00
SUPER CLEAN JANITORIAL                Janitorial Service                   3/3/2020                720.00
SUPERIOR ENVIRO CLEANING INC          Janitorial Service                   3/1/2020                885.00
SUPERIOR ENVIRO CLEANING INC          Janitorial Service                   3/1/2020                895.00
SUPERIOR ENVIRO CLEANING INC          Janitorial Service                   3/1/2020                900.00
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Creditor                              Reason for Payment                Date         Total paid
SUPERIOR ENVIRO CLEANING INC          Janitorial Service                    3/1/2020                  975.00
SUPERIOR ENVIRO CLEANING INC          Janitorial Service                    3/1/2020                2,575.00
SUPERO HEALTHCARE SOLUTIONS , LLC     Other Outside Services              3/11/2020                   975.00
Surrobaby SL                          Healthcare Services                2/27/2020                10,000.00
Surrobaby SL                          Healthcare Services                2/27/2020                10,000.00
Surrobaby SL                          Healthcare Services                 4/7/2020                 5,000.00
Surrobaby SL                          Healthcare Services                 4/7/2020                 5,000.00
SUZI GUYON                            Automobile Expense                  3/20/2020                   103.50
SWANNIE VANG AND AH LOR               Attain/Shared Risk Deposits         2/24/2020                22,200.00
                                      Office Supplies & Non-Marketing
SWIRE COCA-COLA                       Printing                            2/28/2020                  365.23
                                      Office Supplies & Non-Marketing
SWIRE COCA-COLA                       Printing                            3/13/2020                   163.56
SWITCH LTD                            Web Development and Mgmt            3/16/2020                 1,921.28

                                      Employee Meetings/Educational
T & J PIZZA AND PASTA                 Materials                           3/12/2020                   375.00
TAMI KENDRICK                         Other Benefits                       3/9/2020                   200.00
TAMMY GREGG                           Other Outside Services              3/18/2020                   100.00
TARHEEL LINEN SERVICE                 Other Outside Services              2/27/2020                   378.38
TARHEEL LINEN SERVICE                 Other Outside Services               3/9/2020                   108.83
TARHEEL LINEN SERVICE                 Other Outside Services              3/12/2020                   371.97
TARHEEL LINEN SERVICE                 Other Outside Services              3/24/2020                    27.54
TARHEEL LINEN SERVICE                 Other Outside Services              3/24/2020                    40.97
TAYLOR BEUS                           Donor Egg Exp                       2/21/2020                   581.66
TAYLOR BEUS                           Donor Egg Exp                       3/12/2020                    29.36
TAYLOR DRUG                           Drug Expense                        2/29/2020                    72.44
TAYLOR SPARKS AND KYLE SPARKS         Attain/Shared Risk Deposits         4/13/2020                 9,300.00
TD MEDIA                              Internet                             3/1/2020                    99.75
TD MEDIA                              Internet                             3/1/2020                 1,250.00
TD MEDIA                              Internet                            3/15/2020                 1,500.00
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Creditor                              Reason for Payment                  Date         Total paid
TD MEDIA                              Internet                              3/15/2020                 2,000.00
TD MEDIA                              Internet                              3/15/2020                 2,000.00
TD MEDIA                              Internet                              3/15/2020                 2,000.00
TELADOC INC                           Accrued Self Insured Medical            3/1/2020                2,830.40
Tel-Answer Inc.                       Telephone Expense                     2/28/2020                   124.85

Tel-Com                               Clinical/OR Supplies & Disposable     3/12/2020                  153.66

Tel-Com                               Clinical/OR Supplies & Disposable      4/3/2020                   254.48
TEMPDEV INC                           Consulting Fees                       2/29/2020                 1,350.00
TERMINEX                              Other Outside Services                2/29/2020                   237.00
TESLA FINANCE LLC                     Automobile Expense                     3/2/2020                 1,648.77
TESLA FINANCE LLC                     Automobile Expense                     3/9/2020                 1,679.70
TESS BROCK                            Internet                              3/19/2020                 1,080.00
THE AERO ALL-GAS CO.                  Accrued Other                         2/21/2020                   608.06
THE COACHING AGENCY, LLC              Other Outside Services                 4/3/2020                   200.00
THE DAILY HERALD                      Advertising                           3/10/2020                   300.00
THE DAILY HERALD                      Advertising                           3/31/2020                   500.00
THE LINCOLN NATIONAL LIFE INSURANCE
COMPANY                               Other Benefits                        2/29/2020                 7,173.72
THE LINCOLN NATIONAL LIFE. INS. CO    Medical Insurance                      3/5/2020                    47.00
THE MESSAGE ON HOLD NETWORK           Other Outside Services                 3/1/2020                    50.00
THE MESSAGE ON HOLD NETWORK           Prepaid Other                          3/1/2020                   550.00
THE OFFICES AT TWELVE MILE            Rent Expense                           3/1/2020                   541.52
The Patient Safety Company            Quality and Risk Management Services
                                                                       4/1/2020                     15,588.00
The Patient Safety Company                                             4/1/2020                     15,588.00
THE ULTIMATE SOFTWARE GROUP, INC.     MIS Supplies-Software                 2/25/2020                 1,799.70
THE ULTIMATE SOFTWARE GROUP, INC.     MIS Supplies-Software                 2/29/2020                   342.00
THE UNITED ILLUMINATING COMPANY       Accrued Other                         2/24/2020                   714.79
THE UNITED ILLUMINATING COMPANY       Accrued Other                         2/25/2020                   983.07
THERMAL CONCEPTS INC                  Facility Repairs & Maint.             2/28/2020                   126.77
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Creditor                            Reason for Payment                Date         Total paid
THERMAL CONCEPTS INC                Facility Repairs & Maint.             3/1/2020                  778.50
THOMAS MILLER                       Chief Technology Officer              5/5/2020              123,000.00
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                    34.48
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                   114.29
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                   247.18
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                   556.60
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                   561.36
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                   629.79
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                 1,347.90
TIAA COMMERCIAL FINANCE, INC        Property Taxes                      2/24/2020                 1,486.77
TIAA COMMERCIAL FINANCE, INC        Rent/Lease - Medical Equip          2/24/2020                 1,584.80
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                 1,676.05
TIAA COMMERCIAL FINANCE, INC        Rent/Lease - Medical Equip          2/24/2020                 3,194.99
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                 6,992.85
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                 7,301.81
TIAA COMMERCIAL FINANCE, INC        Equipment Rental                    2/24/2020                16,679.62
TIERPOINT HOSTED SOLUTIONS, LLC     Telephone Expense                     3/1/2020               13,480.79
TIERPOINT HOSTED SOLUTIONS, LLC     WAN Telecom                           4/1/2020               13,480.79
TIME WARNER                         Other Outside Services                3/1/2020                  338.13
TIME WARNER CABLE                   Utilities                           2/27/2020                   243.83
TIME WARNER CABLE                   Other Outside Services                3/2/2020                  355.32
TIME WARNER CABLE                   Telephone Expense                     3/3/2020                  359.96
TIME WARNER CABLE                   WAN Telecom                           3/8/2020                  384.99
TIME WARNER CABLE                   Telephone Expense                     3/9/2020                  134.98
TIME WARNER CABLE                   Telephone Expense                   3/10/2020                   449.00
TIME WARNER CABLE                   Telephone Expense                   3/13/2020                   144.97
TIME WARNER CABLE                   Internet                            3/15/2020                   144.98
TIME WARNER CABLE                   Other Outside Services                4/2/2020                  355.02
TINA FUJIKO BARBERAN                Professional Fee- Anesthes.         2/29/2020                   800.00
TINA FUJIKO BARBERAN                Professional Fee- Anesthes.         2/29/2020                 1,460.00
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Creditor                         Reason for Payment                  Date         Total paid
TINA FUJIKO BARBERAN             Professional Fee- Anesthes.           3/30/2020                1,490.00
TINA FUJIKO BARBERAN             Professional Fee- Anesthes.           3/30/2020                2,790.00
TINA SAWYER                      Professional Development              3/20/2020                  383.02
TINA SCHUERMANN                  Dues/Subscriptions                      3/4/2020                  95.00
TINA SCHUERMANN                  Automobile Expense                      3/4/2020                 312.27
TINA SCHUERMANN                  Lab Supplies                            3/4/2020                 627.38
TINA SCHUERMANN                  T&E - Meals                             3/4/2020                 766.16
TINA SCHUERMANN                  T&E - Lodging                           3/4/2020               1,274.08
TINA TAYLOR                      Donor Egg Exp                         3/12/2020                  639.32
TININA Q CADE FOUNDATION INC     Other Taxes                           2/21/2020               10,000.00
TININA Q CADE FOUNDATION INC     Contributions                         2/21/2020               25,000.00

TITUS MEDICAL LLC                Clinical/OR Supplies & Disposable      3/9/2020                  847.95
TKB ASSOCIATES, INC              Prepaid Other                         3/17/2020                6,330.00
TODD GARDNER                     Printing                               3/2/2020                  537.75
TONI ANN NICOLSEN                Other Outside Services                 3/2/2020                  525.00
TONI ANN NICOLSEN                Other Outside Services                 3/2/2020                  525.00
TOPA DIAGNOSTICS                 Outside Lab Tests                     2/25/2020                1,118.00
TOSOH BIOSCIENCE INC             Rent/Lease - Medical Equip            2/21/2020                1,583.34

TOSOH BIOSCIENCE INC             Clinical/OR Supplies & Disposable      3/2/2020                6,086.97
TOTAL FUNDS BY HASLER            Postage & Freight                     2/29/2020                    1.00
TOTAL FUNDS BY HASLER            Bank Fees                             2/29/2020                   39.00
TOTAL FUNDS BY HASLER            Postage & Freight                     2/29/2020                   63.64
TOTAL FUNDS BY HASLER            Postage & Freight                     2/29/2020                  372.20
TOTAL FUNDS BY HASLER            Postage & Freight                     2/29/2020                  535.16
TOTAL FUNDS BY HASLER            Postage & Freight                     3/31/2020                   27.43
TOTAL FUNDS BY HASLER            Bank Fees                             3/31/2020                   39.00
TOTAL FUNDS BY HASLER            Postage & Freight                     3/31/2020                   50.00
TOTAL FUNDS BY HASLER            Postage & Freight                     3/31/2020                   64.90
TOTAL FUNDS BY HASLER            Postage & Freight                     3/31/2020                  468.95
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Creditor                            Reason for Payment                Date         Total paid
TOTAL FUNDS BY HASLER               Postage & Freight                   3/31/2020                 500.00
TOTAL SCRUBS, LLC                   Other Benefits                        3/2/2020              1,978.38
TOTAL SCRUBS, LLC                   Other Benefits                        4/5/2020              1,953.66
TOWN OF LEXINGTON                   Utilities                           2/27/2020                  37.29
TOWN OF LEXINGTON                   Utilities                           2/27/2020                  42.10
TOWN OF LEXINGTON                   Utilities                           3/26/2020                  41.14
TOWN OF LEXINGTON                   Utilities                           3/26/2020                  66.15

TOWNSEND GROUNDS OF MAINTENANCE Janitorial Service                      2/28/2020                220.00

TOWNSEND GROUNDS OF MAINTENANCE     Janitorial Service                  3/30/2020                220.00
TOYOTA FINANCIAL SERVICES           Automobile Expense                  3/16/2020                527.87
TP LASER CONSTRUCTION, INC          Facility Repairs & Maint.            3/5/2020                350.00
TPX COMMUNICATIONS                  Telephone Expense                    3/8/2020                210.79
                                    Office Supplies & Non-Marketing
TRACEY RUSTICK                      Printing                            3/11/2020                 60.57

TRACI GERSTNER                      Donor Egg Compensation/Insur        3/24/2020                300.00

TRACI GERSTNER                      Donor Egg Compensation/Insur        3/24/2020                 850.00
TRANE U.S INC                       Facility Repairs & Maint.           3/17/2020               4,846.05
                                    Office Supplies & Non-Marketing
TREASURE VALLEY COFFEE              Printing                            3/10/2020                 43.94
                                    Office Supplies & Non-Marketing
TREASURE VALLEY COFFEE              Printing                            3/10/2020                  47.65
TRICOASTAL PROPERTIES,III , LLC     Rent Expense                         3/5/2020               4,375.00
TRICOASTAL PROPERTIES,III , LLC     Rent Expense                         4/5/2020               4,375.00
TRILOGY ENTERPRISES LLC             Rent Expense                        3/15/2020               3,110.96
TRILOGY MEDWASTE SOUTHEAST, LLC     Medical Waste Disposal              2/29/2020                  30.00
TRILOGY MEDWASTE SOUTHEAST, LLC     Medical Waste Disposal              2/29/2020                  55.00
TRILOGY MEDWASTE SOUTHEAST, LLC     Medical Waste Disposal              2/29/2020                 210.00
TRILOGY MEDWASTE SOUTHEAST, LLC     Medical Waste Disposal              2/29/2020                 390.00
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Creditor                            Reason for Payment                  Date         Total paid
TRILOGY MEDWASTE SOUTHEAST, LLC     Medical Waste Disposal                2/29/2020                575.00
TRILOGY MEDWASTE SOUTHEAST, LLC     Medical Waste Disposal                2/29/2020                620.00
TRISTAN DARVIN                      Automobile Expense                      3/5/2020               171.22

TROJAN BRAND CONDOMS                Clinical/OR Supplies & Disposable      3/5/2020                 270.63
TROY LEE JOHNSON                    Professional Fee- Anesthes.            3/2/2020               3,540.00
TROY LEE JOHNSON                    Professional Fee- Anesthes.            4/8/2020               1,010.00
Truckee Meadows Water Authority     Utilities                             3/12/2020                  32.74
TRUPARK USA LLC                     Parking Expense                       3/16/2020               1,271.05
TRUSTMARK                           Dues/Subscriptions                    3/23/2020                  65.00
TRUSTMARK                           T&E - Meals                           3/23/2020                 105.99
TRUSTMARK                           Internet                              3/23/2020                 173.74
TRUSTMARK                           T&E - Meals                           3/23/2020                 315.46
TRUSTMARK                           T&E - Lodging                         3/23/2020                 373.51
TRUSTMARK                           Dues/Subscriptions                    3/23/2020                 395.45
                                    Office Supplies & Non-Marketing
TRUSTMARK                           Printing                              3/23/2020               1,106.33
TRUSTMARK                           License & Fees                        3/23/2020               3,204.60
TSG 301 LLC                         Rent Expense                          2/20/2020               4,421.50
TSG 301 LLC                         Rent Expense                          3/20/2020               4,487.81
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                  55.69
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                  70.54
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                  74.25
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                 117.56
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                 129.94
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                 160.88
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                 171.29
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                 216.96
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                 228.39
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                 361.62
TST CHICAGO MOB LLC                 Rent Operating Expense                2/25/2020                 399.68
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Creditor                Reason for Payment               Date        Total paid
TST CHICAGO MOB LLC     Rent Operating Expense             2/25/2020                 494.84
TST CHICAGO MOB LLC     Rent Operating Expense             2/25/2020                 513.56
TST CHICAGO MOB LLC     Rent Operating Expense             2/25/2020                 928.13
TST CHICAGO MOB LLC     Rent Operating Expense             2/25/2020               1,163.25
TST CHICAGO MOB LLC     Rent Operating Expense             2/25/2020               1,175.63
TST CHICAGO MOB LLC     Rent Operating Expense             2/25/2020               1,579.70
TST CHICAGO MOB LLC     Rent Expense                       2/25/2020               2,854.87
TST CHICAGO MOB LLC     Rent Operating Expense             2/25/2020               3,578.11
TST CHICAGO MOB LLC     Rent Operating Expense             2/25/2020               3,616.17
TST CHICAGO MOB LLC     Real Estate Tax                    2/25/2020               4,145.63
TST CHICAGO MOB LLC     Real Estate Tax                    2/25/2020              12,751.77
TST CHICAGO MOB LLC     Rent Expense                       2/25/2020              18,322.58
TST CHICAGO MOB LLC     Rent Expense                       2/25/2020              56,359.51
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                  55.69
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                  70.54
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                  74.25
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 117.56
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 129.94
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 160.88
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 171.29
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 216.96
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 228.39
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 361.62
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 399.68
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 494.84
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 513.56
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020                 928.13
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020               1,163.25
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020               1,175.63
TST CHICAGO MOB LLC     Rent Operating Expense             3/25/2020               1,579.70
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Creditor                             Reason for Payment                  Date         Total paid
TST CHICAGO MOB LLC                  Rent Expense                          3/25/2020                  2,854.87
TST CHICAGO MOB LLC                  Rent Operating Expense                3/25/2020                  3,578.11
TST CHICAGO MOB LLC                  Rent Operating Expense                3/25/2020                  3,616.17
TST CHICAGO MOB LLC                  Real Estate Tax                       3/25/2020                  4,145.63
TST CHICAGO MOB LLC                  Real Estate Tax                       3/25/2020                 12,751.77
TST CHICAGO MOB LLC                  Rent Expense                          3/25/2020                 18,322.58
TST CHICAGO MOB LLC                  Rent Expense                          3/25/2020                 56,359.51
TWANNA YOLANDA JACKSON               Other Outside Services                2/27/2020                  4,377.00
TWANNA YOLANDA JACKSON               Other Outside Services                3/30/2020                  4,377.00
TWILIO INC                           MIS Supplies - Cloud Services         2/29/2020                    474.18
TYCO INTEGRATED SECURITY LLC         Facility Repairs & Maint.               3/2/2020                   797.12
                                     Office Supplies & Non-Marketing
TYL TAYLOR                           Printing                              3/14/2020                    51.67

UCSD-DEPT OF REPRODUCTIVE MEDICINE   Other Outside Services                3/15/2020                 20,000.00

UCSD-DEPT OF REPRODUCTIVE MEDICINE   Other Outside Services                4/15/2020                 20,000.00
U-HAUL                               Other Outside Services                 3/7/2020                    217.57
Uline                                Lab Supplies                          2/24/2020                  1,148.70

ULINE                                Clinical/OR Supplies & Disposable     2/25/2020                  1,444.39

ULINE                                Clinical/OR Supplies & Disposable       3/5/2020                   94.38

ULINE                                Clinical/OR Supplies & Disposable     3/10/2020                    41.36

ULINE                                Clinical/OR Supplies & Disposable     3/17/2020                    243.98
ULMEN ANESTHESIA LLC                 Professional Fee- Anesthes.           2/26/2020                  2,400.00
Ultimate Software                                                         5/12/2020                354,422.16
Ultimate Software                                                         5/19/2020                155,412.45
Ultimate Software                                                         5/20/2020                 97,906.91
ULTRA SELECT MEDICAL LLC             Prepaid Other                         2/27/2020                 35,970.00
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Creditor                              Reason for Payment                  Date         Total paid
UNC DEPARTMENT OF OB-GYN              Due To Program                          3/2/2020              288,293.00
UNC DEPARTMENT OF OB-GYN              Due To Program                          4/2/2020              268,019.00
UNC DEPT OF UROLOGY                   Professional Fees - Procedural          3/3/2020               44,701.20
UNC DEPT OF UROLOGY                   Professional Fees - Procedural          4/9/2020               32,039.10

UNIFORM ADVANTAGE & CHEF UNIFORMS Laundry Services                          2/24/2020                   63.34

UNIFORM ADVANTAGE & CHEF UNIFORMS Laundry Services                          2/24/2020                  114.90

UNIFORM ADVANTAGE & CHEF UNIFORMS Laundry Services                          2/27/2020                   71.34

UNIFORM ADVANTAGE & CHEF UNIFORMS Clinical/OR Supplies & Disposable           3/2/2020                  34.62

UNIFORM ADVANTAGE & CHEF UNIFORMS Laundry Services                            3/4/2020                  23.78

UNIFORM ADVANTAGE & CHEF UNIFORMS Clinical/OR Supplies & Disposable         3/20/2020                   23.78

UNIFORM PROPERTY MANAGEMENT LLC       Rent Expense                          2/25/2020                 3,242.33

UNIFORM PROPERTY MANAGEMENT LLC       Rent Expense                          3/25/2020                 3,242.33
Uniformity Inc.                       Other Outside Services                3/10/2020                   219.87
UNIMARK CONSTRUCTION GROUP, LLC       Facility Repairs & Maint.             3/13/2020                 2,979.31
UNITED HEALTHCARE                     Medical Insurance                     3/17/2020                12,639.80

UNITED IMAGING                        Clinical/OR Supplies & Disposable     2/28/2020                   927.23
UNITEX TEXTILE RENTAL                 Laundry Services                      2/26/2020                   241.98
UNITEX TEXTILE RENTAL                 Laundry Services                       3/4/2020                   250.27
UNIVERSAL BUILDING SERVICES           Janitorial Service                    2/20/2020                   231.38
UNIVERSAL BUILDING SERVICES           Janitorial Service                     3/5/2020                   226.86
UNIVERSAL BUILDING SERVICES           Janitorial Service                    3/19/2020                   287.12
UNIVERSAL HEALTHCARE CONSULTING       Other Outside Services                 4/1/2020                   500.00
UNIVERSAL HEALTHCARE CONSULTING       Prepaid Other                          4/1/2020                 1,000.00
UNIVERSITY FERTILITY CONSULTANTS      Professional Fees - Procedural        2/21/2020                 2,710.05
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Creditor                                       Reason for Payment                Date         Total paid
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural      2/21/2020                3,054.50
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural      2/21/2020                7,941.70
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural      2/21/2020                7,941.70
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural      2/21/2020                9,774.40
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        3/6/2020               2,064.80
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        3/6/2020               2,064.80
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        3/6/2020               2,710.05
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        3/6/2020               2,710.05
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        3/6/2020               3,054.50
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        3/6/2020               3,054.50
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        3/6/2020               6,453.60
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        3/6/2020               9,774.40
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        4/3/2020               1,677.65
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        4/3/2020               2,710.05
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        4/3/2020               3,054.50
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        4/3/2020               7,893.60
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        4/3/2020               7,941.70
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        4/3/2020               7,941.70
UNIVERSITY FERTILITY CONSULTANTS               Professional Fees - Procedural        4/3/2020               9,774.40

University Medical Service Association, Inc.   Other Outside Services              2/25/2020               20,000.00
UNIVERSITY OF MARYLAND COMMUITY
MEDICAL GROUP INC                              Rent Expense                        2/25/2020                 551.37
UNIVERSITY OF MARYLAND COMMUITY
MEDICAL GROUP INC                              Rent Expense                         4/1/2020                  551.37
UNIVERSITY OF NORTH CAROLINA                   Professional Fees - Procedural      2/21/2020                1,228.50
UNIVERSITY OF NORTH CAROLINA                   Professional Fees - Procedural      2/21/2020                2,132.50
                                               Attain/Shared Risk Med Cost
UNIVERSITY OF NORTH CAROLINA                   Reserve                             2/21/2020                3,037.45
UNIVERSITY OF NORTH CAROLINA                   Professional Fees - Procedural      2/21/2020                3,738.40
UNIVERSITY OF NORTH CAROLINA                   Professional Fees - Procedural      2/21/2020                3,972.05
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Creditor                         Reason for Payment                Date         Total paid
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020                5,010.85
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020                5,010.85
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020                5,400.53
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020                5,400.53
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020                6,652.10
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020                6,652.10
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020                8,182.20
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020                8,187.20
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/21/2020               10,070.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/27/2020                3,037.45
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/27/2020                3,738.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      2/27/2020                6,646.80
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural        3/6/2020               3,037.45
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural        3/6/2020               3,178.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural        3/6/2020              10,070.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/13/2020                1,512.00
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/13/2020                3,178.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/13/2020                6,294.00
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/13/2020               10,070.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/19/2020                3,738.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/19/2020               10,070.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/20/2020                3,147.00
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/20/2020                3,738.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/20/2020                4,906.65
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/27/2020                1,228.50
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/27/2020                1,512.00
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/27/2020                2,046.80
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/27/2020                2,626.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/27/2020                2,626.40
UNIVERSITY OF NORTH CAROLINA     Professional Fees - Procedural      3/27/2020                2,790.55
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Creditor                              Reason for Payment                Date          Total paid
                                      Attain/Shared Risk Med Cost
UNIVERSITY OF NORTH CAROLINA          Reserve                             3/27/2020                7,090.92
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural      3/27/2020                8,098.45
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural      3/27/2020                8,182.20
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural      3/27/2020                8,600.40
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                1,710.60
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                2,133.95
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                2,133.95
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                2,133.95
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                2,515.75
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                2,517.60
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                3,178.40
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                3,377.05
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                3,738.40
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                3,972.05
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                3,972.05
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                4,906.65
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                5,117.00
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                6,646.80
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                6,646.80
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural       4/3/2020                8,187.20
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural      4/10/2020                2,133.95
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural      4/10/2020                8,182.20
UNIVERSITY OF NORTH CAROLINA          Professional Fees - Procedural      4/10/2020                8,187.20
UNIVERSITY OF NORTH CAROLINA                                             5/11/2020                 1,512.00
UNIVERSITY OF SOUTH ALABAMA MEDICAL
CENTER                                Dues/Subscriptions                  3/23/2020                  250.00
UNIVERSITY OF WASHINGTON              Professional Fees - Procedural      2/25/2020                7,657.00
UNIVERSITY OF WASHINGTON              Professional Fees - Procedural       3/2/2020                4,033.00
UNIVERSITY OF WASHINGTON              Professional Fees - Procedural      3/16/2020                  360.00
UNIVERSITY OF WASHINGTON              Professional Fees - Procedural      3/17/2020                  320.00
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Creditor                     Reason for Payment                Date         Total paid
UNIVERSITY OF WASHINGTON     Professional Fees - Procedural      3/24/2020                 575.00
UNIVERSITY OF WASHINGTON     Professional Fees - Procedural      3/30/2020                 895.00
UNIVERSITY OF WASHINGTON     Professional Fees - Procedural      3/31/2020                 735.00
UNIVERSITY OF WASHINGTON     Professional Fees - Procedural        4/6/2020                930.00
UNUM LIFE INS                                                   5/15/2020                1,199.31
UPMC PINNACLE                Rent Operating Expense              3/15/2020                2,637.57
UPMC PINNACLE                Rent Expense                        3/15/2020               11,326.30
UPS                          Postage & Freight                   2/22/2020                   16.04
UPS                          Postage & Freight                   2/22/2020                   21.50
UPS                          Postage & Freight                   2/22/2020                   25.65
UPS                          Postage & Freight                   2/22/2020                   25.65
UPS                          Postage & Freight                   2/22/2020                   31.69
UPS                          Postage & Freight                   2/22/2020                   31.69
UPS                          Postage & Freight                   2/22/2020                   34.92
UPS                          Postage & Freight                   2/22/2020                   40.39
UPS                          Postage & Freight                   2/22/2020                   46.18
UPS                          Postage & Freight                   2/22/2020                   51.30
UPS                          Postage & Freight                   2/22/2020                   51.80
UPS                          Postage & Freight                   2/22/2020                   53.38
UPS                          Postage & Freight                   2/22/2020                   54.49
UPS                          Postage & Freight                   2/22/2020                   98.45
UPS                          Postage & Freight                   2/22/2020                  114.52
UPS                          Postage & Freight                   2/29/2020                   13.25
UPS                          Postage & Freight                   2/29/2020                   14.42
UPS                          Postage & Freight                   2/29/2020                   17.82
UPS                          Postage & Freight                   2/29/2020                   23.09
UPS                          Postage & Freight                   2/29/2020                   31.69
UPS                          Postage & Freight                   2/29/2020                   31.69
UPS                          Postage & Freight                   2/29/2020                   46.11
UPS                          Postage & Freight                   2/29/2020                   51.30
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Creditor     Reason for Payment           Date         Total paid
UPS          Postage & Freight              2/29/2020                 64.85
UPS          Postage & Freight              2/29/2020                 70.46
UPS          Postage & Freight              2/29/2020                 77.66
UPS          Postage & Freight              2/29/2020                 79.03
UPS          Postage & Freight              2/29/2020                 79.35
UPS          Postage & Freight              2/29/2020                 97.44
UPS          Postage & Freight              2/29/2020                174.71
UPS          Postage & Freight              2/29/2020                537.26
UPS          Postage & Freight                3/7/2020                14.42
UPS          Postage & Freight                3/7/2020                23.25
UPS          Postage & Freight                3/7/2020                24.24
UPS          Postage & Freight                3/7/2020                27.92
UPS          Postage & Freight                3/7/2020                28.35
UPS          Postage & Freight                3/7/2020                28.93
UPS          Postage & Freight                3/7/2020                30.82
UPS          Postage & Freight                3/7/2020                43.48
UPS          Postage & Freight                3/7/2020                46.22
UPS          Postage & Freight                3/7/2020                47.07
UPS          Postage & Freight                3/7/2020                60.87
UPS          Postage & Freight                3/7/2020                63.84
UPS          Postage & Freight                3/7/2020                74.44
UPS          Postage & Freight                3/7/2020                77.87
UPS          Postage & Freight                3/7/2020               130.24
UPS          Courier Fees                     3/7/2020               131.90
UPS          Postage & Freight              3/14/2020                  6.21
UPS          Postage & Freight              3/14/2020                 14.39
UPS          Postage & Freight              3/14/2020                 14.53
UPS          Postage & Freight              3/14/2020                 14.53
UPS          Postage & Freight              3/14/2020                 17.52
UPS          Postage & Freight              3/14/2020                 26.70
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Creditor     Reason for Payment           Date        Total paid
UPS          Postage & Freight              3/14/2020                 29.06
UPS          Postage & Freight              3/14/2020                 38.89
UPS          Postage & Freight              3/14/2020                 46.45
UPS          Postage & Freight              3/14/2020                 51.66
UPS          Postage & Freight              3/14/2020                 56.58
UPS          Postage & Freight              3/14/2020                 81.45
UPS          Postage & Freight              3/14/2020                 84.93
UPS          Postage & Freight              3/14/2020                 87.32
UPS          Postage & Freight              3/14/2020                 97.89
UPS          Postage & Freight              3/14/2020                291.33
UPS          Postage & Freight              3/21/2020                  9.58
UPS          Postage & Freight              3/21/2020                 14.39
UPS          Postage & Freight              3/21/2020                 14.53
UPS          Postage & Freight              3/21/2020                 25.58
UPS          Postage & Freight              3/21/2020                 26.55
UPS          Postage & Freight              3/21/2020                 28.92
UPS          Postage & Freight              3/21/2020                 30.94
UPS          Postage & Freight              3/21/2020                 51.16
UPS          Postage & Freight              3/21/2020                 63.24
UPS          Postage & Freight              3/21/2020                 66.46
UPS          Postage & Freight              3/21/2020                393.58
UPS          Postage & Freight              3/21/2020              2,000.03
UPS          Postage & Freight              3/28/2020                 14.39
UPS          Postage & Freight              3/28/2020                 14.39
UPS          Postage & Freight              3/28/2020                 15.54
UPS          Postage & Freight              3/28/2020                 18.22
UPS          Postage & Freight              3/28/2020                 21.50
UPS          Postage & Freight              3/28/2020                 25.16
UPS          Postage & Freight              3/28/2020                 36.66
UPS          Postage & Freight              3/28/2020                 52.36
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Creditor                                Reason for Payment                  Date        Total paid
UPS                                     Postage & Freight                     3/28/2020                134.02
URBAN VILLAGE LLC                       Rent Expense                          2/20/2020              2,000.00
URBAN VILLAGE LLC                       Rent Expense                          2/24/2020              2,334.00
URBAN VILLAGE LLC                       Rent Expense                          3/10/2020              2,865.46

US ANESTHESIA PARTNERS OF TEXAS, PA     Professional Fee- Anesthes.           3/21/2020               500.00

US ANESTHESIA PARTNERS OF TEXAS, PA     Professional Fee- Anesthes.           3/25/2020               500.00

US ANESTHESIA PARTNERS OF TEXAS, PA     Professional Fee- Anesthes.           3/25/2020               500.00

US ANESTHESIA PARTNERS OF TEXAS, PA     Professional Fee- Anesthes.           3/26/2020               500.00
US BANK 790408                          Other Outside Services                3/10/2020               375.00

US BANK 790408                          Clinical/OR Supplies & Disposable     3/10/2020               377.06
                                        Office Supplies & Non-Marketing
US BANK 790408                          Printing                              3/10/2020              2,055.21
US BANK 790408                          Donor Egg Exp                         3/10/2020              2,501.84
US BANK 790448                          Equipment Rental                      3/10/2020              1,070.00
US BANK 790448                          Equipment Rental                      3/26/2020              8,231.57
US BANK 790448                          Equipment Rental                      3/28/2020              1,352.74
US BANK EQUIPMENT FINANCE               Equipment Rental                      2/24/2020                534.97
US BANK EQUIPMENT FINANCE               Equipment Rental                      2/24/2020                610.77
US BANK EQUIPMENT FINANCE               Equip. Repairs & Maint.               2/24/2020                779.30
US BANK EQUIPMENT FINANCE               Rent/Lease - Medical Equip            3/20/2020                617.67
US BANK EQUIPMENT FINANCE               Equipment Rental                      3/26/2020                363.65
US BANK EQUIPMENT FINANCE               Equipment Rental                      3/26/2020              1,363.04
US LINEN & UNIFORM                      Laundry Services                       3/2/2020              1,373.40
US MESSENGER & USM LOGISTICS, INC       Courier Fees                          2/29/2020                 20.90
US MESSENGER & USM LOGISTICS, INC       Courier Fees                          2/29/2020                 21.60
US MESSENGER & USM LOGISTICS, INC       Courier Fees                          2/29/2020                 22.37
US MESSENGER & USM LOGISTICS, INC       Courier Fees                          2/29/2020                 23.30
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Creditor                              Reason for Payment                  Date         Total paid
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020                  23.70
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020                  46.07
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020                  83.79
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020                  90.19
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               1,690.00
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               1,951.11
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               2,167.10
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               2,383.33
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               2,405.29
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               2,708.32
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               2,816.66
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               3,250.00
US MESSENGER & USM LOGISTICS, INC     Courier Fees                          2/29/2020               4,477.77
US MESSENGER & USM LOGISTICS, INC     Courier Fees                            3/1/2020              1,139.30
US POSTAL SERVICE                     Postage & Freight                       4/6/2020                240.00

USA SCIENTIFIC                        Clinical/OR Supplies & Disposable     2/26/2020                202.64

USA SCIENTIFIC                        Clinical/OR Supplies & Disposable       3/4/2020                37.67

USA SCIENTIFIC                        Clinical/OR Supplies & Disposable     3/11/2020                 40.33

USA SCIENTIFIC                        Clinical/OR Supplies & Disposable     3/17/2020                128.89

USA SCIENTIFIC                        Clinical/OR Supplies & Disposable     3/24/2020                  40.26
USABLE LIFE                           Medical Insurance                     2/27/2020               1,376.02
USABLE LIFE                           Medical Insurance                     3/23/2020               1,153.70
UTAH BROADBAND                        Telephone Expense                      3/3/2020                  99.00
UTAH BROADBAND                        Telephone Expense                      4/3/2020                  99.00
UTAH FERTILITY CENTER                 Professional Fees - Procedural        2/21/2020               7,840.00
UTAH FERTILITY CENTER                 Professional Fees - Procedural         3/6/2020               9,296.00
UTAH FERTILITY CENTER                 Professional Fees - Procedural        4/10/2020               5,245.50
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Creditor                                Reason for Payment             Date         Total paid
UTAH STATE TAX COMMISSION               Use Tax Expense                  3/31/2020                 106.25
VANGUARD COMMUNICATIONS                 Other Marketing Costs              3/1/2020                 84.99
VANGUARD COMMUNICATIONS                 Web Development and Mgmt           3/1/2020                718.00
VANGUARD COMMUNICATIONS                 Public Relations                   3/1/2020              3,275.00
VANGUARD COMMUNICATIONS                 Web Development and Mgmt           3/1/2020              4,220.00
VARITRONICS, INC.                       Other Outside Services             3/5/2020                775.74
VASCO RX SPECIALTY PHARMACY             Drug Expense                     2/28/2020                 759.00
VEGAS PRO MEDIA                         Program Educational Events       2/28/2020               1,200.00
VEOLIA ES TECHNICAL SOLUTIONS , LLC     Medical Waste Disposal           2/21/2020                 226.11
VEOLIA ES TECHNICAL SOLUTIONS , LLC     Medical Waste Disposal           2/21/2020                 290.46
VERACITY NETWORKS, LLP                  Telephone Expense                2/25/2020                 632.17
VERACITY NETWORKS, LLP                  Telephone Expense                3/25/2020                 632.17
VERIFIED FIRST                          Other Outside Services           2/29/2020                  26.00
VERIFIED FIRST                          Other Outside Services           3/31/2020                  71.00
VERIFIED PERSON , INC                   Recruitment                      2/29/2020                  29.00
VERIFIED PERSON , INC                   Recruitment                      2/29/2020                  57.00
VERIFIED PERSON , INC                   Recruitment                      2/29/2020                 108.00
VERIFIED PERSON , INC                   Recruitment                      2/29/2020                 115.85
VERIFIED PERSON , INC                   Recruitment                      2/29/2020                 162.00
VERIFIED PERSON , INC                   Recruitment                      2/29/2020                 180.00
VERIZON 5124                            Telephone Expense                2/29/2020                  19.45
VERIZON 5124                            WAN Telecom                      3/12/2020                  80.40
VERIZON BUSINESS 5043                   Telephone Expense                  3/8/2020                322.73
VERIZON BUSINESS 5043                   Telephone Expense                  3/8/2020              1,120.87
VERIZON WIRELESS                        Cellular Phone/Page              2/21/2020                  14.27
VERIZON WIRELESS                        Cellular Phone/Page              2/21/2020                  72.94
VERIZON WIRELESS                        Cellular Phone/Page              2/21/2020                  82.80
VERIZON WIRELESS                        Cellular Phone/Page              2/21/2020                  96.56
VERIZON WIRELESS                        Cellular Phone/Page              2/21/2020                 146.02
VERIZON WIRELESS                        Cellular Phone/Page              2/21/2020                 156.13
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Creditor                  Reason for Payment            Date         Total paid
VERIZON WIRELESS          Cellular Phone/Page             2/21/2020                157.05
VERIZON WIRELESS          Cellular Phone/Page             2/21/2020                178.80
VERIZON WIRELESS          Cellular Phone/Page             2/21/2020                493.96
VERIZON WIRELESS          Cellular Phone/Page             2/23/2020                412.01
VERIZON WIRELESS          Cellular Phone/Page               3/3/2020                97.29
VERIZON WIRELESS          Cellular Phone/Page               3/3/2020               224.94
VERIZON WIRELESS          Cellular Phone/Page               3/3/2020               344.64
VERIZON WIRELESS          Telephone Expense                 3/4/2020                 4.40
VERIZON WIRELESS          Cellular Phone/Page               3/7/2020                56.33
VERIZON WIRELESS          Cellular Phone/Page               3/7/2020                56.33
VERIZON WIRELESS          Cellular Phone/Page               3/7/2020               112.65
VERIZON WIRELESS          Due To Program                    3/7/2020               132.66
VERIZON WIRELESS          Due To Program                    3/7/2020               221.34
VERIZON WIRELESS          Cellular Phone/Page               3/7/2020               271.54
VERIZON WIRELESS          Cellular Phone/Page               3/7/2020               283.90
VERIZON WIRELESS          Cellular Phone/Page             3/23/2020                521.76
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020                68.87
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020                76.00
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020                86.22
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020                89.06
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020                89.06
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020                89.07
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020                94.56
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020               114.55
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020               157.46
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020               175.70
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020               185.63
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020               199.30
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020               215.24
VERIZON WIRLESS 12212     Telephone Expense                 3/1/2020               231.58
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Creditor                  Reason for Payment           Date         Total paid
VERIZON WIRLESS 12212     Telephone Expense                3/1/2020                266.12
VERIZON WIRLESS 12212     Telephone Expense                3/1/2020                288.35
VERIZON WIRLESS 12212     Telephone Expense                3/1/2020                289.84
VERIZON WIRLESS 12212     Telephone Expense                3/1/2020                344.54
VERIZON WIRLESS 12212     Telephone Expense                3/1/2020                531.12
VERIZON WIRLESS 12212     Telephone Expense                3/1/2020                620.86
VERIZON WIRLESS 12212     Telephone Expense                3/1/2020              1,084.02
VERIZON WIRLESS 12212     Telephone Expense                3/1/2020              2,232.23
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 50.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 50.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 50.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 50.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 50.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 63.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 64.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 70.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                 90.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                126.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                150.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                150.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                150.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                150.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                150.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                155.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                171.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                193.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                312.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                360.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                560.00
VERIZON WIRLESS 12212     Telephone Expense                4/1/2020                590.00
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Creditor                             Reason for Payment                  Date         Total paid
VERIZON WIRLESS 12212                Telephone Expense                       4/1/2020                846.00
VERIZON-0720                         Telephone Expense                     3/24/2020                  99.35
VICTORIA ROSKAMP                     Donor Pass Thru(Co Mgt Fees)          3/12/2020               7,000.00
Victorian Office LLC                 Storage Services                      2/25/2020                 486.18
VIKING PREMIUM PRINT                 Marketing Support Materials           3/10/2020                 104.37
VIKING PREMIUM PRINT                 Marketing Support Materials           3/13/2020                 350.00
VIKING PREMIUM PRINT                 Marketing Support Materials           3/13/2020               1,046.69
VIKING PREMIUM PRINT                 Printing                              3/31/2020                  61.29
VIRTUAL ENTERPRISES INC              Other Outside Services                2/28/2020               2,113.92
VISION SERVICE PLAN                  Medical Insurance                     2/27/2020                  60.69
VISION SERVICE PLAN                  Medical Insurance                       3/1/2020              1,653.78
VISION SERVICE PLAN                  Medical Insurance                       3/1/2020              1,870.05
VISION SERVICE PLAN                  Medical Insurance                     3/17/2020                  44.77
VISION SERVICE PLAN                  Medical Insurance                       4/1/2020              1,616.00
VISION SERVICE PLAN                  Medical Insurance                       4/1/2020              1,870.05
VITAL RECORDS CONTROL OF AL          Storage Services                      2/27/2020                 923.02
VITAL RECORDS CONTROL OF SOUTH
CAROLINA                             Medical Records                       2/29/2020                 429.26
VITAL RECORDS OF CONTROL FL, LLC     Storage Services                      2/29/2020                 115.65
VITAL RECORDS OF CONTROL FL, LLC     Storage Services                      2/29/2020               2,263.68
VITROLIFE                            Postage & Freight                     2/20/2020                 120.00

VITROLIFE                            Clinical/OR Supplies & Disposable     2/20/2020                310.88

VITROLIFE                            Clinical/OR Supplies & Disposable     2/20/2020                 908.98
VITROLIFE                            Media                                 2/20/2020               1,027.99
VITROLIFE                            Postage & Freight                     2/24/2020                 146.00

VITROLIFE                            Clinical/OR Supplies & Disposable     2/24/2020                 411.81
VITROLIFE                            Media                                 2/24/2020               2,584.64

VITROLIFE                            Clinical/OR Supplies & Disposable     2/24/2020               2,993.00
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Creditor      Reason for Payment                  Date          Total paid

VITROLIFE     Clinical/OR Supplies & Disposable     2/25/2020                 567.57

VITROLIFE     Clinical/OR Supplies & Disposable     2/27/2020                  20.29

VITROLIFE     Clinical/OR Supplies & Disposable     2/27/2020                  40.57

VITROLIFE     Clinical/OR Supplies & Disposable     2/27/2020                  60.86

VITROLIFE     Clinical/OR Supplies & Disposable     2/27/2020                 152.15

VITROLIFE     Clinical/OR Supplies & Disposable     2/27/2020                 162.30

VITROLIFE     Clinical/OR Supplies & Disposable     2/27/2020                 233.30

VITROLIFE     Clinical/OR Supplies & Disposable     2/27/2020                  344.89
VITROLIFE     Postage & Freight                     2/27/2020                  461.00
VITROLIFE     Media                                 2/27/2020                6,626.64

VITROLIFE     Clinical/OR Supplies & Disposable      3/2/2020                 294.90

VITROLIFE     Clinical/OR Supplies & Disposable      3/2/2020                 554.91

VITROLIFE     Clinical/OR Supplies & Disposable      3/2/2020                  710.38
VITROLIFE     Media                                  3/2/2020                1,396.08
VITROLIFE     Accrued Other                          3/3/2020                  276.60

VITROLIFE     Clinical/OR Supplies & Disposable      3/3/2020                 528.40
VITROLIFE     Accrued Other                          3/3/2020                 824.40

VITROLIFE     Clinical/OR Supplies & Disposable      3/3/2020                1,001.08

VITROLIFE     Clinical/OR Supplies & Disposable      3/3/2020                1,757.00
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Creditor                         Reason for Payment                  Date          Total paid

VITROLIFE                        Clinical/OR Supplies & Disposable      3/3/2020                1,800.94

VITROLIFE                        Clinical/OR Supplies & Disposable      3/3/2020                2,548.50

VITROLIFE                        Clinical/OR Supplies & Disposable      3/3/2020                7,985.30

VITROLIFE                        Clinical/OR Supplies & Disposable      3/5/2020                1,189.30
VITROLIFE                        Media                                  3/5/2020                1,990.28

VITROLIFE                        Clinical/OR Supplies & Disposable      3/9/2020                1,014.00
VITROLIFE                        Accrued Other                         3/10/2020                  824.40

VITROLIFE                        Clinical/OR Supplies & Disposable     3/11/2020                 339.80
VOLVO CAR FINANCIAL SERVICES     Automobile Expense                     3/7/2020                 100.00
VOLVO CAR FINANCIAL SERVICES     Automobile Expense                     3/7/2020                 870.40
VOLVO CAR FINANCIAL SERVICES     Automobile Expense                    3/16/2020                 849.37

VWR INTERNATIONAL                Clinical/OR Supplies & Disposable     2/20/2020                  66.81

VWR INTERNATIONAL                Clinical/OR Supplies & Disposable     2/20/2020                 176.80

VWR INTERNATIONAL                Clinical/OR Supplies & Disposable     2/20/2020                 939.75

VWR INTERNATIONAL                Clinical/OR Supplies & Disposable     2/21/2020                 340.73

VWR INTERNATIONAL                Clinical/OR Supplies & Disposable     2/21/2020                 835.14

VWR INTERNATIONAL                Clinical/OR Supplies & Disposable     2/21/2020                1,301.80

VWR INTERNATIONAL                Clinical/OR Supplies & Disposable     2/22/2020                  33.87

VWR INTERNATIONAL                Clinical/OR Supplies & Disposable     2/24/2020                 719.23
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Creditor              Reason for Payment                  Date          Total paid

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/25/2020                  13.61

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/25/2020                  50.39

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/25/2020                 422.55

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/25/2020                 436.65

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/25/2020                 510.24
VWR INTERNATIONAL     Postage & Freight                     2/26/2020                  12.70

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/26/2020                  47.69

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/26/2020                  62.06

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/26/2020                 101.28

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/26/2020                 150.49

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/26/2020                 510.24
VWR INTERNATIONAL     Postage & Freight                     2/27/2020                  12.57

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/27/2020                 224.43

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/27/2020                 333.81

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/27/2020                 765.36
VWR INTERNATIONAL     Postage & Freight                     2/28/2020                   5.39

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/28/2020                  13.50

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/28/2020                  67.89
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Creditor              Reason for Payment                  Date          Total paid

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/28/2020                 143.06

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/28/2020                 194.15

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     2/28/2020                 687.60

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/2/2020                  97.07

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/2/2020                 242.70

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/2/2020                 242.70

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/2/2020                 507.80

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/2/2020                 575.37

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/2/2020                 708.48

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/2/2020                 751.62

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/2/2020                1,962.09

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/3/2020                  60.62

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/6/2020                 268.30

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/9/2020                  19.92

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable      3/9/2020                 371.66

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     3/10/2020                1,193.88

VWR INTERNATIONAL     Clinical/OR Supplies & Disposable     3/11/2020                 295.46
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Creditor                            Reason for Payment                  Date          Total paid

VWR INTERNATIONAL                   Clinical/OR Supplies & Disposable     3/11/2020                  295.46

VWR INTERNATIONAL                   Clinical/OR Supplies & Disposable     3/11/2020                  372.03

VWR INTERNATIONAL                   Clinical/OR Supplies & Disposable     3/13/2020                1,084.45

VWR INTERNATIONAL                   Clinical/OR Supplies & Disposable     3/17/2020                  557.14

VWR INTERNATIONAL                   Clinical/OR Supplies & Disposable     3/17/2020                  784.66
WADLEY SERVICES                     Facility Repairs & Maint.              3/2/2020                  435.00
WAGEWORKS                           Other Outside Services                2/25/2020                  204.00
WAGEWORKS                           Other Benefits                        3/12/2020                   50.00
WAGEWORKS                           Other Benefits                        3/12/2020                  260.00
WAGEWORKS                           Other Benefits                        3/12/2020                  270.00
WAGEWORKS                           Other Benefits                        3/12/2020                  484.00
WAGEWORKS                           Other Benefits                        3/12/2020                1,047.74
WAGEWORKS                           Other Benefits                        3/12/2020                2,450.00
WAGEWORKS                                                                5/12/2020                   267.00
WAGEWORKS                                                                5/12/2020                   226.00
WAGEWORKS                                                                5/12/2020                   210.00
WAGEWORKS                                                                5/12/2020                   405.00
WAGEWORKS                                                                5/12/2020                 1,084.60
                                    Office Supplies & Non-Marketing
WASATCH GREENSPACES                 Printing                               3/7/2020                  192.33
WASHINGTON STATE DEPT OF HEALTH     License & Fees                        2/26/2020                  956.00
Waste Management                    Other Outside Services                 3/2/2020                  493.69
                                    Office Supplies & Non-Marketing
WATER SPECIALTIES INC               Printing                              2/24/2020                   39.66
                                    Office Supplies & Non-Marketing
WATER SPECIALTIES INC               Printing                               3/2/2020                   67.98
                                    Office Supplies & Non-Marketing
WATER SPECIALTIES INC               Printing                               3/3/2020                   29.61
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Creditor                             Reason for Payment                Date          Total paid
                                     Office Supplies & Non-Marketing
WATER SPECIALTIES INC                Printing                             3/9/2020                   50.21
                                     Office Supplies & Non-Marketing
WATER SPECIALTIES INC                Printing                            3/12/2020                     6.44
                                     Office Supplies & Non-Marketing
WATER SPECIALTIES INC                Printing                            3/16/2020                   55.88
                                     Office Supplies & Non-Marketing
WATER SPECIALTIES INC                Printing                            3/17/2020                   12.36
                                     Office Supplies & Non-Marketing
WATER SPECIALTIES INC                Printing                            3/23/2020                   35.54
                                     Office Supplies & Non-Marketing
WATER SPECIALTIES INC                Printing                            3/30/2020                   29.61
WATERLOGIC USA INC. DBA WATERLOGIC
EAST LLC                           Other Outside Services                2/21/2020                   54.99
WATERLOGIC USA INC. DBA WATERLOGIC
EAST LLC                           Other Outside Services                 4/2/2020                   55.04
Waterstone Clinic                    Healthcare Services                4/29/2020                 3,000.00
Waterstone Clinic                    Healthcare Services                4/29/2020                 3,000.00
WATERWORKS PARTNERS II, INC          Facility Repairs & Maint.           3/15/2020                 1,677.38
WATERWORKS PARTNERS II, INC          Rent Expense                        3/15/2020                 9,134.63
WATSON CLINIC LLP                    Rent Expense                         3/1/2020                   985.00
WEB RESULTS INC                      Web Development and Mgmt             4/1/2020                    14.50
WEB RESULTS INC                      Prepaid Marketing                    4/1/2020                    29.00
WEBSEDGE LIMITED                     Accrued Marketing                    3/6/2020                22,500.00
WEDGEWOOD WEDDING & BANQUET
CENTER                               T&E - Entertainment                 2/26/2020                 3,473.64
WELLS FARGO                          Equipment Rental                    2/21/2020                   640.16
WELLS FARGO                          MIS Supplies-Software               2/24/2020                     9.99
                                     Office Supplies & Non-Marketing
WELLS FARGO                          Printing                            2/24/2020                   10.92
                                     Office Supplies & Non-Marketing
WELLS FARGO                          Printing                            2/24/2020                   11.01
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Creditor        Reason for Payment                Date          Total paid
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  12.53
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  12.74
WELLS FARGO     MIS Supplies-Software               2/24/2020                  12.99
WELLS FARGO     MIS Supplies-Software               2/24/2020                  14.99
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  15.10
WELLS FARGO     Advertising                         2/24/2020                  19.00
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  21.54
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  23.93
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  24.09
WELLS FARGO     T&E - Airfare                       2/24/2020                  25.00
WELLS FARGO     T&E - Airfare                       2/24/2020                  25.00
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  26.88
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  28.03
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  28.29
WELLS FARGO     T&E - Lodging                       2/24/2020                  29.88
WELLS FARGO     MIS Supplies-Software               2/24/2020                  36.75
WELLS FARGO     MIS Supplies-Software               2/24/2020                  41.00
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  42.86
WELLS FARGO     Dues/Subscriptions                  2/24/2020                  50.00
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  53.85
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                  53.88
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Creditor        Reason for Payment                Date        Total paid
WELLS FARGO     Printing                            2/24/2020                54.42
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                77.05
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                83.78
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020                99.99
WELLS FARGO     Drug Expense                        2/24/2020               106.90
WELLS FARGO     T&E - Meals                         2/24/2020               113.14
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020               123.00
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020               173.37
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020               193.94
WELLS FARGO     MIS Supplies-Software               2/24/2020               195.93
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020               237.75
WELLS FARGO     T&E - Meals                         2/24/2020               239.55
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020               240.00
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020               275.00
WELLS FARGO     Recruitment                         2/24/2020               281.91
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020               301.62
WELLS FARGO     Telephone Expense                   2/24/2020               345.38
WELLS FARGO     MIS Supplies-Software               2/24/2020               348.00
WELLS FARGO     Advertising                         2/24/2020               375.00
WELLS FARGO     T&E - Lodging                       2/24/2020               388.68
WELLS FARGO     T&E - Meals                         2/24/2020               394.83
WELLS FARGO     T&E - Meals                         2/24/2020               460.26
WELLS FARGO     Recruitment                         2/24/2020               500.67
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Creditor        Reason for Payment                Date        Total paid
WELLS FARGO     Recruitment                         2/24/2020                 501.05
WELLS FARGO     Recruitment                         2/24/2020                 501.84
WELLS FARGO     Recruitment                         2/24/2020                 503.65
WELLS FARGO     T&E - Lodging                       2/24/2020                 504.32
WELLS FARGO     T&E - Airfare                       2/24/2020                 537.96
WELLS FARGO     T&E - Airfare                       2/24/2020                 537.96
WELLS FARGO     T&E - Airfare                       2/24/2020                 580.96
WELLS FARGO     T&E - Lodging                       2/24/2020                 739.20
WELLS FARGO     Recruitment                         2/24/2020                 868.00
WELLS FARGO     Professional Development            2/24/2020               1,249.00
WELLS FARGO     Internet                            2/24/2020               4,250.00
WELLS FARGO     Drug Expense                        2/24/2020               5,339.36
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            2/24/2020               5,732.30
WELLS FARGO     Internet                            2/24/2020              10,000.00
WELLS FARGO     Equipment Rental                    2/26/2020                 508.74
WELLS FARGO     Equipment Rental                    3/20/2020                 327.66
WELLS FARGO     Automobile Expense                  3/26/2020                   5.55
WELLS FARGO     Internet                            3/26/2020                   8.00
WELLS FARGO     T&E - Lodging                       3/26/2020                   8.09
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                   8.91
WELLS FARGO     MIS Supplies-Software               3/26/2020                   9.99
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 13.15
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 13.35
WELLS FARGO     Automobile Expense                  3/26/2020                 13.74
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 13.99
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 14.64
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Creditor        Reason for Payment                Date        Total paid
WELLS FARGO     MIS Supplies-Software               3/26/2020                14.99
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                15.43
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                16.99
WELLS FARGO     Advertising                         3/26/2020                19.00
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                19.40
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                20.16
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                20.18
WELLS FARGO     Automobile Expense                  3/26/2020                20.95
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                21.52
WELLS FARGO     Automobile Expense                  3/26/2020                22.39
WELLS FARGO     Automobile Expense                  3/26/2020                23.13
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                23.64
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                26.93
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                27.55
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                27.67
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                28.74
WELLS FARGO     Automobile Expense                  3/26/2020                29.25
WELLS FARGO     Automobile Expense                  3/26/2020                32.62
WELLS FARGO     Automobile Expense                  3/26/2020                33.60
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                35.55
WELLS FARGO     MIS Supplies-Software               3/26/2020                36.75
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Creditor        Reason for Payment                Date          Total paid
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  36.90
WELLS FARGO     T&E - Airfare                       3/26/2020                  38.64
WELLS FARGO     Bank Fees                           3/26/2020                  39.00
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  41.45
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  43.09
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  43.09
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  46.35
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  59.73
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  73.15
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  75.40
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  86.11
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  86.19
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                  86.19
WELLS FARGO     T&E - Airfare                       3/26/2020                  88.17
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 103.79
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 105.37
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 115.00
WELLS FARGO     Recruitment                         3/26/2020                 116.43
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 117.17
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Creditor        Reason for Payment                Date          Total paid
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 123.00
WELLS FARGO     T&E - Meals                         3/26/2020                 145.78
WELLS FARGO     T&E - Meals                         3/26/2020                 146.35
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 149.23
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 150.80
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 156.79
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 170.42
WELLS FARGO     T&E - Airfare                       3/26/2020                 173.40
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 175.09
WELLS FARGO     Dues/Subscriptions                  3/26/2020                 178.75
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 237.02
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 237.02
WELLS FARGO     Training and Education              3/26/2020                 239.84
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 271.53
WELLS FARGO     T&E - Meals                         3/26/2020                 274.46
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 300.00
WELLS FARGO     Drug Expense                        3/26/2020                 307.80
WELLS FARGO     T&E - Airfare                       3/26/2020                 327.80
WELLS FARGO     Telephone Expense                   3/26/2020                 345.87
WELLS FARGO     Advertising                         3/26/2020                 375.00
WELLS FARGO     Telephone Expense                   3/26/2020                 399.32
                Office Supplies & Non-Marketing
WELLS FARGO     Printing                            3/26/2020                 430.22
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Creditor                             Reason for Payment                  Date        Total paid
WELLS FARGO                          Dues/Subscriptions                    3/26/2020                500.00
WELLS FARGO                          Recruitment                           3/26/2020                500.58
WELLS FARGO                          Recruitment                           3/26/2020                500.67
                                     Office Supplies & Non-Marketing
WELLS FARGO                          Printing                              3/26/2020                527.92
                                     Office Supplies & Non-Marketing
WELLS FARGO                          Printing                              3/26/2020                674.70

WELLS FARGO                          Clinical/OR Supplies & Disposable     3/26/2020                681.75
WELLS FARGO                          Recruitment                           3/26/2020                812.00

WELLS FARGO                          Clinical/OR Supplies & Disposable     3/26/2020                 815.00
WELLS FARGO                          Drug Expense                          3/26/2020                 888.87
WELLS FARGO                          T&E - Airfare                         3/26/2020               1,028.80
WELLS FARGO                          Drug Expense                          3/26/2020               1,159.30
WELLS FARGO                          Drug Expense                          3/26/2020               1,318.50
WELLS FARGO                          T&E - Lodging                         3/26/2020               1,542.72
                                     Office Supplies & Non-Marketing
WELLS FARGO                          Printing                              3/26/2020               3,017.28
WELLS FARGO                          Internet                              3/26/2020               4,250.00
WELLS FARGO                          Internet                              3/26/2020               4,250.00
WELLS FARGO                          Internet                              3/26/2020              10,500.00
WESSNE'S JANITORIAL, INC             Janitorial Service                     3/1/2020               3,025.00
WEST 18TH STREET VENTURE LLC         Rent Expense                          3/23/2020                 307.87
WEST COACHING NETWORK, LLC           Rent Expense                          3/23/2020                 307.87
WEST OAK LLC                         Rent Expense                          3/23/2020               1,000.00
WESTERN ALLIANCE BANK- LOAN
PAYMENTS                             Facility Repairs & Maint.             3/13/2020              11,890.26
WESTERN INSTITUTIONAL REVIEW BOARD
INC.                                 Other Outside Services                3/17/2020               1,239.00
WESTERN RECORDS DESTRUCTION          Other Outside Services                 3/1/2020                  46.00
WESTERN RECORDS DESTRUCTION          Other Outside Services                3/10/2020                  41.00
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Creditor                            Reason for Payment                  Date         Total paid
WESTERN STATES                      Facility Repairs & Maint.             2/28/2020                   353.09
WESTERN STATES                      Facility Repairs & Maint.             3/13/2020                   353.33
WESTMINSTER EXECUTIVE PLAZA LLC     Utilities                             3/15/2020                   100.00
WESTMINSTER EXECUTIVE PLAZA LLC     Rent Expense                          3/15/2020                 3,146.00
WESTMINSTER EXECUTIVE PLAZA LLC     Rent Expense                          3/15/2020                 3,941.00
WESTMINSTER EXECUTIVE PLAZA LLC     Rent Expense                          3/15/2020                 5,744.00
WESTMINSTER EXECUTIVE PLAZA LLC     Rent Expense                          3/15/2020                13,248.00
WESTMINSTER EXECUTIVE PLAZA LLC     Rent Expense                          3/16/2020                 1,969.00
WESTON LABORATORY SERVICES LLC      Salaries & Wages                      2/20/2020                 4,500.00
WESTON LABORATORY SERVICES LLC      Salaries & Wages                      3/20/2020                 4,500.00
WILLIAM F. O'KEEFE                  Consulting Fees                         3/1/2020               25,140.00
WILLIAM F. O'KEEFE                  Accrued Incentives                    3/12/2020               125,000.00
WILLIAM F. O'KEEFE                  Consulting Fees                       3/20/2020                18,855.00
WILLIAM F. O'KEEFE                  Consulting Fees                         4/7/2020               11,608.46
WILLIAM F. O'KEEFE                                                       5/11/2020                 5,804.23
WILSON & CORBIN, APLC               Accrued Legal                         2/28/2020                 9,337.50
WILSON HEATING AND COOLING          Facility Repairs & Maint.              3/6/2020                   182.00

Wilson Medical Specialties, Inc     Clinical/OR Supplies & Disposable     3/11/2020                   379.85
WINDSTREAM                          WAN Telecom                           2/28/2020                15,500.00
WINDSTREAM                          WAN Telecom                           3/18/2020                15,500.00
WINDSTREAM COMMUNICATIONS           Telephone Expense                     3/12/2020                    88.84
WOMENS CARE FLORIDA LLC             Rent/Lease - Medical Equip            2/28/2020                 3,731.71
WOMENS CARE FLORIDA LLC             Real Estate Tax                       2/29/2020                   580.89
WOMENS CARE FLORIDA LLC             Rent Expense                          2/29/2020                 7,261.10
WOMENS CARE FLORIDA LLC             Real Estate Tax                        3/2/2020                 1,298.06
WOMENS CARE FLORIDA LLC             Real Estate Tax                        3/2/2020                 1,298.07
WOMENS CARE FLORIDA LLC             Rent Operating Expense                 3/2/2020                 2,617.97
WOMENS CARE FLORIDA LLC             Rent Operating Expense                 3/2/2020                 2,617.97
WOMENS CARE FLORIDA LLC             Rent Expense                           3/2/2020                13,607.87
WOMENS CARE FLORIDA LLC             Rent Expense                           3/2/2020                13,607.87
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Creditor                     Reason for Payment                  Date        Total paid
WOMENS CARE FLORIDA LLC      Real Estate Tax                       3/15/2020               1,330.52
WOMENS CARE FLORIDA LLC      Real Estate Tax                       3/15/2020               1,330.52
WOMENS CARE FLORIDA LLC      Rent Operating Expense                3/15/2020               2,617.97
WOMENS CARE FLORIDA LLC      Rent Operating Expense                3/15/2020               2,617.97
WOMENS CARE FLORIDA LLC      Rent Expense                          3/15/2020              13,607.87
WOMENS CARE FLORIDA LLC      Rent Expense                          3/15/2020              13,607.87
WOMENS CARE FLORIDA LLC      Real Estate Tax                       3/25/2020                 580.89
WOMENS CARE FLORIDA LLC      Rent Expense                          3/25/2020               7,261.10
WOMENS CARE FLORIDA LLC      Real Estate Tax                       3/30/2020                 302.62
WOMENS CARE FLORIDA LLC      Real Estate Tax                       3/30/2020                 302.62
WOMENS CARE FLORIDA LLC      Rent Operating Expense                3/30/2020               1,264.08
WOMENS CARE FLORIDA LLC      Rent Operating Expense                3/30/2020               1,264.08
WOMENS CARE FLORIDA LLC      Rent Expense                          3/30/2020               4,655.71
WOMENS CARE FLORIDA LLC      Rent Expense                          3/30/2020               4,655.71
WOODSTOWN ANESTHESIA LLC     Professional Fee- Anesthes.           2/29/2020               2,400.00
WOODSTOWN ANESTHESIA LLC     Professional Fee- Anesthes.           2/29/2020               4,360.00
WOODSTOWN ANESTHESIA LLC     Professional Fee- Anesthes.           3/16/2020               4,920.00
WORKCAST INC                 MIS Supplies - Cloud Services         3/15/2020                 495.00

WORLD WIDE MEDICAL           Clinical/OR Supplies & Disposable     2/21/2020              19,935.00
WORTHEN ANESTHESIA PC        Professional Fee- Anesthes.           3/22/2020              12,500.00
WORTHEN ANESTHESIA PC        Professional Fee- Anesthes.            4/3/2020              11,000.00
X MISSION                    Facility Repairs & Maint.             2/25/2020                 480.00
XRD, LLC                     Rent Expense                           3/5/2020               1,300.00
XRD, LLC                     Rent Expense                           4/5/2020               1,300.00
Y.C.P. CLEANING SERVICE      Janitorial Service                    2/23/2020               2,525.00
Y.C.P. CLEANING SERVICE      Janitorial Service                    3/10/2020                 877.43
Y.C.P. CLEANING SERVICE      Janitorial Service                    3/10/2020               1,210.66
Y.C.P. CLEANING SERVICE      Janitorial Service                    3/15/2020                 860.00
Y.C.P. CLEANING SERVICE      Janitorial Service                    3/21/2020                 900.00
Y.C.P. CLEANING SERVICE      Janitorial Service                    3/23/2020               2,525.00
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Creditor                               Reason for Payment                Date         Total paid
Y.C.P. CLEANING SERVICE                Janitorial Service                  4/14/2020                   871.44
YENG AND JADE DHABOLT                  Attain/Shared Risk Deposits           4/9/2020                5,900.00
YEVGENIY SADOVNIKOV                    Other Marketing Costs               3/11/2020                   250.00
Young Conaway Stargatt & Taylor, LLP   Legal Services                      4/9/2020                75,000.00
Young Conaway Stargatt & Taylor, LLP   Legal Services                     4/24/2020                25,000.00
Young Conaway Stargatt & Taylor, LLP   Legal Services                     4/29/2020                20,000.00
Young Conaway Stargatt & Taylor, LLP   Legal Services                      5/6/2020                20,000.00
Young Conaway Stargatt & Taylor, LLP   Legal Services                      5/8/2020                25,000.00
Young Conaway Stargatt & Taylor, LLP   Legal Services                     5/14/2020                30,000.00
Young Conaway Stargatt & Taylor, LLP   Legal Services                     5/18/2020                 3,350.00
Young Conaway Stargatt & Taylor, LLP   Legal Services                     5/20/2020                10,000.00
YP                                     Telephone Expense                   3/23/2020                    53.00
YP                                     Telephone Expense                   3/23/2020                   717.00
YUN AND EDUARDO FLEITES                Attain/Shared Risk Deposits         3/24/2020                36,400.00
ZAYO GROUP HOLDING INC                 Telephone Expense                    3/1/2020                   733.47
ZAYO GROUP HOLDING INC                 Telephone Expense                    3/1/2020                   785.00
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    Rider 4
      Employee Name               Address      Relationship to Debtor Reason for Payment Transfer        Amount   Payment Date
       (Last, First MI)
Attarian, Mark A.         15 Johnson Road     Ex Chief Financial        Group Term Life             $137.08       05/24/2019
                          Andover, MA 01810   Officer
Attarian, Mark A.                             Ex Chief Financial        Regular Pay                 $15,384.62    05/24/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Group Term Life             $137.08       06/07/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Holiday Pay                 $1,538.46     06/07/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Regular Pay                 $13,846.15    06/07/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Group Term Life             $137.08       06/21/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Regular Pay                 $15,384.62    06/21/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Group Term Life             $137.08       07/05/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Regular Pay                 $7,692.31     07/05/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Vacation Pay                $7,692.31     07/05/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Group Term Life             $137.08       07/19/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Holiday Pay                 $1,538.46     07/19/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Regular Pay                 $13,846.15    07/19/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        HSA Employer Contribution $400.00         07/24/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Group Term Life             $137.08       08/02/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Regular Pay                 $15,384.62    08/02/2019
                                              Officer
Attarian, Mark A.                             Ex Chief Financial        Group Term Life             $137.08       08/16/2019
                                              Officer
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     Employee Name       Address      Relationship to Debtor Reason for Payment Transfer       Amount   Payment Date
      (Last, First MI)
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   08/16/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08      08/30/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   08/30/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Floating Holiday            $1,538.46    09/13/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08      09/13/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Holiday Pay                 $1,538.46    09/13/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $12,307.69   09/13/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08      09/27/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   09/27/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08      10/11/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   10/11/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08      10/25/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   10/25/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08      11/08/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   11/08/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08      11/22/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        HSA Wellness Credit         $100.00      11/22/2019
                                     Officer
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     Employee Name       Address      Relationship to Debtor Reason for Payment Transfer        Amount   Payment Date
      (Last, First MI)
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62    11/22/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08       12/06/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Holiday Pay                 $3,076.92     12/06/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $4,615.38     12/06/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Vacation Pay                $7,692.31     12/06/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Group Term Life             $137.08       12/20/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62    12/20/2019
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08       01/03/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM LTD Taxable            $23.69        01/03/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Holiday Pay                 $1,538.46     01/03/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $13,846.15    01/03/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08       01/17/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Holiday Pay                 $1,538.46     01/17/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        HSA Employer Contribution $400.00         01/17/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $13,846.15    01/17/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08       01/31/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM LTD Taxable            ($23.69)      01/31/2020
                                     Officer
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     Employee Name       Address      Relationship to Debtor Reason for Payment Transfer       Amount   Payment Date
      (Last, First MI)
Attarian, Mark A.                    Ex Chief Financial        Holiday Pay                 $1,538.46    01/31/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $13,846.15   01/31/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08      02/14/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   02/14/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08      02/28/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Holiday Pay                 $1,538.46    02/28/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $13,846.15   02/28/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08      03/13/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   03/13/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08      03/27/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $15,384.62   03/27/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08      04/09/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $11,538.46   04/09/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        *BPM Life Imputed           $137.08      04/24/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $7,692.31    04/24/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        Regular Pay                 $7,692.31    05/08/2020
                                     Officer
Attarian, Mark A.                    Ex Chief Financial        PTO Payout                  $10,769.23   05/08/2020
                                     Officer
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     Employee Name                Address            Relationship to Debtor Reason for Payment Transfer       Amount   Payment Date
      (Last, First MI)
Dietz, Francis R.        202 Archilles Way         Interim Chief Executive   Group Term Life              $47.77       05/24/2019
                         North Attleboro, MA 02763 Officer
Dietz, Francis R.                                  Interim Chief Executive   Regular Pay                  $11,538.46   05/24/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Group Term Life              $47.77       06/07/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Holiday Pay                  $1,153.85    06/07/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Regular Pay                  $10,384.62   06/07/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Group Term Life              $47.77       06/21/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Regular Pay                  $11,538.46   06/21/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Group Term Life              $47.77       07/05/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Regular Pay                  $5,769.23    07/05/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Vacation Pay                 $5,769.23    07/05/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Group Term Life              $47.77       07/19/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Holiday Pay                  $1,153.85    07/19/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Regular Pay                  $4,615.38    07/19/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Vacation Pay                 $5,769.23    07/19/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Group Term Life              $47.77       08/02/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Regular Pay                  $11,538.46   08/02/2019
                                                   Officer
Dietz, Francis R.                                  Interim Chief Executive   Group Term Life              $47.77       08/16/2019
                                                   Officer
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     Employee Name       Address      Relationship to Debtor Reason for Payment Transfer       Amount   Payment Date
      (Last, First MI)
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $11,538.46   08/16/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77       08/30/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $11,538.46   08/30/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77       09/13/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Holiday Pay                 $1,153.85    09/13/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $10,384.62   09/13/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77       09/27/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $11,538.46   09/27/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77       10/11/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $14,903.85   10/11/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Retroactive Pay             $3,365.60    10/11/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77       10/25/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $14,903.85   10/25/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77       11/08/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $14,903.85   11/08/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77       11/22/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $14,903.85   11/22/2019
                                     Officer
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     Employee Name       Address      Relationship to Debtor Reason for Payment Transfer        Amount   Payment Date
      (Last, First MI)
Dietz, Francis R.                    Interim Chief Executive   Retention Payment           $150,000.00   11/22/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77        12/06/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Holiday Pay                 $2,980.77     12/06/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $11,923.08    12/06/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Group Term Life             $47.77        12/20/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $14,903.85    12/20/2019
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $47.77        01/03/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM LTD Taxable            $23.69        01/03/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Holiday Pay                 $1,490.38     01/03/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $13,413.46    01/03/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $47.77        01/17/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Holiday Pay                 $1,490.38     01/17/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $8,942.31     01/17/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Vacation Pay                $4,471.15     01/17/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $47.77        01/31/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM LTD Taxable            ($23.69)      01/31/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Holiday Pay                 $1,490.38     01/31/2020
                                     Officer
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     Employee Name       Address      Relationship to Debtor Reason for Payment Transfer       Amount   Payment Date
      (Last, First MI)
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $13,413.46   01/31/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $47.77       02/14/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $14,903.85   02/14/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $47.77       02/28/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Floating Holiday            $1,490.38    02/28/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Holiday Pay                 $1,490.38    02/28/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $11,923.08   02/28/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $297.01      03/13/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $14,903.85   03/13/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $89.31       03/27/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $14,903.85   03/27/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $89.31       04/09/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $11,177.88   04/09/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   *BPM Life Imputed           $89.31       04/24/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $7,451.92    04/24/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   Regular Pay                 $11,177.88   05/08/2020
                                     Officer
Dietz, Francis R.                    Interim Chief Executive   PTO Payout                  $8,942.40    05/08/2020
                                     Officer
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     Employee Name               Address             Relationship to Debtor Reason for Payment Transfer       Amount   Payment Date
      (Last, First MI)
Dietz, Francis R.                                   Interim Chief Executive   Regular Pay                 $3,725.96    05/15/2020
                                                    Officer
Dietz, Francis R.                                   Interim Chief Executive   PTO Payout                  $2,235.60    05/15/2020
                                                    Officer
Dietz, Francis R.                                   Interim Chief Executive   Regular Pay                 $2,235.60    05/22/2020
                                                    Officer
Shechter, Judah          4 Linda Road               General Counsel           Group Term Life             $89.31       05/24/2019
                         East Brunswick, NJ 08816
Shechter, Judah                                     General Counsel           Regular Pay                 $11,538.46   05/24/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       06/07/2019
Shechter, Judah                                     General Counsel           Holiday Pay                 $1,153.85    06/07/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $10,384.62   06/07/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       06/21/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $11,538.46   06/21/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       07/05/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $11,538.46   07/05/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       07/19/2019
Shechter, Judah                                     General Counsel           Holiday Pay                 $1,153.85    07/19/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $10,384.62   07/19/2019
Shechter, Judah                                     General Counsel           HSA Employer Contribution   $400.00      07/24/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       08/02/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $11,538.46   08/02/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       08/16/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $11,538.46   08/16/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       08/30/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $11,538.46   08/30/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       09/13/2019
Shechter, Judah                                     General Counsel           Holiday Pay                 $1,153.85    09/13/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $6,923.08    09/13/2019
Shechter, Judah                                     General Counsel           Vacation Pay                $3,461.54    09/13/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       09/27/2019
Shechter, Judah                                     General Counsel           Regular Pay                 $10,384.62   09/27/2019
Shechter, Judah                                     General Counsel           Vacation Pay                $1,153.85    09/27/2019
Shechter, Judah                                     General Counsel           Group Term Life             $89.31       10/11/2019
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     Employee Name       Address      Relationship to Debtor Reason for Payment Transfer      Amount    Payment Date
      (Last, First MI)
Shechter, Judah                      General Counsel        Regular Pay                    $11,538.46   10/11/2019
Shechter, Judah                      General Counsel        Group Term Life                $89.31       10/25/2019
Shechter, Judah                      General Counsel        Regular Pay                    $11,538.46   10/25/2019
Shechter, Judah                      General Counsel        Group Term Life                $89.31       11/08/2019
Shechter, Judah                      General Counsel        Regular Pay                    $11,538.46   11/08/2019
Shechter, Judah                      General Counsel        Group Term Life                $89.31       11/22/2019
Shechter, Judah                      General Counsel        Regular Pay                    $11,538.46   11/22/2019
Shechter, Judah                      General Counsel        Group Term Life                $89.31       12/06/2019
Shechter, Judah                      General Counsel        Holiday Pay                    $2,307.69    12/06/2019
Shechter, Judah                      General Counsel        Regular Pay                    $9,230.77    12/06/2019
Shechter, Judah                      General Counsel        Group Term Life                $89.31       12/20/2019
Shechter, Judah                      General Counsel        Regular Pay                    $11,538.46   12/20/2019
Shechter, Judah                      General Counsel        *BPM Life Imputed              $89.31       01/03/2020
Shechter, Judah                      General Counsel        *BPM LTD Taxable               $23.69       01/03/2020
Shechter, Judah                      General Counsel        Holiday Pay                    $1,153.85    01/03/2020
Shechter, Judah                      General Counsel        Regular Pay                    $10,384.62   01/03/2020
Shechter, Judah                      General Counsel        *BPM Life Imputed              $89.31       01/17/2020
Shechter, Judah                      General Counsel        Holiday Pay                    $1,153.85    01/17/2020
Shechter, Judah                      General Counsel        HSA Employer Contribution      $400.00      01/17/2020
Shechter, Judah                      General Counsel        Regular Pay                    $10,384.62   01/17/2020
Shechter, Judah                      General Counsel        *BPM Life Imputed              $89.31       01/31/2020
Shechter, Judah                      General Counsel        *BPM LTD Taxable               ($23.69)     01/31/2020
Shechter, Judah                      General Counsel        Holiday Pay                    $1,153.85    01/31/2020
Shechter, Judah                      General Counsel        Regular Pay                    $10,384.62   01/31/2020
Shechter, Judah                      General Counsel        *BPM Life Imputed              $89.31       02/14/2020
Shechter, Judah                      General Counsel        Regular Pay                    $11,538.46   02/14/2020
Shechter, Judah                      General Counsel        *BPM Life Imputed              $89.31       02/28/2020
Shechter, Judah                      General Counsel        Holiday Pay                    $1,153.85    02/28/2020
Shechter, Judah                      General Counsel        Regular Pay                    $10,384.62   02/28/2020
Shechter, Judah                      General Counsel        *BPM Life Imputed              $89.31       03/13/2020
Shechter, Judah                      General Counsel        Regular Pay                    $11,538.46   03/13/2020
Shechter, Judah                      General Counsel        *BPM Life Imputed              $89.31       03/27/2020
Shechter, Judah                      General Counsel        Regular Pay                    $11,538.46   03/27/2020
Shechter, Judah                      General Counsel        *BPM Life Imputed              $89.31       04/09/2020
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     Employee Name                Address       Relationship to Debtor Reason for Payment Transfer      Amount    Payment Date
      (Last, First MI)
Shechter, Judah                                General Counsel        Regular Pay                    $8,653.85    04/09/2020
Shechter, Judah                                General Counsel        *BPM Life Imputed              $89.31       04/24/2020
Shechter, Judah                                General Counsel        Regular Pay                    $5,769.23    04/24/2020
Shechter, Judah                                General Counsel        PTO Payout                     $8,076.88    05/08/2020
Shechter, Judah                                General Counsel        Regular Pay                    $8,653.85    05/08/2020
Shechter, Judah                                General Counsel        PTO Payout                     $1,153.84    05/15/2020
Shechter, Judah                                General Counsel        Regular Pay                    $2,884.62    05/15/2020
Shechter, Judah                                General Counsel        Regular Pay                    $1,730.77    05/22/2020
Throckmorton, Christopher 16 Winfield Avenue   Former-CEO             Group Term Life                $47.77       05/24/2019
                          Harrison, NY 10528
Throckmorton, Christopher                      Former-CEO             Other Earnings                 $2,884.61    05/24/2019
Throckmorton, Christopher                      Former-CEO             Regular Pay                    $17,740.38   05/24/2019
Throckmorton, Christopher                      Former-CEO             Group Term Life                $47.77       06/07/2019
Throckmorton, Christopher                      Former-CEO             Holiday Pay                    $1,774.04    06/07/2019
Throckmorton, Christopher                      Former-CEO             Other Earnings                 $2,884.61    06/07/2019
Throckmorton, Christopher                      Former-CEO             Regular Pay                    $15,966.35   06/07/2019
Throckmorton, Christopher                      Former-CEO             Group Term Life                $47.77       06/21/2019
Throckmorton, Christopher                      Former-CEO             Other Earnings                 $2,884.61    06/21/2019
Throckmorton, Christopher                      Former-CEO             Regular Pay                    $17,740.38   06/21/2019
Throckmorton, Christopher                      Former-CEO             Group Term Life                $47.77       07/05/2019
Throckmorton, Christopher                      Former-CEO             Other Earnings                 $2,884.61    07/05/2019
Throckmorton, Christopher                      Former-CEO             Regular Pay                    $17,740.38   07/05/2019
Throckmorton, Christopher                      Former-CEO             Group Term Life                $47.77       07/19/2019
Throckmorton, Christopher                      Former-CEO             Holiday Pay                    $1,774.04    07/19/2019
Throckmorton, Christopher                      Former-CEO             Other Earnings                 $2,884.61    07/19/2019
Throckmorton, Christopher                      Former-CEO             Regular Pay                    $15,966.35   07/19/2019
Throckmorton, Christopher                      Former-CEO             HSA Employer Contribution      $400.00      07/24/2019
Throckmorton, Christopher                      Former-CEO             Group Term Life                $47.77       08/02/2019
Throckmorton, Christopher                      Former-CEO             Other Earnings                 $2,884.61    08/02/2019
Throckmorton, Christopher                      Former-CEO             Regular Pay                    $17,740.38   08/02/2019
Throckmorton, Christopher                      Former-CEO             Group Term Life                $47.77       08/16/2019
Throckmorton, Christopher                      Former-CEO             Other Earnings                 $2,884.61    08/16/2019
Throckmorton, Christopher                      Former-CEO             Regular Pay                    $17,740.38   08/16/2019
Throckmorton, Christopher                      Former-CEO             Group Term Life                $47.77       08/30/2019
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     Employee Name          Address      Relationship to Debtor Reason for Payment Transfer      Amount    Payment Date
      (Last, First MI)
Throckmorton, Christopher               Former-CEO             Other Earnings                 $2,884.61    08/30/2019
Throckmorton, Christopher               Former-CEO             Regular Pay                    $17,740.38   08/30/2019
Throckmorton, Christopher               Former-CEO             Group Term Life                $47.77       09/13/2019
Throckmorton, Christopher               Former-CEO             Holiday Pay                    $1,774.04    09/13/2019
Throckmorton, Christopher               Former-CEO             Other Earnings                 $2,884.61    09/13/2019
Throckmorton, Christopher               Former-CEO             Regular Pay                    $15,966.35   09/13/2019
Throckmorton, Christopher               Former-CEO             Group Term Life                $47.77       09/27/2019
Throckmorton, Christopher               Former-CEO             Other Earnings                 $2,884.61    09/27/2019
Throckmorton, Christopher               Former-CEO             Regular Pay                    $7,096.16    09/27/2019
Throckmorton, Christopher               Former-CEO             Vacation Pay                   $10,644.23   09/27/2019
Throckmorton, Christopher               Former-CEO             Group Term Life                $47.77       10/11/2019
Throckmorton, Christopher               Former-CEO             Other Earnings                 $2,884.61    10/11/2019
Throckmorton, Christopher               Former-CEO             Regular Pay                    $8,870.19    10/11/2019
Throckmorton, Christopher               Former-CEO             Vacation Payout Terms          $24,836.54   10/11/2019
